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         EXHIBIT A-23
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                                                                                                          Search items, collections, creators, and collectors                        Exclusives    Browse             Create   Connect Wallet


Exclusives

Browse

Create

                                                                                                                           Connect Wallet




   Express Bus on Tower Bridge                                         New day                                                           COU and NAN                at    sunrise     in   Shanghai
                                                                                                                                                                                                 Torii Gate            II
   Hi everyone,          I   am Pan Balagan and am an artist photographer
                                                     i       This photo wasand
                                                                             taken
                                                                                I would
                                                                                    in Dolomites
                                                                                         like to share
                                                                                                   after with
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                                                                                                              you night
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                                                                                                                                                 as NFTfrom the artist's fantasy
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                                                                                                                                                                                                           if a world-famous
                                                                                                                                                                                                                    as wedded                          detective
                                                                                                                                                                                                                                                            rocks.




               Creator                     Owner                                   Creator                   Owner                                 Creator                  Owner                           Creator            Owner
               PanBalaga...                PanBalaga...                              janvaleck...            janvaleck...                          TakamasaN...             TakamasaN...                      FrancisAn...     FrancisAn...


   0.01        BNB                                                     1    BNB                                                          14    BNB                                                0.4   BNB




   Crypto Brain                                                        Mind Chaos #4                                                     New Ukiyo-e Wind                                         Blue thoughts
   Crypto Brain          is a   project designed to preserve andFirst
                                                                  enhance
                                                                      animated
                                                                           the blockchain
                                                                               piece of theecosystem.
                                                                                            &quot;MindCrypto
                                                                                                        Chaos&quot;
                                                                                                             Brain蟷螂子
                                                                                                                   willseries,
                                                                                                                         come
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                                                                                                                                as a collection
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                                                                                                                                                                                                                                         those
                                                                                                                                                                                                                                    high-quality

               Creator                     Owner                                   Creator                   Owner                                 Creator                  Owner                           Creator            Owner
               NRL                         NRL                                     mazormedi...              mazormedi...                            JapaneseG...           JapaneseG...                    MJMonrou           MJMonrou


   Unlisted                                                            0.7       BNB                                                     2   BNB                                                  1   BNB




   Robot neon cats                                                     illusion forte                                                    Wondering Eyes - Animated Painting
                                                                                                                                                                        The Dogecoin burn tattoo concept
   This   is   kinda the part two of the other painting           I   made
                                                                       le illusion
                                                                              calledforte
                                                                                      &quot;Neon cat           girl   and her companion&quot;.
                                                                                                                                      This abstract
                                                                                                                                                 These
                                                                                                                                                    painting
                                                                                                                                                        are some
                                                                                                                                                             is available
                                                                                                                                                                  robo-cats,
                                                                                                                                                                          as analsoanimation
                                                                                                                                                                                      part of The
                                                                                                                                                                                              that
                                                                                                                                                                                               andDogecoin
                                                                                                                                                                                                   universe.
                                                                                                                                                                                                    as a physical
                                                                                                                                                                                                             burn painting
                                                                                                                                                                                                                   it's an original
                                                                                                                                                                                                                             with this
                                                                                                                                                                                                                                    tattoo
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                                                                                                                                                                                                                                           design         This
                                                                                                                                                                                                                                                           made




               Creator                     Owner                                   Creator                   Owner                                 Creator                  Owner                           Creator            Owner
                 Unidoodle...              Unidoodle...                            na_seo_il                 na_seo_il                             Ezoe                     Ezoe                              menasauri...     menasauri...


   0.1    BNB                                                          2    BNB                                                          4   BNB                                                  0.3   BNB




   Sunflower                                                           Escape from the sunlight                                          Mega Asset                                               darkwater
   Charcoal on paper Dimensions 228mm X 300mm Warm sunlight                                    in   the palm of her hand.                Inspired by colourful memories from the 80s, anime,
                                                                                                                                                                                         A large
                                                                                                                                                                                              my freshwater
                                                                                                                                                                                                 childhood, fish
                                                                                                                                                                                                            retroand
                                                                                                                                                                                                                   wavelotusandleaves,
                                                                                                                                                                                                                                 the dusty
                                                                                                                                                                                                                                       an Asian
                                                                                                                                                                                                                                           familiar


               Creator                     Owner                                   Creator                   Owner                                 Creator                  Owner                           Creator            Owner
               DarlingOm...                DarlingOm...                              Orblus                  Orblus                                  randis                 randis                            Noriko_ki...     Noriko_ki...


   0.1    BNB                                                          0.143           BNB                                               5   BNB                                                  16.08       BNB




   【Hokusai】"Kanagawa Okinami Viking
                              Ura" Pug                                                                                                   Unicorn - The Third Eye                                  Rise Again 1/1
   Among the works of Katsushika Hokusai, the mostGotwell-known
                                                       inspired byin Hethe Man
                                                                            worldto create,
                                                                                    is &quot;Kanagawa
                                                                                            a weird Pug warrior!
                                                                                                        Okinami
                                                                                                           Think Hope
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               Creator                     Owner                                   Creator                   Owner                                 Creator                  Owner                           Creator            Owner
               JapaneseU...                JapaneseU...                              Ronaldwoo...            Ronaldwoo...                          DSienaDig...             DSienaDig...                    Mikepinet...       Mikepinet...


   5.5    BNB                                                          0.1       BNB                                                     0.2   BNB                                                3.3   BNB




          Colors Falling                                                     5                            Engine City                                               652                      Mind Chaos                                          2
                                                                           items                                                                                    items                                                                      items




          The art of                                                        66                            Postcards from             a
                                                                                                                                                                    129                                                                       1000
                                                                                                                                                                                             L1ght Heads
          smiling                                                          items                          different plane                                           items                                                                     items




          LOST BETWEEN
          SCI FI AND                                                                                      The World We
                                                                                                                                                                                             HANDY
          REALITY                                                                                         Made




                                                                                                          Formula E: High                                            24
          BSC Rocks                                                                                                                                                                          BSC MerPunks
                                                                                                          Voltage                                                   items




Version: 0.10.29 Stage: prod Chain: 56




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                                                                           Receive

                                                                                                                                     BTC




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Fee Rate
Spot Trading                  Margin Borrow Interest                   USDⓈ-M Futures Trading                         COIN-M Futures Trading                  Cross Collateral Interest       Liquidity Swap Fee               P2P


      Level                       30d Trade Volume (BTC)        and/or                  BNB Balance                                     Maker   /   Taker                                      Maker   /   Taker BNB 25% off


      VIP     0                       < 50 BTC                    or                    ≥   0   BNB                                 0.1000%     /   0.1000%                                      0.0750%       /   0.0750%



      VIP     1                       ≥ 50 BTC                   and                    ≥ 50 BNB                                    0.0900%     /   0.1000%                                      0.0675%       /   0.0750%



      VIP     2                     ≥ 500 BTC                    and                    ≥ 200 BNB                                   0.0800%     /   0.1000%                                      0.0600%       /   0.0750%



      VIP     3                    ≥ 1500 BTC                    and                    ≥ 500 BNB                                   0.0700%     /   0.1000%                                      0.0525%       /   0.0750%



      VIP     4                    ≥ 4500 BTC                    and                    ≥ 1000 BNB                                  0.0700%     /   0.0900%                                      0.0525%       /   0.0675%



      VIP     5                   ≥ 10000 BTC                    and                    ≥ 2000 BNB                                  0.0600%     /   0.0800%                                      0.0450%       /   0.0600%



      VIP     6                   ≥ 20000 BTC                    and                    ≥ 3500 BNB                                  0.0500%     /   0.0700%                                      0.0375%       /   0.0525%



      VIP     7                   ≥ 40000 BTC                    and                    ≥ 6000 BNB                                  0.0400%     /   0.0600%                                      0.0300%       /   0.0450%



      VIP     8                   ≥ 80000 BTC                    and                    ≥ 9000 BNB                                  0.0300%     /   0.0500%                                      0.0225%       /   0.0375%



      VIP     9                   ≥ 150000 BTC                   and                    ≥ 11000 BNB                                 0.0200%     /   0.0400%                                      0.0150%       /   0.0300%



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  VIP trade volume levels are measured on the basis of the spot trading volume, or whether the futures trading volume meets the standard (Futures trading volume includes USDS-M futures
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        How        to   invite your friends




        Get Link                                                              Invite Friends                                                  Earn Crypto
        Register and generate referral links and QR                           Invite your friends to register through the                     Every time your friends make    a   trade, you'll
        codes with a commission kickback rate.                                referral link or QR and get rewards when they                   share up to 40% commission     in   real time!
                                                                              complete trade every time.




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                                                                P2P Merchant Application
                                                                Historical Market Data



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  form below. Our team will evaluate your                          performance of your affiliate links right                 affiliate link, you’ll receive commission
  application and ensure you meet our                              from your Binance account.                                on every trade they make.
  affiliate criteria.


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  Join Now




Earn more commission

Spot commission                                                      Up to 50%


Futures commission                                                   30%


Binance pool commission                                              30%


Minimum requirements                                                 Must have more than 5000 followers on social media or more than 500 members                                in a   trading community.


Eligibility                                                          Only eligible users can participate after submitting an application




Additional Affiliate Program Benefits


  More rewards                                                     Convenient payments                                       Dedicated account manager
  Earn a bonus reward of up to $72,000                             Get paid for every first-time buyer, with                 Gain access to professional support,
  every month based on the total fees paid                         no referral limit and a lifetime attribution              tutorials, marketing material, and a
  by Futures referrals.                                            for spot referrals.                                       dedicated Binance Affiliate manager.




Affiliate FAQ
            What     is   the Binance Affiliate Program?                                                                             What are the requirements to be        a    Binance Affiliate?


            How do I earn        a   bonus of up to $72,000 every month?



Have more questions? Check out our Affiliate Program Guide                                                   for    additional answers.



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                                       Binance Pay                             Trading Rules                                                         Buy Tradable Altcoins
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                                                                               Historical Market Data



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                                  Buy Crypto       EUR     Markets         Trade             Derivatives          Finance         NFT     New                                        Log In     Register          Downloads        English   USD




                                                                                            What                   is           BNB?
                                            BNB is the cryptocurrency coin that powers the Binance ecosystem. As one of the
                                            world's most popular utility tokens, not only can you buy or sell BNB like any other
                                              cryptocurrency, but BNB comes with a wide range of applications and benefits.

                                                                                                             Buy BNB Now



     Benefits of BNB                     BNB Quarterly Burn                     How to Use BNB




Benefits of BNB
Use BNB to pay for goods and services, settle transaction fees on Binance Smart Chain, participate                                              in   exclusive token sales and more. Learn more about BNB and start
saving on trading fees.




     Save   25%                                                                       Save    25%                                                                             Save     10%
     On Spot Trading fees                                                             On Margin Trading fees                                                                  On Futures Trading fees



            Save even more on trading fees by qualifying                                          Earn up to 40% commission via our Referral                                            Stake BNB   in   one click to earn rewards using
            for our VIP Program                                                                   Program                                                                               BNB Vault


            Lend through new token farming opportunities                                          Access exclusive token sales on Binance                                               Spend your BNB at more than 60 million
            on Binance Launchpool                                                                 Launchpad                                                                             merchants worldwide with Binance Visa Card


            Send and receive crypto payments with                                                 Apply for crypto loans using Binance Loan                                             Stake BNB to earn rewards and help secure the
            Binance Pay                                                                                                                                                                 Binance Smart Chain ecosystem


            Earn a flexible percentage yield by depositing
            BNB on select Binance Smart Chain projects




BNB Quarterly Burn
Binance schedules quarterly BNB burns to permanently reduce the supply of BNB,                                       in turn, increasing its              value. The amount of BNB burned is calculated based on
Binance’s overall quarterly trading volume. Quarterly coin burns will continue until                                 a total of 100,000,000               BNB are destroyed, which represents 50% of the total BNB
supply.




                                             Total Burned to Date
                                             31,862,964
                                                                                                           Time                                                     Amount

                                                                                                           2021, Q3 (16th)                                          1,296,728 BNB                                            View detail

                                                                                                           2021, Q2 (15th)                                          1,099,888 BNB                                            View detail
                Circulating Supply

            168,137,036                                                                                    2021, Q1 (14th)                                          3,619,888 BNB                                            View detail

                                                                                                           2020, Q4 (13th)                                          2,253,888 BNB                                            View detail

                                                                                                           2020, Q3 (12th)                                          3,477,388 BNB                                            View detail


                                                                                                           View More




How to Use BNB
Explore the ever-growing          list   of ways you can use BNB.


     Payment                 Travel                Entertainment                       Service                 Finance




                 Pundi        X                                                 Monetha                                                                  HTC                                                Coinpayments
                Pay via XPOS                                 Pay    in   BNB at Monetha merchants                                          Buy       a   smartphone                                              Pay   in   BNB




                CoinGate                                                        Coinify                                                   NOWPayments
                 Pay   in   BNB                                                 Pay    in   BNB                                           Pay   in   BNB and BUSD




If   you want    to    integrate BNB into your product                          or     platform, contact us                 at    business@binance.com




                                                             Get the cryptocurrency that powers
                                                                    the Binance ecosystem
                                                                                                             Buy BNB Now




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                                  Buy Crypto       EUR     Markets         Trade             Derivatives          Finance         NFT     New                                        Log In     Register          Downloads        English   USD




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                Pay via XPOS                                 Pay    in   BNB at Monetha merchants                                          Buy       a   smartphone                                              Pay   in   BNB




                CoinGate                                                        Coinify                                                   NOWPayments
                 Pay   in   BNB                                                 Pay    in   BNB                                           Pay   in   BNB and BUSD




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                                                                    the Binance ecosystem
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                                                Large Crypto OTC Block Trading of Bitcoin
                                                        and other Cryptocurrencies
                                         More Coins                                 Unlisted Pairs                                       Fast Settlement                         Personalized Trading
                               70+ Coins Traded So Far                                  i.e.   LTC/XRP                               No 3rd Party, Hassle-Free                         1-1 Chat Support




                                                                                                                 Trade!




                    Crypto OTC & Bitcoin OTC Trading In                                                                                    2    Easy Steps!
                    Please complete the form and we'll get back to you as soon as we can.




                          1                                                                                               2


                         Create an Account on Binance and Have                                  it                    Trade!
                         Verified                                                                                     Click the Trade button below to start trading on our OTC Trading
                                                                                                                      Portal.
                         Create an account on Binance or log-in if you already have one. To
                         trade OTC, your Binance account needs to be verified.


                               Verify                                                                                              Trade




                    Contact us
                    If you would like to trade coins that are not on the OTC Trading
                    Portal, fill out the "Trade Request" form once you are logged in with                                          Binance OTC                   tradedesk1@binance.com             Trade Request
                    your KYC verified account. Please refer to our email or Telegram if
                    you need any help. Make sure to also join our Telegram channel on
                    the right for research reports, weekly updates, and fun polls!




                    Why Binance OTC Trading?
                    We offer a personalized way for users to trade large block sizes quickly and securely. Our trading desk focuses on more than just Bitcoin OTC trading, we can accomodate
                    crypto to crypto trades on almost any coin listed on Binance, such as BTC to stablecoin, altcoin to BTC, altcoin to stablecoin, and even unlisted pairings such as altcoin to
                    altcoin trading. We offer a deep liquidity pool, particularly in the altcoin markets (even for alts with a low market cap).

                    Settlements occur within the Binance ecosystem and are generally completed within minutes. There’s no 3rd party, no need to create                       a   new wallet, and no need to wait for
                    blockchain transactions. The coins you are trading will simply be moved in and out of your account manually by our team.

                    We like being hassle-free and fast while still strictly adhering to all of the safety protocols on the Binance exchange. Our trading desk respects privacy. Trades details can
                    only be found on the “Distribution History” section on your account. We conduct OTC trades in a confidential manner without significant impact to markets.




                    The Binance Trading Advantage



                    Personalized Service                                                       Large Number of Coins, Pairs                                        Quick Pricing
                                                                                               Offered
                    Every user and every block trade is                                                                                                            At the core of our OTC trading service is a
                    unique, so we like to discuss trades                                       As the leading crypto-to-crypto exchange,                           constant mission to provide a fast pricing
                    directly over chat. Our team will be there                                 we have a wide array of coins listed.                               process that lets you request for and
                    to work with you every step of the way                                     Binance Trading supports block trades in                            receive price quotes within minutes.
                    from onboarding to pricing to trade                                        most coins listed on the exchange, and
                    settlement, or even just to chat about the                                 even on pairs that are not listed (e.g.
                    markets!                                                                   trading directly from one altcoin to
                                                                                               another)




                    Fast Settlement                                                            Smooth User Experience                                              Reduced Counterparty Risk
                    With Binance Trading, settlement occurs                                    Block trade discussions happen on chat,                             With Binance Trading, you only ever need
                    directly in your Binance account and is                                    and a trade can be confirmed in as quickly                          to send coins to your binance account.
                    typically done within minutes. No need to                                  as a few minutes from the time you reach                            Your coins stay in your account until we
                    involve another party and complicate the                                   out to us for a price.                                              are ready to settle, at which point we will
                    process.                                                                                                                                       swap coins in/out of your account.




                    For more details on trading Crypto OTC with Binance Trading, please join our Telegram channel or email us at tradedesk1@binance.com




                    FAQ
                     Q        The coins that        I   want to trade are not on the OTC Trading Portal.

                     A        Please enter your trade request in the form below and we will get back to you as soon as we can.


                                    Complete the Form
                                    Fill out the short form once you are logged in with your KYC-verified account.            If   you
                                    cannot open the form, please refer to our email or Telegram for help.



                                          Trade Request




                     Q        Can    I   use either an individual (personal) KYC verified account or a corporate (entity) KYC verified account?

                     A        Yes, both individual and corporate KYC verified accounts are able to trade.




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Email

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                Advanced Ads Management                                                                                         Verified Badges
           Merchants can access more trading tools via the
                                                                                                                    A verified badge will be added beside your P2P
          merchant portal to better manage advertisements
                                                                                                                      nickname, adding credibility to your brand.
                        and trading activities.




                Exclusive Customer Support
          Binance provides one-on-one services, with fast
                response to your requests or issues.



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                                                      Complete advanced identity verification
                                                      Complete SMS and email authentication
                                                      A certain amount of BUSD must be available    in   your spot account


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                        Spot Market                                                             Futures Market                                                Real-time Data
        Explore Spot public data including Kline (candle),                         Dive into Futures public data including Kline                Spot and Futures real-time data can be found
                   AggTrades and Trades data.                                          (candle), Trades and Order book data.                                        here:


                        Learn More                                                               Learn More                                        Real-time Spot Real-time Futures




Spot
All   public data below can be     is   downloaded directly from data.binance.vision/our github:

        Download Now




       Kline (Candle Data)                                                      AggTrades                                                     Trades
       Also known as ‘candle data’. Klines are                                  Combines the aggregate total volume of                        Executed transactions updated at tick level.
       uniquely identified by their open time.                                  orders filled at a given price.                               Available on spot: currently 2021, backfilling
       Multiple intervals supported.                                                                                                          to the first trade.
                                                                                Download on github
       Download on github                                                                                                                     Download on github




Futures
All   public data below can be     is   downloaded directly from data.binance.vision / our github:

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       Public Data                                                                                               Order Book Data
       Kline (Candle Data)                                                                                       Currently only on Futures. Requires   a   Futures account. Download       is   by API.
       Also known as ‘candle data’. Klines are uniquely identified by their open
       time. Multiple intervals supported.                                                                       Orderbook snapshot (S_Depth): Since January 2020, only on BTC/USDT
                                                                                                                 symbol.
       AggTrades
       Combines the aggregate total volume of orders filled at              a   given price.                     Tick-level orderbook (T_Depth): Since July 2020,     all   symbols and pairs.

                                                                                                                 Futures account must be whitelisted, please apply here         »
       Trades
       Executed transactions updated at tick level.
       Available on Futures: USDⓢ-M Futures since January 2020, COIN-M
       Futures since July 2020.

       Download on github




                                                             More data services are coming soon, please stay tuned
                                                                For queries and support, please contact: data@binance.com


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                                                    Become   a   Binance P2P Merchant and enjoy more benefits




                Advanced Ads Management                                                                                         Verified Badges
           Merchants can access more trading tools via the
                                                                                                                    A verified badge will be added beside your P2P
          merchant portal to better manage advertisements
                                                                                                                      nickname, adding credibility to your brand.
                        and trading activities.




                Exclusive Customer Support
          Binance provides one-on-one services, with fast
                response to your requests or issues.



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                                                      Complete advanced identity verification
                                                      Complete SMS and email authentication
                                                      A certain amount of BUSD must be available    in   your spot account


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Trading Rules
BNB Markets         BTC Markets              ALTS Markets            FIAT Markets


    Pair                 Minimum Trade Amount                              Min Price Movement                       Minimum Order Size                         Maximum Market Order Amount


    ETH/BTC              0.0001 ETH                                        0.000001 BTC                             0.0001 BTC                                 1111.70692076 ETH


    LTC/BTC              0.001 LTC                                         0.000001 BTC                             0.0001 BTC                                 9406.32609236 LTC


    BNB/BTC              0.001 BNB                                         0.000001 BTC                             0.0001 BTC                                 13158.07023055 BNB


    NEO/BTC              0.01 NEO                                          0.000001 BTC                             0.0001 BTC                                 6518.27931297 NEO


    GAS/BTC              0.1 GAS                                           0.0000001 BTC                            0.0001 BTC                                 12469.37872222 GAS


    WTC/BTC              1   WTC                                           0.00000001 BTC                           0.0001 BTC                                 100680.11875 WTC


    LRC/BTC              1   LRC                                           0.00000001 BTC                           0.0001 BTC                                 495604.16666666 LRC


    QTUM/BTC             0.1 QTUM                                          0.0000001 BTC                            0.0001 BTC                                 12487.32814583 QTUM


    YOYO/BTC             1   YOYO                                          0.00000001 BTC                           0.0001 BTC                                 9137117.02152777 YOYO


    OMG/BTC              0.1 OMG                                           0.0000001 BTC                            0.0001 BTC                                 38892.94284722 OMG


    ZRX/BTC              1   ZRX                                           0.00000001 BTC                           0.0001 BTC                                 128343.86944444 ZRX


    KNC/BTC              0.1 KNC                                           0.00000001 BTC                           0.0001 BTC                                 68121.72409722 KNC


    FUN/BTC              1   FUN                                           0.00000001 BTC                           0.0001 BTC                                 38616566.90694444 FUN


    SNM/BTC              1   SNM                                           0.00000001 BTC                           0.0001 BTC                                 197316.851875 SNM


    IOTA/BTC             1   IOTA                                          0.00000001 BTC                           0.0001 BTC                                 200929.41944444 IOTA


                                                                                                                                                                                   1     2    3    ...   20




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    LRC/BTC              1   LRC                                           0.00000001 BTC                           0.0001 BTC                                 495604.16666666 LRC


    QTUM/BTC             0.1 QTUM                                          0.0000001 BTC                            0.0001 BTC                                 12487.32814583 QTUM


    YOYO/BTC             1   YOYO                                          0.00000001 BTC                           0.0001 BTC                                 9137117.02152777 YOYO


    OMG/BTC              0.1 OMG                                           0.0000001 BTC                            0.0001 BTC                                 38892.94284722 OMG


    ZRX/BTC              1   ZRX                                           0.00000001 BTC                           0.0001 BTC                                 128343.86944444 ZRX


    KNC/BTC              0.1 KNC                                           0.00000001 BTC                           0.0001 BTC                                 68121.72409722 KNC


    FUN/BTC              1   FUN                                           0.00000001 BTC                           0.0001 BTC                                 38616566.90694444 FUN


    SNM/BTC              1   SNM                                           0.00000001 BTC                           0.0001 BTC                                 197316.851875 SNM


    IOTA/BTC             1   IOTA                                          0.00000001 BTC                           0.0001 BTC                                 200929.41944444 IOTA


                                                                                                                                                                                   1     2    3    ...   20




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                                                               P2P Merchant Application
                                                               Historical Market Data



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                                                                                                                                  English

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                                                                                               How does                  it     work?



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Self-Service


           Reset Password                           Unlock Account                             Reset Phone Security                      Change Email Address              Reset Google Authenticator
                                                                                                    Verification




   Deposit Not Credit Asset                  Deposit Missing or Wrong
           Recovery                         Tag/memo Asset Recovery




FAQ
        Account Functions                                   Tutorial                                                      Crypto Deposit/Withdrawal                        Buy Crypto (Fiat/P2P)



        Spot & Margin Trading                               Crypto Derivatives                                            Finance                                          API



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Announcement
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        API Updates                                         Crypto Airdrop




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Binance Futures Will Launch USDT-Margined CELO & AR Perpetual                                                          Get Started on Binance Lite to Buy and Sell Your Crypto
Contracts with Up to 25X Leverage 2021-09-24

                                                                                                                       How to Complete Identity Verification
Updates to the Time Range of Data Retrieval via Binance Margin
SAPI 2021-09-24
                                                                                                                       Upcoming Qtum (QTUM) Network Upgrade Supported on Binance

Kava Ecosystem Trading Competition - $100,000 to Be Won!                     2021-09-24
                                                                                                                       How to Buy Crypto with Card on Binance Lite App

Binance Liquid Swap Adds ICP, Opens            2   New Liquidity Pools       2021-09-24
                                                                                                                       Important Changes About Binance Identity Verification

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Top Questions                                       Identity verification failed

                                                    Ofiary oszustwa z Polski (for Polish users)
Log in    /   Identification

                                                    USA users off-boarding guidance
Google        /   Email 2FA issues
                                                    Restricted Countries

Crypto deposit            /   withdraw              Unable to cancel Spot order

                                                    API key permissions
Fiat deposit         /   withdraw
                                                    Australia verification failed

Trading


                                                                           Next page
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                                                       Spot/Margin/Savings/Mining                                                                                                                                                                                                                                                                 USDⓈ-M Futures                                                                                                                                                                                 COIN-M Futures                                          Vanilla Options                                                         简体中文


                           Change Log

Change Log
                           2021-09-18
                                    New endpoints                                                                        for                BSwap:
Introduction                                                       GET /sapi/v1/bswap/poolConfigure get pool configure                                                                                                                                                                                                to
                                                                GET /sapi/v1/bswap/addLiquidityPreview to get add liquidity
General Info                                                   preview
                                                                GET /sapi/v1/bswap/removeLiquidityPreview to get remove
Wallet Endpoints                                               liquidity preview

Sub-Account Endpoints

Market Data Endpoints      2021-09-17

Websocket Market Streams            Add            /api/*                                       and                      /sapi/* limit                                                                                   introduction                                                                                     in                  General Info

Spot Account/Trade

Margin Account/Trade
                           2021-09-08
                                    Add endpoints                                                                        for            enabled isolated margin account                                                                                                                                                                                                                         limit:
User Data Streams
                                                                   DELETE /sapi/v1/margin/isolated/account to                                                                                                                                                                                                                                                                                   disable isolated
Savings Endpoints                                              margin account                                                                                    for a                                       specific symbol
                                                                   POST /sapi/v1/margin/isolated/account to                                                                                                                                                                                                                                                                     enable isolated margin
Mining Endpoints                                               account                                               for a                          specific symbol
                                                                   GET /sapi/v1/margin/isolated/accountLimit                                                                                                                                                                                                                                                                                to                       query enabled
                                           isolated margin account limit
Futures
                                    New field "enabled" in response of GET /sapi/v1/margin/isolated/accoun
                                    t to check if the isolated margin account is enabled
BLVT Endpoints

BSwap Endpoints

                           2021-09-03
                                    Update endpoint for Wallet:
                                          New fields sameAddress depositDust and specialWithdrawTips                                                                                                                             ,


                                          added in GET /sapi/v1/capital/config/getall sameAddress
                                          means if the coin needs to provide memo to withdraw depositDus
                                          t means minimum creditable amount specialWithdrawTips means
                                          special tips for withdraw
                                          New field confirmNo added in GET /sapi/v1/capital/withdraw/hist
                                          ory to support query confirm times for withdraw history




                           2021-08-27
                                    Update endpoint for Wallet:
                                          New parameter withdrawOrderId added in GET /sapi/v1/capital/w
                                          ithdraw/history to support user query withdraw history by
                                          withdrawOrderId
                                          New field unlockConfirm added in GET /sapi/v1/capital/deposit/h
                                          isrec to support query network confirm times for unlocking




                           2021-08-23
                                    New endpoints                                                                        for                Margin Account OCO:
                                                                   POST /sapi/v1/margin/order/oco
                                                                   DELETE /sapi/v1/margin/orderList
                                                                   GET /sapi/v1/margin/orderList
                                                                   GET /sapi/v1/margin/allOrderList
                                                                   GET /sapi/v1/margin/openOrderList


                           Same usage as spot account OCO



                           2021-08-20
                                    Update endpoint for Wallet:
                                          New parameters fromSymbol                                  and new transfer types ISOL                                                                                                                             ,           toSymbol
                                                               ATEDMARGIN_MARGIN MARGIN_ISOLATEDMARGIN and ISOLATEDMARGIN_IS                                                             ,


                                                               OLATEDMARGIN added in POST /sapi/v1/asset/transfer and GET /s
                                                               api/v1/asset/transfer to support user transfer assets between
                                                               Margin(cross) account and Margin(isolated) account



                           2021-08-12
                                    GET                api/v3/myTrades                                                                                       has                                 a           new optional                                                                                             field orderId




                           2021-08-05
                                    New endpoint                                                                     for               C2C:
                                                                   GET /sapi/v1/c2c/orderMatch/listUserOrderHistory to                                                                                                                                                                                                                                                                                                                                                                    query user
                                                               C2C trade history



                           2021-08-05
                                    Update endpoints                                                                                    for                  Savings:
                                                                   GET /sapi/v1/lending/union/purchaseRecord
                                                                   GET /sapi/v1/lending/union/redemptionRecord
                                                                   GET /sapi/v1/lending/union/interestHistory


                           The time between                                                                                startTime                                                 and endTime cannot be longer than 30 days.
                           If startTime and                                                                              endTime                                                 are both not sent, then the last 30 days' data will
                           be returned



                           2021-07-29
                                    Update endpoint                                                                                for                      Sub-Account:
                                                                   GET /sapi/v1/sub-account/transfer/subUserHistory                                                                                                                                                                                                                                                                                                                                               if                      startTime
                                                               and endTime are not sent, the recent 30-day data                                                                                                                                                                                                                                                                                                              will                             be returned
                                                               by default



                           2021-07-27
                                    New endpoint                                                                     for Fiat:
                                                                   GET /sapi/v1/fiat/orders                                                                                                                                                              to                      query user                                                                    fiat                         deposit and withdraw
                                                               history
                                                                   GET /sapi/v1/fiat/payments to                                                                                                                                                                                                 query user                                                                 fiat                             payments history



                           2021-07-16
                                    New endpoint                                                                     for               Wallet:
                                                                   GET /sapi/v1/account/apiRestrictions to                                                                                                                                                                                                                                                              query user API Key
                                                               permission



                           2021-07-09
                                    New endpoint                                                                     for               Wallet:
                                                                   POST /sapi/v1/asset/get-funding-asset toquery funding wallet,
                                                               includes Binance Pay, Binance Card, Binance Gift Card, Stock Token



                           2021-06-24
                                    Update endpoints                                                                                    for                  Wallet:
                                                                   GET /sapi/v1/capital/withdraw/history                                                                                                                                                                                                                                                       added default value 1000,
                                                               max value 1000                                                                                    for                             the parameter                                                                                                   limit
                                                                   GET /sapi/v1/capital/deposit/hisrec                                                                                                                                                                                                                                            added default value 1000,
                                                               max value 1000                                                                                    for                             the parameter                                                                                                   limit




                           2021-06-17
                                    Update endpoint                                                                                for                      Savings:
                                                                   GET /sapi/v1/lending/daily/product/list                                                                                                                                                                                                                                                                  to                  include new
                                                               parameters                                                               current                                                          and                                 size




                           2021-06-15
                                    New endpoints                                                                        for                Sub-Account:
                                                                   POST /sapi/v1/managed-subaccount/deposit     deposit assets into                                                                                                                                                                                                                                                 to
                                                               the managed sub-account (only for investor master account)
                                                                GET /sapi/v1/managed-subaccount/asset to query managed sub-
                                                               account asset details (only for investor master account)
                                                                POST /sapi/v1/managed-subaccount/withdraw to withdrawal assets
                                                               from the managed sub-account (only for investor master account)



                           2021-06-04
                           On August 01, 2021 02:00 AM UTC the WAPI endpoints                                                                                                                                                                                                                                                                                                                                                    will                             be
                           discontinued:

                                        GET /wapi/v3/systemStatus.html
                                        POST /wapi/v3/withdraw.html
                                        GET /wapi/v3/depositHistory.html
                                        GET /wapi/v3/withdrawHistory.html
                                        GET /wapi/v3/depositAddress.html
                                        GET /wapi/v3/accountStatus.html
                                        GET /wapi/v3/apiTradingStatus.html
                                        GET /wapi/v3/userAssetDribbletLog.html
                                        GET /wapi/v3/assetDetail.html
                                        GET /wapi/v3/tradeFee.html
                                        GET /wapi/v3/sub-account/list.html
                                        GET /wapi/v3/sub-account/transfer/history.html
                                        POST /wapi/v3/sub-account/transfer.html
                                        GET /wapi/v3/sub-account/assets.html


                           The WAPI endpoints have been removed from Binance API
                           Documentation.To ensure your trading strategies are not affected, all API
                           users are encouraged to upgrade trading bots to SAPI endpoints as soon as
                           possible.



                           2021-05-26
                                    Update endpoint for Wallet:
                                          New transfer types MAIN_PAY PAY_MAIN added in Universal                                                                                                                                                                            ,


                                          Transfer endpoint POST /sapi/v1/asset/transfer and GET /sapi/v
                                          1/asset/transfer to support trasnfer assets between spot account
                                          and pay account



                           2021-05-12
                                    Added Data Source in the documentation to explain where each
                                    endpoint is retrieving its data
                                    Added field Data Source to each Spot API endpoint in the
                                    documentation
                                    GET api/v3/exchangeInfo now supports single or multi-symbol query



                           2021-04-28
                           On May 15, 2021 08:00 UTC the SAPI Create Margin Account endpoint                                                                                                                                                                                                                                                                                                                                                                                                                                         will
                           be discontinued:

                                        POST /sapi/v1/margin/isolated/create


                           Isolated Margin account creation and trade preparation can be completed
                           directly through Isolated Margin funds transfer POST /sapi/v1/margin/isola
                           ted/transfer




                           2021-04-26
                           On April 28, 2021 00:00 UTC the weights                                                                                                                                                                                                                                           to               the following endpoints                                                                                                                                                                       will
                           be adjusted:

                                        GET /api/v3/order             weight increased to 2
                                        GET /api/v3/openOrders             weight increased to 3
                                        GET            /api/v3/allOrders weight increased to 10
                                        GET            /api/v3/orderList weight increased to 2
                                        GET            /api/v3/openOrderList weight increased to 3
                                        GET            /api/v3/account weight increased to 10
                                        GET            /api/v3/myTrades weight increased to 10
                                        GET            /api/v3/exchangeInfo weight increased to 10




                           2021-04-08
                                    Update endpoint                                                                                for                      Sub-Account:
                                                                   GET /sapi/v1/sub-account/futures/accountSummary                                                                                                                                                                                                                                                                                                                                    and                                         GET /sap
                                                               i/v2/sub-account/futures/accountSummary                                                                                                                                                                                                                              the unit of field                                                                                                                                                              asset
                                                               changed                                                   to            USD valued summary                                                                                                                                                    of               sub-account assets



                           2021-04-02
                                    New endpoints                                                                        for                Wallet:
                                                                         query system status
                                                                   GET /sapi/v1/system/status to
                                          GET /sapi/v1/account/status to query account status
                                          GET /sapi/v1/account/apiTradingStatus to query account API
                                         trading status
                                          GET /sapi/v1/asset/dribblet to query dust log
                                          GET /sapi/v1/asset/assetDetail to query asset detail
                                          GET /sapi/v1/asset/tradeFee to query trade fee
                                    New endpoint for Sub-Account:
                                          GET /sapi/v3/sub-account/assets to query sub-account assets




                           2021-04-01
                                    Update endpoint                                                                                for                      Sub-Account:
                                                                   GET /sapi/v1/sub-account/transfer/subUserHistory                                                                                                                                                                                                                                                                                                                                               new fields                                                             fr
                                                               omAccountType                                                                                and                                  toAccountType                                                                                                    added                                            in               response



                           2021-03-31
                                    Update endpoint                                                                                for                      Sub-Account:
                                                                   GET /wapi/v3/sub-account/transfer/history.html                                                                                                                                                                                                                                added new
                                                               parameters fromEmail and toEmail                                                                                                                                                                                                                           ,       the original parameter email
                                                               is equal to fromEmail by default




                           2021-03-08
                                    New endpoint                                                                     for               Sub-Account:
                                                                   POST /sapi/v1/sub-account/virtualSubAccount                                                                                                                                                                                                                                                                                                   to                          support create                                                                                      a
                                                               virtual sub-account
                                                                   GET /sapi/v1/sub-account/listsupport query sub-account list                                                                                                                                                                       to
                                                               POST /sapi/v1/sub-account/blvt/enable to support enable blvt for
                                                               sub-account



                           2021-03-05
                                    New endpoints                                                                        for                Margin:
                                                                   GET /sapi/v1/margin/interestRateHistory                                                                                                                                                                                                                                                                  to                  support margin
                                                               interest rate history query



                           2021-02-08
                                    New endpoints                                                                        for                Futures:
                                                                   GET /sapi/v2/futures/loan/wallet                            support BUSD loan query                                                                                                                                                                to
                                                                   GET                         /sapi/v2/futures/loan/configs to support BUSD loan query
                                                                   GET                         /sapi/v2/futures/loan/calcAdjustLevel to support BUSD
                                                               loan
                                                                   GET /sapi/v2/futures/loan/calcMaxAdjustAmount                                                                                                                                                                                                                                                                                                                     to                       support
                                                               adjustment                                                              of               BUSD loan
                                                                   POST /sapi/v2/futures/loan/adjustCollateral                                                                                                                                                                                                                                                                                                   to                          support
                                          adjustment                                                                                   of  BUSD loan
                                    Update endpoints                                                                                    for Futures
                                                                                                                    new
                                                                   GET /sapi/v1/futures/loan/adjustCollateral/history
                                                               parameter and fields in response loanCoin for BUSD loan
                                                                GET /sapi/v1/futures/loan/liquidationHistory new parameter
                                                               and fields in response loanCoin for BUSD loan



                           2021-02-04
                                    New transfer types                                                                                          MARGIN_MINING                                                                                                    ,       MINING_MARGIN                                                                                          ,           MARGIN_C2C                                                                                             ,       C2C_MARG
                                    IN       ,     MARGIN_CMFUTURE                                                                              added   ,       CMFUTURE_MARGIN                                                                                                                                                                        in           Universal Transfer
                                    endpoint                                               POST                          /sapi/v1/asset/transfer and                                                                                                                                                                                                  GET /sapi/v1/asset/transf
                                    er       .




                           2021-01-15
                                    New endpoint DELETE /sapi/v1/margin/openOrders for Margin Trade
                                         This will allow a user to cancel all open orders on a single symbol
                                         for margin account.
                                         This endpoint will cancel all open orders including OCO orders for
                                         margin account.



                           2021-01-10
                                    New parameter                                                                          pageSize for                                                                                      Mining endpoint                                                                                                                   GET /sapi/v1/mining/paym
                                    ent/list
                                    New fields                                                 in        response                                                    to                      Mining endpoint                                                                                                                      GET /sapi/v1/mining/paymen
                                    t/list                         :




                                         "type" for income type
                                         "hashTransfer" for resale Hashrate
                                         "transferAmount" for transferred Income
                                    New Mining endpoints:
                                                                   GET /sapi/v1/mining/payment/other
                                                                   GET /sapi/v1/mining/hash-transfer/config/details
                                                                   GET /sapi/v1/mining/hash-transfer/config/details/list
                                                                   GET /sapi/v1/mining/hash-transfer/profit/details
                                                                   POST /sapi/v1/mining/hash-transfer/config
                                                                   POST /sapi/v1/mining/hash-transfer/config/cancel




                           2021-01-01
                           USER DATA STREAM

                                        outboundAccountInfo                                                                                                 has been removed.



                           2020-12-30
                                    New endpoint                                                                     for               Wallet:
                                                                   POST /sapi/v1/asset/transfer support user universal transfer                                                                                                                                                              to
                                                               among Spot, Margin, Futures, C2C, MINING accounts.
                                                               GET /sapi/v1/asset/transfer to get user universal transfer history.




                           2020-12-22
                                    New endpoint                                                                     for               Sub-Account:
                                                                   GET /sapi/v1/sub-account/sub/transfer/history                                                                                                                                                                                                                                                                                                                     to                       get spot asset
                                                               transfer history.



                           2020-12-11
                                    Update endpoints                             Futures Cross-Collateral:                              for
                                                                GET /sapi/v1/futures/loan/wallet new fields in response interes
                                                               tFreeLimit for total interest free limit, interestFreeLimitUsed for
                                                               interest free limit used.
                                                                GET /sapi/v1/futures/loan/interestHistory new fields in
                                                               response interestFreeLimitUsed for interest free limit used.



                           2020-12-04
                                    Update endpoint                                                                                for                      BLVT:
                                                                   GET /sapi/v1/blvt/tokenInfo                                                                                                                                                                                       new fields                                                                in           response                                                                                      currentBaske
                                                               ts                  (include                                            symbol                                            ,           amount                                              ,               notionalValue                                                                                              ),          purchaseFeePct                                                                                                              ,       dail
                                                               yPurchaseLimit                                                                               ,        redeemFeePct                                                                                            ,       dailyRedeemLimit                                                                                                                    .


                                    New endpoint                                                                     for               BLVT:
                                                                   GET /sapi/v1/blvt/userLimit to                                                                                                                                                                                                     get BLVT user                                                                                          limit info.




                           2020-12-02
                                    New endpoints                                                                        for                Sub-Account:
                                                                   GET /sapi/v2/sub-account/futures/account  get detail on sub-                                                                                                                                                                                                                                                     to
                                                               account's USDT margined futures account and COIN margined
                                                               futures account.
                                                                GET /sapi/v2/sub-account/futures/accountSummary to get
                                                               summary of sub-account's USDT margined futures account and
                                                               COIN margined futures account.
                                                                GET /sapi/v2/sub-account/futures/positionRisk to get position
                                                               risk of sub-account's USDT margined futures account and COIN
                                                               margined futures account.



                           2020-12-01
                                    Update Margin Trade Endpoint:
                                                                   POST /sapi/v1/margin/order new parameter quoteOrderQty allow
                                                               a user to specify the total quoteOrderQty spent or received in the
                                                                MARKET order.




                           2020-11-27
                           New API clusters have been added                                                                                                                                                                                      in                  order                                        to                  improve performance.

                           Users can access any                                                                                         of                  the following API clusters,                                                                                                                                                                            in           addition                                                                          to api.binanc
                           e.com


                           If there are any performance issues with accessing                                                                                                                                                                                                                                                                                       api.binance.com                                                                                                                                please
                           try any of the following instead:


                                    https://api1.binance.com/api/v3/*
                                    https://api2.binance.com/api/v3/*
                                    https://api3.binance.com/api/v3/*



                           2020-11-16
                                    Updated endpoints                                                                                               for                  Margin, new parameter                                                                                                                                                                     archived to                                                                                            query data
                                    from 6 months ago:
                                                                   GET /sapi/v1/margin/loan
                                                                   GET /sapi/v1/margin/repay
                                                                   GET /sapi/v1/margin/interestHistory




                           2020-11-13
                                    New endpoints                                                                        for                Sub-Account:
                                                                   POST /sapi/v1/sub-account/universalTransfer transfer spot                                                                                                                                                                                                                                                                                     to
                                                               and futures asset between master account and sub accounts.
                                                                GET /sapi/v1/sub-account/universalTransfer to search transfer
                                                               records.



                           2020-11-10
                                    New endpoint                          toggle BNB Burn:                           to
                                                               POST /sapi/v1/bnbBurn to toggle BNB Burn on spot trade and
                                                               margin interest.
                                                               GET /sapi/v1/bnbBurn to get BNB Burn status.




                           2020-11-09
                                    New                field tranId                                                                    is           available from endpoints:
                                                                   GET /sapi/v1/sub-account/futures/internalTransfer
                                                                   GET /sapi/v1/sub-account/transfer/subUserHistory




                           2020-11-03
                                    Update endpoints                                                                                    for                  Futures Cross-Collateral:
                                                                   GET /sapi/v1/futures/loan/repay/history                                                                                                                                                                                                                                                                  new fields                                                                                    in                  response
                                                                  normal repayment, COLLATERAL for
                                                                   repayType                                                   (       NORMAL for
                                         collateral repayment), price (collateral repayment rate), repayColl
                                         ateral (collateral amount for collateral repayment).
                                          GET /sapi/v1/futures/loan/wallet new fields in response totalIn
                                         terest (total interest for cross-collateral), principalForInterest
                                         (cross-collateral principal for interest), interest (cross-collateral
                                         interest).
                                          GET /sapi/v1/futures/loan/configs new fields in response intere
                                         stRate (interest rate for cross-collateral), interestGracePeriod
                                         (interest grace period for cross-collateral).
                                    New endpoints for Futures Cross-Collateral:
                                                                   GET /sapi/v1/futures/loan/collateralRepayLimit  check the                                                                                                                                                                                                                                                                                                                     to
                                                               maximum and minimum limit when repay with collateral.
                                                                GET /sapi/v1/futures/loan/collateralRepay to get quote for
                                                               collateral repayment.
                                                                POST /sapi/v1/futures/loan/collateralRepay to repay with
                                                               collateral.
                                                                GET /sapi/v1/futures/loan/collateralRepayResult to check
                                                               collateral repayment result.
                                                                GET /sapi/v1/futures/loan/interestHistory to get cross-
                                                               collateral interest history.



                           2020-10-14
                                    Update endpoints                            Futures Cross-Collateral:                               for
                                                                POST /sapi/v1/futures/loan/borrow and GET /sapi/v1/futures/lo
                                                               an/borrow/history new field borrowId in response for ID of Cross-
                                                               Collateral borrow operation.
                                                                POST /sapi/v1/futures/loan/repay and GET /sapi/v1/futures/loa
                                                               n/repay/history new field repayId in response for ID of Cross-
                                                               Collateral repay operation.



                           2020-10-10
                                    New        added in the endpoint POST /sapi/v1/sub-account/futures/tr
                                                           type
                                    ansfer to support transfer asset from subaccount's spot account to its
                                    COIN-margined futures account and transfer asset from subaccount's
                                    COIN-margined futures account to its spot account.



                           2020-09-30
                                    Update endpoints                                                                                    for                  Margin Account:
                                                                   GET /sapi/v1/margin/maxBorrowable                                                                                                                                                                                                                              new                              field borrowLimit in
                                                               response                                                   for               account borrow                                                                                                               limit.




                           2020-09-28
                                    New endpoints                                                                        for                Binance Savings:
                                                                   POST /sapi/v1/lending/positionChanged to                                                                                                                                                                                                                                                                     change fixed/activity
                                           position to daily position.
                                    New parameter ACTIVITY replace                                                                                                                                                                                           REGULAR in                                                                       the following Binance
                                    Savings endpoints:
                                                                   GET /sapi/v1/lending/project/list
                                                                   POST /sapi/v1/lending/customizedFixed/purchase
                                                                   GET /sapi/v1/lending/project/position/list
                                                                   GET /sapi/v1/lending/union/purchaseRecord
                                                                   GET /sapi/v1/lending/union/interestHistory




                           2020-09-23
                                    New SAPI endpoints                                                                                                  for                          BSwap:
                                                                   GET /sapi/v1/bswap/pools                                                                                                                                                              to list all                                               swap pools.
                                                                   GET /sapi/v1/bswap/liquidity to                                                                                                                                                                                                               get liquidity information                                                                                                                                                                         of a
                                                               pool.
                                                                   POST /sapi/v1/bswap/liquidityAdd                                                                                                                                                                                                                   to               add liquidity.
                                                                   POST /sapi/v1/bswap/liquidityRemove                                                                                                                                                                                                                                  to remove liquidity.
                                                                   GET /sapi/v1/bswap/liquidityOps                                                                                                                                                                                                                to                  get liquidity operation
                                                               record.
                                                                   GET /sapi/v1/bswap/quote                                                                                                                                                           request quotes.
                                                                                                                                                                                                                                                         to
                                                                   POST /sapi/v1/bswap/swap                                                                                                                                                        to swap.
                                                                   GET /sapi/v1/bswap/swap                                                                                                                                                       to get swap history.




                           2020-09-16
                                    New SAPI endpoints                                                                                                  for                          BLVT:
                                                                   GET /sapi/v1/blvt/tokenInfo to                                                                                                                                                                                                     get BLVT                                                         info.
                                                                   POST /sapi/v1/blvt/subscribe                                                                                                                                                                                              (HMAC SHA256) to                                                                            subscribe BLVT.
                                                                   GET /sapi/v1/blvt/subscribe/record                                                                                                                                                                                                                                     (HMAC                                     SHA256) to get
                                                               subscription record。
                                                                   POST /sapi/v1/blvt/redeem                                                                                                                                                                 (HMAC SHA256) to                                                                                       redeem BLVT.
                                                                   GET /sapi/v1/blvt/redeem/record                                                                                                                                                                                                                (HMAC                                        SHA256 to get redemption
                                          record.
                                    The BLVT NAV system is working relatively with Binance Futures, so some
                                    endpoints are based on futures system:
                                                               New endpoint to get historical BLVT Kline.
                                                               New WebSocket streams for BLVT Info and BLVT NAV Kline:

                           2020-09-09
                           USER DATA STREAM

                                                          has been deprecated.
                                        outboundAccountInfo
                                     outboundAccountInfo will be removed in the future. (Exact date unknown)
                                    Please use outboundAccountPosition instead.
                                     outboundAccountInfo will now only show the balance of non-zero assets
                                    and assets that have been reduced to 0.



                           2020-09-03
                                    New endpoint POST /sapi/v1/sub-account/futures/internalTransfer to
                                    transfer futures asset between master account and subaccount.
                                    New endpoint GET /sapi/v1/sub-account/futures/internalTransfer to
                                    get futures transfer history of subaccount.



                           2020-09-01
                                    New parameter                                                                          masterAccountTotalAsset                                                                                                                  added in the endpoint                                                                                                                                                                                                                          GET /sa
                                    pi/v1/sub-account/spotSummary to                                                                                                                                                                                         get BTC valued asset summary                                                                                                                                                                                                                          of
                                    master account.



                           2020-08-27
                                    New endpoint                                                                      GET /sapi/v1/sub-account/spotSummary to                                                                                                                                                                                                                                                                                        get BTC valued
                                    asset summary                                                                        of            subaccout.



                           2020-08-26
                                    New parameter                                                                          symbols                                                       added                                               in              the endpoint                                                                                           GET /sapi/v1/margin/iso
                                    lated/account                                                                .




                           2020-07-28
                           ISOLATED MARGIN

                                    New parameters "isIsolated" and "symbol" added                                                                                                                                                                                                                                                                                          for                          isolated margin                                                                                                            in
                                    the following endpoints:
                                                                   POST /sapi/v1/margin/loan
                                                                   POST /sapi/v1/margin/repay
                                    New parameter "isIsolated" and new response                                                                                                                                                                                                                                                                           field                             "isIsolated" added                                                                                                                           for
                                    isolated margin in the following endpoints:
                                                                   POST /sapi/v1/margin/order
                                                                   DELETE /sapi/v1/margin/order
                                                                   GET /sapi/v1/margin/order
                                                                   GET /sapi/v1/margin/openOrders
                                                                   GET /sapi/v1/margin/allOrders
                                                                   GET /sapi/v1/margin/myTrades
                                    New parameter "isolatedSymbol" and new response field
                                    "isolatedSymbol" added for isolated margin in the following endpoints:
                                                                   GET /sapi/v1/margin/loan
                                                                   GET /sapi/v1/margin/repay
                                                                   GET /sapi/v1/margin/interestHistory
                                    New parameter "isolatedSymbol" and new response                                                                                                                                                                                                                                                                                                             field                                            "isIsolated"
                                    added for isolated margin in the following endpoint                                                                                                                                                                                                                                                                                                              GET /sapi/v1/margi
                                    n/forceLiquidationRec

                                    New parameter "isolatedSymbol" added                                                                                                                                                                                                                                         for                      isolated margin                                                                                                                 in                  the
                                    following endpoints:
                                                                   GET /sapi/v1/margin/maxBorrowable
                                                                   GET /sapi/v1/margin/maxTransferable
                                    New endpoints                                                                        for                isolated margin:
                                                                   POST /sapi/v1/margin/isolated/create
                                                                   POST /sapi/v1/margin/isolated/transfer
                                                                   GET /sapi/v1/margin/isolated/transfer
                                                                   GET /sapi/v1/margin/isolated/account
                                                                   GET /sapi/v1/margin/isolated/pair
                                                                   GET /sapi/v1/margin/isolated/allPairs
                                    New endpoints                                                                        for                listenKey management                                                                                                                                                              of                  isolated margin account:
                                                                   POST /sapi/v1/userDataStream/isolated
                                                                   PUT /sapi/v1/userDataStream/isolated
                                                                   DELETE /sapi/v1/userDataStream/isolated




                           2020-07-20
                                    The max value of parameter "limit"                                                                                                                                                                                               in GET /sapi/v1/margin/allOrders
                                    has been changed as 500.



                           2020-07-17
                                    There is now a request limit specifically for the sapi/v1/margin/allOrders
                                    endpoint at 60 raw requests per minute for a single IP address.



                           2020-07-13
                                    New SAPI Endpoints                                                                                                  for                          futures Cross-Collateral:
                                                                   POST /sapi/v1/futures/loan/borrow
                                                                   GET /sapi/v1/futures/loan/borrow/history
                                                                   POST /sapi/v1/futures/loan/repay
                                                                   GET /sapi/v1/futures/loan/repay/history
                                                                   GET /sapi/v1/futures/loan/wallet
                                                                   GET /sapi/v1/futures/loan/configs
                                                                   GET /sapi/v1/futures/loan/calcAdjustLevel
                                                                   GET /sapi/v1/futures/loan/calcMaxAdjustAmount
                                                                   POST /sapi/v1/futures/loan/adjustCollateral
                                                                   GET /sapi/v1/futures/loan/adjustCollateral/history
                                                                   GET /sapi/v1/futures/loan/liquidationHistory




                           2020-06-28
                                    SAPI Endpoints                                                                       for                futures:
                                                                   POST /sapi/v1/futures/transfer
                                                                   GET /sapi/v1/futures/transfer




                           2020-05-06
                                    New endpoints                                                                        for                Mining:
                                                                   GET /sapi/v1/mining/pub/algoList
                                                                   GET /sapi/v1/mining/pub/coinList
                                                                   GET /sapi/v1/mining/worker/detail
                                                                   GET /sapi/v1/mining/worker/list
                                                                   GET /sapi/v1/mining/payment/list
                                                                   GET /sapi/v1/mining/statistics/user/status
                                                                   GET /sapi/v1/mining/statistics/user/list




                           2020-05-03
                                    New request limit for some margin endpoints
                                          Changes on these endpoints:
                                                                   POST /sapi/v1/margin/transfer
                                                                   POST /sapi/v1/margin/loan
                                                                   POST /sapi/v1/margin/repay
                                                               Limit to 1 every 2 seconds。
                                                               Request beyond the limit will receive HTTP status code                                                                                                                                                                                                                                                                                                                                                                     429                      。



                           2020-05-01
                                    From 2020-05-01 UTC 00:00, all symbols will have a limit of 200 open
                                    orders using the MAX_NUM_ORDERS filter.
                                           No existing orders will be removed or canceled.
                                           Accounts that have 200 or more open orders on a symbol will not
                                           be able to place new orders on that symbol until the open order
                                           count is below 200.
                                           OCO orders count as 2 open orders before the LIMIT order is
                                           touched or the STOP_LOSS (or STOP_LOSS_LIMIT ) order is triggered;
                                           once this happens the other order is canceled and will no longer
                                           count as an open order.



                           2020-04-25

                           SPOT API
                                    New                field permissions
                                                               Defines the trading permissions that are allowed on accounts and
                                                               symbols.
                                                                permissions is an enum array; values:
                                                                                                         SPOT
                                                                                                         MARGIN
                                                                   permissions will                                                                                          replace                                                         isSpotTradingAllowed                                                                                                            and isMarginTradi
                                                               ngAllowed                                                       on                       GET api/v3/exchangeInfo in                                                                                                                                                                                     future API versions
                                            (v4+).
                                            For an account to trade on a symbol, the account and symbol must
                                            share at least 1 permission in common.
                                    Updates to GET api/v3/exchangeInfo
                                            New field permissions added.
                                            New field quoteAssetPrecision added; a duplicate of the quotePre
                                            cision field. quotePrecision will be removed in future API
                                            versions (v4+).
                                    Updates to GET api/v3/account
                                            New field permissions added.
                                    New endpoint DELETE api/v3/openOrders
                                            This will allow a user to cancel all open orders on a single symbol.
                                            This endpoint will cancel all open orders including OCO orders.
                                    Orders can be canceled via the API on symbols in the BREAK or HALT
                                    status.

                           USER DATA STREAM
                                        OutboundAccountInfo                                                                 has new                                                                                                  field P                                                     which shows the trading
                                    permissions                                                     of               the account.



                           2020-04-23
                           WEB SOCKET STREAM

                                    WebSocket connections have a limit of 5 incoming messages per second.
                                    A message is considered:
                                           A PING frame
                                           A PONG frame
                                           A JSON control message (e.g. subscribe, unsubscribe)
                                    A connection that goes beyond the limit will be disconnected; IPs that are
                                    repeatedly disconnected may be banned.
                                    A single connection can listen to a maximum of 1024 streams.

                           2020-04-16
                                    New fields                                                 in        response                                                    to                      endpoint                                                                GET /sapi/v1/lending/daily/token/po
                                    sition ：

                                                                   todayPurchasedAmount for                                                                                                                   user's purchased amount today
                                    New lending endpoints                                                                                                                        for                     customized fixed projects:
                                                                   GET /sapi/v1/lending/project/list
                                                                   POST /sapi/v1/lending/customizedFixed/purchase
                                                                   GET /sapi/v1/lending/project/position/list




                           2020-04-02
                                    New fields                                                 in        response                                                    to                      endpoint                                                                GET /sapi/v1/capital/config/getal
                                    l ：
                                                                   minConfirm for                                                                           min number for balance confirmation
                                                                   unLockConfirm                                                                            for confirmation number for balance unlock




                           2020-03-24
                                        MAX_POSITION filter                                                                                 added.
                                                               This filter defines the allowed maximum position an account can
                                                               have on the base asset of a symbol. An account's position defined
                                                               as the sum of the account's:
                                                                       free balance of the base asset
                                                                       locked balance of the base asset
                                                                       sum of the qty of all open BUY orders
                                                                BUY orders will be rejected if the account's position is greater than
                                                               the maximum position allowed.



                           2020-03-13
                                    New parameter                                                                             available in endpoint:
                                                                                                                           transactionFeeFlag                                                                                                                                        is
                                                                   POST                             /sapi/v1/capital/withdraw/apply and
                                                                   POST /wapi/v3/withdraw.html




                           2020-02-05
                                    New sub account endpoints:
                                                                   POST /sapi/v1/sub-account/futures/transfer                                                                                                                                                                                                                                                                                        to                          transfer between
                                                               futures and spot accout                                                                                                                                               of              sub-account.
                                                                   POST /sapi/v1/sub-account/margin/transfer                                                                                                                                                                                                                                                                                to                       transfer between
                                                               margin and spot accout                                                                                                                                                of              sub-account.
                                                                   POST /sapi/v1/sub-account/transfer/subToSub                                                                                                                                                                                                                                                                                                   to                          transfer                                                          to
                                                               another account by sub-account.
                                                                   POST /sapi/v1/sub-account/transfer/subToMaster                                                                                                                                                                                                                                                                                                                                to                   transfer                                                  to
                                                               same master by sub-account.
                                                                   GET /sapi/v1/sub-account/transfer/subUserHistory to                                                                                                                                                                                                                                                                                                                                                                    get
                                                               transfer history                                                                              of                      sub-account.



                           2020-01-15
                                    New parameter                                                                          withdrawOrderId                                                                                                               for                         client customized withdraw                                                                                                                                                                                                id for
                                    endpoint POST                                                                        /wapi/v3/withdraw.html                                                                                                                                                      .




                                    New                field withdrawOrderId in                                                                                                                                                  response                                                                to GET /wapi/v3/withdrawHistor
                                    y.html




                           2019-12-25
                                    New endpoints                                                                        for                Binance Savings:
                                                                   GET /sapi/v1/lending/daily/product/list
                                                                   GET /sapi/v1/lending/daily/userLeftQuota
                                                                   POST /sapi/v1/lending/daily/purchase
                                                                   GET /sapi/v1/lending/daily/userRedemptionQuota
                                                                   POST /sapi/v1/lending/daily/redeem
                                                                   GET /sapi/v1/lending/daily/token/position
                                                                   GET /sapi/v1/lending/union/account
                                                                   GET /sapi/v1/lending/union/purchaseRecord
                                                                   GET /sapi/v1/lending/union/redemptionRecord
                                                                   GET /sapi/v1/lending/union/interestHistory
                                    Added time interval                                                                                             limit in
                                        GET /sapi/v1/capital/withdraw/history                                                                                                                                                                                                                                ,


                                        GET /wapi/v3/withdrawHistory.html                                                                                                                                                                                                    ,


                                        GET /sapi/v1/capital/deposit/hisrec                                                                                                                                                                                                                          and
                                        GET /wapi/v3/depositHistory.html                                                                                                                                                                                             :




                                                               The default startTime is 90 days from current time, and the
                                                               default endTime is current time.
                                                               Please notice the default startTime and endTime to make sure
                                                               that time interval is within 0-90 days.
                                                               If both startTime and endTime are sent, time between startTime

                                                               and endTime must be less than 90 days.



                           2019-12-18
                                    New endpoint                                                                     to            get daily snapshot                                                                                                                            of                  account:
                                        GET /sapi/v1/accountSnapshot




                           2019-11-30
                                    Added parameter sideEffectType                                                                                                                                                                                           in POST /sapi/v1/margin/order                                                                                                                                                                                                                             (HMAC
                                    SHA256) with enums:

                                                              normal trade order;
                                                                   NO_SIDE_EFFECT for
                                           MARGIN_BUY for margin trade order;
                                           AUTO_REPAY for making auto repayment after order filled.
                                    New field marginBuyBorrowAmount and marginBuyBorrowAsset in                                                                                                                                                                                                                                                                                                                                                                                                            FULL
                                    response to POST /sapi/v1/margin/order (HMAC SHA256)




                           2019-11-28
                                    New SAPI endpont                                                                                        to               disable fast withdraw switch:
                                        POST /sapi/v1/account/disableFastWithdrawSwitch                                                                                                                                                                                                                                                                                                     (HMAC SHA256)
                                    New SAPI endpont                                                                                        to               enable fast withdraw switch:
                                        POST /sapi/v1/account/enableFastWithdrawSwitch                                                                                                                                                                                                                                                                                              (HMAC SHA256)




                           2019-11-22
                                    Quote Order Qty Market orders have been enabled on all symbols.
                                          Quote Order Qty MARKET orders allow a user to specify the total qu
                                          oteOrderQty spent or received in the MARKET order.
                                          Quote Order Qty MARKET orders will not break LOT_SIZE filter
                                          rules; the order will execute a quantity that will have the notional
                                          value as close as possible to quoteOrderQty                                                                                                                                                                                                                                                                                       .


                                          Using BNBBTC as an example:
                                                  On the BUY side, the order will buy as many BNB as quoteOr
                                                  derQty BTC can.
                                                  On the SELL side, the order will sell as much BNB as needed
                                                  to receive quoteOrderQty BTC.




                           2019-11-19
                                        GET /sapi/v1/sub-account/margin/account                                                                                                                                                                                                                                                   has new                                                       field: marginTradeCoe
                                    ffVo                which contains
                                                                   forceLiquidationBar for                                                                               liquidation margin ratio
                                                                   marginCallBar                                                                             for margin call margin ratio
                                                                   normalBar for                                                                            initial margin ratio




                           2019-11-13

                           Rest API
                                    api/v3/exchangeInfo has new                                                                                                                                                              fields:
                                                                   quoteOrderQtyMarketAllowed
                                                                   baseCommissionPrecision
                                                                   quoteCommissionPrecision
                                        MARKETorders have a new optional field: quoteOrderQty used to specify
                                    the quote quantity to BUY or SELL. This cannot be used in combination
                                    with quantity                                                                .


                                            The exact timing that quoteOrderQty MARKET orders will be
                                            enabled is TBD. There will be a separate announcement and
                                            further details at that time.
                                    All order query endpoints will return a new field origQuoteOrderQty in
                                    the JSON payload. (e.g. GET api/v3/allOrders)

                                    Updated error messages                                                                                                                               for                         -1128
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          {
                                                               Sending an
                                                            with a stopLimitPrice but without a stopLimitTi                             OCO                                                                                                                                                                                                                                                                                                                                                                                                                                       "code" : -1128 ,
                                           meInForce will return the error:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "msg" : "Combination of optional parameters invalid. Recommendation:                                                   'stopLimitTimeInForce'




                                    Updated error messages for -1003 to specify the limit is referring to the                                                                                                                                                                                                                                                                                                                                                                                                                                                             }

                                    request weight, not to the number of requests.


                           Deprecation of v1 endpoints                                                                                                                                                       :




                           By end of Q1 2020, the following endpoints will be removed from the API.
                           The documentation has been updated to use the v3 versions of these
                           endpoints.

                                    GET api/v1/depth
                                    GET api/v1/historicalTrades
                                    GET api/v1/aggTrades
                                    GET api/v1/klines
                                    GET api/v1/ticker/24hr
                                    GET api/v1/ticker/price
                                    GET api/v1/exchangeInfo
                                    POST api/v1/userDataStream
                                    PUT api/v1/userDataStream
                                    GET api/v1/ping
                                    GET api/v1/time
                                    GET api/v1/ticker/bookTicker

                           These endpoints however, will NOT be migrated to v3. Please use the
                           following endpoints instead moving forward.

                                Old V1 Endpoints                                                                                                                                                                                                             New V3 Endpoints
                                GET api/v1/ticker/allPrices                                                                                                                                                                                                  GET api/v3/ticker/price

                                GET api/v1/ticker/allBookTickers                                                                                                                                                                                             GET api/v3/ticker/bookTicker


                           USER DATA STREAM
                                    Changes                                        to executionReport                                                                                                                event
                                                               If              the                  C field                                 is              empty,                                                   it              will                    now properly return                                                                                                                                                     null                                     ,           instead                                   of
                                                                   "null"                                    .


                                                               New                              field                     Q which represents the                                                                                                                                                                 quoteOrderQty                                                                                               .


                                        balanceUpdate                                                                    event type added
                                                               This event occurs when funds are deposited or withdrawn from
                                                               your account.

                           WEB SOCKET STREAM
                                    WSS now supports                                                                                        live                         subscribing/unsubscribing                                                                                                                                                                              to                      streams.



                           2019-11-08
                                    New sapi                                           for               subaccount management on margin and futures:
                                                                   GET /sapi/v1/sub-account/status                                                                                                                                                                                                                (HMAC SHA256)
                                                                   POST /sapi/v1/sub-account/margin/enable                                                                                                                                                                                                                                                              (HMAC SHA256)
                                                                   GET /sapi/v1/sub-account/margin/account (HMAC SHA256)
                                                                   GET /sapi/v1/sub-account/margin/accountSummary                                                                                                                                                                                                                                                                                                                                (HMAC SHA256)
                                                                   POST /sapi/v1/sub-account/futures/enable                                                                                                                                                                                                                                                                         (HMAC SHA256)
                                                                   GET /sapi/v1/sub-account/futures/account                                                                                                                                                                                                                                                                         (HMAC SHA256)
                                                                   GET /sapi/v1/sub-account/futures/accountSummary                                                                                                                                                                                                                                                                                                                                    (HMAC SHA256)
                                                                   GET /sapi/v1/sub-account/futures/positionRisk                                                                                                                                                                                                                                                                                                                     (HMAC SHA256)




                           2019-11-04
                                    New sapi endpoints                                                                                              for                          subaccount wallet.
                                                                   GET /sapi/v1/capital/deposit/subAddress (HMAC SHA256))                                                                                                                                                                                                                                                                                                                                                                                      :    fetch
                                                               subaccount deposit address.
                                                                   GET /sapi/v1/capital/deposit/subHisrec                                                                                                                                                                                                                                                           (HMAC SHA256))                                                                                                                     :       fetch
                                                               subaccount deposit history.



                           2019-10-29
                                    New sapi endpoints                                                                                              for                          wallet.
                                                                   POST /sapi/v1/capital/withdraw/apply                                                                                                                                                                                                                                                   (HMAC SHA256)                                                                                                           :       withdraw.
                                                                   Get /sapi/v1/capital/withdraw/history (HMAC SHA256)                                                                                                                                                                                                                                                                                                                                                                    :fetch
                                                               withdraw history with network.



                           2019-10-14
                                    New sapi endpoints                                                                                              for                          wallet.
                                                                   GET /sapi/v1/capital/config/getall                                                                                                                                                                                                                                     (HMAC SHA256)                                                                                                   :           get                          all                  coins'
                                                               information                                                              for                     user.
                                                                   GET /sapi/v1/capital/deposit/hisrec (HMAC SHA256)                                                                                                                                                                                                                                                                                                                                                  :           fetch
                                                               deposit history with network.
                                                                   GET /sapi/v1/capital/deposit/address (HMAC SHA256)                                                                                                                                                                                                                                                                                                                                                             :       fetch
                                                               deposit address with network.



                           2019-10-11
                                    Added parameter network in POST /wapi/v3/withdraw.html so that asset
                                    can be withdrawed with specific network.



                           2019-09-09
                                    New WebSocket streams                                                                                                                                    for                     bookTickers added:                                                                                                                                 <symbol>@bookTicker
                                    and !bookTicker                                                                            .




                           2019-09-03
                                    Faster order book data with 100ms updates:                                                                                                                                                                                                                                                                <symbol>@depth@100ms                                                                                                                                                          and                      <
                                    symbol>@depth#@100ms
                                    Added "Update Speed:" to Websocket Market Streams
                                    Removed deprecated v1 endpoints as per previous announcement:
                                          GET api/v1/order
                                          GET api/v1/openOrders
                                          POST api/v1/order
                                          DELETE api/v1/order
                                          GET api/v1/allOrders
                                          GET api/v1/account
                                          GET api/v1/myTrades



                           2019-08-16
                                    GET api/v1/depth                                                                                    limit of                                                             10000 has been temporarily removed
                                    In Q4 2017, the following endpoints were deprecated and removed from
                                    the API documentation. They have been permanently removed from the
                                    API as of this version. We apologize for the omission from the original
                                    changelog:
                                           GET api/v1/order
                                           GET api/v1/openOrders
                                           POST api/v1/order
                                           DELETE api/v1/order
                                           GET api/v1/allOrders
                                           GET api/v1/account
                                           GET api/v1/myTrades
                                    Streams, endpoints, parameters, payloads, etc. described in the
                                    documents in this repository are considered official and supported The                                                                                                                                                                                                                                                                                                                                                                                                                      .


                                    use of any other streams, endpoints, parameters, or payloads, etc. is not
                                    supported; use them at your own risk and with no guarantees.




                           2019-09-15

                           Rest API
                                    New order type: OCO ("One Cancels the Other")
                                                               An OCO has       orders: (also known as legs in financial terms)             2
                                                                       STOP_LOSS or STOP_LOSS_LIMIT leg
                                                                       LIMIT_MAKER leg
                                                               Price Restrictions:
                                                                       SELL Orders     Limit Price > Last Price > Stop Price                                                                     :


                                                                       BUY Orders Limit Price < Last Price < Stop Price                                                                  :


                                                                      As stated, the prices must "straddle" the last traded price on
                                                                      the symbol. EX: If the last price is 10:
                                                                              A SELL OCO must have the limit price greater than 10,
                                                                              and the stop price less than 10.
                                                                              A BUY OCO must have a limit price less than 10, and
                                                                              the stop price greater than 10.
                                                               Quantity Restrictions:
                                                                      Both legs must have the same quantity                                                                                                                                                                                                                                                                                          .


                                                                       ICEBERG quantities however, do not have to be the same.
                                                               Execution Order:
                                                                      If the LIMIT_MAKER is touched, the limit maker leg will be

                                                                      executed first BEFORE canceling the Stop Loss Leg.
                                                                      if the Market Price moves such that the STOP_LOSS or STOP_L

                                                                      OSS_LIMIT will trigger, the Limit Maker leg will be cancelled
                                                                      BEFORE executing the STOP_LOSS Leg.
                                                               Cancelling an OCO
                                                                      Cancelling either order leg will cancel the entire OCO.
                                                                      The entire OCO can be canceled via the orderListId or the
                                                                                                         listClientOrderId                                                                                                                   .


                                                               New Enums                                                                for                     OCO:
                                                                                                         ListStatusType
                                                                                                                                                          used when ListStatus is responding to
                                                                                                                                                    RESPONSE                                                                 -                                                                                                                                                                                                                                                                                                      a
                                                                                                                                            failed action. (either order list placement or
                                                                                                                                            cancellation)
                                                                                                                                             EXEC_STARTED - used when an order list has been
                                                                                                                                            placed or there is an update to a list's status.
                                                                                                                                             ALL_DONE - used when an order list has finished
                                                                                                                                            executing and is no longer active.
                                                                                                         ListOrderStatus
                                                                                                                                                           used when an order list has been placed
                                                                                                                                                    EXECUTING                                                                        -

                                                                                                                                            or there is an update to a list's status.
                                                                                                                                             ALL_DONE - used when an order list has finished
                                                                                                                                            executing and is no longer active.
                                                                                                                                             REJECT - used when ListStatus is responding to a
                                                                                                                                            failed action. (either order list placement or
                                                                                                                                            cancellation)
                                                                                                         ContingencyType
                                                                                                                                                    OCO                          -           specifies the type                                                                                                                       of               order                                    list.
                                              New Endpoints:
                                                    POST api/v3/order/oco
                                                    DELETE api/v3/orderList
                                                    GET api/v3/orderList
                                        recvWindow cannot exceed 60000.

                                    New                    intervalLetter                                                                                   values                                                   for                 headers:
                                            SECOND => S
                                            MINUTE => M
                                            HOUR => H
                                            DAY => D
                                    New Headers X-MBX-USED-WEIGHT-(intervalNum)(intervalLetter) will
                                    give your current used request weight for the (intervalNum)
                                    (intervalLetter) rate limiter. For example, if there is a one minute request
                                    rate weight limiter set, you will get a X-MBX-USED-WEIGHT-1M header in the
                                    response. The legacy header X-MBX-USED-WEIGHT will still be returned and
                                    will represent the current used weight for the one minute request rate
                                    weight limit.
                                    New Header X-MBX-ORDER-COUNT-(intervalNum)(intervalLetter) that is
                                    updated on any valid order placement and tracks your current order
                                    count for the interval; rejected/unsuccessful orders are not guaranteed                                                                                                                                                                                                                                                                                                                                                                                                                                  to
                                    have X-MBX-ORDER-COUNT-** headers in the response.
                                                               Eg.      "orders per 1 second" and X-MBX-ORD
                                                                                           X-MBX-ORDER-COUNT-1S for
                                          ER-COUNT-1D for orders per "one day"
                                    GET api/v1/depth now supports limit 5000 and 10000; weights are 50
                                    and 100 respectively.
                                    GET api/v1/exchangeInfo has                                                                                                                                                              a           new parameter                                                                                                             ocoAllowed                                                                                 .




                           USER DATA STREAM
                                        executionReport event now contains "g" which has the orderListId it                                                                                                                                                                                                                                                                                                                                                                                                                     ;


                                    will be set to -1 for non-OCO orders.
                                    New Event Type listStatus listStatus is sent on an update to any                                                                                                             ;


                                    OCO order.
                                    New Event Type outboundAccountPosition outboundAccountPosition is                                                                                                                                                                                                                 ;


                                    sent any time an account's balance changes and contains the assets that
                                    could have changed by the event that generated the balance change (a
                                    deposit, withdrawal, trade, order placement, or cancelation).

                           NEW ERRORS
                                    -1131 BAD_RECV_WINDOW
                                           recvWindow must be less than 60000
                                    -1099 Not found, authenticated, or authorized
                                          This replaces error code -1999

                           NEW -2011 ERRORS
                                    OCO_BAD_ORDER_PARAMS
                                         A parameter for one of the orders is incorrect.
                                    OCO_BAD_PRICES
                                         The relationship of the prices for the orders is not correct.
                                    UNSUPPORTED_ORD_OCO
                                         OCO orders are not supported for this symbol.



                           2019-03-12

                           Rest API
                                    X-MBX-USED-WEIGHT header added to Rest API responses.
                                    Retry-After header added to Rest API 418 and 429 responses.
                                    When canceling the Rest API can now return errorCode -1013 OR -2011
                                    if the symbol's status isn't TRADING                                                                                                                                                                                                     .


                                     api/v1/depth no longer has the ignored and empty []                                                                                                                                                                                                                                                                                                                                         .


                                     api/v3/myTrades now returns quoteQty the price * qty of for the trade.                                                                                                                                                                                              ;




                           Websocket streams
                                                   and <symbol>@depthX streams no longer have the
                                        <symbol>@depth
                                    ignored and empty []                                                                                                             .




                           System improvements
                                    Matching Engine stability/reliability improvements.
                                    Rest API performance improvements.



                           2018-11-13

                           Rest API
                                    Can now cancel orders through the Rest API during a trading ban.
                                    New filters: PERCENT_PRICE MARKET_LOT_SIZE MAX_NUM_ICEBERG_ORDERS                                                                                                ,                                                                                                                                        ,                                                                                                                                                                                          .


                                    Added RAW_REQUESTS rate limit. Limits based on the number of requests
                                    over X minutes regardless of weight.
                                    /api/v3/ticker/price increased to weight of 2 for a no symbol query.
                                    /api/v3/ticker/bookTicker increased weight of 2 for a no symbol query.
                                    DELETE /api/v3/order will now return an execution report of the final
                                    state of the order.
                                     MIN_NOTIONAL filter has two new parameters: applyToMarket (whether or
                                    not the filter is applied to MARKET orders) and avgPriceMins (the
                                    number of minutes over which the price averaged for the notional
                                    estimation).
                                     intervalNum added to /api/v1/exchangeInfo limits. intervalNum
                                    describes the amount of the interval. For example: intervalNum 5, with i
                                    nterval minute, means "every 5 minutes".


                           Explanation                                                                   for                       the average price calculation:
                                    (qty * price)                                                   of all                         trades                                            /           numTrades                                                                                   of              the trades over previous                                                                                                                                                                          5
                                    minutes.
                                    Ifthere is no trade in the last 5 minutes, it takes the first trade that
                                    happened outside of the 5min window. For example if the last trade was
                                    20 minutes ago, that trade's price is the 5 min average.
                                    Ifthere is no trade on the symbol, there is no average price and market
                                    orders cannot be placed. On a new symbol with applyToMarket enabled
                                    on the MIN_NOTIONAL filter, market orders cannot be placed until there is
                                    at least 1 trade.

                                    The current average price can be checked here: https://api.binance.co
                                    m/api/v3/avgPrice?symbol=<symbol> For example:
                                    https://api.binance.com/api/v3/avgPrice?symbol=BNBUSDT


                           User data stream
                                        Last quote asset transacted quantity (as                                                                                                                                                                                                                                                  variable                                                      Y                )           added                                                            to
                                    execution reports. Represents the                                                                                                                                                                                        lastPrice                                                                            *            lastQty                                                               (           L                *                   l       ).




                           2018-07-18

                           Rest API
                                    New                filter: ICEBERG_PARTS
                                        POST api/v3/order                                                             new defaults for newOrderRespType                                                                                                                                                                                                                                                              .               ACK                              ,               RESULT                                    ,   or
                                        FULL           ;           MARKET                                        and LIMIT order types default to FULL                                                                                                                                                                                                                                                   ,       all                             other orders
                                    default to ACK                                                               .


                                    POST api/v3/order                                                                                           RESULT                                                   and                             FULL                                            responses now have                                                                                                                                               cummulativeQu
                                    oteQty
                                    GET api/v3/openOrders with no symbol weight reduced to 40.
                                    GET api/v3/ticker/24hr with no symbol weight reduced to 40.
                                    Max amount of trades from GET /api/v1/trades increased to 1000.
                                    Max amount of trades from GET /api/v1/historicalTrades increased to
                                    1000.
                                    Max amount of aggregate trades from GET /api/v1/aggTrades increased
                                    to 1000.
                                    Max amount of aggregate trades from GET /api/v1/klines increased to
                                    1000.
                                    Rest API Order lookups now return updateTime which represents the last
                                    time the order was updated; time is the order creation time.
                                    Order lookup endpoints will now return cummulativeQuoteQty If cummulat                                                                                                                                                                                                                                                                                                                                                                            .


                                    iveQuoteQty is < 0, it means the data isn't available for this order at this
                                    time.
                                     REQUESTS rate limit type changed to REQUEST_WEIGHT This limit was                                                                                                                                                                                                                                                                                           .


                                    always logically request weight and the previous name for it caused
                                    confusion.

                           User data stream
                                        cummulativeQuoteQty fieldadded to order responses and execution
                                    reports (as variable ). Represents the cummulative amount of the quot                                           Z
                                    e that has been spent (with a BUY order) or received (with a SELL order).
                                    Historical orders will have a value < 0 in this field indicating the data is
                                    not available at this time. cummulativeQuoteQty divided by cummulativeQt
                                    y will give the average price for an order.
                                     O (order creation time) added to execution reports




                           2018-01-23
                                    GET /api/v1/historicalTrades weight decreased to 5
                                    GET /api/v1/aggTrades weight decreased to 1
                                    GET /api/v1/klines weight decreased to 1
                                    GET /api/v1/ticker/24hr all symbols weight decreased to number                                                                                                                                                                                                                                                                                                                                                                                                             of
                                    trading symbols / 2
                                    GET /api/v3/allOrders weight decreased to 5
                                    GET /api/v3/myTrades weight decreased to 5
                                    GET /api/v3/account weight decreased to 5
                                    GET /api/v1/depth limit=500 weight decreased to 5
                                    GET /api/v1/depth limit=1000 weight decreased to 10
                                    -1003 error message updated to direct users to websockets



                           2018-01-20
                                    GET /api/v1/ticker/24hr single symbol weight decreased to 1
                                    GET /api/v3/openOrders all symbols weight decreased to number                                                                                                                                                                                                                                                                                                                                                                                                                  of
                                    trading symbols / 2
                                    GET /api/v3/allOrders weight decreased to 15
                                    GET /api/v3/myTrades weight decreased to 15
                                    GET /api/v3/order weight decreased to 1
                                    myTrades will now return both sides of a self-trade/wash-trade



                           2018-01-14
                                    GET            /api/v1/aggTrades weight changed to 2
                                    GET            /api/v1/klines weight changed to 2
                                    GET            /api/v3/order weight changed to 2
                                    GET            /api/v3/allOrders weight changed to 20
                                    GET            /api/v3/account weight changed to 20
                                    GET            /api/v3/myTrades weight changed to 20
                                    GET            /api/v3/historicalTrades weight changed                                                                                                                                                                                                                                                        to               20



                           Introduction

                           API Key Setup
                                    Some endpoints will require an API Key. Please refer to this page
                                    regarding API key creation.
                                    Once API key is created, it is recommended to set IP restrictions on the
                                    key for security reasons.
                                    Never share your API key/secret key to ANYONE.


                                          the API keys were accidentally shared, please delete them
                                                   If

                                    immediately and create a new key.


                           API Key Restrictions
                                    After creating the API key, the default restrictions set will be to enable
                                    trade, allowing to make orders on the API.
                                    To enable withdrawals via the API the API key restriction needs to be                                                                                                                                                                ,


                                    modified through the Binance UI.


                           Enabling Accounts
                           Spot Account
                           A        SPOT                   account                                           is           provided by default upon creation                                                                                                                                                                                                                             of a                                     Binance Account.

                           Margin Account
                           To enable a MARGIN account                                                                                                                                            for                         Margin Trading, please refer                                                                                                                                                                                             to                          the Margin
                           Trading Guide

                           Spot Testnet
                           Users can use the SPOT Testnet                                                                                                                                                                to              practice                                                                SPOT                                  trading.

                           Currently, this                                                          is           only available                                                                                  via                     the API.

                           Please refer to the SPOT Testnet page                                                                                                                                                                                                         for                         more information and how                                                                                                                                                                                          to           set
                           up the Testnet API key.


                           API Library
                           Python connector
                           This is a lightweight library that works as                                                                                                                                                                                                                           a           connector                                                                  to                   Binance public API,
                           written in Python.

                           https://github.com/binance/binance-connector-python

                           Node.js connector
                           This is a lightweight library that works as                                                                                                                                                                                                                           a           connector                                                                  to                   Binance public API,
                           written for Node.js users.

                           https://github.com/binance/binance-connector-node

                           Postman Collections
                           There is now a Postman collection containing the API endpoints                                                                                                                                                                                                                                                                                                                                                                                                 for                  quick
                           and easy use.

                           This is recommended                                                                                              for                      new users who want                                                                                                                                               to                  get                   a               quick-start into using
                           the API.

                           For more information please refer                                                                                                                                                                             to this                                                 page: Binance API Postman

                           Swagger
                           A YAML file with OpenAPI specification on the RESTful API                                                                                                                                                                                                                                                                                                                                                 is              available                                                              to           be
                           used, as well as a Swagger UI page for the consulting.

                           https://github.com/binance/binance-api-swagger


                           Contact Us
                                    Binance API Telegram Group
                                           For any questions in sudden drop in performance with the API
                                           and/or Websockets.
                                           For any general questions about the API not covered in the
                                           documentation.
                                    Binance Developers
                                           For any questions on your code implementation with the API
                                           and/or Websockets.
                                    Binance Customer Support
                                           For cases such as missing funds, help with 2FA, etc.




                           General Info

                           General API Information
                                    The base endpoint is: https://api.binance.com
                                    If there are performance issues with the endpoint above, these API

                                    clusters are also available:
                                            https://api1.binance.com
                                            https://api2.binance.com
                                            https://api3.binance.com
                                    All endpoints return either a JSON object or array.
                                    Data is returned in ascending order. Oldest first, newest last.
                                    All time and timestamp related fields are in milliseconds                                                                                                                                                                                                                                                                                                                                                .




                           HTTP Return Codes

                                    HTTP 4XX return codes are used for malformed requests; the issue is on
                                    the sender's side.
                                    HTTP 403 return code is used when the WAF Limit (Web Application
                                    Firewall) has been violated.
                                    HTTP 429 return code is used when breaking a request rate limit.
                                    HTTP 418 return code is used when an IP has been auto-banned for
                                    continuing to send requests after receiving 429 codes.
                                    HTTP 5XX return codes are used for internal errors; the issue is on
                                    Binance's side. It is important to NOT treat this as a failure operation; the
                                    execution status is UNKNOWN and could have been a success.

                           Error Codes and Messages

                                    Ifthere                            is                  an error, the API                                                                                         will                            return an error with                                                                                                                           a            message                                                                                  of               the
                                    reason.

                                    Specific error codes and messages defined                                                                                                                                                                                                                                                 in                      Error Codes                                                                                .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         The error payload on API and SAPI                                               is       as follows:

                           General Information on Endpoints
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                                    For       endpoints, parameters must be sent as a query string
                                                   GET                                                                                                                                                                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "code" : - 1121 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "msg" : "Invalid symbol."
                                    For   POST PUT and DELETE endpoints, the parameters may be sent as a
                                                                                   ,                             ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }
                                     query string or in the request body with content type application/x-w
                                    ww-form-urlencoded You may mix parameters between both the query st                                         .


                                    ring and request body if you wish to do so.
                                    Parameters may be sent in any order.
                                    If a parameter sent in both the query string and request body  the quer                                                                                                                                                                                                                                                                                                                                                                                        ,


                                    y string parameter will be used.




                           LIMITS
                           General Info on Limits

                                    The following intervalLetter values for headers:
                                           SECOND => S
                                           MINUTE => M
                                           HOUR => H
                                           DAY => D
                                     intervalNum describes the amount of the interval. For example, interval
                                    Num 5 with intervalLetter M means "Every 5 minutes".
                                    The /api/v3/exchangeInfo rateLimits array contains objects related to
                                    the exchange's RAW_REQUESTS REQUEST_WEIGHT and ORDERS rate limits.                                                                                                                   ,                                                                                                                             ,


                                    These are further defined in the ENUM definitions section under Rate li
                                    miters (rateLimitType)                                                                                                                       .


                                    A 429                      will                        be returned when either rate                                                                                                                                                                               limit                                   is           violated.

                           IP           Limits

                                    Every request will contain X-MBX-USED-WEIGHT-(intervalNum)(intervalLett
                                    er) in the response headers which has the current used weight for the IP
                                    for all request rate limiters defined.
                                    Each route has a weight which determines for the number of requests
                                    each endpoint counts for. Heavier endpoints and endpoints that do
                                    operations on multiple symbols will have a heavier weight                                                                                                                                                                                                                                                                                                                                                         .


                                    When a 429 is received, it's your obligation as an API to back off and not
                                    spam the API.
                                    Repeatedly violating rate limits and/or failing to back off after
                                    receiving 429s will result in an automated IP ban (HTTP status 418).
                                    IP bans are tracked and scale in duration for repeat offenders, from 2
                                    minutes to 3 days                                                                                   .


                                    A Retry-After header is sent with a 418 or 429 responses and will give
                                    the number of seconds required to wait, in the case of a 429, to prevent
                                    a ban, or, in the case of a 418, until the ban is over.
                                    The limits on the API are based on the IPs, not the API keys.


                                         We recommend using the websocket for getting data as much as
                                    possible, as this will not count to the request rate limit.


                           Order Rate Limits

                                    Every successful order response will contain a X-MBX-ORDER-COUNT-(interv
                                    alNum)(intervalLetter) header which has the current order count for the
                                    account for all order rate limiters defined.
                                    Rejected/unsuccessful orders are not guaranteed to have X-MBX-ORDER-CO
                                    UNT-** headers in the response.
                                    The order rate limit is counted against each account                                                                                                                                                                                                                                                                                                                                     .




                           Websocket Limits

                                    WebSocket connections have a limit of 5 incoming messages per second.
                                    A message is considered:
                                           A PING frame
                                           A PONG frame
                                           A JSON controlled message (e.g. subscribe, unsubscribe)
                                    A connection that goes beyond the limit will be disconnected; IPs that are
                                    repeatedly disconnected may be banned.
                                    A single connection can listen to a maximum of 1024 streams.

                           /api/ and /sapi/ Limit Introduction
                           The /api/* and /sapi/* endpoints adopt either                                                                                                                                                                                                                                                                                   of           two access limiting
                           rules, IP limits or UID (account) limits.

                                    Endpoints related                                                                                  to /api/*                                                                 :




                                          According to the two modes of IP and UID (account) limit, each are
                                          independent.
                                          Endpoints share the 1200 per minute limit based on IP, excluding
                                          the new order endpoint POST /api/v3/order which has specific
                                          limits of 50 per 10 seconds and 160000 per day based on UID.
                                          Responses contain the header X-MBX-USED-WEIGHT-(intervalNum)(i
                                          ntervalLetter) defining the weight used by the current IP.                                                        ,


                                          Successful order responses contain the header X-MBX-ORDER-COUNT-
                                          (intervalNum)(intervalLetter) defining the order limit used by                                                                                                                                                                                     ,


                                          the UID.
                                    Endpoints related to /sapi/*                                                                                                                                                         :




                                                               Endpoints are marked according to IP or UID limit and their
                                                               corresponding weight value.
                                                               Each endpoint with IP limits has an independent 12,000 per minute
                                                               limit.
                                                               Each endpoint with UID limits has an independent 180,000 per
                                                               minute limit.
                                                               Responses from endpoints with IP limits contain the header X-SAPI
                                                               -USED-IP-WEIGHT-1M defining the weight used by the current IP.                                                                    ,


                                                               Responses from endpoints with UID limits contain the header X-SA
                                                               PI-USED-UID-WEIGHT-1M defining the weight used by the current                                                                                             ,


                                                               UID.




                           Data Sources
                                    The API system is asynchronous, so some delay in the response is normal
                                    and expected.
                                    Each endpoint has a data source indicating where the data is being
                                    retrieved, and thus which endpoints have the most up-to-date response.

                           These are the three sources, ordered by which is has the most up-to-date
                           response to the one with potential delays in updates.

                                    Matching Engine - the data is from the matching Engine
                                    Memory - the data is from a server's local or external memory
                                    Database - the data is taken directly from a database


                                         Some endpoints can have more than 1 data source. (e.g. Memory
                                    => Database)
                                    This means that the endpoint will check the first Data Source, and if it
                                    cannot find the value it's looking for it will check the next one.


                           Endpoint security type
                                    Each endpoint has a security type that determines how you will interact
                                    with it. This is stated next to the NAME of the endpoint.
                                            If no security type is stated, assume the security type is NONE.

                                    API-keys are passed into the Rest API via the X-MBX-APIKEY header.
                                    API-keys and secret-keys are case sensitive                                                                                                                                                                                                                                                       .


                                    API-keys can be configured to only access certain types of secure
                                    endpoints. For example, one API-key could be used for TRADE only, while
                                    another API-key can access everything except for TRADE routes.
                                    By default, API-keys can access all secure routes.

                                Security Type                                                                                  Description
                                NONE                                                                                           Endpoint can be accessed freely.

                                TRADE                                                                                          Endpoint requires sending                                                                                                                                                                                  a           valid API-Key and
                                                                                                                               signature.

                                MARGIN                                                                                         Endpoint requires sending                                                                                                                                                                                  a           valid API-Key and
                                                                                                                               signature.

                                USER_DATA                                                                                      Endpoint requires sending                                                                                                                                                                                  a           valid API-Key and
                                                                                                                               signature.

                                USER_STREAM                                                                                    Endpoint requires sending                                                                                                                                                                                  a           valid API-Key.

                                MARKET_DATA                                                                                    Endpoint requires sending                                                                                                                                                                                  a           valid API-Key.

                                        TRADE                  ,           MARGIN                                        and                        USER_DATA                                                                        endpoints are                                                                                                    SIGNED                                                 endpoints.




                           SIGNED (TRADE, USER_DATA, AND MARGIN)
                           Endpoint security
                                             endpoints require an additional parameter, signature to be sent
                                        SIGNED                                                                                                                                                                                                                                                                                                                                                                                                                                            ,


                                    in the query string or request body                                                                                                                                                                                                                  .


                                    Endpoints use HMAC SHA256 signatures. The HMAC SHA256 signature is a
                                    keyed HMAC SHA256 operation. Use your secretKey as the key and totalP
                                    arams as the value for the HMAC operation.
                                    The signature is not case sensitive                                                                                                                                                                                                      .


                                     totalParams is defined as the query string concatenated with the reque
                                    st body                                .




                           Timing security

                                    A SIGNED endpoint also requires a parameter, timestamp to be sent                                                                                                                                                                                                                                                                                                                                        ,


                                    which should be the millisecond timestamp of when the request was
                                    created and sent.
                                    An additional parameter, recvWindow may be sent to specify the number                                                                                                                                                                            ,


                                    of milliseconds after timestamp the request is valid for. If recvWindow is
                                    not sent, it defaults to 5000                                                                                                                                                    .




                           Serious trading is about timing. Networks can be unstable and unreliable,
                           which can lead to requests taking varying amounts of time to reach the                                                                                                                                                                                                                                                                                                                                                                                                                                                        The logic                            is   as follows:
                           servers. With recvWindow you can specify that the request must be                                                                     ,


                           processed within a certain number of milliseconds or be rejected by the                                                                                                                                                                                                                                                                                                                                                                                                                                                                if ( timestamp < ( serverTime + 1000 ) && ( serverTime - timestamp ) <= recvWindow
                           server.                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    // process request
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  else
                                           recommended to use a small recvWindow
                                                   It is                                                                                                                                                                                                                                                                                                                                of                   5000 or                                                                      less!                             The                                   {
                                    max cannot go beyond 60,000!                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    // reject request
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  }


                           SIGNED Endpoint Examples for POST /api/v3/order
                           Here is a step-by-step example                                                                                                                                                                of              how                                         to              send                                    vaild signed payload from
                                                                                                                                                                                                                                                                                                                                              a
                           the Linux command line using                                                                                                                                                              echo                            ,           openssl                                                      ,           and curl                                                           .




                                Key                                                             Value
                                apiKey                                                          vmPUZE6mv9SD5VNHk4HlWFsOr6aKE2zvsw0MuIgwCIPy6utIco14y7Ju91duEh8A

                                secretKey                                                       NhqPtmdSJYdKjVHjA7PZj4Mge3R5YNiP1e3UZjInClVN65XAbvqqM6A7H5fATj0j



                                Parameter                                                                            Value
                                symbol                                                                               LTCBTC

                                side                                                                                 BUY

                                type                                                                                 LIMIT

                                timeInForce                                                                          GTC

                                quantity                                                                             1


                                price                                                                                0.1

                                recvWindow                                                                           5000

                                timestamp                                                                            1499827319559


                           Example                 1:          As              a           request body


                                    requestBody:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Example                              1

                           symbol=LTCBTC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         HMAC SHA256 signature:
                           &side=BUY
                           &type=LIMIT
                           &timeInForce=GTC                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               $ echo -n "symbol=LTCBTC&side=BUY&type=LIMIT&timeInForce=GTC&quantity=1&price=0.1&recvWindow=5000&timestamp=1499827319559"
                           &quantity=1                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ( stdin )= c8db56825ae71d6d79447849e617115f4a920fa2acdcab2b053c4b2838bd6b71
                           &price=0.1
                           &recvWindow=5000
                           &timestamp=1499827319559                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      curl command:

                           Example                 2:          As              a           query string
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ( HMAC SHA256 )
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          $ curl -H "X-MBX-APIKEY: vmPUZE6mv9SD5VNHk4HlWFsOr6aKE2zvsw0MuIgwCIPy6utIco14y7Ju91duEh8A"
                                    queryString:

                           symbol=LTCBTC
                           &side=BUY
                           &type=LIMIT                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Example                              2
                           &timeInForce=GTC
                           &quantity=1                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   HMAC SHA256 signature:
                           &price=0.1
                           &recvWindow=5000                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               $ echo -n "symbol=LTCBTC&side=BUY&type=LIMIT&timeInForce=GTC&quantity=1&price=0.1&recvWindow=5000&timestamp=1499827319559"
                           &timestamp=1499827319559                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       ( stdin )= c8db56825ae71d6d79447849e617115f4a920fa2acdcab2b053c4b2838bd6b71


                           Example                 3:          Mixed query string and request body


                                    queryString:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         curl command:

                           symbol=LTCBTC&side=BUY&type=LIMIT&timeInForce=GTC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       ( HMAC SHA256 )
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      $ curl -H "X-MBX-APIKEY: vmPUZE6mv9SD5VNHk4HlWFsOr6aKE2zvsw0MuIgwCIPy6utIco14y7Ju91duEh8A"
                                    requestBody:

                           quantity=1&price=0.1&recvWindow=5000&timestamp=1499827319559

                           Note that the signature is different                                                                                                                                                                                  in                  example                                                              3.              There                                      is                  no & between                                                                                                                    Example                              3
                           "GTC" and "quantity=1".
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         HMAC SHA256 signature:

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      $ echo -n "symbol=LTCBTC&side=BUY&type=LIMIT&timeInForce=GTCquantity=1&price=0.1&recvWindow=5000&timestamp=1499827319559"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       ( stdin )= 0fd168b8ddb4876a0358a8d14d0c9f3da0e9b20c5d52b2a00fcf7d1c602f9a77




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         curl command:

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ( HMAC SHA256 )
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          $ curl -H "X-MBX-APIKEY: vmPUZE6mv9SD5VNHk4HlWFsOr6aKE2zvsw0MuIgwCIPy6utIco14y7Ju91duEh8A"




                           Public API Definitions
                           Terminology
                           These terms will be used throughout the documentation, so it is
                           recommended especially for new users to read to help their understanding
                           of the API.


                                               refers to the asset that is the quantity of a symbol. For the
                                        base asset
                                    symbol BTCUSDT, BTC would be the base asset.
                                    quote asset refers to the asset that is the price of a symbol. For the
                                    symbol BTCUSDT, USDT would be the quote asset                                                                                                                                                                                                                                                                                                   .




                           ENUM definitions
                           Symbol status (status):

                                    PRE_TRADING
                                    TRADING
                                    POST_TRADING
                                    END_OF_DAY
                                    HALT
                                    AUCTION_MATCH
                                    BREAK

                           Symbol type:

                                    SPOT

                           Order status (status):

                                Status                                                                                                              Description
                                    NEW                                                                                                             The order has been accepted by the engine.

                                    PARTIALLY_FILLED                                                                                                A part                                               of                  the order has been                                                                                                                         filled.


                                    FILLED                                                                                                          The order has been completed.

                                    CANCELED                                                                                                        The order has been canceled by the user.

                                    PENDING_CANCEL                                                                                                  Currently unused

                                    REJECTED                                                                                                        The order was not accepted by the engine and not
                                                                                                                                                    processed.

                                    EXPIRED                                                                                                         The order was canceled according to the order
                                                                                                                                                    type's rules (e.g. LIMIT FOK orders with no fill,
                                                                                                                                                    LIMIT IOC or MARKET orders that partially fill) or by
                                                                                                                                                    the exchange, (e.g. orders canceled during
                                                                                                                                                    liquidation, orders canceled during maintenance)

                           OCO Status (listStatusType):

                                Status                                                                                    Description
                                    RESPONSE                                                                              This is used when the ListStatus is responding to a
                                                                                                                          failed action. (E.g. Orderlist placement or cancellation)

                                    EXEC_STARTED                                                                          The order                                                                  list                     has been placed or there                                                                                                                                                                           is                  an update                                                                  to
                                                                                                                          the order                                                              list                        status.

                                    ALL_DONE                                                                              The order                                                                  list                        has finished executing and thus no longer
                                                                                                                          active.

                           OCO Order Status (listOrderStatus):

                                Status                                                                  Description
                                    EXECUTING                                                           Either an order list has been placed or there                                                                                                                                                                                                                                                                                            is               an update
                                                                                                        to the status of the list.

                                    ALL_DONE                                                            An order                                                list                         has completed execution and thus no longer
                                                                                                        active.

                                    REJECT                                                              The List Status is responding to a failed action either
                                                                                                        during order placement or order canceled.)

                           ContingencyType

                                    OCO

                           Order types (orderTypes, type):

                           More information on how the order types definitions can be found here:
                           Types of Orders

                                    LIMIT
                                    MARKET
                                    STOP_LOSS
                                    STOP_LOSS_LIMIT
                                    TAKE_PROFIT
                                    TAKE_PROFIT_LIMIT
                                    LIMIT_MAKER

                           Order Response Type (newOrderRespType):

                                    ACK
                                    RESULT
                                    FULL

                           Order side (side):

                                    BUY
                                    SELL

                           Time                   in           force (timeInForce):

                           This sets how long an order                                                                                                                                       will                            be active before expiration.

                                Status                                             Description
                                    GTC                                            Good Til Canceled
                                                                                   An order will be on the book unless the order                                                                                                                                                                                                                                                                                         is                      canceled.

                                    IOC                                            Immediate Or Cancel
                                                                                   An order will try to fill the order as much as                                                                                                                                                                                                                                                                    it                  can before the
                                                                                   order expires.

                                    FOK                                            Fillor Kill
                                                                                   An order will expire                                                                                                                  if          the                     full                                order cannot be                                                                                                             filled                                           upon
                                                                                   execution.

                           Kline/Candlestick chart intervals:

                           m -> minutes;                                                            h            -> hours;                                                       d               -> days; w -> weeks; M -> months

                                    1m
                                    3m
                                    5m
                                    15m
                                    30m
                                    1h
                                    2h
                                    4h
                                    6h
                                    8h
                                    12h
                                    1d
                                    3d
                                    1w
                                    1M

                           Rate limiters (rateLimitType)

                                    REQUEST_WEIGHT
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         REQUEST_WEIGHT
                                    ORDERS
                                    RAW_REQUESTS                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "rateLimitType" : "REQUEST_WEIGHT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "interval" : "MINUTE" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "intervalNum" : 1 ,
                           Rate limit intervals (interval)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "limit" : 1200
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          }
                                    SECOND
                                    MINUTE
                                    DAY                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ORDERS

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "rateLimitType" : "ORDERS" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "interval" : "SECOND" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "intervalNum" : 10 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "limit" : 100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "rateLimitType" : "ORDERS" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "interval" : "DAY" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "intervalNum" : 1 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "limit" : 200000
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          }



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         RAW_REQUESTS

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "rateLimitType" : "RAW_REQUESTS" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "interval" : "MINUTE" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "intervalNum" : 5 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "limit" : 5000
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          }




                           Filters
                           Filtersdefine trading rules on a symbol or an exchange. Filters come                                                                                                                                                                                                                                                                                                                                                                                                                    in           two
                           forms: symbol filters and exchange filters                                                                                                                                                                                                                                                             .




                           Symbol Filters
                           PRICE_FILTER

                           The               PRICE_FILTER                                                                 defines the                                                                            price                                           rules                                       for a                                symbol. There are                                                                                                                                    3           parts:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ExchangeInfo format:
                                              defines the minimum price / stopPrice allowed; disabled on
                                        minPrice                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 m
                                    inPrice == 0.                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 {
                                     maxPrice defines the maximum price / stopPrice allowed; disabled on                                                                                                                                                                                                                                                                                                                                                                                                                                             m                    "filterType"                     : "PRICE_FILTER" ,
                                    axPrice == 0.                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         "minPrice" :                     "0.00000100" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "maxPrice" :                     "100000.00000000" ,
                                     tickSize defines the intervals that a price / stopPrice can be
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "tickSize" :                     "0.00000100"
                                    increased/decreased by; disabled on tickSize == 0.                                                                                                                                                                                                                                                                                                                                                                                                                                                                            }


                           Any              the above variables can be set to 0, which disables that rule in the pr
                                             of
                           ice           filter In order to pass the price filter the following must be true
                                                                               .                                                                                                                                                                                                                                                      ,


                           for           price / stopPrice of the enabled rules:


                                        price                      >=                          minPrice
                                        price                      <=                          maxPrice
                                    (    price                     -           minPrice                                            )    %                   tickSize                                                                     ==                      0


                           PERCENT_PRICE

                           The PERCENT_PRICE filter defines valid range for a price based on the
                           average of the previous trades. avgPriceMins is the number of minutes the                                                                                                                                                                                                                                                                                                                                                                                                                                                     ExchangeInfo format:
                           average price is calculated over. 0 means the last price is used.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  {
                           In       order                      to              pass the                                                percent price                                                                                             ,       the following must be true                                                                                                                                                                                               for price                                              :                                "filterType" : "PERCENT_PRICE" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "multiplierUp" : "1.3000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "multiplierDown" : "0.7000" ,
                                        price                      <=                          weightedAveragePrice                                                                                                                                  *                   multiplierUp
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "avgPriceMins" : 5
                                        price                      >=                          weightedAveragePrice                                                                                                                                  *                   multiplierDown                                                                                                                                                                                                                                                                           }


                           LOT_SIZE

                           The               LOT_SIZE filterdefines the                                                                                                                                                  quantity                                                                    (aka "lots"                                                            in                  auction terms) rules
                           for a              symbol. There are 3 parts:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ExchangeInfo format:

                                            defines the minimum quantity / icebergQty allowed.
                                        minQty                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    {
                                    maxQty defines the maximum quantity / icebergQty allowed.                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "filterType" : "LOT_SIZE" ,
                                    stepSize defines the intervals that a quantity / icebergQty can be                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "minQty" : "0.00100000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "maxQty" : "100000.00000000" ,
                                    increased/decreased by.                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "stepSize" : "0.00100000"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  }
                           In       order                      to              pass the                                                lot size                                                          ,       the following must be true                                                                                                                                                                                      for quantity                                                                                   /    ice
                           bergQty                         :




                                        quantity                                           >=                    minQty
                                        quantity                                           <=                    maxQty
                                    (    quantity                                          -    minQty                                  )       %                stepSize                                                                        ==                          0


                           MIN_NOTIONAL

                           The MIN_NOTIONAL filter defines the minimum notional value allowed for an
                           order on a symbol. An order's notional value is the price * quantity If the                                                                                                                                                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ExchangeInfo format:
                           order is an Algo order (e.g. STOP_LOSS_LIMIT ), then the notional value of the
                            stopPrice * quantity will also be evaluated. If the order is an Iceberg                                                                                                                                                                                                                                                                                                                                                                                                                                                               {
                           Order, then the notional value of the price * icebergQty will also be                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "filterType" : "MIN_NOTIONAL" ,
                           evaluated. applyToMarket determines whether or not the MIN_NOTIONAL                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "minNotional" : "0.00100000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "applyToMarket" : true ,
                           filter will also be applied to MARKET orders. Since MARKET orders have no
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "avgPriceMins" : 5
                           price, the average price is used over the last avgPriceMins minutes. avgPric                                                                                                                                                                                                                                                                                                                                                                                                                                                           }
                           eMins is the number of minutes the average price is calculated over. 0
                           means the last price is used.

                           ICEBERG_PARTS

                           The ICEBERG_PARTS filter defines the maximum parts an iceberg order can
                           have. The number of ICEBERG_PARTS is defined as CEIL(qty / icebergQty)                                                                                                                                                                                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ExchangeInfo format:


                           MARKET_LOT_SIZE                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "filterType" : "ICEBERG_PARTS" ,
                           The MARKET_LOT_SIZE filter defines the quantity (aka "lots" in auction                                                                                                                                                                                                                                                                                                                                                                                                                                                                         "limit" : 10
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  }
                           terms) rules for MARKET orders on a symbol. There are 3 parts:

                                            defines the minimum quantity allowed.
                                        minQty
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ExchangeInfo format:
                                    maxQty defines the maximum quantity allowed.
                                    stepSize defines the intervals that a quantity can be
                                    increased/decreased by.                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "filterType" : "MARKET_LOT_SIZE" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "minQty" : "0.00100000" ,
                           In       order                      to              pass the                                                market lot size                                                                                                       ,           the following must be true                                                                                                                                                                                            for quanti                                                                 "maxQty" : "100000.00000000" ,
                           ty       :                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     "stepSize" : "0.00100000"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  }
                                        quantity                                           >=                    minQty
                                        quantity                                           <=                    maxQty
                                    (    quantity                                          -    minQty                                  )       %                stepSize                                                                        ==                          0


                           MAX_NUM_ORDERS

                           The MAX_NUM_ORDERS filter defines the maximum number of orders an
                           account is allowed to have open on a symbol. Note that both "algo" orders                                                                                                                                                                                                                                                                                                                                                                                                                                                     ExchangeInfo format:
                           and normal orders are counted for this filter.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  {
                           MAX_NUM_ALGO_ORDERS                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "filterType" : "MAX_NUM_ORDERS" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "maxNumOrders" : 25
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  }
                           The MAX_NUM_ALGO_ORDERS filter defines the maximum number of "algo"
                           orders an account is allowed to have open on a symbol. "Algo" orders are                                                                                                                                                                                                                                                                                                                                                                                                                                                  S
                           TOP_LOSS STOP_LOSS_LIMIT TAKE_PROFIT and TAKE_PROFIT_LIMIT orders.
                                                               ,                                                                                                                     ,                                                                                                           ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ExchangeInfo format:

                           MAX_NUM_ICEBERG_ORDERS
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  {
                           The MAX_NUM_ICEBERG_ORDERS filter defines the maximum number of ICEBER                                                                                                                                                                                                                                                                                                                                                                                                                                                                         "filterType" : "MAX_NUM_ALGO_ORDERS" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "maxNumAlgoOrders" : 5
                           G orders an account is allowed to have open on a symbol. An ICEBERG
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  }
                           order is any order where the icebergQty is > 0.

                           MAX_POSITION
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ExchangeInfo format:
                           The MAX_POSITION filter defines the allowed maximum position an account
                           can have on the base asset of a symbol. An account's position defined as                                                                                                                                                                                                                                                                                                                                                                                                                                                               {
                           the sum of the account's:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "filterType" : "MAX_NUM_ICEBERG_ORDERS" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "maxNumIcebergOrders" : 5
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  }
                                    free balance of the base asset
                                    locked balance of the base asset
                                    sum of the qty of all open BUY orders

                               orders will be rejected if the account's position
                               BUY                                                                                                                                                                                                                                                                                                                                      is                  greater than the
                           maximum position allowed.

                           Exchange Filters                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              ExchangeInfo format:
                           EXCHANGE_MAX_NUM_ORDERS
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           The MAX_NUM_ORDERS filter defines the maximum number of orders an                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "filterType" : "MAX_POSITION" ,
                           account is allowed to have open on the exchange. Note that both "algo"                                                                                                                                                                                                                                                                                                                                                                                                                                                                 "maxPosition" : "10.00000000"
                           orders and normal orders are counted for this filter.                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }



                           EXCHANGE_MAX_NUM_ALGO_ORDERS                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ExchangeInfo format:
                           The MAX_ALGO_ORDERS                                                                                              filter                defines the maximum number of "algo" orders
                           an account is allowed                                                                                                to              have open on the exchange. "Algo" orders are STO                                                                                                                                                                                                                                                                                                                                                  {
                           P_LOSS                  ,           STOP_LOSS_LIMIT                                                                                   ,TAKE_PROFIT and TAKE_PROFIT_LIMIT orders.                                                                      ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "filterType" : "EXCHANGE_MAX_NUM_ORDERS" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "maxNumOrders" : 1000
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  }



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ExchangeInfo format:

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "filterType" : "EXCHANGE_MAX_ALGO_ORDERS" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "maxNumAlgoOrders" : 200
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  }




                           Wallet Endpoints

                           System Status (System)
                               GET /sapi/v1/system/status
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response
                           Fetch system status.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Weight(IP):                                                     1                                                                                                                                                                                                                                                                                                                                                                                                                                                                              "status" : 0 ,                                              // 0: normal，1：system maintenance
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "msg" : "normal"                                            // normal|system maintenance
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }




                           All               Coins' Information (USER_DATA)
                           Get information                                                                   of            coins (available                                                                                                      for                     deposit and withdraw)                                                                                                                                                                for                             user.

                               GET /sapi/v1/capital/config/getall                                                                                                                                                                                                    (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP): 10
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         [
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "coin" : "BTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "depositAllEnable" : true ,
                                Name                                                                                 Type                                                        Mandatory                                                                                                           Description                                                                                                                                                                                                                                                                          "free" : "0.08074558" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "freeze" : "0.00000000" ,
                                recvWindow                                                                           LONG                                                        NO                                                                                                                                                                                                                                                                                                                                                                                                       "ipoable" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "ipoing" : "0.00000000" ,
                                timestamp                                                                            LONG                                                        YES                                                                                                                                                                                                                                                                                                                                                                                                      "isLegalMoney" : false ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "locked" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "name" : "Bitcoin" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "networkList" : [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "addressRegex" : "^(bnb1)[0-9a-z]{38}$" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "coin" : "BTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "depositDesc" : "Wallet Maintenance, Deposit Suspended" , //                                                            shown




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "depositEnable" : false ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "isDefault" : false ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "memoRegex" : "^[0-9A-Za-z\\-_]{1,120}$" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "minConfirm" : 1 , // min number for balance confirmation
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "name" : "BEP2" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "network" : "BNB" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "resetAddressStatus" : false ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "specialTips" : "Both a MEMO and an Address are required to                                                             successfully




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "unLockConfirm" : 0 , // confirmation number for balance unlock
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "withdrawDesc" : "Wallet Maintenance, Withdrawal Suspended" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "withdrawEnable" : false ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "withdrawFee" : "0.00000220" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "withdrawIntegerMultiple" : "0.00000001" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "withdrawMax" : "9999999999.99999999" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "withdrawMin" : "0.00000440" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "sameAddress" : true // If the coin needs to provide memo to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "addressRegex" : "^[13][a-km-zA-HJ-NP-Z1-9]{25,34}$|^(bc1)[0-9A-Za-z]{39,59}$"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "coin" : "BTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "depositEnable" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "isDefault" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "memoRegex" : "" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "minConfirm" : 1 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "name" : "BTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "network" : "BTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "resetAddressStatus" : false ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "specialTips" : "" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "unLockConfirm" : 2 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "withdrawEnable" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "withdrawFee" : "0.00050000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "withdrawIntegerMultiple" : "0.00000001" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "withdrawMax" : "750" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "withdrawMin" : "0.00100000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "sameAddress" : false
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ],
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "storage" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "trading" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "withdrawAllEnable" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "withdrawing" : "0.00000000"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ]




                           Daily Account Snapshot (USER_DATA)
                               GET /sapi/v1/accountSnapshot (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP): 2400
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "code" : 200 , // 200 for success; others are error codes
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "msg" : "" , // error message
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "snapshotVos" :[
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                                                                                              {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              "data" :{
                                type                                                                                 STRING                                                                  YES                                                                                                                 "SPOT", "MARGIN", "FUTURES"                                                                                                                                                                                                                                      "balances" :[
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     {
                                startTime                                                                            LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                                          "asset" : "BTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         "free" : "0.09905021" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         "locked" : "0.00000000"
                                endTime                                                                              LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                                      },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     {
                                limit                                                                                INT                                                                     NO                                                                                                                  min                              5,           max 30, default                                                                                                                    5                                                                                      "asset" : "USDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         "free" : "1.89109409" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         "locked" : "0.00000000"
                                recvWindow                                                                           LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                                      }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ],
                                timestamp                                                                            LONG                                                                    YES                                                                                                                                                                                                                                                                                                                                                                                  "totalAssetOfBtc" : "0.09942700"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              "type" : "spot" ,
                                    The query time period must be less then 30 days                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "updateTime" : 1576281599000
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         OR

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "code" : 200 , // 200 for success; others are error codes
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "msg" : "" , // error message
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "snapshotVos" :[
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              "data" :{
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "marginLevel" : "2748.02909813" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "totalAssetOfBtc" : "0.00274803" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "totalLiabilityOfBtc" : "0.00000100" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "totalNetAssetOfBtc" : "0.00274750" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "userAssets" :[
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         "asset" : "XRP" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         "borrowed" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         "free" : "1.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         "interest" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         "locked" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         "netAsset" : "1.00000000"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              "type" : "margin" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              "updateTime" : 1576281599000
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         OR

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "code" : 200 , // 200 for success; others are error codes
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "msg" : "" , // error message
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "snapshotVos" :[
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              "data" :{
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "assets" :[
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         "asset" : "USDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         "marginBalance" : "118.99782335" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         "walletBalance" : "120.23811389"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ],
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "position" :[
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         "entryPrice" : "7130.41000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         "markPrice" : "7257.66239673" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         "positionAmt" : "0.01000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         "symbol" : "BTCUSDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         "unRealizedProfit" : "1.24029054" // Only show the value                                                        at
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              "type" : "futures" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              "updateTime" : 1576281599000
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }




                           Disable Fast Withdraw Switch (USER_DATA)
                               POST /sapi/v1/account/disableFastWithdrawSwitch                                                                                                                                                                                                                                                                                          (HMAC SHA256)
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:

                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   {}


                                Name                                                                                 Type                                                        Mandatory                                                                                                           Description
                                recvWindow                                                                           LONG                                                        NO

                                timestamp                                                                            LONG                                                        YES

                                    Caution:
                                    This request will disable fastwithdraw switch under your account.
                                    You need to enable "trade" option for the api key which requests this
                                    endpoint.


                           Enable Fast Withdraw Switch (USER_DATA)
                               POST /sapi/v1/account/enableFastWithdrawSwitch                                                                                                                                                                                                                                                                                      (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {}
                           Parameters:

                                Name                                                                                 Type                                                        Mandatory                                                                                                           Description
                                recvWindow                                                                           LONG                                                        NO

                                timestamp                                                                            LONG                                                        YES

                                    This request will enable fastwithdraw switch under your account.
                                    You need to enable "trade" option for the api key which requests this
                                    endpoint.
                                    When Fast Withdraw Switch is on, transferring funds to a Binance account
                                    will be done instantly. There is no on-chain transaction, no transaction ID
                                    and no withdrawal fee.


                           Withdraw(USER_DATA)
                               POST /sapi/v1/capital/withdraw/apply                                                                                                                                                                                                                          (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Submit                      a           withdraw request.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Weight(IP):                                                     1                                                                                                                                                                                                                                                                                                                                                                                                                                                                              "id" : "7213fea8e94b4a5593d507237e5a555b"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }

                           Parameters:

                                Name                                                                                                                        Type                                                                                             Mandatory                                                                                                  Description
                                coin                                                                                                                        STRING                                                                                           YES

                                withdrawOrderId                                                                                                             STRING                                                                                           NO                                                                                                         client                                                   id for                                               withdraw

                                network                                                                                                                     STRING                                                                                           NO

                                address                                                                                                                     STRING                                                                                           YES

                                addressTag                                                                                                                  STRING                                                                                           NO                                                                                                         Secondary address
                                                                                                                                                                                                                                                                                                                                                                        identifier for coins like
                                                                                                                                                                                                                                                                                                                                                                        XRP,XMR etc.

                                amount                                                                                                                      DECIMAL                                                                                          YES

                                transactionFeeFlag                                                                                                          BOOLEAN                                                                                          NO                                                                                                         When making internal
                                                                                                                                                                                                                                                                                                                                                                        transfer, true for
                                                                                                                                                                                                                                                                                                                                                                        returning the fee to
                                                                                                                                                                                                                                                                                                                                                                        the destination
                                                                                                                                                                                                                                                                                                                                                                        account; false for
                                                                                                                                                                                                                                                                                                                                                                        returning the fee back
                                                                                                                                                                                                                                                                                                                                                                        to the departure
                                                                                                                                                                                                                                                                                                                                                                        account. Default
                                                                                                                                                                                                                                                                                                                                                                            false                                                    .




                                name                                                                                                                        STRING                                                                                           NO                                                                                                         Description of the
                                                                                                                                                                                                                                                                                                                                                                        address. Space in
                                                                                                                                                                                                                                                                                                                                                                        name should be
                                                                                                                                                                                                                                                                                                                                                                        encoded into %20                                                                                                                                    .




                                recvWindow                                                                                                                  LONG                                                                                             NO

                                timestamp                                                                                                                   LONG                                                                                             YES

                                    If         not send, return with default network of the coin.
                                             network
                                    You can get network and isDefault in networkList of a coin in the
                                    response of Get /sapi/v1/capital/config/getall (HMAC SHA256)                                                                                                                                                                                                                                                                                                                                                                                                           .




                           Deposit History(supporting network) (USER_DATA)
                               GET /sapi/v1/capital/deposit/hisrec (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Fetch deposit history.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         [
                           Weight(IP):                                                     1                                                                                                                                                                                                                                                                                                                                                                                                                                                                              {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "amount" : "0.00999800" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "coin" : "PAXG" ,
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "network" : "ETH" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "status" : 1 ,
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                                                                                                              "address" : "0x788cabe9236ce061e5a892e1a59395a81fc8d62c" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "addressTag" : "" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "txId" : "0xaad4654a3234aa6118af9b4b335f5ae81c360b2394721c019b5d1e75328b09f3"
                                coin                                                                                 STRING                                                                  NO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "insertTime" : 1599621997000 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "transferType" : 0 ,
                                status                                                                               INT                                                                     NO                                                                                                                  0(0:pending,6: credited but                                                                                                                                                                                                                                              "unlockConfirm" : "12/12" , // confirm times for unlocking
                                                                                                                                                                                                                                                                                                                 cannot withdraw, 1:success)                                                                                                                                                                                                                                              "confirmTimes" : "12/12"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          {
                                startTime                                                                            LONG                                                                    NO                                                                                                                  Default: 90 days from current
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "amount" : "0.50000000" ,
                                                                                                                                                                                                                                                                                                                 timestamp                                                                                                                                                                                                                                                                "coin" : "IOTA" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "network" : "IOTA" ,
                                endTime                                                                              LONG                                                                    NO                                                                                                                  Default: present timestamp                                                                                                                                                                                                                                               "status" : 1 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "address" : "SIZ9VLMHWATXKV99LH99CIGFJFUMLEHGWVZVNNZXRJJVWBPHYWPPBOSDORZ9EQSHCZAMPVAPGFYQAUUV9DROOXJLNW"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "addressTag" : "" ,
                                offset                                                                               INT                                                                     NO                                                                                                                  Default:0
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "txId" : "ESBFVQUTPIWQNJSPXFNHNYHSQNTGKRVKPRABQWTAXCDWOAKDKYWPTVG9BGXNVNKTLEJGESAVXIKIZ9999"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "insertTime" : 1599620082000 ,
                                limit                                                                                INT                                                                     NO                                                                                                                  Default:1000, Max:1000                                                                                                                                                                                                                                                   "transferType" : 0 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "unlockConfirm" : "1/12" ,
                                recvWindow                                                                           LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                                           "confirmTimes" : "1/1"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ]
                                timestamp                                                                            LONG                                                                    YES

                                    Please notice the default startTime and endTime to make sure that time
                                    interval is within 0-90 days.
                                    If both startTime and endTime are sent, time between startTime and en

                                    dTime must be less than 90 days.



                           Withdraw History (supporting network)
                           (USER_DATA)
                               GET /sapi/v1/capital/withdraw/history (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Fetch withdraw history.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         [
                           Weight(IP):                                                     1                                                                                                                                                                                                                                                                                                                                                                                                                                                                              {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "address" : "0x94df8b352de7f46f64b01d3666bf6e936e44ce60" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "amount" : "8.91000000" ,
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "applyTime" : "2019-10-12 11:12:02" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "coin" : "USDT" ,
                                Name                                                                                                        Type                                                                                 Mandatory                                                                                                        Description                                                                                                                                                                                                                             "id" : "b6ae22b3aa844210a7041aee7589627c" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "withdrawOrderId" : "WITHDRAWtest123" , // will not be returned if there's
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "network" : "ETH" ,
                                coin                                                                                                        STRING                                                                               NO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "transferType" : 0 ,    // 1 for internal transfer, 0 for external transfer
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "status" : 6 ,
                                withdrawOrderId                                                                                             STRING                                                                               NO                                                                                                                                                                                                                                                                                                                                                       "transactionFee" : "0.004" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "confirmNo" : 3 , // confirm times for withdraw
                                status                                                                                                      INT                                                                                  NO                                                                                                               0(0:Email Sent,1:Cancelled                                                                                                                                                                                                              "txId" : "0xb5ef8c13b968a406cc62a93a8bd80f9e9a906ef1b3fcf20a2e48573c17659268"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          },
                                                                                                                                                                                                                                                                                                                                                  2:Awaiting Approval
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          {
                                                                                                                                                                                                                                                                                                                                                  3:Rejected 4:Processing                                                                                                                                                                                                                 "address" : "1FZdVHtiBqMrWdjPyRPULCUceZPJ2WLCsB" ,
                                                                                                                                                                                                                                                                                                                                                  5:Failure 6:Completed)                                                                                                                                                                                                                  "amount" : "0.00150000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "applyTime" : "2019-09-24 12:43:45" ,
                                offset                                                                                                      INT                                                                                  NO                                                                                                                                                                                                                                                                                                                                                       "coin" : "BTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "id" : "156ec387f49b41df8724fa744fa82719" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "network" : "BTC" ,
                                limit                                                                                                       INT                                                                                  NO                                                                                                               Default: 1000, Max: 1000                                                                                                                                                                                                                "status" : 6 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "transactionFee" : "0.004" ,
                                startTime                                                                                                   LONG                                                                                 NO                                                                                                               Default: 90 days from                                                                                                                                                                                                                   "transferType" : 0 ,    // 1 for internal transfer, 0 for external transfer
                                                                                                                                                                                                                                                                                                                                                  current timestamp                                                                                                                                                                                                                       "confirmNo" : 2 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "txId" : "60fd9007ebfddc753455f95fafa808c4302c836e4d1eebc5a132c36c1d8ac354"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          }
                                endTime                                                                                                     LONG                                                                                 NO                                                                                                               Default: present                                                                                                                                                                                       ]
                                                                                                                                                                                                                                                                                                                                                  timestamp

                                recvWindow                                                                                                  LONG                                                                                 NO

                                timestamp                                                                                                   LONG                                                                                 YES

                                        networkmay not be in the response for old withdraw.
                                    Please notice the default startTime and endTime to make sure that time
                                    interval is within 0-90 days.
                                    If both startTime and endTime are sent, time between startTime and en

                                    dTime must be less than 90 days.



                           Deposit Address (supporting network) (USER_DATA)
                               GET /sapi/v1/capital/deposit/address (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Fetch deposit address with network.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Weight(IP): 10                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 "address" : "1HPn8Rx2y6nNSfagQBKy27GB99Vbzg89wv" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "coin" : "BTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "tag" : "" ,
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "url" : "https://btc.com/1HPn8Rx2y6nNSfagQBKy27GB99Vbzg89wv"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description
                                coin                                                                                 STRING                                                                  YES

                                network                                                                              STRING                                                                  NO

                                recvWindow                                                                           LONG                                                                    NO

                                timestamp                                                                            LONG                                                                    YES

                                    If           not send, return with default network of the coin.
                                             network is
                                    You can get network and isDefault in networkList in the response                                                                                                                                                                                                                                                                                                                                                                                                                                of G
                                    et /sapi/v1/capital/config/getall                                                                                                                                                                                                            (HMAC SHA256)                                                                                      .




                           Account Status (USER_DATA)
                               GET /sapi/v1/account/status
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Fetch account status detail.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Weight(IP):                                                     1                                                                                                                                                                                                                                                                                                                                                                                                                                                                              "data" : "Normal"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }

                           Parameters:

                                Name                                                                                 Type                                                        Mandatory                                                                                                           Description
                                recvWindow                                                                           LONG                                                        NO

                                timestamp                                                                            LONG                                                        YES


                           Account API Trading Status (USER_DATA)
                               GET /sapi/v1/account/apiTradingStatus (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Fetch account api trading status detail.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Weight(IP):                                                     1                                                                                                                                                                                                                                                                                                                                                                                                                                                                              "data" : {            // API trading status detail
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "isLocked" : false ,    // API trading function is locked or not
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "plannedRecoverTime" : 0 , // If API trading function is locked,
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "triggerCondition" : {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "GCR" : 150 , // Number of GTC orders
                                Name                                                                                 Type                                                        Mandatory                                                                                                           Description                                                                                                                                                                                                                                                                            "IFER" : 150 , // Number of FOK/IOC orders
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "UFR" : 300    // Number of orders
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   },
                                recvWindow                                                                           LONG                                                        NO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "indicators" : { // The indicators updated every 30 seconds
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         "BTCUSDT" : [ // The symbol
                                timestamp                                                                            LONG                                                        YES                                                                                                                                                                                                                                                                                                                                                                                                        {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "i" : "UFR" , // Unfilled Ratio (UFR)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "c" : 20 ,     // Count of all orders
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "v" : 0.05 ,   // Current UFR value
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "t" : 0.995    // Trigger UFR value
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "i" : "IFER" , // IOC/FOK Expiration Ratio (IFER)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "c" : 20 ,     // Count of FOK/IOC orders
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "v" : 0.99 ,   // Current IFER value
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "t" : 0.99     // Trigger IFER value
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "i" : "GCR" , // GTC Cancellation Ratio (GCR)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "c" : 20 ,     // Count of GTC orders
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "v" : 0.99 ,   // Current GCR value
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "t" : 0.99     // Trigger GCR value
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ],
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "ETHUSDT" : [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "i" : "UFR" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "c" : 20 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "v" : 0.05 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "t" : 0.995
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "i" : "IFER" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "c" : 20 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "v" : 0.99 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "t" : 0.99
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "i" : "GCR" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "c" : 20 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "v" : 0.99 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "t" : 0.99
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "updateTime" : 1547630471725
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }




                           DustLog(USER_DATA)
                               GET /sapi/v1/asset/dribblet (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "total" : 8 ,    //Total counts of exchange
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "userAssetDribblets" : [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               {
                                Name                                                                                 Type                                                        Mandatory                                                                                                           Description                                                                                                                                                                                                                                                                                   "operateTime" : 1615985535000 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "totalTransferedAmount" : "0.00132256" ,      // Total transfered
                                startTime                                                                            LONG                                                        NO                                                                                                                                                                                                                                                                                                                                                                                                                "totalServiceChargeAmount" : "0.00002699" ,       //Total service
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "transId" : 45178372831 ,
                                endTime                                                                              LONG                                                        NO                                                                                                                                                                                                                                                                                                                                                                                                                "userAssetDribbletDetails" : [              //Details of this                                                           exchange.




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "transId" : 4359321 ,
                                recvWindow                                                                           LONG                                                        NO                                                                                                                                                                                                                                                                                                                                                                                                                          "serviceChargeAmount" : "0.000009" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "amount" : "0.0009" ,
                                timestamp                                                                            LONG                                                        YES                                                                                                                                                                                                                                                                                                                                                                                                                         "operateTime" : 1615985535000 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "transferedAmount" : "0.000441" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "fromAsset" : "USDT"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "transId" : 4359321 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "serviceChargeAmount" : "0.00001799" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "amount" : "0.0009" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "operateTime" : 1615985535000 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "transferedAmount" : "0.00088156" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "fromAsset" : "ETH"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "operateTime" : 1616203180000 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "totalTransferedAmount" : "0.00058795" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "totalServiceChargeAmount" : "0.000012" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "transId" : 4357015 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "userAssetDribbletDetails" : [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "transId" : 4357015 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "serviceChargeAmount" : "0.00001" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "amount" : "0.001" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "operateTime" : 1616203180000 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "transferedAmount" : "0.00049" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "fromAsset" : "USDT"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "transId" : 4357015 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "serviceChargeAmount" : "0.000002" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "amount" : "0.0001" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "operateTime" : 1616203180000 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "transferedAmount" : "0.00009795" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "fromAsset" : "ETH"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }




                           Dust Transfer (USER_DATA)
                               POST /sapi/v1/asset/dust (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Convert dust assets                                                                                     to               BNB.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Weight(Uid): 10                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "totalServiceCharge" : "0.02102542" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "totalTransfered" : "1.05127099" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "transferResult" :[
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "amount" : "0.03000000" ,
                                Name                                                                                 Type                                                            Mandatory                                                                                                           Description                                                                                                                                                                                                                                                               "fromAsset" : "ETH" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "operateTime" : 1563368549307 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "serviceChargeAmount" : "0.00500000" ,
                                asset                                                                                ARRAY                                                           YES                                                                                                                 The asset being converted. For
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "tranId" : 2970932918 ,
                                                                                                                                                                                                                                                                                                         example:                                                                                                                                                                                                                                                                  "transferedAmount" : "0.25000000"
                                                                                                                                                                                                                                                                                                         asset=BTC&asset=USDT                                                                                                                                                                                                                                                 },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              {
                                recvWindow                                                                           LONG                                                            NO                                                                                                                                                                                                                                                                                                                                                                                            "amount" : "0.09000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "fromAsset" : "LTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "operateTime" : 1563368549404 ,
                                timestamp                                                                            LONG                                                            YES                                                                                                                                                                                                                                                                                                                                                                                           "serviceChargeAmount" : "0.01548000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "tranId" : 2970932918 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "transferedAmount" : "0.77400000"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "amount" : "248.61878453" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "fromAsset" : "TRX" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "operateTime" : 1563368549489 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "serviceChargeAmount" : "0.00054542" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "tranId" : 2970932918 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "transferedAmount" : "0.02727099"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }




                           Asset Dividend Record (USER_DATA)
                               GET /sapi/v1/asset/assetDividend                                                                                                                                                                                      (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Query asset dividend record.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Weight(IP): 10                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 "rows" :[
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "amount" : "10.00000000" ,
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              "asset" : "BHFT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "divTime" : 1563189166000 ,
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                                                                                                                        "enInfo" : "BHFT distribution" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "tranId" : 2968885920
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          },
                                asset                                                                                STRING                                                                  NO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "amount" : "10.00000000" ,
                                startTime                                                                            LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                                                     "asset" : "BHFT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "divTime" : 1563189165000 ,
                                endTime                                                                              LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                                                     "enInfo" : "BHFT distribution" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "tranId" : 2968885920
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              }
                                limit                                                                                INT                                                                     NO                                                                                                                  Default 20, max 500                                                                                                                                                                                                                                      ],
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "total" : 2
                                recvWindow                                                                           LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                          }


                                timestamp                                                                            LONG                                                                    YES



                           Asset Detail (USER_DATA)
                               GET /sapi/v1/asset/assetDetail                                                                                                                                                                            (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Fetch details                                                       of        assets supported on Binance.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Weight(IP):                                                     1                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              "CTR" : {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "minWithdrawAmount" : "70.00000000" , //min withdraw amount
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "depositStatus" : false , //deposit status (false if ALL of networks'
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         "withdrawFee" : 35 , // withdraw fee
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "withdrawStatus" : true , //withdraw status (false if ALL of networks'
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                                                                                                                   "depositTip" : "Delisted, Deposit Suspended" //reason
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "SKY" : {
                                asset                                                                                STRING                                                                  NO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "minWithdrawAmount" : "0.02000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "depositStatus" : true ,
                                recvWindow                                                                           LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                                                "withdrawFee" : 0.01 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "withdrawStatus" : true
                                timestamp                                                                            LONG                                                                    YES                                                                                                                                                                                                                                                                                                                                                                                          }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }


                                    Please get network and other deposit or withdraw details from                                                                                                                                                                                                                                                                                                                                                                                                  GET /sap
                                    i/v1/capital/config/getall                                                                                                                                                   .




                           Trade Fee (USER_DATA)
                               GET /sapi/v1/asset/tradeFee (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Fetch trade fee
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         [
                           Weight(IP):                                                     1                                                                                                                                                                                                                                                                                                                                                                                                                                                                              {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "symbol" : "ADABNB" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "makerCommission" : "0.001" ,
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "takerCommission" : "0.001"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          },
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                                                                                              {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "symbol" : "BNBBTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "makerCommission" : "0.001" ,
                                symbol                                                                               STRING                                                                  NO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "takerCommission" : "0.001"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          }
                                recvWindow                                                                           LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                          ]

                                timestamp                                                                            LONG                                                                    YES



                           User Universal Transfer (USER_DATA)
                               POST /sapi/v1/asset/transfer                                                                                                                                                              (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           You need to enable Permits Universal                                                                                                                                                                                                                      Transfer                                                              option                                                for                                 the api key
                           which requests this endpoint.                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "tranId" : 13526853623
                           Weight(IP):                                                     1                                                                                                                                                                                                                                                                                                                                                                                                                                                             }


                           Parameters:

                                Name                                                                                 Type                                                                                Mandatory                                                                                                        Description
                                type                                                                                 ENUM                                                                                YES

                                asset                                                                                STRING                                                                              YES

                                amount                                                                               DECIMAL                                                                             YES

                                fromSymbol                                                                           STRING                                                                              NO

                                toSymbol                                                                             STRING                                                                              NO

                                recvWindow                                                                           LONG                                                                                NO

                                timestamp                                                                            LONG                                                                                YES

                                               must be sent when type are ISOLATEDMARGIN_MARGIN and
                                        fromSymbol
                                    ISOLATEDMARGIN_ISOLATEDMARGIN
                                    toSymbol must be sent when type are MARGIN_ISOLATEDMARGIN and
                                    ISOLATEDMARGIN_ISOLATEDMARGIN
                                    ENUM                           of                  transfer types:
                                                               MAIN_C2C Spot account transfer to C2C account
                                                               MAIN_UMFUTURE Spot account transfer to USDⓈ-M Futures
                                                               account
                                                               MAIN_CMFUTURE Spot account transfer to COIN-M Futures
                                                               account
                                                               MAIN_MARGIN Spot account transfer to Margin（cross）account
                                                               MAIN_MINING Spot account transfer to Mining account
                                                               C2C_MAIN C2C account transfer to Spot account
                                                               C2C_UMFUTURE C2C account transfer to USDⓈ-M Futures account
                                                               C2C_MINING C2C account transfer to Mining account
                                                               C2C_MARGIN C2C account transfer to Margin(cross) account
                                                               UMFUTURE_MAIN USDⓈ-M Futures account transfer to Spot
                                                               account
                                                               UMFUTURE_C2C USDⓈ-M Futures account transfer to C2C account
                                                               UMFUTURE_MARGIN USDⓈ-M Futures account transfer to Margin
                                                               （cross）account
                                                               CMFUTURE_MAIN COIN-M Futures account transfer to Spot
                                                               account
                                                               CMFUTURE_MARGIN COIN-M Futures account transfer to
                                                               Margin(cross) account
                                                               MARGIN_MAIN Margin（cross）account transfer to Spot account
                                                               MARGIN_UMFUTURE Margin（cross）account transfer to USDⓈ-
                                                               M Futures
                                                               MARGIN_CMFUTURE Margin（cross）account transfer to COIN-M
                                                               Futures
                                                               MARGIN_MINING Margin（cross）account transfer to Mining
                                                               account
                                                               MARGIN_C2C Margin（cross）account transfer to C2C account
                                                               MINING_MAIN Mining account transfer to Spot account
                                                               MINING_UMFUTURE Mining account transfer to USDⓈ-M Futures
                                                               account
                                                               MINING_C2C Mining account transfer to C2C account
                                                               MINING_MARGIN Mining account transfer to Margin(cross)
                                                               account
                                                               MAIN_PAY Spot account transfer to Pay account
                                                               PAY_MAIN Pay account transfer to Spot account
                                                               ISOLATEDMARGIN_MARGIN Isolated margin account transfer to
                                                               Margin(cross) account
                                                               MARGIN_ISOLATEDMARGIN Margin(cross) account transfer to
                                                               Isolated margin account
                                                               ISOLATEDMARGIN_ISOLATEDMARGIN Isolated margin account
                                                               transfer to Isolated margin account


                           Query User Universal Transfer History (USER_DATA)
                               GET /sapi/v1/asset/transfer (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "total" : 2 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "rows" :[
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               {
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                                                                                                        "asset" : "USDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "amount" : "1" ,
                                type                                                                                 ENUM                                                                    YES                                                                                                                                                                                                                                                                                                                                                                                    "type" : "MAIN_UMFUTURE" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "status" : "CONFIRMED" ,
                                startTime                                                                            LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                                     "tranId" : 11415955596 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "timestamp" : 1544433328000
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               },
                                endTime                                                                              LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                                {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "asset" : "USDT" ,
                                current                                                                              INT                                                                     NO                                                                                                                  Default                                            1                                                                                                                                                                                                               "amount" : "2" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "type" : "MAIN_UMFUTURE" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "status" : "CONFIRMED" ,
                                size                                                                                 INT                                                                     NO                                                                                                                  Default 10, Max 100                                                                                                                                                                                                                                                "tranId" : 11366865406 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "timestamp" : 1544433328000
                                fromSymbol                                                                           STRING                                                                  NO                                                                                                                                                                                                                                                                                                                                                                                }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ]
                                toSymbol                                                                             STRING                                                                  NO                                                                                                                                                                                                                                                                                                                                                          }


                                recvWindow                                                                           LONG                                                                    NO

                                timestamp                                                                            LONG                                                                    YES

                                               must be sent when type are ISOLATEDMARGIN_MARGIN and
                                        fromSymbol
                                    ISOLATEDMARGIN_ISOLATEDMARGIN
                                    toSymbol must be sent when type are MARGIN_ISOLATEDMARGIN and
                                    ISOLATEDMARGIN_ISOLATEDMARGIN


                           Funding Wallet (USER_DATA)
                               POST /sapi/v1/asset/get-funding-asset (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         [
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "asset" : "USDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "free" : "1" ,     // avalible balance
                                Name                                                                                                            Type                                                                                 Mandatory                                                                                                        Description                                                                                                                                                                                                                         "locked" : "0" , // locked asset
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "freeze" : "0" , // freeze asset
                                asset                                                                                                           STRING                                                                               NO                                                                                                                                                                                                                                                                                                                                                   "withdrawing" : "0" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "btcValuation" : "0.00000091"
                                needBtcValuation                                                                                                STRING                                                                               NO                                                                                                               true or false                                                                                                                                                                                                       }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ]

                                recvWindow                                                                                                      LONG                                                                                 NO

                                timestamp                                                                                                       LONG                                                                                 YES

                                    Currently supports querying the following business assets：Binance Pay,
                                    Binance Card, Binance Gift Card, Stock Token


                           Get API Key Permission (USER_DATA)
                               GET /sapi/v1/account/apiRestrictions (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "ipRestrict" : false ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "createTime" : 1623840271000 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "enableWithdrawals" : false ,   // This option allows you to withdraw via                                                                            API.




                                Name                                                                                 Type                                                        Mandatory                                                                                                           Description                                                                                                                                                                                                                                                      "enableInternalTransfer" : true , // This option authorizes this key to                                                            transfer




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "permitsUniversalTransfer" : true , // Authorizes this key to be used for
                                recvWindow                                                                           LONG                                                        NO                                                                                                                                                                                                                                                                                                                                                                                   "enableVanillaOptions" : false , // Authorizes this key to Vanilla options
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "enableReading" : true ,
                                timestamp                                                                            LONG                                                        YES                                                                                                                                                                                                                                                                                                                                                                                  "enableFutures" : false , // API Key created before your futures account
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "enableMargin" : false ,   // This option can be adjusted after the Cross
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "enableSpotAndMarginTrading" : false , // Spot and margin trading
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "tradingAuthorityExpirationTime" : 1628985600000 // Expiration time for                                                                              spot




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }




                           Sub-Account Endpoints
                                    The endpoints documented in this section are for Corporate Accounts                                                                                                                                                                                                                                                                                                                                                                                                                              .


                                    To become a corporate account, please refer to this document: Corporate
                                    Account Application


                           Create                                      a                   Virtual Sub-account(For Master Account)
                               POST /sapi/v1/sub-account/virtualSubAccount                                                                                                                                                                                                                                                                        (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "email" : "addsdd_virtual@aasaixwqnoemail.com"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }

                                Name                                                                                                                Type                                                                             Mandatory                                                                                                        Description
                                subAccountString                                                                                                    STRING                                                                           Yes                                                                                                              Please input a string. We
                                                                                                                                                                                                                                                                                                                                                      will create a virtual email
                                                                                                                                                                                                                                                                                                                                                      using that string for you
                                                                                                                                                                                                                                                                                                                                                      to register


                                recvWindow                                                                                                          LONG                                                                             NO

                                timestamp                                                                                                           LONG                                                                             YES

                                    This request will generate a virtual sub account under your master
                                    account.
                                    You need to enable "trade" option for the api key which requests this
                                    endpoint.


                           Query Sub-account                                                                                                                                                     List                                        (For Master Account)
                               GET /sapi/v1/sub-account/list (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "subAccounts" :[
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "email" : "testsub@gmail.com" ,
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                                                                                                       "isFreeze" : false ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "createTime" : 1544433328000
                                email                                                                                STRING                                                                  NO                                                                                                                  Sub-account email                                                                                                                                                                                                                                            },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              {
                                isFreeze                                                                             STRING                                                                  NO                                                                                                                  true or false                                                                                                                                                                                                                                                     "email" : "virtual@oxebmvfonoemail.com" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "isFreeze" : false ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "createTime" : 1544433328000
                                page                                                                                 INT                                                                     NO                                                                                                                  Default value:                                                                                          1                                                                                                                                                    }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ]
                                limit                                                                                INT                                                                     NO                                                                                                                  Default value:                                                                                          1,                      Max value:                                                                                              }
                                                                                                                                                                                                                                                                                                                 200

                                recvWindow                                                                           LONG                                                                    NO

                                timestamp                                                                            LONG                                                                    YES


                           Query Sub-account Spot Asset Transfer History (For
                           Master Account)
                               GET /sapi/v1/sub-account/sub/transfer/history                                                                                                                                                                                                                                                                                   (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         [
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "from" : "aaa@test.com" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "to" : "bbb@test.com" ,
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                                                                                                              "asset" : "BTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "qty" : "10" ,
                                fromEmail                                                                            STRING                                                                  NO                                                                                                                  Sub-account email                                                                                                                                                                                                                                                        "status" : "SUCCESS" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "tranId" : 6489943656 ,
                                toEmail                                                                              STRING                                                                  NO                                                                                                                  Sub-account email                                                                                                                                                                                                                                                        "time" : 1544433328000
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          {
                                startTime                                                                            LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                                           "from" : "bbb@test.com" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "to" : "ccc@test.com" ,
                                endTime                                                                              LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                                           "asset" : "ETH" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "qty" : "2" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "status" : "SUCCESS" ,
                                page                                                                                 INT                                                                     NO                                                                                                                  Default value:                                                                                          1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "tranId" : 6489938713 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "time" : 1544433328000
                                limit                                                                                INT                                                                     NO                                                                                                                  Default value: 500                                                                                                                                                                                                                                       }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ]
                                recvWindow                                                                           LONG                                                                    NO

                                timestamp                                                                            LONG                                                                    YES

                                    fromEmail and toEmail cannot be sent at the same time.
                                    Return fromEmail equal master account email by default.


                           Query Sub-account Futures Asset Transfer History
                           (For Master Account)
                               GET /sapi/v1/sub-account/futures/internalTransfer                                                                                                                                                                                                                                                                                                            (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "success" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "futuresType" : 2 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "transfers" :[
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                                                                                                  {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "from" : "aaa@test.com" ,
                                email                                                                                STRING                                                                  YES                                                                                                                 Sub-account email                                                                                                                                                                                                                                                 "to" : "bbb@test.com" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "asset" : "BTC" ,
                                futuresType                                                                          LONG                                                                    YES                                                                                                                 1:USDT-margined Futures，2:                                                                                                                                                                                                                                        "qty" : "1" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "tranId" : 11897001102 ,
                                                                                                                                                                                                                                                                                                                 Coin-margined Futures                                                                                                                                                                                                                                             "time" : 1544433328000
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              },
                                startTime                                                                            LONG                                                                    NO                                                                                                                  Default return the history with                                                                                                                                                                                                                              {
                                                                                                                                                                                                                                                                                                                 in 100 days                                                                                                                                                                                                                                                       "from" : "bbb@test.com" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "to" : "ccc@test.com" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "asset" : "ETH" ,
                                endTime                                                                              LONG                                                                    NO                                                                                                                  Default return the history with                                                                                                                                                                                                                                   "qty" : "2" ,
                                                                                                                                                                                                                                                                                                                 in 100 days                                                                                                                                                                                                                                                       "tranId" : 11631474902 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "time" : 1544433328000
                                page                                                                                 INT                                                                     NO                                                                                                                  Default value:                                                                                          1                                                                                                                                                    }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }
                                limit                                                                                INT                                                                     NO                                                                                                                  Default value: 50, Max value:
                                                                                                                                                                                                                                                                                                                 500

                                recvWindow                                                                           LONG                                                                    NO

                                timestamp                                                                            LONG                                                                    YES


                           Sub-account Futures Asset Transfer (For Master
                           Account)
                               POST /sapi/v1/sub-account/futures/internalTransfer                                                                                                                                                                                                                                                                                                                (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "success" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "txnId" : "2934662589"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }
                                Name                                                                                 Type                                                                                Mandatory                                                                                                        Description
                                fromEmail                                                                            STRING                                                                              YES                                                                                                              Sender email

                                toEmail                                                                              STRING                                                                              YES                                                                                                              Recipient email

                                futuresType                                                                          LONG                                                                                YES                                                                                                              1:USDT-margined Futures，
                                                                                                                                                                                                                                                                                                                          2: Coin-margined Futures


                                asset                                                                                STRING                                                                              YES

                                amount                                                                               DECIMAL                                                                             YES

                                recvWindow                                                                           LONG                                                                                NO

                                timestamp                                                                            LONG                                                                                YES

                                    Master account can transfer max 2000 times                                                                                                                                                                                                                                                                a           minute


                           Query Sub-account Assets (For Master Account)
                               GET /sapi/v3/sub-account/assets                                                                                                                                                                               (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Fetch sub-account assets
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Weight(IP):                                                     1                                                                                                                                                                                                                                                                                                                                                                                                                                                                              "balances" :[
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "asset" : "ADA" ,
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "free" : 10000 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "locked" : 0
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                                                                                                  },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "asset" : "BNB" ,
                                email                                                                                STRING                                                                  YES                                                                                                                 Sub account email
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "free" : 10003 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "locked" : 0
                                recvWindow                                                                           LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                               },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              {
                                timestamp                                                                            LONG                                                                    YES                                                                                                                                                                                                                                                                                                                                                                                   "asset" : "BTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "free" : 11467.6399 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "locked" : 0
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "asset" : "ETH" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "free" : 10004.995 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "locked" : 0
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "asset" : "USDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "free" : 11652.14213 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "locked" : 0
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }




                           Query Sub-account Spot Assets Summary (For
                           Master Account)
                           Get BTC valued asset summary                                                                                                                                                              of                  subaccounts.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                               GET /sapi/v1/sub-account/spotSummary (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Weight(IP):                                                     1                                                                                                                                                                                                                                                                                                                                                                                                                                                                              "totalCount" : 2 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "masterAccountTotalAsset" : "0.23231201" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "spotSubUserAssetBtcVoList" :[
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "email" : "sub123@test.com" ,
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                                                                                                       "totalAsset" : "9999.00000000"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              {
                                email                                                                                STRING                                                                  NO                                                                                                                  Sub account email
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "email" : "test456@test.com" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "totalAsset" : "0.00000000"
                                page                                                                                 LONG                                                                    NO                                                                                                                  default                                           1                                                                                                                                                                                                          }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ]
                                size                                                                                 LONG                                                                    NO                                                                                                                  default 10, max 20                                                                                                                                                                                                                      }


                                recvWindow                                                                           LONG                                                                    NO

                                timestamp                                                                            LONG                                                                    YES


                           Get Sub-account Deposit Address (For Master
                           Account)
                               GET /sapi/v1/capital/deposit/subAddress (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Fetch sub-account deposit address
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Weight(IP):                                                     1                                                                                                                                                                                                                                                                                                                                                                                                                                                                              "address" : "TDunhSa7jkTNuKrusUTU1MUHtqXoBPKETV" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "coin" : "USDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "tag" : "" ,
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "url" : "https://tronscan.org/#/address/TDunhSa7jkTNuKrusUTU1MUHtqXoBPKETV"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description
                                email                                                                                STRING                                                                  YES                                                                                                                 Sub account email

                                coin                                                                                 STRING                                                                  YES

                                network                                                                              STRING                                                                  NO

                                recvWindow                                                                           LONG                                                                    NO

                                timestamp                                                                            LONG                                                                    YES


                           Get Sub-account Deposit History (For Master
                           Account)
                               GET /sapi/v1/capital/deposit/subHisrec                                                                                                                                                                                                                                    (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Fetch sub-account deposit history
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         [
                           Weight(IP):                                                     1                                                                                                                                                                                                                                                                                                                                                                                                                                                                              {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "amount" : "0.00999800" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "coin" : "PAXG" ,
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "network" : "ETH" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "status" : 1 ,
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                                                                                                              "address" : "0x788cabe9236ce061e5a892e1a59395a81fc8d62c" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "addressTag" : "" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "txId" : "0xaad4654a3234aa6118af9b4b335f5ae81c360b2394721c019b5d1e75328b09f3"
                                email                                                                                STRING                                                                  YES                                                                                                                 Sub account email
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "insertTime" : 1599621997000 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "transferType" : 0 ,
                                coin                                                                                 STRING                                                                  NO                                                                                                                                                                                                                                                                                                                                                                                           "confirmTimes" : "12/12"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          },
                                status                                                                               INT                                                                     NO                                                                                                                  0(0:pending,6: credited but                                                                                                                                                                                                                              {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "amount" : "0.50000000" ,
                                                                                                                                                                                                                                                                                                                 cannot withdraw, 1:success)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "coin" : "IOTA" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "network" : "IOTA" ,
                                startTime                                                                            LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                                           "status" : 1 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "address" : "SIZ9VLMHWATXKV99LH99CIGFJFUMLEHGWVZVNNZXRJJVWBPHYWPPBOSDORZ9EQSHCZAMPVAPGFYQAUUV9DROOXJLNW"
                                endTime                                                                              LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                                           "addressTag" : "" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "txId" : "ESBFVQUTPIWQNJSPXFNHNYHSQNTGKRVKPRABQWTAXCDWOAKDKYWPTVG9BGXNVNKTLEJGESAVXIKIZ9999"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "insertTime" : 1599620082000 ,
                                limit                                                                                INT                                                                     NO                                                                                                                                                                                                                                                                                                                                                                                           "transferType" : 0 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "confirmTimes" : "1/1"
                                offset                                                                               INT                                                                     NO                                                                                                                  default:0                                                                                                                                                                                                                                                }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ]
                                recvWindow                                                                           LONG                                                                    NO

                                timestamp                                                                            LONG                                                                    YES


                           Get Sub-account's Status on Margin/Futures (For
                           Master Account)
                               GET /sapi/v1/sub-account/status                                                                                                                                                                               (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response
                           Weight(IP): 10
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         [
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "email" : "123@test.com" ,     // user                                email
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "isSubUserEnabled" : true ,    // true                                or false
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                                                                                                              "isUserActive" : true ,        // true                                or false
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "insertTime" : 1570791523523 , // sub                                 account create time
                                email                                                                                STRING                                                                  NO                                                                                                                  Sub-account email                                                                                                                                                                                                                                                        "isMarginEnabled" : true ,     // true                                or false for margin
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "isFutureEnabled" : true ,      // true                                 or false for futures.
                                recvWindow                                                                           LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                                           "mobile" : 1570791523523       // user                                mobile number
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ]
                                timestamp                                                                            LONG                                                                    YES

                                    If       no email sent,                                                               all               sub-accounts' information                                                                                                                                                                                 will                  be returned.


                           Enable Margin for Sub-account (For Master
                           Account)
                               POST /sapi/v1/sub-account/margin/enable                                                                                                                                                                                                                                           (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameters:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "email" : "123@test.com" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "isMarginEnabled" : true
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }
                                email                                                                                STRING                                                                  YES                                                                                                                 Sub-account email

                                recvWindow                                                                           LONG                                                                    NO

                                timestamp                                                                            LONG                                                                    YES


                           Get Detail on Sub-account's Margin Account (For
                           Master Account)
                               GET /sapi/v1/sub-account/margin/account (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response
                           Weight(IP): 10
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "email" : "123@test.com" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "marginLevel" : "11.64405625" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "totalAssetOfBtc" : "6.82728457" ,
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                                                                                                      "totalLiabilityOfBtc" : "0.58633215" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "totalNetAssetOfBtc" : "6.24095242" ,
                                email                                                                                STRING                                                                  YES                                                                                                                 Sub-account email                                                                                                                                                                                                                                                "marginTradeCoeffVo" :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                                recvWindow                                                                           LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                                               "forceLiquidationBar" : "1.10000000" ,                                     // Liquidation margin
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              "marginCallBar" : "1.50000000" ,                                           // Margin call margin
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              "normalBar" : "2.00000000"                                                 // Initial margin ratio
                                timestamp                                                                            LONG                                                                    YES                                                                                                                                                                                                                                                                                                                                                                                         },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "marginUserAssetVoList" : [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "asset" : "BTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "borrowed" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "free" : "0.00499500" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "interest" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "locked" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "netAsset" : "0.00499500"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "asset" : "BNB" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "borrowed" : "201.66666672" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "free" : "2346.50000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "interest" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "locked" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "netAsset" : "2144.83333328"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "asset" : "ETH" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "borrowed" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "free" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "interest" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "locked" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "netAsset" : "0.00000000"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "asset" : "USDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "borrowed" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "free" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "interest" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "locked" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "netAsset" : "0.00000000"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }




                           Get Summary of Sub-account's Margin Account (For
                           Master Account)
                               GET /sapi/v1/sub-account/margin/accountSummary                                                                                                                                                                                                                                                                                      (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response
                           Weight(IP): 10
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "totalAssetOfBtc" : "4.33333333" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "totalLiabilityOfBtc" : "2.11111112" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "totalNetAssetOfBtc" : "2.22222221" ,
                                Name                                                                                 Type                                                        Mandatory                                                                                                           Description                                                                                                                                                                                                                                                          "subAccountList" :[
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              {
                                recvWindow                                                                           LONG                                                        NO                                                                                                                                                                                                                                                                                                                                                                                                "email" : "123@test.com" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "totalAssetOfBtc" : "2.11111111" ,
                                timestamp                                                                            LONG                                                        YES                                                                                                                                                                                                                                                                                                                                                                                               "totalLiabilityOfBtc" : "1.11111111" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "totalNetAssetOfBtc" : "1.00000000"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "email" : "345@test.com" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "totalAssetOfBtc" : "2.22222222" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "totalLiabilityOfBtc" : "1.00000001" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "totalNetAssetOfBtc" : "1.22222221"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }




                           Enable Futures for Sub-account (For Master
                           Account)
                               POST /sapi/v1/sub-account/futures/enable                                                                                                                                                                                                                                               (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameters:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "email" : "123@test.com" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "isFuturesEnabled" : true                                   // true or false
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }
                                email                                                                                STRING                                                                  YES                                                                                                                 Sub-account email

                                recvWindow                                                                           LONG                                                                    NO

                                timestamp                                                                            LONG                                                                    YES


                           Get Detail on Sub-account's Futures Account (For
                           Master Account)
                               GET /sapi/v1/sub-account/futures/account                                                                                                                                                                                                                                               (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response
                           Weight(IP): 10

                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "email" : "abc@test.com" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "asset" : "USDT" ,
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                                                                                              "assets" :[
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              {
                                email                                                                                STRING                                                                  YES                                                                                                                 Sub-account email                                                                                                                                                                                                                                                 "asset" : "USDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "initialMargin" : "0.00000000" ,
                                recvWindow                                                                           LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                                    "maintenanceMargin" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "marginBalance" : "0.88308000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "maxWithdrawAmount" : "0.88308000" ,
                                timestamp                                                                            LONG                                                                    YES                                                                                                                                                                                                                                                                                                                                                                                   "openOrderInitialMargin" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "positionInitialMargin" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "unrealizedProfit" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "walletBalance" : "0.88308000"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ],
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "canDeposit" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "canTrade" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "canWithdraw" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "feeTier" : 2 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "maxWithdrawAmount" : "0.88308000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "totalInitialMargin" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "totalMaintenanceMargin" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "totalMarginBalance" : "0.88308000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "totalOpenOrderInitialMargin" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "totalPositionInitialMargin" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "totalUnrealizedProfit" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "totalWalletBalance" : "0.88308000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "updateTime" : 1576756674610
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              }




                           Get Summary of Sub-account's Futures Account (For
                           Master Account)
                               GET /sapi/v1/sub-account/futures/accountSummary                                                                                                                                                                                                                                                                                          (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "totalInitialMargin" : "9.83137400" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "totalMaintenanceMargin" : "0.41568700" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "totalMarginBalance" : "23.03235621" ,
                                Name                                                                                 Type                                                        Mandatory                                                                                                           Description                                                                                                                                                                                                                                                          "totalOpenOrderInitialMargin" : "9.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "totalPositionInitialMargin" : "0.83137400" ,
                                recvWindow                                                                           LONG                                                        NO                                                                                                                                                                                                                                                                                                                                                                                       "totalUnrealizedProfit" : "0.03219710" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "totalWalletBalance" : "22.15879444" ,
                                timestamp                                                                            LONG                                                        YES                                                                                                                                                                                                                                                                                                                                                                                      "asset" : "USD" , // The sum of BUSD and USDT
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "subAccountList" :[
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "email" : "123@test.com" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "totalInitialMargin" : "9.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "totalMaintenanceMargin" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "totalMarginBalance" : "22.12659734" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "totalOpenOrderInitialMargin" : "9.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "totalPositionInitialMargin" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "totalUnrealizedProfit" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "totalWalletBalance" : "22.12659734" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "asset" : "USD" //The sum of BUSD and USDT
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "email" : "345@test.com" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "totalInitialMargin" : "0.83137400" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "totalMaintenanceMargin" : "0.41568700" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "totalMarginBalance" : "0.90575887" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "totalOpenOrderInitialMargin" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "totalPositionInitialMargin" : "0.83137400" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "totalUnrealizedProfit" : "0.03219710" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "totalWalletBalance" : "0.87356177" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "asset" : "USD"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }




                           Get Futures Position-Risk of Sub-account (For
                           Master Account)
                               GET /sapi/v1/sub-account/futures/positionRisk                                                                                                                                                                                                                                                                                   (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response
                           Weight(IP): 10
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         [
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "entryPrice" : "9975.12000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "leverage" : "50" ,              // current initial leverage
                                Name                                                                                 Type                                                        Mandatory                                                                                                           Description                                                                                                                                                                                                                                                                          "maxNotional" : "1000000" ,      // notional value limit of current                                            initial




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "liquidationPrice" : "7963.54" ,
                                email                                                                                String                                                      YES                                                                                                                 Sub-account email                                                                                                                                                                                                                                                                    "markPrice" : "9973.50770517" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "positionAmount" : "0.010" ,
                                recvWindow                                                                           LONG                                                        NO                                                                                                                                                                                                                                                                                                                                                                                                       "symbol" : "BTCUSDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "unrealizedProfit" : "-0.01612295"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          }
                                timestamp                                                                            LONG                                                        YES                                                                                                                                                                                                                                                                                                                                                                     ]




                           Futures Transfer for Sub-account (For Master
                           Account)
                               POST /sapi/v1/sub-account/futures/transfer                                                                                                                                                                                                                                                             (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "txnId" : "2966662589"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }

                                Name                                                                                 Type                                                                                Mandatory                                                                                                        Description
                                email                                                                                String                                                                              YES                                                                                                              Sub-account email

                                asset                                                                                STRING                                                                              YES                                                                                                              The asset being transferred,
                                                                                                                                                                                                                                                                                                                          e.g., USDT


                                amount                                                                               DECIMAL                                                                             YES                                                                                                              The amount                                                                                         to                      be
                                                                                                                                                                                                                                                                                                                          transferred

                                type                                                                                 INT                                                                                 YES                                                                                                              1: transfer from subaccount's
                                                                                                                                                                                                                                                                                                                          spot account to its USDT-
                                                                                                                                                                                                                                                                                                                          margined futures account 2:
                                                                                                                                                                                                                                                                                                                          transfer from subaccount's
                                                                                                                                                                                                                                                                                                                          USDT-margined futures
                                                                                                                                                                                                                                                                                                                          account to its spot account 3:
                                                                                                                                                                                                                                                                                                                          transfer from subaccount's
                                                                                                                                                                                                                                                                                                                          spot account to its COIN-
                                                                                                                                                                                                                                                                                                                          margined futures account
                                                                                                                                                                                                                                                                                                                          4:transfer from subaccount's
                                                                                                                                                                                                                                                                                                                          COIN-margined futures
                                                                                                                                                                                                                                                                                                                          account to its spot account

                                recvWindow                                                                           LONG                                                                                NO

                                timestamp                                                                            LONG                                                                                YES


                           Margin Transfer for Sub-account (For Master
                           Account)
                               POST /sapi/v1/sub-account/margin/transfer                                                                                                                                                                                                                                                      (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "txnId" : "2966662589"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }

                                Name                                                                                 Type                                                                                Mandatory                                                                                                        Description
                                email                                                                                String                                                                              YES                                                                                                              Sub-account email

                                asset                                                                                STRING                                                                              YES                                                                                                              The asset being transferred,
                                                                                                                                                                                                                                                                                                                          e.g., BTC


                                amount                                                                               DECIMAL                                                                             YES                                                                                                              The amount                                                                                         to                      be
                                                                                                                                                                                                                                                                                                                          transferred

                                type                                                                                 INT                                                                                 YES                                                                                                              1: transfer from subaccount's
                                                                                                                                                                                                                                                                                                                          spot account to margin
                                                                                                                                                                                                                                                                                                                          account 2: transfer from
                                                                                                                                                                                                                                                                                                                          subaccount's margin account
                                                                                                                                                                                                                                                                                                                          to its spot account


                                recvWindow                                                                           LONG                                                                                NO

                                timestamp                                                                            LONG                                                                                YES


                           Transfer to Sub-account of Same Master (For Sub-
                           account)
                               POST /sapi/v1/sub-account/transfer/subToSub                                                                                                                                                                                                                                                                        (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "txnId" : "2966662589"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }

                                Name                                                                                 Type                                                                                Mandatory                                                                                                        Description
                                toEmail                                                                              String                                                                              YES                                                                                                              Sub-account email

                                asset                                                                                STRING                                                                              YES

                                amount                                                                               DECIMAL                                                                             YES

                                recvWindow                                                                           LONG                                                                                NO

                                timestamp                                                                            LONG                                                                                YES


                           Transfer to Master (For Sub-account)
                               POST /sapi/v1/sub-account/transfer/subToMaster                                                                                                                                                                                                                                                                                      (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "txnId" : "2966662589"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }

                                Name                                                                                 Type                                                                                Mandatory                                                                                                        Description
                                asset                                                                                STRING                                                                              YES

                                amount                                                                               DECIMAL                                                                             YES

                                recvWindow                                                                           LONG                                                                                NO

                                timestamp                                                                            LONG                                                                                YES


                           Sub-account Transfer History (For Sub-account)
                               GET /sapi/v1/sub-account/transfer/subUserHistory (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         [
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "counterParty" : "master" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "email" : "master@test.com" ,
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                                                                                              "type" : 1 , // 1 for transfer in, 2 for transfer out
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "asset" : "BTC" ,
                                asset                                                                                STRING                                                                  NO                                                                                                                  If not sent, result                                                                                                                 of all                                        assets                                                                 "qty" : "1" ,
                                                                                                                                                                                                                                                                                                                 will be returned                                                                                                                                                                                                                                         "fromAccountType" : "SPOT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "toAccountType" : "SPOT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "status" : "SUCCESS" ,
                                type                                                                                 INT                                                                     NO                                                                                                                  1:           transfer                                                      in, 2:                                           transfer out                                                                                                                 "tranId" : 11798835829 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "time" : 1544433325000
                                startTime                                                                            LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                   },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  {
                                endTime                                                                              LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                           "counterParty" : "subAccount" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "email" : "sub2@test.com" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "type" : 1 ,
                                limit                                                                                INT                                                                     NO                                                                                                                  Default 500                                                                                                                                                                                                                                              "asset" : "ETH" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "qty" : "2" ,
                                recvWindow                                                                           LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                           "fromAccountType" : "SPOT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "toAccountType" : "SPOT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "status" : "SUCCESS" ,
                                timestamp                                                                            LONG                                                                    YES                                                                                                                                                                                                                                                                                                                                                                          "tranId" : 11798829519 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "time" : 1544433326000
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  }
                                    If type is not sent, the records of type 2: transfer out will be returned by                                                                                                                                                                                                                                                                                                                                                                                                                                         ]
                                    default.
                                    If startTime and endTime are not sent, the recent 30-day data will be

                                    returned.


                           Universal Transfer (For Master Account)
                               POST /sapi/v1/sub-account/universalTransfer                                                                                                                                                                                                                                                                        (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "tranId" : 11945860693
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }

                                Name                                                                                                                Type                                                                                         Mandatory                                                                                                         Description
                                fromEmail                                                                                                           STRING                                                                                       NO

                                toEmail                                                                                                             STRING                                                                                       NO

                                fromAccountType                                                                                                     STRING                                                                                       YES                                                                                                               "SPOT","USDT_FUTURE","COIN_FUTURE"

                                toAccountType                                                                                                       STRING                                                                                       YES                                                                                                               "SPOT","USDT_FUTURE","COIN_FUTURE"

                                asset                                                                                                               STRING                                                                                       YES

                                amount                                                                                                              DECIMAL                                                                                      YES

                                recvWindow                                                                                                          LONG                                                                                         NO

                                timestamp                                                                                                           LONG                                                                                         YES


                                    You need to enable "internal transfer" option for the api key which
                                    requests this endpoint.
                                    Transfer from master account by default if fromEmail is not sent.
                                    Transfer to master account by default if toEmail is not sent.
                                    Transfer between futures accounts is not supported.


                           Query Universal Transfer History (For Master
                           Account)
                               GET /sapi/v1/sub-account/universalTransfer                                                                                                                                                                                                                                                             (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         [
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "tranId" : 11945860693 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "fromEmail" : "master@test.com" ,
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                                                                                              "toEmail" : "subaccount1@test.com" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "asset" : "BTC" ,
                                fromEmail                                                                            STRING                                                                  NO                                                                                                                                                                                                                                                                                                                                                                           "amount" : "0.1" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "fromAccountType" : "SPOT" ,
                                toEmail                                                                              STRING                                                                  NO                                                                                                                                                                                                                                                                                                                                                                           "toAccountType" : "COIN_FUTURE" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "status" : "SUCCESS" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "createTimeStamp" : 1544433325000
                                startTime                                                                            LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                   },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  {
                                endTime                                                                              LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                           "tranId" : 11945857955 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "fromEmail" : "master@test.com" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "toEmail" : "subaccount2@test.com" ,
                                page                                                                                 INT                                                                     NO                                                                                                                  Default                                            1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "asset" : "ETH" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "amount" : "0.2" ,
                                limit                                                                                INT                                                                     NO                                                                                                                  Default 500, Max 500                                                                                                                                                                                                                                     "fromAccountType" : "SPOT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "toAccountType" : "USDT_FUTURE" ,
                                recvWindow                                                                           LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                           "status" : "SUCCESS" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "createTimeStamp" : 1544433326000
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  }
                                timestamp                                                                            LONG                                                                    YES                                                                                                                                                                                                                                                                                                                                                         ]


                                    fromEmail and toEmail cannot be sent at the same time.
                                    Return fromEmail equal master account email by default.
                                    Only get the latest history of past 30 days.


                           Get Detail on Sub-account's Futures Account V2 (For
                           Master Account)
                               GET /sapi/v2/sub-account/futures/account                                                                                                                                                                                                                                               (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         USDT Margined Futures：
                           Parameters:

                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                                                                             {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "futureAccountResp" : {
                                email                                                                                STRING                                                                  YES                                                                                                                 Sub-account email                                                                                                                                                                                                                                        "email" : "abc@test.com" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "assets" :[
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              {
                                futuresType                                                                          INT                                                                     YES                                                                                                                 1:USDT Margined Futures,                                                                                                                                                                                                                                          "asset" : "USDT" ,
                                                                                                                                                                                                                                                                                                                 2:COIN Margined Futures                                                                                                                                                                                                                                           "initialMargin" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "maintenanceMargin" : "0.00000000" ,
                                recvWindow                                                                           LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                                    "marginBalance" : "0.88308000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "maxWithdrawAmount" : "0.88308000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "openOrderInitialMargin" : "0.00000000" ,
                                timestamp                                                                            LONG                                                                    YES                                                                                                                                                                                                                                                                                                                                                                                   "positionInitialMargin" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "unrealizedProfit" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "walletBalance" : "0.88308000"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ],
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "canDeposit" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "canTrade" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "canWithdraw" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "feeTier" : 2 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "maxWithdrawAmount" : "0.88308000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "totalInitialMargin" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "totalMaintenanceMargin" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "totalMarginBalance" : "0.88308000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "totalOpenOrderInitialMargin" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "totalPositionInitialMargin" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "totalUnrealizedProfit" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "totalWalletBalance" : "0.88308000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "updateTime" : 1576756674610
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         COIN Margined Futures：


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "deliveryAccountResp" : {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              "email" : "abc@test.com" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              "assets" :[
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "asset" : "BTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "initialMargin" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "maintenanceMargin" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "marginBalance" : "0.88308000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "maxWithdrawAmount" : "0.88308000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "openOrderInitialMargin" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "positionInitialMargin" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "unrealizedProfit" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "walletBalance" : "0.88308000"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              ],
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              "canDeposit" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              "canTrade" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              "canWithdraw" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              "feeTier" : 2 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              "updateTime" : 1598959682001
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              }




                           Get Summary of Sub-account's Futures Account V2
                           (For Master Account)
                               GET /sapi/v2/sub-account/futures/accountSummary                                                                                                                                                                                                                                                                                          (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response
                           Weight(IP): 10
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         USDT Margined Futures：
                           Parameters:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                                Name                                                                                 Type                                                        Mandatory                                                                                                           Description                                                                                                                                                                                                                                                  "futureAccountSummaryResp" : {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "totalInitialMargin" : "9.83137400" ,
                                futuresType                                                                          INT                                                         YES                                                                                                                 1:USDT Margined Futures,                                                                                                                                                                                                                                       "totalMaintenanceMargin" : "0.41568700" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "totalMarginBalance" : "23.03235621" ,
                                                                                                                                                                                                                                                                                                     2:COIN Margined Futures                                                                                                                                                                                                                                        "totalOpenOrderInitialMargin" : "9.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "totalPositionInitialMargin" : "0.83137400" ,
                                page                                                                                 INT                                                         NO                                                                                                                  default:1                                                                                                                                                                                                                                                      "totalUnrealizedProfit" : "0.03219710" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "totalWalletBalance" : "22.15879444" ,
                                limit                                                                                INT                                                         NO                                                                                                                  default:10, max:20                                                                                                                                                                                                                                             "asset" : "USD" , //The sum of BUSD and USDT
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "subAccountList" :[
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        {
                                recvWindow                                                                           LONG                                                        NO                                                                                                                                                                                                                                                                                                                                                                                          "email" : "123@test.com" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "totalInitialMargin" : "9.00000000" ,
                                timestamp                                                                            LONG                                                        YES                                                                                                                                                                                                                                                                                                                                                                                         "totalMaintenanceMargin" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "totalMarginBalance" : "22.12659734" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "totalOpenOrderInitialMargin" : "9.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "totalPositionInitialMargin" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "totalUnrealizedProfit" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "totalWalletBalance" : "22.12659734" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "asset" : "USD" //The sum of BUSD and USDT
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "email" : "345@test.com" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "totalInitialMargin" : "0.83137400" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "totalMaintenanceMargin" : "0.41568700" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "totalMarginBalance" : "0.90575887" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "totalOpenOrderInitialMargin" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "totalPositionInitialMargin" : "0.83137400" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "totalUnrealizedProfit" : "0.03219710" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "totalWalletBalance" : "0.87356177" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "asset" : "USD"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         COIN Margined Futures：

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "deliveryAccountSummaryResp" : {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "totalMarginBalanceOfBTC" : "25.03221121" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "totalUnrealizedProfitOfBTC" : "0.12233410" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "totalWalletBalanceOfBTC" : "22.15879444" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "asset" : "BTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "subAccountList" :[
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "email" : "123@test.com" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "totalMarginBalance" : "22.12659734" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "totalUnrealizedProfit" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "totalWalletBalance" : "22.12659734" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "asset" : "BTC"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "email" : "345@test.com" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "totalMarginBalance" : "0.90575887" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "totalUnrealizedProfit" : "0.03219710" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "totalWalletBalance" : "0.87356177" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "asset" : "BTC"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }




                           Get Futures Position-Risk of Sub-account V2 (For
                           Master Account)
                               GET /sapi/v2/sub-account/futures/positionRisk                                                                                                                                                                                                                                                                                   (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         USDT Margined Futures：
                           Parameters:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                                                                                      "futurePositionRiskVos" : [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     {
                                email                                                                                STRING                                                                  YES                                                                                                                 Sub-account email                                                                                                                                                                                                                                      "entryPrice" : "9975.12000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "leverage" : "50" ,              // current initial leverage
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "maxNotional" : "1000000" ,      // notional value limit of current
                                futuresType                                                                          INT                                                                     YES                                                                                                                 1:USDT Margined Futures,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         initial




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "liquidationPrice" : "7963.54" ,
                                                                                                                                                                                                                                                                                                                 2:COIN Margined Futures                                                                                                                                                                                                                                "markPrice" : "9973.50770517" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "positionAmount" : "0.010" ,
                                recvWindow                                                                           LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                         "symbol" : "BTCUSDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "unrealizedProfit" : "-0.01612295"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     }
                                timestamp                                                                            LONG                                                                    YES                                                                                                                                                                                                                                                                                                                                                                   ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         COIN Margined Futures：

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "deliveryPositionRiskVos" : [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "entryPrice" : "9975.12000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "markPrice" : "9973.50770517" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "leverage" : "20" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "isolated" : "false" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "isolatedWallet" : "9973.50770517" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "isolatedMargin" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "isAutoAddMargin" : "false" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "positionSide" : "BOTH" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "positionAmount" : "1.230" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "symbol" : "BTCUSD_201225" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "unrealizedProfit" : "-0.01612295"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }




                           Enable Leverage Token for Sub-account (For Master
                           Account)
                               POST /sapi/v1/sub-account/blvt/enable (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "email" : "123@test.com" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "enableBlvt" : true
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }
                                Name                                                                                 Type                                                                                    Mandatory                                                                                                        Description
                                email                                                                                String                                                                                  YES                                                                                                              Sub-account email

                                enableBlvt                                                                           BOOLEAN                                                                                 YES                                                                                                              Only true                                                                  for                                 now

                                recvWindow                                                                           LONG                                                                                    NO

                                timestamp                                                                            LONG                                                                                    YES


                           Deposit assets into the managed sub-account（For
                           Investor Master Account）
                               POST /sapi/v1/managed-subaccount/deposit                                                                                                                                                                                                                                               (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "tranId" : 66157362489
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }

                                Name                                                                                 Type                                                                                Mandatory                                                                                                        Description
                                toEmail                                                                              STRING                                                                              YES

                                asset                                                                                STRING                                                                              YES

                                amount                                                                               DECIMAL                                                                             YES

                                recvWindow                                                                           LONG                                                                                NO

                                timestamp                                                                            LONG                                                                                YES


                           Query managed sub-account asset details（For
                           Investor Master Account）
                               GET /sapi/v1/managed-subaccount/asset (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         [
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              "coin" : "INJ" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              "name" : "Injective Protocol" ,
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                                                                                                  "totalBalance" : "0" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              "availableBalance" : "0" ,
                                email                                                                                STRING                                                                  YES                                                                                                                                                                                                                                                                                                                                                                              "inOrder" : "0" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              "btcValue" : "0"
                                recvWindow                                                                           LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                   },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              "coin" : "FILDOWN" ,
                                timestamp                                                                            LONG                                                                    YES                                                                                                                                                                                                                                                                                                                                                                              "name" : "FILDOWN" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              "totalBalance" : "0" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              "availableBalance" : "0" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              "inOrder" : "0" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              "btcValue" : "0"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ]




                           Withdrawl assets from the managed sub-account
                           （For Investor Master Account）
                               POST /sapi/v1/managed-subaccount/withdraw                                                                                                                                                                                                                                                      (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "tranId" : 66157362489
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }

                                Name                                                                                 Type                                                                                Mandatory                                                                                                        Description
                                fromEmail                                                                            STRING                                                                              YES

                                asset                                                                                STRING                                                                              YES

                                amount                                                                               DECIMAL                                                                             YES

                                transferDate                                                                         LONG                                                                                NO                                                                                                               Withdrawals is automatically
                                                                                                                                                                                                                                                                                                                          occur on the transfer
                                                                                                                                                                                                                                                                                                                          date(UTC0). If a date is not
                                                                                                                                                                                                                                                                                                                          selected, the withdrawal
                                                                                                                                                                                                                                                                                                                          occurs right now

                                recvWindow                                                                           LONG                                                                                NO

                                timestamp                                                                            LONG                                                                                YES




                           Market Data Endpoints

                           Test Connectivity
                               GET /api/v3/ping
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Test connectivity                                                                         to            the Rest API.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {}
                           Weight(IP):                                                     1


                           Parameters:

                           NONE

                           Data Source: Memory


                           Check Server Time
                               GET /api/v3/time
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Test connectivity                                                                         to            the Rest API and get the current server time.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Weight(IP):                                                     1                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "serverTime" : 1499827319559
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }

                           Parameters:

                           NONE

                           Data Source: Memory


                           Exchange Information
                               GET /api/v3/exchangeInfo
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Current exchange trading rules and symbol information
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Weight(IP): 10                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         "timezone" : "UTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "serverTime" : 1565246363776 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "rateLimits" : [
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       //These are defined in the `ENUM definitions` section under `Rate                                                          Limiters

                           There are                                   3               possible options:                                                                                                                                                                                                                                                                                                                                                                                                                                                               //All limits are optional
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ],
                                Options                                                              Example                                                                                                                                                                                                                                                                                                                                                                                                                                                      "exchangeFilters" : [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     //These are the defined filters in the `Filters` section.
                                No                                                                   curl                      -X GET "https://api.binance.com/api/v3/exchangeInfo"                                                                                                                                                                                                                                                                                                                                                                                  //All filters are optional.
                                parameter                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ],
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "symbols" : [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     {
                                symbol                                                               curl-X GET "https://api.binance.com/api/v3/exchangeInfo?
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "symbol" : "ETHBTC" ,
                                                                                                     symbol=BNBBTC"                                                                                                                                                                                                                                                                                                                                                                                                                                                    "status" : "TRADING" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "baseAsset" : "ETH" ,
                                symbols                                                              curl -X GET "https://api.binance.com/api/v3/exchangeInfo?                                                                                                                                                                                                                                                                                                                                                                                                         "baseAssetPrecision" : 8 ,
                                                                                                     symbols=%5B%22BNBBTC%22,%22BTCUSDT%22%5D" or                                                                                                                                                                                                                                                                                                                                                                                                                      "quoteAsset" : "BTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "quotePrecision" : 8 ,
                                                                                                     curl -g GET 'https://api.binance.com/api/v3/exchangeInfo?
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "quoteAssetPrecision" : 8 ,
                                                                                                     symbols=["BTCUSDT","BNBBTC"]'                                                                                                                                                                                                                                                                                                                                                                                                                                     "orderTypes" : [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "LIMIT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "LIMIT_MAKER" ,
                           Ifany symbol provided in either                                                                                                                                                                       symbol                                                      or                  symbols                                                do not                                                               exist,                                           the                                                                         "MARKET" ,
                           endpoint will throw an error.                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "STOP_LOSS" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "STOP_LOSS_LIMIT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "TAKE_PROFIT" ,
                           Data Source: Memory
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "TAKE_PROFIT_LIMIT"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       ],
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "icebergAllowed" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "ocoAllowed" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "isSpotTradingAllowed" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "isMarginTradingAllowed" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "filters" : [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          //These are defined in the Filters section.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          //All filters are optional
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       ],
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "permissions" : [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "SPOT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "MARGIN"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }




                           Order Book
                               GET /api/v3/depth
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP):
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Adjusted based on the                                                                                                        limit:                                                                                                                                                                                                                                                                                                                                                                                                    "lastUpdateId" : 1027024 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "bids" : [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     [
                                Limit                                                                                                       Weight                                                                                                                                                                                                                                                                                                                                                                                                                     "4.00000000" ,     // PRICE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "431.00000000"     // QTY
                                5,       10, 20, 50, 100                                                                                    1                                                                                                                                                                                                                                                                                                                                                                                                                        ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ],
                                500                                                                                                         5                                                                                                                                                                                                                                                                                                                                                                                                                     "asks" : [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "4.00000200" ,
                                1000                                                                                                        10                                                                                                                                                                                                                                                                                                                                                                                                                         "12.00000000"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ]
                                5000                                                                                                        50                                                                                                                                                                                                                                                                                                                                                                                                                    ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }

                           Parameters:

                                Name                                                   Type                                                         Mandatory                                                                                                            Description
                                symbol                                                 STRING                                                       YES

                                limit                                                  INT                                                          NO                                                                                                                   Default 100; max 5000. Valid limits:
                                                                                                                                                                                                                                                                         [5, 10, 20, 50, 100, 500, 1000, 5000]



                           Data Source: Memory


                           Recent Trades                                                                                               List
                               GET /api/v3/trades
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Get recent trades.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         [
                           Weight(IP):                                                     1                                                                                                                                                                                                                                                                                                                                                                                                                                                                      {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "id" : 28457 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "price" : "4.00000100" ,
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "qty" : "12.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "quoteQty" : "48.000012" ,
                                Name                                                   Type                                                         Mandatory                                                                                                            Description                                                                                                                                                                                                                                                                                      "time" : 1499865549590 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "isBuyerMaker" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "isBestMatch" : true
                                symbol                                                 STRING                                                       YES
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ]
                                limit                                                  INT                                                          NO                                                                                                                   Default 500; max 1000.

                           Data Source: Memory


                           Old Trade Lookup (MARKET_DATA)
                               GET /api/v3/historicalTrades
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Get older market trades.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         [
                           Weight(IP):                                                     5                                                                                                                                                                                                                                                                                                                                                                                                                                                                      {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "id" : 28457 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "price" : "4.00000100" ,
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "qty" : "12.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "quoteQty" : "48.000012" ,
                                Name                                                   Type                                                         Mandatory                                                                                                            Description                                                                                                                                                                                                                                                                                      "time" : 1499865549590 , // Trade executed timestamp, as same as `T` in                                                        the

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "isBuyerMaker" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "isBestMatch" : true
                                symbol                                                 STRING                                                       YES
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ]
                                limit                                                  INT                                                          NO                                                                                                                   Default 500; max 1000.

                                fromId                                                 LONG                                                         NO                                                                                                                   Trade id to fetch from. Default gets
                                                                                                                                                                                                                                                                         most recent trades.

                           Data Source: Database


                           Compressed/Aggregate Trades                                                                                                                                                                                                                                                                        List
                               GET /api/v3/aggTrades
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Get compressed, aggregate trades. Trades that fill at the time, from the
                           same order, with the same price will have the quantity aggregated.                                                                                                                                                                                                                                                                                                                                                                                                                                                            [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  {
                           Weight(IP):                                                     1                                                                                                                                                                                                                                                                                                                                                                                                                                                                              "a"         :       26129 ,                       //   Aggregate tradeId
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "p"         :       "0.01633102" ,                //   Price
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "q"         :       "4.70443515" ,                //   Quantity
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "f"         :       27781 ,                       //   First tradeId
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "l"         :       27781 ,                       //   Last tradeId
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "T"         :       1498793709153 ,               //   Timestamp
                                Name                                                            Type                                                             Mandatory                                                                                                                   Description                                                                                                                                                                                                                                                                  "m"         :       true ,                        //   Was the buyer the maker?
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "M"         :       true                          //   Was the trade the best price match?
                                symbol                                                          STRING                                                           YES                                                                                                                                                                                                                                                                                                                                                                                              }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ]
                                fromId                                                          LONG                                                             NO                                                                                                                          id toget aggregate trades from
                                                                                                                                                                                                                                                                                             INCLUSIVE.

                                startTime                                                       LONG                                                             NO                                                                                                                          Timestamp in ms to get
                                                                                                                                                                                                                                                                                             aggregate trades from INCLUSIVE.

                                endTime                                                         LONG                                                             NO                                                                                                                          Timestamp in ms to get
                                                                                                                                                                                                                                                                                             aggregate trades until INCLUSIVE.

                                limit                                                           INT                                                              NO                                                                                                                          Default 500; max 1000.

                                    If startTime and endTime are sent, time between startTime and endTime
                                    must be less than 1 hour.
                                    If fromId, startTime, and endTime are not sent, the most recent

                                    aggregate trades will be returned.

                           Data Source: Database


                           Kline/Candlestick Data
                               GET /api/v3/klines
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Kline/candlestick bars for a symbol.
                           Klines are uniquely identified by their open time.                                                                                                                                                                                                                                                                                                                                                                                                                                                                            [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  [
                           Weight(IP):                                                     1                                                                                                                                                                                                                                                                                                                                                                                                                                                                              1499040000000 ,                                   //   Open time
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "0.01634790" ,                                    //   Open
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "0.80000000" ,                                    //   High
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "0.01575800" ,                                    //   Low
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "0.01577100" ,                                    //   Close
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "148976.11427815" ,                               //   Volume
                                Name                                                            Type                                                             Mandatory                                                                                                                   Description                                                                                                                                                                                                                                                                  1499644799999 ,                                   //   Close time
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "2434.19055334" ,                                 //   Quote asset volume
                                symbol                                                          STRING                                                           YES                                                                                                                                                                                                                                                                                                                                                                                                      308 ,                                             //   Number of trades
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "1756.87402397" ,                                 //   Taker buy base asset volume
                                interval                                                        ENUM                                                             YES                                                                                                                                                                                                                                                                                                                                                                                                      "28.46694368" ,                                   //   Taker buy quote asset volume
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "17928899.62484339"                               //   Ignore.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ]
                                startTime                                                       LONG                                                             NO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ]

                                endTime                                                         LONG                                                             NO

                                limit                                                           INT                                                              NO                                                                                                                          Default 500; max 1000.

                                    IfstartTime and endTime are not sent, the most recent klines are
                                    returned.

                           Data Source: Database


                           Current Average Price
                               GET /api/v3/avgPrice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Current average price                                                                                                for a                                    symbol.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Weight(IP):                                                     1                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "mins" : 5 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "price" : "9.35751834"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }
                           Parameters:

                                Name                                                   Type                                                         Mandatory                                                                                                            Description
                                symbol                                                 STRING                                                       YES

                           Data Source: Memory


                           24hr Ticker Price Change Statistics
                               GET /api/v3/ticker/24hr
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           24 hour rolling window price change statistics. Careful when accessing this
                           with no symbol.                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "symbol" : "BNBBTC" ,
                           Weight(IP):                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "priceChange" : "-94.99999800" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "priceChangePercent" : "-95.960" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "weightedAvgPrice" : "0.29628482" ,
                           1 for asingle symbol;                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "prevClosePrice" : "0.10002000" ,
                           40 when the symbol parameter                                                                                                                                                                  is              omitted;                                                                                                                                                                                                                                                                                                                 "lastPrice" : "4.00000200" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "lastQty" : "200.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "bidPrice" : "4.00000000" ,
                           Parameters:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "askPrice" : "4.00000200" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "openPrice" : "99.00000000" ,
                                Name                                                   Type                                                         Mandatory                                                                                                            Description                                                                                                                                                                                                                                                                              "highPrice" : "100.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "lowPrice" : "0.10000000" ,
                                symbol                                                 STRING                                                       NO                                                                                                                                                                                                                                                                                                                                                                                                            "volume" : "8913.30000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "quoteVolume" : "15.30000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "openTime" : 1499783499040 ,
                                    Ifthe symbol                                                             is          not sent, tickers                                                                                                   for                         all                     symbols                                                       will                     be returned                                                                                                in              an                                             "closeTime" : 1499869899040 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "firstId" : 28385 ,   // First tradeId
                                    array.                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "lastId" : 28460 ,    // Last tradeId
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "count" : 76          // Trade count
                           Data Source: Memory                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           }



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         OR

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "symbol" : "BNBBTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "priceChange" : "-94.99999800" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "priceChangePercent" : "-95.960" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "weightedAvgPrice" : "0.29628482" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "prevClosePrice" : "0.10002000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "lastPrice" : "4.00000200" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "lastQty" : "200.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "bidPrice" : "4.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "askPrice" : "4.00000200" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "openPrice" : "99.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "highPrice" : "100.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "lowPrice" : "0.10000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "volume" : "8913.30000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "quoteVolume" : "15.30000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "openTime" : 1499783499040 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "closeTime" : 1499869899040 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "firstId" : 28385 ,   // First tradeId
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "lastId" : 28460 ,    // Last tradeId
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "count" : 76          // Trade count
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ]




                           Symbol Price Ticker
                               GET /api/v3/ticker/price
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Latest price                                                for a                         symbol or symbols.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Weight(IP):                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "symbol" : "LTCBTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "price" : "4.00000200"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }
                           1 for a      single symbol;
                           2        when the symbol parameter                                                                                                                                                is                  omitted
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         OR
                           Parameters:

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         [
                                Name                                                   Type                                                         Mandatory                                                                                                            Description                                                                                                                                                                                                                                                                              {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "symbol" : "LTCBTC" ,
                                symbol                                                 STRING                                                       NO                                                                                                                                                                                                                                                                                                                                                                                                                    "price" : "4.00000200"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  {
                                    Ifthe symbol                                                             is          not sent, prices                                                                                                for                     all                         symbols                                                       will                     be returned                                                                                                in                  an                                                     "symbol" : "ETHBTC" ,
                                    array.                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "price" : "0.07946600"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ]
                           Data Source: Memory




                           Symbol Order Book Ticker
                               GET /api/v3/ticker/bookTicker
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Best price/qty on the order book                                                                                                                                                                          for a                                   symbol or symbols.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Weight(IP):                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "symbol" :                        "LTCBTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "bidPrice"                        : "4.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "bidQty" :                        "431.00000000" ,
                           1 for a      single symbol;                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "askPrice"                        : "4.00000200" ,
                           2        when the symbol parameter                                                                                                                                                is                  omitted                                                                                                                                                                                                                                                                                                                          "askQty" :                        "9.00000000"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }
                           Parameters:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         OR
                                Name                                                   Type                                                         Mandatory                                                                                                            Description
                                symbol                                                 STRING                                                       NO                                                                                                                                                                                                                                                                                                                                                                                                   [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "symbol" :                     "LTCBTC" ,
                                    Ifthe symbol                                                             is          not sent, bookTickers                                                                                                                                               for                 all                  symbols                                                       will                                     be returned                                                                            in                                    "bidPrice"                     : "4.00000000" ,
                                    an array.                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "bidQty" :                     "431.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "askPrice"                     : "4.00000200" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "askQty" :                     "9.00000000"
                           Data Source: Memory
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "symbol" :                     "ETHBTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "bidPrice"                     : "0.07946700" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "bidQty" :                     "9.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "askPrice"                     : "100000.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "askQty" :                     "1000.00000000"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ]




                           Websocket Market Streams
                                    The base endpoint is: wss://stream.binance.com:9443
                                    Streams can be accessed either in a single raw stream or in a combined
                                    stream
                                    Raw streams are accessed at /ws/<streamName>
                                    Combined streams are accessed at /stream?streams=
                                    <streamName1>/<streamName2>/<streamName3>
                                    Combined stream events are wrapped as follows: {"stream":"
                                    <streamName>","data":<rawPayload>}
                                    All symbols for streams are lowercase
                                    A single connection to stream.binance.com is only valid for 24 hours;
                                    expect to be disconnected at the 24 hour mark
                                    The websocket server will send a ping frame every 3 minutes. If the
                                    websocket server does not receive a pong frame back from the
                                    connection within a 10 minute period, the connection will be
                                    disconnected. Unsolicited pong frames are allowed.


                           Live Subscribing/Unsubscribing to streams
                                    The following data can be sent through the websocket instance in order
                                    to subscribe/unsubscribe from streams. Examples can be seen below.
                                    The id used in the JSON payloads is an unsigned INT used as an
                                    identifier to uniquely identify the messages going back and forth.
                                    In the response, if the result received is null this means the request
                                    sent was a success.

                           Subscribe to                                                             a            stream

                                    Request                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Response
                                    {

                                    "method": "SUBSCRIBE",                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        {
                                    "params":                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "result" : null ,
                                    [                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     "id" : 1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  }
                                    "btcusdt@aggTrade",
                                    "btcusdt@depth"
                                    ],

                                    "id": 1
                                    }




                           Unsubscribe to                                                                             a        stream

                                    Request                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Response
                           {

                           "method": "UNSUBSCRIBE",                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "result" : null ,
                           "params":
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "id" : 312
                           [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  }
                           "btcusdt@depth"
                           ],

                           "id":             312
                           }




                           Listing Subscriptions

                                    Request                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Response
                           {

                           "method": "LIST_SUBSCRIPTIONS",                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "result" : [
                           "id": 3
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "btcusdt@aggTrade"
                           }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ],
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "id" : 3
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  }
                           Setting Properties
                           Currently, the only property can be set is to set whether combined stream
                           payloads are enabled or not. The combined property is set to false when
                           connecting using /ws/ ("raw streams") and true when connecting using                                                                                                                                                                                                                                                                                                                                                                                                                                                  /
                           stream/                         .




                                    Request
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response
                           {

                           "method": "SET_PROPERTY",                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     {
                           "params":                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              "result" : null ,
                           [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "id" : 5
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }
                           "combined",
                           true
                           ],

                           "id": 5
                           }




                           Retrieving Properties

                                    Request                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Response
                           {

                           "method": "GET_PROPERTY",                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "result" : true , // Indicates that combined is set to true.
                           "params":
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "id" : 2
                           [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  }
                           "combined"
                           ],

                           "id": 2
                           }




                           Error Messages

                                Error Message                                                                                                                                                                                                                                                                                                         Description
                                {"code": 0, "msg": "Unknown property",                                                                                                                                                                                                                                                                                Parameter used in the
                                "id": '%s'}                                                                                                                                                                                                                                                                                                           SET_PROPERTY or
                                                                                                                                                                                                                                                                                                                                                      GET_PROPERTY was invalid


                                {"code": 1, "msg": "Invalid value type:                                                                                                                                                                                                                                                                               Value should only be
                                expected Boolean", "id": '%s'}                                                                                                                                                                                                                                                                                         true or false


                                {"code": 2, "msg": "Invalid request: property                                                                                                                                                                                                                                                                         Property name provided
                                name must be a string"}                                                                                                                                                                                                                                                                                               was invalid

                                {"code": 2, "msg": "Invalid request: request                                                                                                                                                                                                                                                                          Parameter id had to be
                                ID must be an unsigned integer"}                                                                                                                                                                                                                                                                                      provided or the value
                                                                                                                                                                                                                                                                                                                                                      provided in the id
                                                                                                                                                                                                                                                                                                                                                      parameter is an
                                                                                                                                                                                                                                                                                                                                                      unsupported type

                                {"code": 2, "msg": "Invalid request:                                                                                                                                                                                                                                                                                  Possible typo in the
                                unknown variant %s, expected one                                                                                                                                                                                             of                                                                                       provided method or
                                    SUBSCRIBE                                          ,        UNSUBSCRIBE                                                                  ,                                                                                                                                                                        provided method was
                                    LIST_SUBSCRIPTIONS                                                                                      ,           SET_PROPERTY                                                                                     ,                                                                                            neither of the expected
                                    GET_PROPERTY at line 1                                                                                                   column 28"}                                                                                                                                                                              values

                                {"code": 2, "msg": "Invalid request: too                                                                                                                                                                                                                                                                              Unnecessary parameters
                                many parameters"}                                                                                                                                                                                                                                                                                                     provided in the data

                                {"code": 2, "msg": "Invalid request: property                                                                                                                                                                                                                                                                         Property name was not
                                name must be a string"}                                                                                                                                                                                                                                                                                               provided

                                {"code":                 "msg": "Invalid request: missing
                                                                       2,                                                                                                                                                                                                                                                                                 method          was not provided
                                field              method at line 1 column 73"}                                                                                                                                                                                                                                                                       in            the data

                                {"code":3,"msg":"Invalid JSON: expected                                                                                                                                                                                                                                                                               JSON data sent has
                                value at line %s column %s"}                                                                                                                                                                                                                                                                                          incorrect syntax.


                           Aggregate Trade Streams
                           The Aggregate Trade Streams push trade information that                                                                                                                                                                                                                                                                                                                                                   is              aggregated                                                                          for
                           a single taker order.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Payload:

                           Stream Name:                                                                      <symbol>@aggTrade                                                                                                                                                                                                                                                                                                                                                                                                                           {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "e"         :       "aggTrade" ,                //    Event type
                           Update Speed: Real-time                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "E"         :       123456789 ,                 //    Event time
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "s"         :       "BNBBTC" ,                  //    Symbol
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "a"         :       12345 ,                     //    Aggregate trade ID
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "p"         :       "0.001" ,                   //    Price
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "q"         :       "100" ,                     //    Quantity
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "f"         :       100 ,                       //    First trade ID
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "l"         :       105 ,                       //    Last trade ID
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "T"         :       123456785 ,                 //    Trade time
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "m"         :       true ,                      //    Is the buyer the market maker?
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "M"         :       true                        //    Ignore
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }




                           Trade Streams
                           The Trade Streams push raw trade information; each trade has                                                                                                                                                                                                                                                                                                                                                                               a                   unique
                           buyer and seller.                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Payload:

                           Stream Name:                                                                      <symbol>@trade                                                                                                                                                                                                                                                                                                                                                                                                                              {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "e"         :       "trade" ,                   //    Event type
                           Update Speed: Real-time                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "E"         :       123456789 ,                 //    Event time
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "s"         :       "BNBBTC" ,                  //    Symbol
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "t"         :       12345 ,                     //    Trade ID
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "p"         :       "0.001" ,                   //    Price
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "q"         :       "100" ,                     //    Quantity
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "b"         :       88 ,                        //    Buyer order ID
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "a"         :       50 ,                        //    Seller order ID
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "T"         :       123456785 ,                 //    Trade time
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "m"         :       true ,                      //    Is the buyer the market maker?
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "M"         :       true                        //    Ignore
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }




                           Kline/Candlestick Streams
                           The Kline/Candlestick Stream push updates                                                                                                                                                                                                                                              to                  the current klines/candlestick
                           every second.                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Payload:

                           Stream Name:                                                                      <symbol>@kline_<interval>                                                                                                                                                                                                                                                                                                                                                                                                                   {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "e" :               "kline" ,                   // Event type
                           Update Speed: 2000ms                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "E" :               123456789 ,                 // Event time
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "s" :               "BNBBTC" ,                  // Symbol
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "k" :               {
                           Kline/Candlestick chart intervals:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "t"              : 123400000 ,               //    Kline start time
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     "T"              : 123460000 ,               //    Kline close time
                           m -> minutes;                                                            h            -> hours;                                                       d               -> days; w -> weeks; M -> months                                                                                                                                                                                                                                                                                                                                    "s"              : "BNBBTC" ,                //    Symbol
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     "i"              : "1m" ,                    //    Interval
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     "f"              : 100 ,                     //    First trade ID
                                    1m                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "L"              : 200 ,                     //    Last trade ID
                                    3m                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "o"              : "0.0010" ,                //    Open price
                                    5m                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "c"              : "0.0020" ,                //    Close price
                                    15m                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              "h"              : "0.0025" ,                //    High price
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     "l"              : "0.0015" ,                //    Low price
                                    30m                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              "v"              : "1000" ,                  //    Base asset volume
                                    1h                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "n"              : 100 ,                     //    Number of trades
                                    2h                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "x"              : false ,                   //    Is this kline closed?
                                    4h                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "q"              : "1.0000" ,                //    Quote asset volume
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     "V"              : "500" ,                   //    Taker buy base asset volume
                                    6h
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     "Q"              : "0.500" ,                 //    Taker buy quote asset volume
                                    8h                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "B"              : "123456"                  //    Ignore
                                    12h                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           }
                                    1d                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   }
                                    3d
                                    1w
                                    1M


                           Individual Symbol Mini Ticker Stream
                           24hr rolling window mini-ticker statistics. These are NOT the statistics                                                                                                                                                                                                                                                                                                                                                                                                                         of       the
                           UTC day, but a 24hr rolling window for the previous 24hrs.                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Payload:

                           Stream Name:                                                                      <symbol>@miniTicker                                                                                                                                                                                                                                                                                                                                                                                                                                  {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "e"         :       "24hrMiniTicker" ,                 //    Event type
                           Update Speed: 1000ms                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "E"         :       123456789 ,                        //    Event time
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "s"         :       "BNBBTC" ,                         //    Symbol
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "c"         :       "0.0025" ,                         //    Close price
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "o"         :       "0.0010" ,                         //    Open price
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "h"         :       "0.0025" ,                         //    High price
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "l"         :       "0.0010" ,                         //    Low price
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "v"         :       "10000" ,                          //    Total traded base asset volume
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "q"         :       "18"                               //    Total traded quote asset volume
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  }




                           All               Market Mini Tickers Stream
                           24hr rolling window mini-ticker statistics for all symbols that changed in an
                           array. These are NOT the statistics of the UTC day, but a 24hr rolling window                                                                                                                                                                                                                                                                                                                                                                                                                                                 Payload:
                           for the previous 24hrs. Note that only tickers that have changed will be
                           present in the array.                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  {
                           Stream Name:                                                                      !miniTicker@arr                                                                                                                                                                                                                                                                                                                                                                                                                                              // Same as <symbol>@miniTicker payload
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ]
                           Update Speed: 1000ms




                           Individual Symbol Ticker Streams
                           24hr rolling window ticker statistics for a single symbol. These are NOT the
                           statistics of the UTC day, but a 24hr rolling window for the previous 24hrs.                                                                                                                                                                                                                                                                                                                                                                                                                                                  Payload:

                           Stream Name:                                                                      <symbol>@ticker                                                                                                                                                                                                                                                                                                                                                                                                                             {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "e"         :       "24hrTicker" ,                   //    Event type
                           Update Speed: 1000ms                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "E"         :       123456789 ,                      //    Event time
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "s"         :       "BNBBTC" ,                       //    Symbol
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "p"         :       "0.0015" ,                       //    Price change
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "P"         :       "250.00" ,                       //    Price change percent
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "w"         :       "0.0018" ,                       //    Weighted average price
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "x"         :       "0.0009" ,                       //    First trade(F)-1 price (first trade before the 24hr
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "c"         :       "0.0025" ,                       //    Last price
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "Q"         :       "10" ,                           //    Last quantity
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "b"         :       "0.0024" ,                       //    Best bid price
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "B"         :       "10" ,                           //    Best bid quantity
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "a"         :       "0.0026" ,                       //    Best ask price
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "A"         :       "100" ,                          //    Best ask quantity
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "o"         :       "0.0010" ,                       //    Open price
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "h"         :       "0.0025" ,                       //    High price
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "l"         :       "0.0010" ,                       //    Low price
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "v"         :       "10000" ,                        //    Total traded base asset volume
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "q"         :       "18" ,                           //    Total traded quote asset volume
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "O"         :       0,                               //    Statistics open time
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "C"         :       86400000 ,                       //    Statistics close time
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "F"         :       0,                               //    First trade ID
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "L"         :       18150 ,                          //    Last trade Id
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "n"         :       18151                            //    Total number of trades
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }




                           All               Market Tickers Stream
                           24hr rolling window ticker statistics for all symbols that changed in an array.
                           These are NOT the statistics of the UTC day, but a 24hr rolling window for                                                                                                                                                                                                                                                                                                                                                                                                                                                    Payload:
                           the previous 24hrs. Note that only tickers that have changed will be present
                           in the array.                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  {
                           Stream Name:                                                                      !ticker@arr                                                                                                                                                                                                                                                                                                                                                                                                                                                  // Same as <symbol>@ticker                                   payload
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ]
                           Update Speed: 1000ms




                           Individual Symbol Book Ticker Streams
                           Pushes any update                                                                                  to                the best bid or ask's price or quantity                                                                                                                                                                                                                                                          in                   real-time                                                     for
                           a specified symbol.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Payload:

                           Stream Name:                                                                      <symbol>@bookTicker                                                                                                                                                                                                                                                                                                                                                                                                                         {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "u"         : 400900217 ,     // order book updateId
                           Update Speed: Real-time                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "s"         : "BNBUSDT" ,     // symbol
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "b"         : "25.35190000" , // best bid price
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "B"         : "31.21000000" , // best bid qty
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "a"         : "25.36520000" , // best ask price
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "A"         : "40.66000000" // best ask qty
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }




                           All               Book Tickers Stream
                           Pushes any update                                                                                  to                the best bid or ask's price or quantity                                                                                                                                                                                                                                                          in                   real-time                                                     for
                           all symbols.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Payload:

                           Stream Name:                                                                      !bookTicker                                                                                                                                                                                                                                                                                                                                                                                                                                 {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  // Same as <symbol>@bookTicker payload
                           Update Speed: Real-time                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       }




                           Partial Book Depth Streams
                           Top bids and asks, Valid are                                                                                                                                      5,              10, or 20.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Payload:
                           Stream Names:                                                                             <symbol>@depth<levels>                                                                                                                                                          OR                           <symbol>@depth<levels>@100m
                           s    .                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "lastUpdateId" : 160 ,                                    // Last update ID
                           Update Speed: 1000ms or 100ms                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "bids" : [                                                // Bids to be updated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "0.0024" ,                                           // Price level to be updated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "10"                                                 // Quantity
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ],
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "asks" : [                                                // Asks to be updated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "0.0026" ,                                           // Price level to be updated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "100"                                                // Quantity
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }




                           Diff. Depth Stream
                           Stream Name:                                                                      <symbol>@depth                                                                                                  OR                          <symbol>@depth@100ms
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Payload:
                           Update Speed: 1000ms or 100ms
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Order book price and quantity depth updates used                                                                                                                                                                                                                                                                                            to                   locally manage an                                                                                                                                                     "e" :               "depthUpdate" , // Event type
                           order book.                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "E" :               123456789 ,     // Event time
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "s" :               "BNBBTC" ,      // Symbol
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "U" :               157 ,           // First update ID in event
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "u" :               160 ,           // Final update ID in event
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "b" :               [               // Bids to be updated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "0.0024" ,                           // Price level to be updated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "10"                                 // Quantity
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ],
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "a" : [                                              // Asks to be updated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "0.0026" ,                                      // Price level to be updated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "100"                                           // Quantity
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }




                           How to manage                                                                                                                    a                    local order book correctly
                                    Open a stream to wss://stream.binance.com:9443/ws/bnbbtc@depth                                                                                                                                                                                                                                                                                                                                                                                                                                                   .


                                    Buffer the events you receive from the stream.
                                    Get a depth snapshot from https://api.binance.com/api/v3/depth?
                                    symbol=BNBBTC&limit=1000                                                                                                                                                                                 .


                                    Drop any event where u is <= lastUpdateId in the snapshot.
                                    The first processed event should have U <= lastUpdateId +1 AND u >=
                                     lastUpdateId +1.
                                    While listening to the stream, each new event's U should be equal to the
                                    previous event's u +1.
                                    The data in each event is the absolute quantity for a price level.
                                    If the quantity is 0, remove the price level.

                                    Receiving an event that removes a price level that is not in your local
                                    order book can happen and is normal.



                           Spot Account/Trade

                           Test New Order (TRADE)
                               POST /api/v3/order/test                                                                                                                       (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Test new order creation and signature/recvWindow long. Creates and
                           validates a new order but does not send it into the matching engine.                                                                                                                                                                                                                                                                                                                                                                                                                                                          {}


                           Weight:                             1


                           Parameters:

                           Same as                                 POST /api/v3/order


                           Data Source: Memory


                           New Order (TRADE)
                               POST /api/v3/order (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response ACK:
                           Send                  in a                  new order.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Weight(Uid):                                                         1                                                                                                                                                                                                                                                                                                                                                                                                                                                                 "symbol" : "BTCUSDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "orderId" : 28 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "orderListId" : - 1 , //Unless OCO, value will be -1
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "clientOrderId" : "6gCrw2kRUAF9CvJDGP16IP" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "transactTime" : 1507725176595
                                Name                                                                                                                        Type                                                                                             Mandatory                                                                                                  Description                                                                                                                                                                      }


                                symbol                                                                                                                      STRING                                                                                           YES
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response RESULT:
                                side                                                                                                                        ENUM                                                                                             YES
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                                type                                                                                                                        ENUM                                                                                             YES                                                                                                                                                                                                                                                                                                  "symbol" : "BTCUSDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "orderId" : 28 ,
                                timeInForce                                                                                                                 ENUM                                                                                             NO                                                                                                                                                                                                                                                                                                   "orderListId" : - 1 , //Unless OCO, value will be -1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "clientOrderId" : "6gCrw2kRUAF9CvJDGP16IP" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "transactTime" : 1507725176595 ,
                                quantity                                                                                                                    DECIMAL                                                                                          NO                                                                                                                                                                                                                                                                                                   "price" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "origQty" : "10.00000000" ,
                                quoteOrderQty                                                                                                               DECIMAL                                                                                          NO                                                                                                                                                                                                                                                                                                   "executedQty" : "10.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "cummulativeQuoteQty" : "10.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "status" : "FILLED" ,
                                price                                                                                                                       DECIMAL                                                                                          NO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "timeInForce" : "GTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "type" : "MARKET" ,
                                newClientOrderId                                                                                                            STRING                                                                                           NO                                                                                                         A unique id among                                                                                                                                                                         "side" : "SELL"
                                                                                                                                                                                                                                                                                                                                                                        open orders.                                                                                                                                                                     }
                                                                                                                                                                                                                                                                                                                                                                        Automatically
                                                                                                                                                                                                                                                                                                                                                                        generated if not sent.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response FULL:
                                stopPrice                                                                                                                   DECIMAL                                                                                          NO                                                                                                         Used with                                                                                             STOP_LOSS                                                  ,


                                                                                                                                                                                                                                                                                                                                                                            STOP_LOSS_LIMIT                                                                                                                            ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                                                                                                                                                                                                                                                                                                                                                                            TAKE_PROFIT                                                                                                   ,       and                                                             "symbol" : "BTCUSDT" ,
                                                                                                                                                                                                                                                                                                                                                                            TAKE_PROFIT_LIMIT                                                                                                                                                                     "orderId" : 28 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "orderListId" : - 1 , //Unless OCO, value will be -1
                                                                                                                                                                                                                                                                                                                                                                        orders.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "clientOrderId" : "6gCrw2kRUAF9CvJDGP16IP" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "transactTime" : 1507725176595 ,
                                icebergQty                                                                                                                  DECIMAL                                                                                          NO                                                                                                         Used with                                                                                             LIMIT                                 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "price" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                            STOP_LOSS_LIMIT                                                                                                                            ,    and                                   "origQty" : "10.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                            TAKE_PROFIT_LIMIT to                                                                                                                                                                  "executedQty" : "10.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "cummulativeQuoteQty" : "10.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                        create an iceberg
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "status" : "FILLED" ,
                                                                                                                                                                                                                                                                                                                                                                        order.                                                                                                                                                                                    "timeInForce" : "GTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "type" : "MARKET" ,
                                newOrderRespType                                                                                                            ENUM                                                                                             NO                                                                                                         Set the response                                                                                                                                                                          "side" : "SELL" ,
                                                                                                                                                                                                                                                                                                                                                                        JSON. ACK RESULT or                                                                               ,                                                     ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "fills" : [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    {
                                                                                                                                                                                                                                                                                                                                                                         FULL MARKET and                             ;
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "price" : "4000.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                         LIMIT order types                                                                                                                                                                             "qty" : "1.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                        default to FULL all                                                                                                                    ,                                                       "commission" : "4.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                        other orders default                                                                                                                                                                           "commissionAsset" : "USDT"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    },
                                                                                                                                                                                                                                                                                                                                                                        to ACK                                                           .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "price" : "3999.00000000" ,
                                recvWindow                                                                                                                  LONG                                                                                             NO                                                                                                         The value cannot be                                                                                                                                                                            "qty" : "5.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                        greater than 60000                                                                                                                                                                             "commission" : "19.99500000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "commissionAsset" : "USDT"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    },
                                timestamp                                                                                                                   LONG                                                                                             YES
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "price" : "3998.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "qty" : "2.00000000" ,
                           Additional mandatory parameters based on                                                                                                                                                                                                                                                   type                                 :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "commission" : "7.99600000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "commissionAsset" : "USDT"
                                Type                                                                                                                        Additional mandatory parameters                                                                                                                                                                                                                                                                                                                                                                         },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    {
                                    LIMIT                                                                                                                    timeInForce                                                                                 ,               quantity                                                             ,           price                                                                                                                                                                                                        "price" : "3997.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "qty" : "1.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "commission" : "3.99700000" ,
                                    MARKET                                                                                                                   quantity                                                                    or                      quoteOrderQty
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "commissionAsset" : "USDT"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    },
                                    STOP_LOSS                                                                                                                quantity                                                                ,           stopPrice                                                                                                                                                                                                                                                                                                          {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "price" : "3995.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "qty" : "1.00000000" ,
                                    STOP_LOSS_LIMIT                                                                                                          timeInForce                                                                                 ,               quantity                                                             ,           price                                 ,                stopPrice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "commission" : "3.99500000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "commissionAsset" : "USDT"
                                    TAKE_PROFIT                                                                                                              quantity                                                                ,           stopPrice                                                                                                                                                                                                                                                                                                          }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ]
                                    TAKE_PROFIT_LIMIT                                                                                                        timeInForce                                                                                 ,               quantity                                                             ,           price                                 ,                stopPrice                                                                                                                               }


                                    LIMIT_MAKER                                                                                                              quantity                                                                ,           price



                           Other                  info:

                                                  are LIMIT orders that will be rejected if they would
                                        LIMIT_MAKER
                                    immediately match and trade as a taker.
                                     STOP_LOSS and TAKE_PROFIT will execute a MARKET order when the stopP
                                    rice is reached.
                                    Any LIMIT or LIMIT_MAKER type order can be made an iceberg order by
                                    sending an icebergQty                                                                                                                .


                                    Any order with an icebergQty MUST have timeInForce set to GTC                                                                                                                                                                                                                                                                                                                                                                                                                      .


                                     MARKET orders using the quantity field specifies the amount of the base
                                    asset the user wants to buy or sell at the market price.
                                           For example, sending a MARKET order on BTCUSDT will specify how
                                           much BTC the user is buying or selling.
                                     MARKET orders using quoteOrderQty specifies the amount the user wants
                                    to spend (when buying) or receive (when selling) the quote asset; the
                                    correct quantity will be determined based on the market liquidity and q
                                    uoteOrderQty                                                         .


                                             Using BTCUSDT as an example:
                                                   On the BUY side, the order will buy as many BTC as quoteOrd
                                                   erQty USDT can.
                                                   On the SELL side, the order will sell as much BTC needed to
                                                   receive quoteOrderQty USDT.
                                     MARKET orders using quoteOrderQty will not break LOT_SIZE filter rules;
                                    the order will execute a quantity that will have the notional value as
                                    close as possible to quoteOrderQty                                                                                                                                                                                           .


                                    same newClientOrderId can be accepted only when the previous one is
                                    filled, otherwise the order will be rejected.


                           Trigger order price rules against market price                                                                                                                                                                                                                                                     for                         both MARKET and LIMIT
                           versions:

                                    Price above market price:                                                                                                                                    STOP_LOSS                                                                               BUY                      ,           TAKE_PROFIT                                                                                            SELL
                                    Price below market price:                                                                                                                                    STOP_LOSS                                                                               SELL                         ,               TAKE_PROFIT                                                                                                BUY


                           Data Source: Matching Engine


                           Cancel Order (TRADE)
                               DELETE /api/v3/order (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Cancel an active order.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Weight(IP):                                                     1                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "symbol" : "LTCBTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "origClientOrderId" : "myOrder1" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "orderId" : 4 ,
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "orderListId" : - 1 , //Unless part of an OCO, the value will always be -1.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "clientOrderId" : "cancelMyOrder1" ,
                                Name                                                                                                                Type                                                                             Mandatory                                                                                                        Description                                                                                                                                                                                                 "price" : "2.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "origQty" : "1.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "executedQty" : "0.00000000" ,
                                symbol                                                                                                              STRING                                                                           YES
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "cummulativeQuoteQty" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "status" : "CANCELED" ,
                                orderId                                                                                                             LONG                                                                             NO                                                                                                                                                                                                                                                                                                                           "timeInForce" : "GTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "type" : "LIMIT" ,
                                origClientOrderId                                                                                                   STRING                                                                           NO                                                                                                                                                                                                                                                                                                                           "side" : "BUY"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }

                                newClientOrderId                                                                                                    STRING                                                                           NO                                                                                                               Used      uniquely identify           to
                                                                                                                                                                                                                                                                                                                                                      this cancel. Automatically
                                                                                                                                                                                                                                                                                                                                                      generated by default.

                                recvWindow                                                                                                          LONG                                                                             NO                                                                                                               The value cannot be
                                                                                                                                                                                                                                                                                                                                                      greater than 60000

                                timestamp                                                                                                           LONG                                                                             YES

                           Either                  orderId                                              or                origClientOrderId                                                                                                                              must be sent.

                           Data Source: Matching Engine


                           Cancel                                          all                      Open Orders on                                                                                                                                                       a                       Symbol (TRADE)
                               DELETE api/v3/openOrders
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Cancels all active orders on                                                                                                                                      a           symbol.
                           This includes OCO orders.                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  {
                           Weight(IP):                                                     1                                                                                                                                                                                                                                                                                                                                                                                                                                                                              "symbol" : "BTCUSDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "origClientOrderId" : "E6APeyTJvkMvLMYMqu1KQ4" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "orderId" : 11 ,
                           Parameters                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     "orderListId" : - 1 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "clientOrderId" : "pXLV6Hz6mprAcVYpVMTGgx" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "price" : "0.089853" ,
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                                                                                              "origQty" : "0.178622" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "executedQty" : "0.000000" ,
                                symbol                                                                               STRING                                                                  YES                                                                                                                                                                                                                                                                                                                                                                          "cummulativeQuoteQty" : "0.000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "status" : "CANCELED" ,
                                recvWindow                                                                           LONG                                                                    NO                                                                                                                  The value cannot be greater                                                                                                                                                                                                                              "timeInForce" : "GTC" ,
                                                                                                                                                                                                                                                                                                                 than 60000                                                                                                                                                                                                                                               "type" : "LIMIT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "side" : "BUY"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  },
                                timestamp                                                                            LONG                                                                    YES                                                                                                                                                                                                                                                                                                                                                                  {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "symbol" : "BTCUSDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "origClientOrderId" : "A3EF2HCwxgZPFMrfwbgrhv" ,
                           Data Source: Matching Engine                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "orderId" : 13 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "orderListId" : - 1 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "clientOrderId" : "pXLV6Hz6mprAcVYpVMTGgx" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "price" : "0.090430" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "origQty" : "0.178622" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "executedQty" : "0.000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "cummulativeQuoteQty" : "0.000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "status" : "CANCELED" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "timeInForce" : "GTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "type" : "LIMIT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "side" : "BUY"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "orderListId" : 1929 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "contingencyType" : "OCO" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "listStatusType" : "ALL_DONE" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "listOrderStatus" : "ALL_DONE" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "listClientOrderId" : "2inzWQdDvZLHbbAmAozX2N" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "transactionTime" : 1585230948299 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "symbol" : "BTCUSDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "orders" : [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "symbol" : "BTCUSDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "orderId" : 20 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "clientOrderId" : "CwOOIPHSmYywx6jZX77TdL"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "symbol" : "BTCUSDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "orderId" : 21 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "clientOrderId" : "461cPg51vQjV3zIMOXNz39"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ],
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "orderReports" : [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "symbol" : "BTCUSDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "origClientOrderId" : "CwOOIPHSmYywx6jZX77TdL" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "orderId" : 20 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "orderListId" : 1929 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "clientOrderId" : "pXLV6Hz6mprAcVYpVMTGgx" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "price" : "0.668611" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "origQty" : "0.690354" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "executedQty" : "0.000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "cummulativeQuoteQty" : "0.000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "status" : "CANCELED" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "timeInForce" : "GTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "type" : "STOP_LOSS_LIMIT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "side" : "BUY" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "stopPrice" : "0.378131" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "icebergQty" : "0.017083"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "symbol" : "BTCUSDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "origClientOrderId" : "461cPg51vQjV3zIMOXNz39" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "orderId" : 21 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "orderListId" : 1929 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "clientOrderId" : "pXLV6Hz6mprAcVYpVMTGgx" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "price" : "0.008791" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "origQty" : "0.690354" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "executedQty" : "0.000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "cummulativeQuoteQty" : "0.000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "status" : "CANCELED" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "timeInForce" : "GTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "type" : "LIMIT_MAKER" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "side" : "BUY" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "icebergQty" : "0.639962"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ]




                           Query Order (USER_DATA)
                               GET /api/v3/order (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Check an order's status.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Weight(IP):                                                     2                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "symbol" : "LTCBTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "orderId" : 1 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "orderListId" : - 1 , //Unless OCO, value will be -1
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "clientOrderId" : "myOrder1" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "price" : "0.1" ,
                                Name                                                                                                            Type                                                                                 Mandatory                                                                                                        Description                                                                                                                                                                                                 "origQty" : "1.0" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "executedQty" : "0.0" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "cummulativeQuoteQty" : "0.0" ,
                                symbol                                                                                                          STRING                                                                               YES
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "status" : "NEW" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "timeInForce" : "GTC" ,
                                orderId                                                                                                         LONG                                                                                 NO                                                                                                                                                                                                                                                                                                                           "type" : "LIMIT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "side" : "BUY" ,
                                origClientOrderId                                                                                               STRING                                                                               NO                                                                                                                                                                                                                                                                                                                           "stopPrice" : "0.0" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "icebergQty" : "0.0" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "time" : 1499827319559 ,
                                recvWindow                                                                                                      LONG                                                                                 NO                                                                                                               The value cannot be                                                                                                                                                                                         "updateTime" : 1499827319559 ,
                                                                                                                                                                                                                                                                                                                                                      greater than 60000                                                                                                                                                                                          "isWorking" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "origQuoteOrderQty" : "0.000000"
                                timestamp                                                                                                       LONG                                                                                 YES                                                                                                                                                                                                                                                                                                                 }



                           Notes:

                                    Either orderId or origClientOrderId must be sent.
                                    For some historical orders cummulativeQuoteQty will be <                                                                                                                                                                                                                                                                                                                                                         0,               meaning the
                                    data is not available at this time.

                           Data Source: Database


                           Current Open Orders (USER_DATA)
                               GET /api/v3/openOrders                                                                                                            (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Get all open orders on                                                                                                   a           symbol. Careful when accessing this with no
                           symbol.                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  {
                           Weight(IP):                                                     3 for a                                 single symbol; 40 when the symbol parameter                                                                                                                                                                                                                                                                                                                         is
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "symbol" : "LTCBTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "orderId" : 1 ,
                           omitted                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "orderListId" : - 1 , //Unless OCO, the value will always be -1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "clientOrderId" : "myOrder1" ,
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "price" : "0.1" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "origQty" : "1.0" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "executedQty" : "0.0" ,
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                                                                                              "cummulativeQuoteQty" : "0.0" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "status" : "NEW" ,
                                symbol                                                                               STRING                                                                  NO                                                                                                                                                                                                                                                                                                                                                                           "timeInForce" : "GTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "type" : "LIMIT" ,
                                recvWindow                                                                           LONG                                                                    NO                                                                                                                  The value cannot be greater                                                                                                                                                                                                                              "side" : "BUY" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "stopPrice" : "0.0" ,
                                                                                                                                                                                                                                                                                                                 than 60000
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "icebergQty" : "0.0" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "time" : 1499827319559 ,
                                timestamp                                                                            LONG                                                                    YES                                                                                                                                                                                                                                                                                                                                                                          "updateTime" : 1499827319559 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "isWorking" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "origQuoteOrderQty" : "0.000000"
                                    Ifthe symbol                                                             is          not sent, orders                                                                                                    for                         all                     symbols                                                       will                     be returned                                                                                                in              an                                             }
                                    array.                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               ]


                           Data Source: Database


                           All               Orders (USER_DATA)
                               GET /api/v3/allOrders (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Get           all       account orders; active, canceled, or                                                                                                                                                                                                                      filled.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         [
                           Weight(IP): 10 with symbol                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "symbol" : "LTCBTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "orderId" : 1 ,
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "orderListId" : - 1 , //Unless OCO, the value will always be -1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "clientOrderId" : "myOrder1" ,
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                                                                                              "price" : "0.1" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "origQty" : "1.0" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "executedQty" : "0.0" ,
                                symbol                                                                               STRING                                                                  YES
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "cummulativeQuoteQty" : "0.0" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "status" : "NEW" ,
                                orderId                                                                              LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                           "timeInForce" : "GTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "type" : "LIMIT" ,
                                startTime                                                                            LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                           "side" : "BUY" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "stopPrice" : "0.0" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "icebergQty" : "0.0" ,
                                endTime                                                                              LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                           "time" : 1499827319559 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "updateTime" : 1499827319559 ,
                                limit                                                                                INT                                                                     NO                                                                                                                  Default 500; max 1000.                                                                                                                                                                                                                                   "isWorking" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "origQuoteOrderQty" : "0.000000"
                                recvWindow                                                                           LONG                                                                    NO                                                                                                                  The value cannot be greater                                                                                                                                                                                                                      }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ]
                                                                                                                                                                                                                                                                                                                 than 60000

                                timestamp                                                                            LONG                                                                    YES

                           Notes:

                                    If       orderId is set, get orders >= that orderId Otherwise most                         it           will                                                                                                                                                                                                                                    .


                                    recent orders are returned.
                                    For some historical orders cummulativeQuoteQty will be < 0, meaning the
                                    data is not available at this time.
                                    If startTime and/or endTime provided, orderId is not required.



                           Data Source: Database


                           New OCO (TRADE)
                               POST /api/v3/order/oco (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Send                  in a                  new OCO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Weight(Uid)                                                     :    1                                                                                                                                                                                                                                                                                                                                                                                                                                                                 "orderListId" : 0 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "contingencyType" : "OCO" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "listStatusType" : "EXEC_STARTED" ,
                           Parameters                                                  :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "listOrderStatus" : "EXECUTING" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "listClientOrderId" : "JYVpp3F0f5CAG15DhtrqLp" ,
                                Name                                                                                                                                             Type                                                                                            Mandatory                                                                                                  Description                                                                                                                                                           "transactionTime" : 1563417480525 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "symbol" : "LTCBTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "orders" : [
                                symbol                                                                                                                                           STRING                                                                                          YES
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "symbol" : "LTCBTC" ,
                                listClientOrderId                                                                                                                                STRING                                                                                          NO                                                                                                         A unique Id for the                                                                                                                                                         "orderId" : 2 ,
                                                                                                                                                                                                                                                                                                                                                                                            entire orderList                                                                                                                                                            "clientOrderId" : "Kk7sqHb9J6mJWTMDVW7Vos"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     {
                                side                                                                                                                                             ENUM                                                                                            YES
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "symbol" : "LTCBTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "orderId" : 3 ,
                                quantity                                                                                                                                         DECIMAL                                                                                         YES                                                                                                                                                                                                                                                                                    "clientOrderId" : "xTXKaGYd4bluPVp78IVRvl"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     }
                                limitClientOrderId                                                                                                                               STRING                                                                                          NO                                                                                                         A unique Id                                                                                            for                      the                                   ],
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "orderReports" : [
                                                                                                                                                                                                                                                                                                                                                                                            limit order
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "symbol" : "LTCBTC" ,
                                price                                                                                                                                            DECIMAL                                                                                         YES                                                                                                                                                                                                                                                                                    "orderId" : 2 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "orderListId" : 0 ,
                                limitIcebergQty                                                                                                                                  DECIMAL                                                                                         NO                                                                                                                                                                                                                                                                                     "clientOrderId" : "Kk7sqHb9J6mJWTMDVW7Vos" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "transactTime" : 1563417480525 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "price" : "0.000000" ,
                                stopClientOrderId                                                                                                                                STRING                                                                                          NO                                                                                                         A unique Id for the                                                                                                                                                         "origQty" : "0.624363" ,
                                                                                                                                                                                                                                                                                                                                                                                            stop loss/stop loss                                                                                                                                                         "executedQty" : "0.000000" ,
                                                                                                                                                                                                                                                                                                                                                                                            limit leg                                                                                                                                                                   "cummulativeQuoteQty" : "0.000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "status" : "NEW" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "timeInForce" : "GTC" ,
                                stopPrice                                                                                                                                        DECIMAL                                                                                         YES
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "type" : "STOP_LOSS" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "side" : "BUY" ,
                                stopLimitPrice                                                                                                                                   DECIMAL                                                                                         NO                                                                                                         If               provided,                                                                                                                                                  "stopPrice" : "0.960664"
                                                                                                                                                                                                                                                                                                                                                                                                stopLimitTimeInForce                                                                                                                                                 },
                                                                                                                                                                                                                                                                                                                                                                                            is               required.                                                                                                                                               {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "symbol" : "LTCBTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "orderId" : 3 ,
                                stopIcebergQty                                                                                                                                   DECIMAL                                                                                         NO                                                                                                                                                                                                                                                                                     "orderListId" : 0 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "clientOrderId" : "xTXKaGYd4bluPVp78IVRvl" ,
                                stopLimitTimeInForce                                                                                                                             ENUM                                                                                            NO                                                                                                         Valid values are                                                                                                                                                            "transactTime" : 1563417480525 ,
                                                                                                                                                                                                                                                                                                                                                                                                GTC                                  /           FOK                              /           IOC                                                                       "price" : "0.036435" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "origQty" : "0.624363" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "executedQty" : "0.000000" ,
                                newOrderRespType                                                                                                                                 ENUM                                                                                            NO                                                                                                         Set the response                                                                                                                                                            "cummulativeQuoteQty" : "0.000000" ,
                                                                                                                                                                                                                                                                                                                                                                                            JSON.                                                                                                                                                                       "status" : "NEW" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "timeInForce" : "GTC" ,
                                recvWindow                                                                                                                                       LONG                                                                                            NO                                                                                                         The value cannot be                                                                                                                                                         "type" : "LIMIT_MAKER" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "side" : "BUY"
                                                                                                                                                                                                                                                                                                                                                                                            greater than 60000
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ]
                                timestamp                                                                                                                                        LONG                                                                                            YES                                                                                                                                                                                                                                                                     }


                           Other Info:

                                    Price Restrictions:
                                            SELL Limit Price > Last Price > Stop Price          :


                                            BUY Limit Price < Last Price < Stop Price      :


                                    Quantity Restrictions:
                                           Both legs must have the same quantity
                                            ICEBERG quantities however do not have to be the same.
                                    Order Rate Limit
                                            OCO counts as 2 orders against the order rate limit.


                           Data Source: Matching Engine


                           Cancel OCO (TRADE)
                               DELETE /api/v3/orderList (HMAC SHA256)                                                                                                                                                                                                                                        Cancel an entire Order                                                                                                                                                               List.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP)                                              :       1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "orderListId" : 0 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "contingencyType" : "OCO" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "listStatusType" : "ALL_DONE" ,
                                Name                                                                                                                Type                                                                             Mandatory                                                                                                        Description                                                                                                                                                                                                 "listOrderStatus" : "ALL_DONE" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "listClientOrderId" : "C3wyj4WVEktd7u9aVBRXcN" ,
                                symbol                                                                                                              STRING                                                                           YES                                                                                                                                                                                                                                                                                                                          "transactionTime" : 1574040868128 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "symbol" : "LTCBTC" ,
                                orderListId                                                                                                         LONG                                                                             NO                                                                                                               Either                                        orderListId                                                                                                    or                                             "orders" : [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     {
                                                                                                                                                                                                                                                                                                                                                       listClientOrderId                                                                                                                                           must                                                 "symbol" : "LTCBTC" ,
                                                                                                                                                                                                                                                                                                                                                      be provided                                                                                                                                                                                                       "orderId" : 2 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "clientOrderId" : "pO9ufTiFGg3nw2fOdgeOXa"
                                listClientOrderId                                                                                                   STRING                                                                           NO                                                                                                               Either                                        orderListId                                                                                                    or                                                },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     {
                                                                                                                                                                                                                                                                                                                                                       listClientOrderId                                                                                                                                           must
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "symbol" : "LTCBTC" ,
                                                                                                                                                                                                                                                                                                                                                      be provided                                                                                                                                                                                                       "orderId" : 3 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "clientOrderId" : "TXOvglzXuaubXAaENpaRCB"
                                newClientOrderId                                                                                                    STRING                                                                           NO                                                                                                               Used      uniquely identify           to                                                                                                                                                                       }
                                                                                                                                                                                                                                                                                                                                                      this cancel. Automatically                                                                                                                                                                                  ],
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "orderReports" : [
                                                                                                                                                                                                                                                                                                                                                      generated by default
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "symbol" : "LTCBTC" ,
                                recvWindow                                                                                                          LONG                                                                             NO                                                                                                               The value cannot be                                                                                                                                                                                               "origClientOrderId" : "pO9ufTiFGg3nw2fOdgeOXa" ,
                                                                                                                                                                                                                                                                                                                                                      greater than 60000                                                                                                                                                                                                "orderId" : 2 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "orderListId" : 0 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "clientOrderId" : "unfWT8ig8i0uj6lPuYLez6" ,
                                timestamp                                                                                                           LONG                                                                             YES
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "price" : "1.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "origQty" : "10.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "executedQty" : "0.00000000" ,
                           Additional notes:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "cummulativeQuoteQty" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "status" : "CANCELED" ,
                                    Canceling an individual leg                                                                                                                                          will                            cancel the entire OCO                                                                                                                                                                                                                                                                                                          "timeInForce" : "GTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "type" : "STOP_LOSS_LIMIT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "side" : "SELL" ,
                           Data Source: Matching Engine
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "stopPrice" : "1.00000000"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "symbol" : "LTCBTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "origClientOrderId" : "TXOvglzXuaubXAaENpaRCB" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "orderId" : 3 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "orderListId" : 0 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "clientOrderId" : "unfWT8ig8i0uj6lPuYLez6" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "price" : "3.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "origQty" : "10.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "executedQty" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "cummulativeQuoteQty" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "status" : "CANCELED" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "timeInForce" : "GTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "type" : "LIMIT_MAKER" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "side" : "SELL"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }




                           Query OCO (USER_DATA)
                               GET /api/v3/orderList (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Retrieves                                   a           specific OCO based on provided optional parameters
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Weight(IP)                                              :       2                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "orderListId" : 27 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "contingencyType" : "OCO" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "listStatusType" : "EXEC_STARTED" ,
                           Parameters                                                  :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "listOrderStatus" : "EXECUTING" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "listClientOrderId" : "h2USkA5YQpaXHPIrkd96xE" ,
                                Name                                                                                                            Type                                                                                 Mandatory                                                                                                        Description                                                                                                                                                                                                 "transactionTime" : 1565245656253 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "symbol" : "LTCBTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "orders" : [
                                orderListId                                                                                                     LONG                                                                                 NO                                                                                                               Either                                        orderListId                                                                                                    or
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    {
                                                                                                                                                                                                                                                                                                                                                       origClientOrderId                                                                                                                                           must                                                "symbol" : "LTCBTC" ,
                                                                                                                                                                                                                                                                                                                                                      be provided                                                                                                                                                                                                      "orderId" : 4 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "clientOrderId" : "qD1gy3kc3Gx0rihm9Y3xwS"
                                origClientOrderId                                                                                               STRING                                                                               NO                                                                                                               Either                                        orderListId                                                                                                    or                                               },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    {
                                                                                                                                                                                                                                                                                                                                                       origClientOrderId                                                                                                                                           must
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "symbol" : "LTCBTC" ,
                                                                                                                                                                                                                                                                                                                                                      be provided                                                                                                                                                                                                      "orderId" : 5 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "clientOrderId" : "ARzZ9I00CPM8i3NhmU9Ega"
                                recvWindow                                                                                                      LONG                                                                                 NO                                                                                                               The value cannot be                                                                                                                                                                                           }
                                                                                                                                                                                                                                                                                                                                                      greater than 60000                                                                                                                                                                                          ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }

                                timestamp                                                                                                       LONG                                                                                 YES

                           Data Source: Database


                           Query                                       all                      OCO (USER_DATA)
                               GET /api/v3/allOrderList (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Retrieves                                   all                 OCO based on provided optional parameters
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         [
                           Weight(IP) 10                                           :                                                                                                                                                                                                                                                                                                                                                                                                                                                                              {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "orderListId" : 29 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "contingencyType" : "OCO" ,
                           Parameters                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     "listStatusType" : "EXEC_STARTED" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "listOrderStatus" : "EXECUTING" ,
                                Name                                                                                 Type                                                        Mandatory                                                                                                           Description                                                                                                                                                                                                                                                          "listClientOrderId" : "amEEAXryFzFwYF1FeRpUoZ" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "transactionTime" : 1565245913483 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "symbol" : "LTCBTC" ,
                                fromId                                                                               LONG                                                        NO                                                                                                                  If supplied, neither startTime or
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "orders" : [
                                                                                                                                                                                                                                                                                                      endTime can be provided
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "symbol" : "LTCBTC" ,
                                startTime                                                                            LONG                                                        NO                                                                                                                                                                                                                                                                                                                                                                                            "orderId" : 4 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "clientOrderId" : "oD7aesZqjEGlZrbtRpy5zB"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            },
                                endTime                                                                              LONG                                                        NO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "symbol" : "LTCBTC" ,
                                limit                                                                                INT                                                         NO                                                                                                                  Default Value: 500; Max Value:                                                                                                                                                                                                                                            "orderId" : 5 ,
                                                                                                                                                                                                                                                                                                     1000                                                                                                                                                                                                                                                                      "clientOrderId" : "Jr1h6xirOxgeJOUuYQS7V3"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ]
                                recvWindow                                                                           LONG                                                        NO                                                                                                                  The value cannot be greater
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  },
                                                                                                                                                                                                                                                                                                     than 60000                                                                                                                                                                                                                                                   {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "orderListId" : 28 ,
                                timestamp                                                                            LONG                                                        YES                                                                                                                                                                                                                                                                                                                                                                                      "contingencyType" : "OCO" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "listStatusType" : "EXEC_STARTED" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "listOrderStatus" : "EXECUTING" ,
                           Data Source: Database                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "listClientOrderId" : "hG7hFNxJV6cZy3Ze4AUT4d" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "transactionTime" : 1565245913407 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "symbol" : "LTCBTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "orders" : [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "symbol" : "LTCBTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "orderId" : 2 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "clientOrderId" : "j6lFOfbmFMRjTYA7rRJ0LP"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "symbol" : "LTCBTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "orderId" : 3 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "clientOrderId" : "z0KCjOdditiLS5ekAFtK81"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ]




                           Query Open OCO (USER_DATA)
                               GET /api/v3/openOrderList                                                                                                                                     (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP)                                              :       3
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         [
                           Parameters                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "orderListId" : 31 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "contingencyType" : "OCO" ,
                                Name                                                                                 Type                                                        Mandatory                                                                                                           Description                                                                                                                                                                                                                                                          "listStatusType" : "EXEC_STARTED" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "listOrderStatus" : "EXECUTING" ,
                                recvWindow                                                                           LONG                                                        NO                                                                                                                  The value cannot be greater                                                                                                                                                                                                                                          "listClientOrderId" : "wuB13fmulKj3YjdqWEcsnp" ,
                                                                                                                                                                                                                                                                                                     than 60000                                                                                                                                                                                                                                                           "transactionTime" : 1565246080644 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "symbol" : "LTCBTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "orders" : [
                                timestamp                                                                            LONG                                                        YES                                                                                                                                                                                                                                                                                                                                                                                        {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "symbol" : "LTCBTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "orderId" : 4 ,
                           Data Source: Database                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "clientOrderId" : "r3EH2N76dHfLoSZWIUw1bT"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "symbol" : "LTCBTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "orderId" : 5 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "clientOrderId" : "Cv1SnyPD3qhqpbjpYEHbd2"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ]




                           Account Information (USER_DATA)
                               GET /api/v3/account (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Get current account information.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Weight(IP): 10                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         "makerCommission" : 15 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "takerCommission" : 15 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "buyerCommission" : 0 ,
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "sellerCommission" : 0 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "canTrade" : true ,
                                Name                                                                                 Type                                                        Mandatory                                                                                                           Description                                                                                                                                                                                                                                                  "canWithdraw" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "canDeposit" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "updateTime" : 123456789 ,
                                recvWindow                                                                           LONG                                                        NO                                                                                                                  The value cannot be greater
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "accountType" : "SPOT" ,
                                                                                                                                                                                                                                                                                                     than 60000                                                                                                                                                                                                                                                   "balances" : [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     {
                                timestamp                                                                            LONG                                                        YES                                                                                                                                                                                                                                                                                                                                                                                    "asset" : "BTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "free" : "4723846.89208129" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "locked" : "0.00000000"
                           Data Source: Memory => Database                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "asset" : "LTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "free" : "4763368.68006011" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "locked" : "0.00000000"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ],
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "permissions" : [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     "SPOT"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }




                           Account Trade                                                                                                    List                                         (USER_DATA)
                               GET /api/v3/myTrades (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Get trades                                          for a                         specific account and symbol.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         [
                           Weight(IP): 10                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "symbol" : "BNBBTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "id" : 28457 ,
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "orderId" : 100234 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "orderListId" : - 1 , //Unless OCO, the value will always be -1
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                                                                                              "price" : "4.00000100" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "qty" : "12.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "quoteQty" : "48.000012" ,
                                symbol                                                                               STRING                                                                  YES
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "commission" : "10.10000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "commissionAsset" : "BNB" ,
                                orderId                                                                              LONG                                                                    NO                                                                                                                  This can only be used in                                                                                                                                                                                                                                 "time" : 1499865549590 ,
                                                                                                                                                                                                                                                                                                                 combination with symbol                                                                                                                                                                           .                                                      "isBuyer" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "isMaker" : false ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "isBestMatch" : true
                                startTime                                                                            LONG                                                                    NO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ]
                                endTime                                                                              LONG                                                                    NO

                                fromId                                                                               LONG                                                                    NO                                                                                                                  TradeId to fetch from. Default
                                                                                                                                                                                                                                                                                                                 gets most recent trades.

                                limit                                                                                INT                                                                     NO                                                                                                                  Default 500; max 1000.

                                recvWindow                                                                           LONG                                                                    NO                                                                                                                  The value cannot be greater
                                                                                                                                                                                                                                                                                                                 than 60000

                                timestamp                                                                            LONG                                                                    YES

                           Notes:

                                    If       fromId is set,                                                               it           will                 get                              id                  >= that                                                             fromId                                               .       Otherwise most recent
                                    trades are returned.

                           Data Source: Database



                           Margin Account/Trade

                           Cross Margin Account Transfer (MARGIN)
                               POST /sapi/v1/margin/transfer (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Execute transfer between spot account and cross margin account.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Weight(IP): 600                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                //transaction id
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "tranId" : 100000001
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }
                           Parameters:

                                Name                                                                                 Type                                                                                Mandatory                                                                                                        Description
                                asset                                                                                STRING                                                                              YES                                                                                                              The asset being transferred,
                                                                                                                                                                                                                                                                                                                          e.g., BTC


                                amount                                                                               DECIMAL                                                                             YES                                                                                                              The amount                                                                                         to                      be
                                                                                                                                                                                                                                                                                                                          transferred

                                type                                                                                 INT                                                                                 YES                                                                                                              1: transfer from main account
                                                                                                                                                                                                                                                                                                                          to cross margin account 2:
                                                                                                                                                                                                                                                                                                                          transfer from cross margin
                                                                                                                                                                                                                                                                                                                          account to main account

                                recvWindow                                                                           LONG                                                                                NO                                                                                                               The value cannot be greater
                                                                                                                                                                                                                                                                                                                          than 60000

                                timestamp                                                                            LONG                                                                                YES


                           Margin Account Borrow (MARGIN)
                               POST /sapi/v1/margin/loan                                                                                                                                     (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Apply                  for a                            loan.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Weight(Uid): 3000                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              //transaction id
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "tranId" : 100000001
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }
                           Parameters:

                                Name                                                                                 Type                                                                                Mandatory                                                                                                        Description
                                asset                                                                                STRING                                                                              YES

                                isIsolated                                                                           STRING                                                                              NO                                                                                                               for isolated margin or not,
                                                                                                                                                                                                                                                                                                                          "TRUE", "FALSE"，default
                                                                                                                                                                                                                                                                                                                          "FALSE"

                                symbol                                                                               STRING                                                                              NO                                                                                                               isolated symbol

                                amount                                                                               DECIMAL                                                                             YES

                                recvWindow                                                                           LONG                                                                                NO                                                                                                               The value cannot be greater
                                                                                                                                                                                                                                                                                                                          than 60000

                                timestamp                                                                            LONG                                                                                YES

                                    If"isIsolated" = "TRUE", "symbol" must be sent
                                    "isIsolated" = "FALSE" for crossed margin loan


                           Margin Account Repay (MARGIN)
                               POST /sapi/v1/margin/repay                                                                                                                                                (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Repay loan                                              for               margin account.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Weight(IP): 3000                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               //transaction id
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "tranId" : 100000001
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }
                           Parameters:

                                Name                                                                                 Type                                                                                Mandatory                                                                                                        Description
                                asset                                                                                STRING                                                                              YES

                                isIsolated                                                                           STRING                                                                              NO                                                                                                               for isolated margin or not,
                                                                                                                                                                                                                                                                                                                          "TRUE", "FALSE"，default
                                                                                                                                                                                                                                                                                                                          "FALSE"

                                symbol                                                                               STRING                                                                              NO                                                                                                               isolated symbol

                                amount                                                                               DECIMAL                                                                             YES

                                recvWindow                                                                           LONG                                                                                NO                                                                                                               The value cannot be greater
                                                                                                                                                                                                                                                                                                                          than 60000

                                timestamp                                                                            LONG                                                                                YES

                                    If"isIsolated" = "TRUE", "symbol" must be sent
                                    "isIsolated" = "FALSE" for crossed margin repay


                           Query Margin Asset (MARKET_DATA)
                               GET /sapi/v1/margin/asset
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP): 10
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "assetFullName" : "Binance Coin" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "assetName" : "BNB" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "isBorrowable" : false ,
                                Name                                           Type                                                         Mandatory                                                                                                        Description                                                                                                                                                                                                                                                                                                  "isMortgageable" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "userMinBorrow" : "0.00000000" ,
                                asset                                          STRING                                                       YES                                                                                                                                                                                                                                                                                                                                                                                                                           "userMinRepay" : "0.00000000"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }




                           Query Cross Margin Pair (MARKET_DATA)
                               GET /sapi/v1/margin/pair
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP): 10
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "id" : 323355778339572400 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "symbol" : "BTCUSDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "base" : "BTC" ,
                                Name                                                   Type                                                         Mandatory                                                                                                            Description                                                                                                                                                                                                                                                                                  "quote" : "USDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "isMarginTrade" : true ,
                                symbol                                                 STRING                                                       YES                                                                                                                                                                                                                                                                                                                                                                                                               "isBuyAllowed" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "isSellAllowed" : true
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }




                           Get All Margin Assets (MARKET_DATA)
                               GET /sapi/v1/margin/allAssets
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  [
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "assetFullName" : "USD coin" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "assetName" : "USDC" ,
                           None                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "isBorrowable" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "isMortgageable" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "userMinBorrow" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "userMinRepay" : "0.00000000"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "assetFullName" : "BNB-coin" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "assetName" : "BNB" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "isBorrowable" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "isMortgageable" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "userMinBorrow" : "1.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "userMinRepay" : "0.00000000"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "assetFullName" : "Tether" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "assetName" : "USDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "isBorrowable" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "isMortgageable" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "userMinBorrow" : "1.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "userMinRepay" : "0.00000000"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "assetFullName" : "etherum" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "assetName" : "ETH" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "isBorrowable" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "isMortgageable" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "userMinBorrow" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "userMinRepay" : "0.00000000"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "assetFullName" : "Bitcoin" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "assetName" : "BTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "isBorrowable" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "isMortgageable" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "userMinBorrow" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "userMinRepay" : "0.00000000"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ]




                           Get All Cross Margin Pairs (MARKET_DATA)
                               GET /sapi/v1/margin/allPairs
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         [
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "base" : "BNB" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "id" : 351637150141315861 ,
                           None                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "isBuyAllowed" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "isMarginTrade" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "isSellAllowed" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "quote" : "BTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "symbol" : "BNBBTC"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "base" : "TRX" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "id" : 351637923235429141 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "isBuyAllowed" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "isMarginTrade" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "isSellAllowed" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "quote" : "BTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "symbol" : "TRXBTC"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "base" : "XRP" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "id" : 351638112213990165 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "isBuyAllowed" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "isMarginTrade" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "isSellAllowed" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "quote" : "BTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "symbol" : "XRPBTC"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "base" : "ETH" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "id" : 351638524530850581 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "isBuyAllowed" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "isMarginTrade" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "isSellAllowed" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "quote" : "BTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "symbol" : "ETHBTC"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "base" : "BNB" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "id" : 376870400832855109 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "isBuyAllowed" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "isMarginTrade" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "isSellAllowed" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "quote" : "USDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "symbol" : "BNBUSDT"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ]




                           Query Margin PriceIndex (MARKET_DATA)
                               GET /sapi/v1/margin/priceIndex
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP): 10
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "calcTime" : 1562046418000 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "price" : "0.00333930" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "symbol" : "BNBBTC"
                                Name                                                   Type                                                         Mandatory                                                                                                            Description                                                                                                                                                                                                                                                                     }

                                symbol                                                 STRING                                                       YES



                           Margin Account New Order (TRADE)
                               POST /sapi/v1/margin/order                                                                                                                                                (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response ACK:
                           Post              a     new order                                                         for               margin account.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Weight(Uid):                                                         6                                                                                                                                                                                                                                                                                                                                                                                                                                                                 "symbol" : "BTCUSDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "orderId" : 28 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "clientOrderId" : "6gCrw2kRUAF9CvJDGP16IP" ,
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "isIsolated" : true ,       // if isolated margin
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "transactTime" : 1507725176595
                                Name                                                                                                                        Type                                                                                             Mandatory                                                                                                  Description                                                                                                                                                                      }


                                symbol                                                                                                                      STRING                                                                                           YES
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response RESULT:
                                isIsolated                                                                                                                  STRING                                                                                           NO                                                                                                         for isolated margin or
                                                                                                                                                                                                                                                                                                                                                                        not, "TRUE",                                                                                                                                                                     {
                                                                                                                                                                                                                                                                                                                                                                        "FALSE"，default                                                                                                                                                                           "symbol" : "BTCUSDT" ,
                                                                                                                                                                                                                                                                                                                                                                        "FALSE"                                                                                                                                                                                   "orderId" : 28 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "clientOrderId" : "6gCrw2kRUAF9CvJDGP16IP" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "transactTime" : 1507725176595 ,
                                side                                                                                                                        ENUM                                                                                             YES                                                                                                        BUY                                                                                                                                                                                       "price" : "1.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                        SELL                                                                                                                                                                                      "origQty" : "10.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "executedQty" : "10.00000000" ,
                                type                                                                                                                        ENUM                                                                                             YES                                                                                                                                                                                                                                                                                                  "cummulativeQuoteQty" : "10.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "status" : "FILLED" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "timeInForce" : "GTC" ,
                                quantity                                                                                                                    DECIMAL                                                                                          NO                                                                                                                                                                                                                                                                                                   "type" : "MARKET" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "isIsolated" : true ,       // if isolated margin
                                quoteOrderQty                                                                                                               DECIMAL                                                                                          NO                                                                                                                                                                                                                                                                                                   "side" : "SELL"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }
                                price                                                                                                                       DECIMAL                                                                                          NO

                                stopPrice                                                                                                                   DECIMAL                                                                                          NO                                                                                                         Used with                                                                                             STOP_LOSS                                                  ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response FULL:
                                                                                                                                                                                                                                                                                                                                                                            STOP_LOSS_LIMIT                                                                                                                            ,


                                                                                                                                                                                                                                                                                                                                                                            TAKE_PROFIT                                                                                                   ,       and                                                    {
                                                                                                                                                                                                                                                                                                                                                                            TAKE_PROFIT_LIMIT                                                                                                                                                                     "symbol" : "BTCUSDT" ,
                                                                                                                                                                                                                                                                                                                                                                        orders.                                                                                                                                                                                   "orderId" : 28 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "clientOrderId" : "6gCrw2kRUAF9CvJDGP16IP"                                                ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "transactTime" : 1507725176595 ,
                                newClientOrderId                                                                                                            STRING                                                                                           NO                                                                                                         A unique id among                                                                                                                                                                         "price" : "1.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                        open orders.                                                                                                                                                                              "origQty" : "10.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                        Automatically                                                                                                                                                                             "executedQty" : "10.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                        generated if not sent.                                                                                                                                                                    "cummulativeQuoteQty" : "10.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "status" : "FILLED" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "timeInForce" : "GTC" ,
                                icebergQty                                                                                                                  DECIMAL                                                                                          NO                                                                                                         Used with                                                                                             LIMIT                                 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "type" : "MARKET" ,
                                                                                                                                                                                                                                                                                                                                                                            STOP_LOSS_LIMIT                                                                                                                            ,    and                                   "side" : "SELL" ,
                                                                                                                                                                                                                                                                                                                                                                            TAKE_PROFIT_LIMIT to                                                                                                                                                                  "marginBuyBorrowAmount" : 5 ,        // will                                               not return if no margin trade               happens




                                                                                                                                                                                                                                                                                                                                                                        create an iceberg                                                                                                                                                                         "marginBuyBorrowAsset" : "BTC" ,     // will                                               not return if no margin trade               happens




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "isIsolated" : true ,        // if isolated                                               margin
                                                                                                                                                                                                                                                                                                                                                                        order.                                                                                                                                                                                    "fills" : [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    {
                                newOrderRespType                                                                                                            ENUM                                                                                             NO                                                                                                         Set the response                                                                                                                                                                               "price" : "4000.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                        JSON. ACK, RESULT, or                                                                                                                                                                          "qty" : "1.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "commission" : "4.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                        FULL; MARKET and
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "commissionAsset" : "USDT"
                                                                                                                                                                                                                                                                                                                                                                        LIMIT order types                                                                                                                                                                           },
                                                                                                                                                                                                                                                                                                                                                                        default to FULL, all                                                                                                                                                                        {
                                                                                                                                                                                                                                                                                                                                                                        other orders default                                                                                                                                                                           "price" : "3999.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                        to ACK.                                                                                                                                                                                        "qty" : "5.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "commission" : "19.99500000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "commissionAsset" : "USDT"
                                sideEffectType                                                                                                              ENUM                                                                                             NO                                                                                                         NO_SIDE_EFFECT,                                                                                                                                                                             },
                                                                                                                                                                                                                                                                                                                                                                        MARGIN_BUY,                                                                                                                                                                                 {
                                                                                                                                                                                                                                                                                                                                                                        AUTO_REPAY; default                                                                                                                                                                            "price" : "3998.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                        NO_SIDE_EFFECT.                                                                                                                                                                                "qty" : "2.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "commission" : "7.99600000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "commissionAsset" : "USDT"
                                timeInForce                                                                                                                 ENUM                                                                                             NO                                                                                                         GTC,IOC,FOK                                                                                                                                                                                 },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    {
                                recvWindow                                                                                                                  LONG                                                                                             NO                                                                                                         The value cannot be                                                                                                                                                                            "price" : "3997.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                        greater than 60000                                                                                                                                                                             "qty" : "1.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "commission" : "3.99700000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "commissionAsset" : "USDT"
                                timestamp                                                                                                                   LONG                                                                                             YES                                                                                                                                                                                                                                                                                                    },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "price" : "3995.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "qty" : "1.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "commission" : "3.99500000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "commissionAsset" : "USDT"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }




                           Margin Account Cancel Order (TRADE)
                               DELETE /sapi/v1/margin/order                                                                                                                                                              (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Cancel an active order                                                                                                   for                      margin account.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Weight(IP): 10                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         "symbol" : "LTCBTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "isIsolated" : true ,       // if isolated margin
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "orderId" : 28 ,
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "origClientOrderId" : "myOrder1" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "clientOrderId" : "cancelMyOrder1" ,
                                Name                                                                                                                Type                                                                             Mandatory                                                                                                        Description                                                                                                                                                                                                 "price" : "1.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "origQty" : "10.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "executedQty" : "8.00000000" ,
                                symbol                                                                                                              STRING                                                                           YES
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "cummulativeQuoteQty" : "8.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "status" : "CANCELED" ,
                                isIsolated                                                                                                          STRING                                                                           NO                                                                                                               for isolated margin or                                                                                                                                                                                      "timeInForce" : "GTC" ,
                                                                                                                                                                                                                                                                                                                                                      not, "TRUE", "FALSE"，                                                                                                                                                                                       "type" : "LIMIT" ,
                                                                                                                                                                                                                                                                                                                                                      default "FALSE"                                                                                                                                                                                             "side" : "SELL"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }

                                orderId                                                                                                             LONG                                                                             NO

                                origClientOrderId                                                                                                   STRING                                                                           NO

                                newClientOrderId                                                                                                    STRING                                                                           NO                                                                                                               Used      uniquely identify           to
                                                                                                                                                                                                                                                                                                                                                      this cancel. Automatically
                                                                                                                                                                                                                                                                                                                                                      generated by default.

                                recvWindow                                                                                                          LONG                                                                             NO                                                                                                               The value cannot be
                                                                                                                                                                                                                                                                                                                                                      greater than 60000

                                timestamp                                                                                                           LONG                                                                             YES

                                    Either orderId or origClientOrderId must be sent.


                           Margin Account Cancel                                                                                                                                                                                         all                                 Open Orders on                                                                                                                                                                           a                       Symbol
                           (TRADE)
                               DELETE /sapi/v1/margin/openOrders                                                                                                                                                                                             (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Cancels all active orders on                                                                                                                                      a           symbol                                                  for                             margin account.
                           This includes OCO orders.                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  {
                           Weight(IP):                                                     1                                                                                                                                                                                                                                                                                                                                                                                                                                                                              "symbol" : "BTCUSDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "isIsolated" : true ,        // if isolated margin
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "origClientOrderId" : "E6APeyTJvkMvLMYMqu1KQ4" ,
                           Parameters                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     "orderId" : 11 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "orderListId" : - 1 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "clientOrderId" : "pXLV6Hz6mprAcVYpVMTGgx" ,
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                                                                                              "price" : "0.089853" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "origQty" : "0.178622" ,
                                symbol                                                                               STRING                                                                  YES                                                                                                                                                                                                                                                                                                                                                                          "executedQty" : "0.000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "cummulativeQuoteQty" : "0.000000" ,
                                isIsolated                                                                           STRING                                                                  NO                                                                                                                  for isolated margin or not,                                                                                                                                                                                                                              "status" : "CANCELED" ,
                                                                                                                                                                                                                                                                                                                 "TRUE", "FALSE"，default                                                                                                                                                                                                                                  "timeInForce" : "GTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "type" : "LIMIT" ,
                                                                                                                                                                                                                                                                                                                 "FALSE"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "side" : "BUY"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  },
                                recvWindow                                                                           LONG                                                                    NO                                                                                                                  The value cannot be greater                                                                                                                                                                                                                      {
                                                                                                                                                                                                                                                                                                                 than 60000                                                                                                                                                                                                                                               "symbol" : "BTCUSDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "isIsolated" : false ,       // if isolated margin
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "origClientOrderId" : "A3EF2HCwxgZPFMrfwbgrhv" ,
                                timestamp                                                                            LONG                                                                    YES
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "orderId" : 13 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "orderListId" : - 1 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "clientOrderId" : "pXLV6Hz6mprAcVYpVMTGgx" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "price" : "0.090430" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "origQty" : "0.178622" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "executedQty" : "0.000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "cummulativeQuoteQty" : "0.000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "status" : "CANCELED" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "timeInForce" : "GTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "type" : "LIMIT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "side" : "BUY"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "orderListId" : 1929 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "contingencyType" : "OCO" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "listStatusType" : "ALL_DONE" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "listOrderStatus" : "ALL_DONE" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "listClientOrderId" : "2inzWQdDvZLHbbAmAozX2N" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "transactionTime" : 1585230948299 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "symbol" : "BTCUSDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "isIsolated" : true ,          // if isolated margin
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "orders" : [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "symbol" : "BTCUSDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "orderId" : 20 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "clientOrderId" : "CwOOIPHSmYywx6jZX77TdL"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "symbol" : "BTCUSDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "orderId" : 21 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "clientOrderId" : "461cPg51vQjV3zIMOXNz39"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ],
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "orderReports" : [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "symbol" : "BTCUSDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "origClientOrderId" : "CwOOIPHSmYywx6jZX77TdL" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "orderId" : 20 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "orderListId" : 1929 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "clientOrderId" : "pXLV6Hz6mprAcVYpVMTGgx" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "price" : "0.668611" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "origQty" : "0.690354" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "executedQty" : "0.000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "cummulativeQuoteQty" : "0.000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "status" : "CANCELED" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "timeInForce" : "GTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "type" : "STOP_LOSS_LIMIT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "side" : "BUY" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "stopPrice" : "0.378131" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "icebergQty" : "0.017083"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "symbol" : "BTCUSDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "origClientOrderId" : "461cPg51vQjV3zIMOXNz39" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "orderId" : 21 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "orderListId" : 1929 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "clientOrderId" : "pXLV6Hz6mprAcVYpVMTGgx" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "price" : "0.008791" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "origQty" : "0.690354" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "executedQty" : "0.000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "cummulativeQuoteQty" : "0.000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "status" : "CANCELED" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "timeInForce" : "GTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "type" : "LIMIT_MAKER" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "side" : "BUY" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "icebergQty" : "0.639962"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ]




                           Get Cross Margin Transfer History (USER_DATA)
                               GET /sapi/v1/margin/transfer (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "rows" : [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "amount" : "0.10000000" ,
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                                                                                            "asset" : "BNB" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "status" : "CONFIRMED" ,
                                asset                                                                                STRING                                                                  NO                                                                                                                                                                                                                                                                                                                                                                         "timestamp" : 1566898617 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "txId" : 5240372201 ,
                                type                                                                                 STRING                                                                  NO                                                                                                                  Transfer Type: ROLL_IN,                                                                                                                                                                                                                                "type" : "ROLL_IN"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     },
                                                                                                                                                                                                                                                                                                                 ROLL_OUT                                                                                                                                                                                                                                            {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "amount" : "5.00000000" ,
                                startTime                                                                            LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                         "asset" : "USDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "status" : "CONFIRMED" ,
                                endTime                                                                              LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                         "timestamp" : 1566888436 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "txId" : 5239810406 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "type" : "ROLL_OUT"
                                current                                                                              LONG                                                                    NO                                                                                                                  Currently querying page. Start                                                                                                                                                                                                                      },
                                                                                                                                                                                                                                                                                                                 from 1. Default:1                                                                                                                                                                                                                                   {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "amount" : "1.00000000" ,
                                size                                                                                 LONG                                                                    NO                                                                                                                  Default:10 Max:100                                                                                                                                                                                                                                     "asset" : "EOS" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "status" : "CONFIRMED" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "timestamp" : 1566888403 ,
                                archived                                                                             STRING                                                                  NO                                                                                                                  Default: false Set                                                                                              .                                        to true for                                                                                   "txId" : 5239808703 ,
                                                                                                                                                                                                                                                                                                                 archived data from                                                                                                                                       6               months                                                                        "type" : "ROLL_IN"
                                                                                                                                                                                                                                                                                                                 ago                                                                                                                                                                                                                                                 }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ],
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "total" : 3
                                recvWindow                                                                           LONG                                                                    NO                                                                                                                  The value cannot be greater                                                                                                                                                                                                             }
                                                                                                                                                                                                                                                                                                                 than 60000

                                timestamp                                                                            LONG                                                                    YES

                                    Response in descending order
                                    Returns data for last 7 days by default
                                    Set archived to true to query data from                                                                                                                                                                                                                                           6               months ago


                           Query Loan Record (USER_DATA)
                               GET /sapi/v1/margin/loan (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP): 10
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "rows" : [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         "isolatedSymbol" : "BNBUSDT" , // isolated symbol, will not be returned
                                Name                                                                                               Type                                                                              Mandatory                                                                                                    Description                                                                                                                                                                                                                            "txId" : 12807067523 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         "asset" : "BNB" ,
                                asset                                                                                              STRING                                                                            YES                                                                                                                                                                                                                                                                                                                                                 "principal" : "0.84624403" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         "timestamp" : 1555056425000 ,
                                isolatedSymbol                                                                                     STRING                                                                            NO                                                                                                           isolated symbol                                                                                                                                                                                                                        "status" : "CONFIRMED"    //one of PENDING (pending execution), CONFIRMED
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ],
                                txId                                                                                               LONG                                                                              NO                                                                                                           the tranId in POST                                                                                                                                                                                                              "total" : 1
                                                                                                                                                                                                                                                                                                                                  /sapi/v1/margin/loan                                                                                                                                                                                                   }


                                startTime                                                                                          LONG                                                                              NO

                                endTime                                                                                            LONG                                                                              NO

                                current                                                                                            LONG                                                                              NO                                                                                                           Currently querying page.
                                                                                                                                                                                                                                                                                                                                  Start from 1. Default:1

                                size                                                                                               LONG                                                                              NO                                                                                                           Default:10 Max:100

                                archived                                                                                           STRING                                                                            NO                                                                                                           Default: false Set to                                                                                               .                                                             true
                                                                                                                                                                                                                                                                                                                                  for archived data from                                                                                                                                                               6
                                                                                                                                                                                                                                                                                                                                  months ago

                                recvWindow                                                                                         LONG                                                                              NO                                                                                                           The value cannot be greater
                                                                                                                                                                                                                                                                                                                                  than 60000

                                timestamp                                                                                          LONG                                                                              YES

                                    txId or startTime must be sent. txId takes precedence.
                                    Response in descending order
                                    If isolatedSymbol is not sent, crossed margin data will be returned

                                    Set archived to true to query data from 6 months ago


                           Query Repay Record (USER_DATA)
                               GET /sapi/v1/margin/repay                                                                                                                                     (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP): 10
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "rows" : [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "isolatedSymbol" : "BNBUSDT" , // isolated symbol, will not be
                                Name                                                                                               Type                                                                              Mandatory                                                                                                    Description                                                                                                                                                                                                                                                              "amount" : "14.00000000" ,    //Total amount repaid
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "asset" : "BNB" ,
                                asset                                                                                              STRING                                                                            YES                                                                                                                                                                                                                                                                                                                                                                                   "interest" : "0.01866667" ,      //Interest repaid
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "principal" : "13.98133333" ,     //Principal repaid
                                isolatedSymbol                                                                                     STRING                                                                            NO                                                                                                           isolated symbol                                                                                                                                                                                                                                                          "status" : "CONFIRMED" ,    //one of PENDING (pending execution),
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "timestamp" : 1563438204000 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "txId" : 2970933056
                                txId                                                                                               LONG                                                                              NO                                                                                                           return of                                                                                                                                                                                                                                                   }
                                                                                                                                                                                                                                                                                                                                  /sapi/v1/margin/repay                                                                                                                                                                                                                       ],
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              "total" : 1
                                startTime                                                                                          LONG                                                                              NO                                                                                                                                                                                                                                                                                                                                  }


                                endTime                                                                                            LONG                                                                              NO

                                current                                                                                            LONG                                                                              NO                                                                                                           Currently querying page.
                                                                                                                                                                                                                                                                                                                                  Start from 1. Default:1

                                size                                                                                               LONG                                                                              NO                                                                                                           Default:10 Max:100

                                archived                                                                                           STRING                                                                            NO                                                                                                           Default: false Set to                                                                                               .                                                             true
                                                                                                                                                                                                                                                                                                                                  for archived data from                                                                                                                                                               6
                                                                                                                                                                                                                                                                                                                                  months ago

                                recvWindow                                                                                         LONG                                                                              NO                                                                                                           The value cannot be greater
                                                                                                                                                                                                                                                                                                                                  than 60000

                                timestamp                                                                                          LONG                                                                              YES

                                    txId or startTime must be sent. txId takes precedence.
                                    Response in descending order
                                    If isolatedSymbol is not sent, crossed margin data will be returned

                                    Set archived to true to query data from 6 months ago


                           Get Interest History (USER_DATA)
                               GET /sapi/v1/margin/interestHistory (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "rows" :[
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "isolatedSymbol" : "BNBUSDT" , // isolated symbol, will not be                                  returned

                                Name                                                                                               Type                                                                              Mandatory                                                                                                    Description                                                                                                                                                                                                                                                       "asset" : "BNB" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "interest" : "0.02414667" ,
                                asset                                                                                              STRING                                                                            NO                                                                                                                                                                                                                                                                                                                                                                             "interestAccuredTime" : 1566813600000 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "interestRate" : "0.01600000" ,
                                isolatedSymbol                                                                                     STRING                                                                            NO                                                                                                           isolated symbol                                                                                                                                                                                                                                                   "principal" : "36.22000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "type" : "ON_BORROW"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              }
                                startTime                                                                                          LONG                                                                              NO                                                                                                                                                                                                                                                                                                                                                   ],
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "total" : 1
                                endTime                                                                                            LONG                                                                              NO                                                                                                                                                                                                                                                                                                                                  }


                                current                                                                                            LONG                                                                              NO                                                                                                           Currently querying page.
                                                                                                                                                                                                                                                                                                                                  Start from 1. Default:1

                                size                                                                                               LONG                                                                              NO                                                                                                           Default:10 Max:100

                                archived                                                                                           STRING                                                                            NO                                                                                                           Default: false Set to                                                                                               .                                                             true
                                                                                                                                                                                                                                                                                                                                  for archived data from                                                                                                                                                               6
                                                                                                                                                                                                                                                                                                                                  months ago

                                recvWindow                                                                                         LONG                                                                              NO                                                                                                           The value cannot be greater
                                                                                                                                                                                                                                                                                                                                  than 60000

                                timestamp                                                                                          LONG                                                                              YES

                                    Response in descending order
                                    If isolatedSymbol is not sent, crossed margin data will be returned

                                    Set archived to true to query data from 6 months ago
                                     type in response has 4 enums:
                                             PERIODIC interest charged per hour
                                             ON_BORROW first interest charged on borrow
                                             PERIODIC_CONVERTED interest charged per hour converted into BNB
                                             ON_BORROW_CONVERTED first interest charged on borrow converted
                                            into BNB


                           Get Force Liquidation Record (USER_DATA)
                               GET /sapi/v1/margin/forceLiquidationRec (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  {
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "rows" : [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "avgPrice" : "0.00388359" ,
                                Name                                                                                               Type                                                                              Mandatory                                                                                                    Description                                                                                                                                                                                                                                              "executedQty" : "31.39000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "orderId" : 180015097 ,
                                startTime                                                                                          LONG                                                                              NO                                                                                                                                                                                                                                                                                                                                                                    "price" : "0.00388110" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "qty" : "31.39000000" ,
                                endTime                                                                                            LONG                                                                              NO                                                                                                                                                                                                                                                                                                                                                                    "side" : "SELL" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "symbol" : "BNBBTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "timeInForce" : "GTC" ,
                                isolatedSymbol                                                                                     STRING                                                                            NO                                                                                                                                                                                                                                                                                                                                                                    "isIsolated" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "updatedTime" : 1558941374745
                                current                                                                                            LONG                                                                              NO                                                                                                           Currently querying page.                                                                                                                                                                                                                             }
                                                                                                                                                                                                                                                                                                                                  Start from 1. Default:1                                                                                                                                                                                                                         ],
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "total" : 1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  }
                                size                                                                                               LONG                                                                              NO                                                                                                           Default:10 Max:100

                                recvWindow                                                                                         LONG                                                                              NO                                                                                                           The value cannot be greater
                                                                                                                                                                                                                                                                                                                                  than 60000

                                timestamp                                                                                          LONG                                                                              YES

                                    Response                                               in       descending order


                           Query Cross Margin Account Details (USER_DATA)
                               GET /sapi/v1/margin/account (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP): 10
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "borrowEnabled" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "marginLevel" : "11.64405625" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "totalAssetOfBtc" : "6.82728457" ,
                                Name                                                                                 Type                                                        Mandatory                                                                                                           Description                                                                                                                                                                                                                                                                  "totalLiabilityOfBtc" : "0.58633215" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "totalNetAssetOfBtc" : "6.24095242" ,
                                recvWindow                                                                           LONG                                                        NO                                                                                                                  The value cannot be greater                                                                                                                                                                                                                                                  "tradeEnabled" : true ,
                                                                                                                                                                                                                                                                                                     than 60000                                                                                                                                                                                                                                                                   "transferEnabled" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "userAssets" : [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      {
                                timestamp                                                                            LONG                                                        YES                                                                                                                                                                                                                                                                                                                                                                                                       "asset" : "BTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "borrowed" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "free" : "0.00499500" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "interest" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "locked" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "netAsset" : "0.00499500"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "asset" : "BNB" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "borrowed" : "201.66666672" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "free" : "2346.50000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "interest" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "locked" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "netAsset" : "2144.83333328"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "asset" : "ETH" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "borrowed" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "free" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "interest" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "locked" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "netAsset" : "0.00000000"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "asset" : "USDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "borrowed" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "free" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "interest" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "locked" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "netAsset" : "0.00000000"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }




                           Query Margin Account's Order (USER_DATA)
                               GET /sapi/v1/margin/order                                                                                                                                     (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP): 10
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "clientOrderId" : "ZwfQzuDIGpceVhKW5DvCmO" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "cummulativeQuoteQty" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "executedQty" : "0.00000000" ,
                                Name                                                                                                            Type                                                                                 Mandatory                                                                                                        Description                                                                                                                                                                                                     "icebergQty" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "isWorking" : true ,
                                symbol                                                                                                          STRING                                                                               YES                                                                                                                                                                                                                                                                                                                              "orderId" : 213205622 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "origQty" : "0.30000000" ,
                                isIsolated                                                                                                      STRING                                                                               NO                                                                                                               for isolated margin or                                                                                                                                                                                          "price" : "0.00493630" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "side" : "SELL" ,
                                                                                                                                                                                                                                                                                                                                                      not, "TRUE", "FALSE"，                                                                                                                                                                                           "status" : "NEW" ,
                                                                                                                                                                                                                                                                                                                                                      default "FALSE"                                                                                                                                                                                                 "stopPrice" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "symbol" : "BNBBTC" ,
                                orderId                                                                                                         LONG                                                                                 NO                                                                                                                                                                                                                                                                                                                               "isIsolated" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "time" : 1562133008725 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "timeInForce" : "GTC" ,
                                origClientOrderId                                                                                               STRING                                                                               NO                                                                                                                                                                                                                                                                                                                               "type" : "LIMIT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "updateTime" : 1562133008725
                                recvWindow                                                                                                      LONG                                                                                 NO                                                                                                               The value cannot be                                                                                                                                                                                }
                                                                                                                                                                                                                                                                                                                                                      greater than 60000

                                timestamp                                                                                                       LONG                                                                                 YES

                                    Either orderId or origClientOrderId must be sent.
                                    For some historical orders cummulativeQuoteQty                                                                                                                                                                                                                                                                                          will                             be <                                             0,                      meaning
                                    the data is not available at this time.


                           Query Margin Account's Open Orders (USER_DATA)
                               GET /sapi/v1/margin/openOrders                                                                                                                                                                            (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP): 10
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         [
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "clientOrderId" : "qhcZw71gAkCCTv0t0k8LUK" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "cummulativeQuoteQty" : "0.00000000" ,
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                                                                                                          "executedQty" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "icebergQty" : "0.00000000" ,
                                symbol                                                                               STRING                                                                  NO                                                                                                                                                                                                                                                                                                                                                                                       "isWorking" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "orderId" : 211842552 ,
                                isIsolated                                                                           STRING                                                                  NO                                                                                                                  for isolated margin or not,                                                                                                                                                                                                                                          "origQty" : "0.30000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "price" : "0.00475010" ,
                                                                                                                                                                                                                                                                                                                 "TRUE", "FALSE"，default                                                                                                                                                                                                                                              "side" : "SELL" ,
                                                                                                                                                                                                                                                                                                                 "FALSE"                                                                                                                                                                                                                                                              "status" : "NEW" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "stopPrice" : "0.00000000" ,
                                recvWindow                                                                           LONG                                                                    NO                                                                                                                  The value cannot be greater                                                                                                                                                                                                                                          "symbol" : "BNBBTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "isIsolated" : true ,
                                                                                                                                                                                                                                                                                                                 than 60000
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "time" : 1562040170089 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "timeInForce" : "GTC" ,
                                timestamp                                                                            LONG                                                                    YES                                                                                                                                                                                                                                                                                                                                                                                      "type" : "LIMIT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "updateTime" : 1562040170089
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          }
                                    If the symbol is not sent, orders for all symbols will be returned in an                                                                                                                                                                                                                                                                                                                                                                                                                                             ]
                                    array.
                                    When all symbols are returned, the number of requests counted against
                                    the rate limiter is equal to the number of symbols currently trading on
                                    the exchange.
                                    If isIsolated ="TRUE", symbol must be sent.




                           Query Margin Account's All Orders (USER_DATA)
                               GET /sapi/v1/margin/allOrders (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP): 200
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         [
                           Request Limit                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          {
                           60times/min per                                                                           IP                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "clientOrderId" : "D2KDy4DIeS56PvkM13f8cP" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "cummulativeQuoteQty" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "executedQty" : "0.00000000" ,
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "icebergQty" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "isWorking" : false ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "orderId" : 41295 ,
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                                                                                                                      "origQty" : "5.31000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "price" : "0.22500000" ,
                                symbol                                                                               STRING                                                                  YES                                                                                                                                                                                                                                                                                                                                                                                                  "side" : "SELL" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "status" : "CANCELED" ,
                                isIsolated                                                                           STRING                                                                  NO                                                                                                                  for isolated margin or not,                                                                                                                                                                                                                                                      "stopPrice" : "0.18000000" ,
                                                                                                                                                                                                                                                                                                                 "TRUE", "FALSE"，default                                                                                                                                                                                                                                                          "symbol" : "BNBBTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "isIsolated" : false ,
                                                                                                                                                                                                                                                                                                                 "FALSE"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "time" : 1565769338806 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "timeInForce" : "GTC" ,
                                orderId                                                                              LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                                                   "type" : "TAKE_PROFIT_LIMIT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "updateTime" : 1565769342148
                                startTime                                                                            LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                                   },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "clientOrderId" : "gXYtqhcEAs2Rn9SUD9nRKx" ,
                                endTime                                                                              LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                                                   "cummulativeQuoteQty" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "executedQty" : "0.00000000" ,
                                limit                                                                                INT                                                                     NO                                                                                                                  Default 500; max 500.                                                                                                                                                                                                                                                            "icebergQty" : "1.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "isWorking" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "orderId" : 41296 ,
                                recvWindow                                                                           LONG                                                                    NO                                                                                                                  The value cannot be greater
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "origQty" : "6.65000000" ,
                                                                                                                                                                                                                                                                                                                 than 60000                                                                                                                                                                                                                                                                       "price" : "0.18000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "side" : "SELL" ,
                                timestamp                                                                            LONG                                                                    YES                                                                                                                                                                                                                                                                                                                                                                                                  "status" : "CANCELED" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "stopPrice" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "symbol" : "BNBBTC" ,
                                    IforderId is set, it will get orders >= that orderId. Otherwise most recent                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "isIsolated" : false ,
                                    orders are returned.                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "time" : 1565769348687 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "timeInForce" : "GTC" ,
                                    For some historical orders cummulativeQuoteQty will be < 0, meaning                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "type" : "LIMIT" ,
                                    the data is not available at this time.                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "updateTime" : 1565769352226
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "clientOrderId" : "duDq1BqohhcMmdMs9FSuDy" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "cummulativeQuoteQty" : "0.39450000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "executedQty" : "2.63000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "icebergQty" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "isWorking" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "orderId" : 41297 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "origQty" : "2.63000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "price" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "side" : "SELL" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "status" : "FILLED" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "stopPrice" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "symbol" : "BNBBTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "isIsolated" : false ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "time" : 1565769358139 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "timeInForce" : "GTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "type" : "MARKET" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "updateTime" : 1565769358139
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  }

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ]




                           Margin Account New OCO (TRADE)
                               POST /sapi/v1/margin/order/oco                                                                                                                                                                            (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Send                  in a                  new OCO                                                     for a                         margin account
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Weight(Uid)                                                     :    6                                                                                                                                                                                                                                                                                                                                                                                                                                                                 "orderListId" : 0 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "contingencyType" : "OCO" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "listStatusType" : "EXEC_STARTED" ,
                           Parameters                                                  :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "listOrderStatus" : "EXECUTING" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "listClientOrderId" : "JYVpp3F0f5CAG15DhtrqLp" ,
                                Name                                                                                                                                             Type                                                                                            Mandatory                                                                                                  Description                                                                                                                                                           "transactionTime" : 1563417480525 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "symbol" : "LTCBTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "marginBuyBorrowAmount" : "5" ,          // will not return if no margin trade
                                symbol                                                                                                                                           STRING                                                                                          YES
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "marginBuyBorrowAsset" : "BTC" ,       // will not return if no margin trade                                                           happens




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "isIsolated" : false ,         // if isolated margin
                                isIsolated                                                                                                                                       STRING                                                                                          NO                                                                                                         for isolated margin or                                                                                                                                                "orders" : [
                                                                                                                                                                                                                                                                                                                                                                                            not, "TRUE",                                                                                                                                                             {
                                                                                                                                                                                                                                                                                                                                                                                            "FALSE"，default                                                                                                                                                             "symbol" : "LTCBTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "orderId" : 2 ,
                                                                                                                                                                                                                                                                                                                                                                                            "FALSE"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "clientOrderId" : "Kk7sqHb9J6mJWTMDVW7Vos"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     },
                                listClientOrderId                                                                                                                                STRING                                                                                          NO                                                                                                         A unique Id for the                                                                                                                                                      {
                                                                                                                                                                                                                                                                                                                                                                                            entire orderList                                                                                                                                                            "symbol" : "LTCBTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "orderId" : 3 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "clientOrderId" : "xTXKaGYd4bluPVp78IVRvl"
                                side                                                                                                                                             ENUM                                                                                            YES
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ],
                                quantity                                                                                                                                         DECIMAL                                                                                         YES                                                                                                                                                                                                                                                                              "orderReports" : [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     {
                                limitClientOrderId                                                                                                                               STRING                                                                                          NO                                                                                                         A unique Id                                                                                            for                      the                                         "symbol" : "LTCBTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "orderId" : 2 ,
                                                                                                                                                                                                                                                                                                                                                                                            limit order
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "orderListId" : 0 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "clientOrderId" : "Kk7sqHb9J6mJWTMDVW7Vos" ,
                                price                                                                                                                                            DECIMAL                                                                                         YES                                                                                                                                                                                                                                                                                    "transactTime" : 1563417480525 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "price" : "0.000000" ,
                                limitIcebergQty                                                                                                                                  DECIMAL                                                                                         NO                                                                                                                                                                                                                                                                                     "origQty" : "0.624363" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "executedQty" : "0.000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "cummulativeQuoteQty" : "0.000000" ,
                                stopClientOrderId                                                                                                                                STRING                                                                                          NO                                                                                                         A unique Id for the                                                                                                                                                         "status" : "NEW" ,
                                                                                                                                                                                                                                                                                                                                                                                            stop loss/stop loss                                                                                                                                                         "timeInForce" : "GTC" ,
                                                                                                                                                                                                                                                                                                                                                                                            limit leg                                                                                                                                                                   "type" : "STOP_LOSS" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "side" : "BUY" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "stopPrice" : "0.960664"
                                stopPrice                                                                                                                                        DECIMAL                                                                                         YES
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     {
                                stopLimitPrice                                                                                                                                   DECIMAL                                                                                         NO                                                                                                         If               provided,                                                                                                                                                  "symbol" : "LTCBTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                stopLimitTimeInForce                                                                                                                                                    "orderId" : 3 ,
                                                                                                                                                                                                                                                                                                                                                                                            is               required.                                                                                                                                                  "orderListId" : 0 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "clientOrderId" : "xTXKaGYd4bluPVp78IVRvl" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "transactTime" : 1563417480525 ,
                                stopIcebergQty                                                                                                                                   DECIMAL                                                                                         NO                                                                                                                                                                                                                                                                                     "price" : "0.036435" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "origQty" : "0.624363" ,
                                stopLimitTimeInForce                                                                                                                             ENUM                                                                                            NO                                                                                                         Valid values are                                                                                                                                                            "executedQty" : "0.000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                GTC                                  /           FOK                              /           IOC                                                                       "cummulativeQuoteQty" : "0.000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "status" : "NEW" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "timeInForce" : "GTC" ,
                                newOrderRespType                                                                                                                                 ENUM                                                                                            NO                                                                                                         Set the response                                                                                                                                                            "type" : "LIMIT_MAKER" ,
                                                                                                                                                                                                                                                                                                                                                                                            JSON.                                                                                                                                                                       "side" : "BUY"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     }
                                sideEffectType                                                                                                                                   ENUM                                                                                            NO                                                                                                         NO_SIDE_EFFECT,                                                                                                                                                       ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }
                                                                                                                                                                                                                                                                                                                                                                                            MARGIN_BUY,
                                                                                                                                                                                                                                                                                                                                                                                            AUTO_REPAY; default
                                                                                                                                                                                                                                                                                                                                                                                            NO_SIDE_EFFECT.

                                recvWindow                                                                                                                                       LONG                                                                                            NO                                                                                                         The value cannot be
                                                                                                                                                                                                                                                                                                                                                                                            greater than 60000

                                timestamp                                                                                                                                        LONG                                                                                            YES

                           Other Info:

                                    Price Restrictions:
                                            SELL Limit Price > Last Price > Stop Price          :


                                            BUY Limit Price < Last Price < Stop Price      :


                                    Quantity Restrictions:
                                           Both legs must have the same quantity
                                            ICEBERG quantities however do not have to be the same.
                                    Order Rate Limit
                                            OCO counts as 2 orders against the order rate limit.



                           Margin Account Cancel OCO (TRADE)
                               DELETE /sapi/v1/margin/orderList (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Cancel an entire Order                                                                                                    List for a                                                              margin account.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Weight(Uid)                                                     :    1                                                                                                                                                                                                                                                                                                                                                                                                                                                                 "orderListId" : 0 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "contingencyType" : "OCO" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "listStatusType" : "ALL_DONE" ,
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "listOrderStatus" : "ALL_DONE" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "listClientOrderId" : "C3wyj4WVEktd7u9aVBRXcN" ,
                                Name                                                                                                                Type                                                                             Mandatory                                                                                                        Description                                                                                                                                                                                                 "transactionTime" : 1574040868128 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "symbol" : "LTCBTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "isIsolated" : false ,         // if isolated margin
                                symbol                                                                                                              STRING                                                                           YES
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "orders" : [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     {
                                isIsolated                                                                                                          STRING                                                                           NO                                                                                                               for isolated margin or                                                                                                                                                                                            "symbol" : "LTCBTC" ,
                                                                                                                                                                                                                                                                                                                                                      not, "TRUE", "FALSE"，                                                                                                                                                                                             "orderId" : 2 ,
                                                                                                                                                                                                                                                                                                                                                      default "FALSE"                                                                                                                                                                                                   "clientOrderId" : "pO9ufTiFGg3nw2fOdgeOXa"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     {
                                orderListId                                                                                                         LONG                                                                             NO                                                                                                               Either                                        orderListId                                                                                                    or                                                   "symbol" : "LTCBTC" ,
                                                                                                                                                                                                                                                                                                                                                       listClientOrderId                                                                                                                                           must                                                 "orderId" : 3 ,
                                                                                                                                                                                                                                                                                                                                                      be provided                                                                                                                                                                                                       "clientOrderId" : "TXOvglzXuaubXAaENpaRCB"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ],
                                listClientOrderId                                                                                                   STRING                                                                           NO                                                                                                               Either                                        orderListId                                                                                                    or
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "orderReports" : [
                                                                                                                                                                                                                                                                                                                                                       listClientOrderId                                                                                                                                           must                                              {
                                                                                                                                                                                                                                                                                                                                                      be provided                                                                                                                                                                                                       "symbol" : "LTCBTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "origClientOrderId" : "pO9ufTiFGg3nw2fOdgeOXa" ,
                                newClientOrderId                                                                                                    STRING                                                                           NO                                                                                                               Used      uniquely identify           to                                                                                                                                                                          "orderId" : 2 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "orderListId" : 0 ,
                                                                                                                                                                                                                                                                                                                                                      this cancel. Automatically
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "clientOrderId" : "unfWT8ig8i0uj6lPuYLez6" ,
                                                                                                                                                                                                                                                                                                                                                      generated by default                                                                                                                                                                                              "price" : "1.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "origQty" : "10.00000000" ,
                                recvWindow                                                                                                          LONG                                                                             NO                                                                                                               The value cannot be                                                                                                                                                                                               "executedQty" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                      greater than 60000                                                                                                                                                                                                "cummulativeQuoteQty" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "status" : "CANCELED" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "timeInForce" : "GTC" ,
                                timestamp                                                                                                           LONG                                                                             YES                                                                                                                                                                                                                                                                                                                                "type" : "STOP_LOSS_LIMIT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "side" : "SELL" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "stopPrice" : "1.00000000"
                           Additional notes:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     {
                                    Canceling an individual leg                                                                                                                                          will                            cancel the entire OCO                                                                                                                                                                                                                                                                                                          "symbol" : "LTCBTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "origClientOrderId" : "TXOvglzXuaubXAaENpaRCB" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "orderId" : 3 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "orderListId" : 0 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "clientOrderId" : "unfWT8ig8i0uj6lPuYLez6" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "price" : "3.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "origQty" : "10.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "executedQty" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "cummulativeQuoteQty" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "status" : "CANCELED" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "timeInForce" : "GTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "type" : "LIMIT_MAKER" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "side" : "SELL"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }




                           Query Margin Account's OCO (USER_DATA)
                               GET /sapi/v1/margin/orderList (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Retrieves                                   a           specific OCO based on provided optional parameters
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Weight(IP) 10                                           :                                                                                                                                                                                                                                                                                                                                                                                                                                                                              "orderListId" : 27 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "contingencyType" : "OCO" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "listStatusType" : "EXEC_STARTED" ,
                           Parameters                                                  :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "listOrderStatus" : "EXECUTING" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "listClientOrderId" : "h2USkA5YQpaXHPIrkd96xE" ,
                                Name                                                                                                            Type                                                                                 Mandatory                                                                                                        Description                                                                                                                                                                                                 "transactionTime" : 1565245656253 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "symbol" : "LTCBTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "isIsolated" : false ,       // if isolated margin
                                isIsolated                                                                                                      STRING                                                                               NO                                                                                                               for isolated margin or
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "orders" : [
                                                                                                                                                                                                                                                                                                                                                      not, "TRUE", "FALSE"，                                                                                                                                                                                         {
                                                                                                                                                                                                                                                                                                                                                      default "FALSE"                                                                                                                                                                                                  "symbol" : "LTCBTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "orderId" : 4 ,
                                symbol                                                                                                          STRING                                                                               NO                                                                                                               mandatory for isolated                                                                                                                                                                                           "clientOrderId" : "qD1gy3kc3Gx0rihm9Y3xwS"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    },
                                                                                                                                                                                                                                                                                                                                                      margin, not supported                                                                                                                                                         for
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    {
                                                                                                                                                                                                                                                                                                                                                      cross margin                                                                                                                                                                                                     "symbol" : "LTCBTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "orderId" : 5 ,
                                orderListId                                                                                                     LONG                                                                                 NO                                                                                                               Either                                        orderListId                                                                                                    or                                                  "clientOrderId" : "ARzZ9I00CPM8i3NhmU9Ega"
                                                                                                                                                                                                                                                                                                                                                       origClientOrderId                                                                                                                                           must                                             }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ]
                                                                                                                                                                                                                                                                                                                                                      be provided                                                                                                                                                                                        }

                                origClientOrderId                                                                                               STRING                                                                               NO                                                                                                               Either                                        orderListId                                                                                                    or
                                                                                                                                                                                                                                                                                                                                                       origClientOrderId                                                                                                                                           must
                                                                                                                                                                                                                                                                                                                                                      be provided

                                recvWindow                                                                                                      LONG                                                                                 NO                                                                                                               The value cannot be
                                                                                                                                                                                                                                                                                                                                                      greater than 60000

                                timestamp                                                                                                       LONG                                                                                 YES


                           Query Margin Account's                                                                                                                                                                                                    all                                     OCO (USER_DATA)
                               GET /sapi/v1/margin/allOrderList                                                                                                                                                                                      (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Retrieves all OCO                                                                             for a                       specific margin account based on provided optional
                           parameters                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  {
                           Weight(IP) 200                                          :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "orderListId" : 29 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "contingencyType" : "OCO" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "listStatusType" : "EXEC_STARTED" ,
                           Parameters                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     "listOrderStatus" : "EXECUTING" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "listClientOrderId" : "amEEAXryFzFwYF1FeRpUoZ" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "transactionTime" : 1565245913483 ,
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                                                                                              "symbol" : "LTCBTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "isIsolated" : true ,       // if isolated margin
                                isIsolated                                                                           STRING                                                                  NO                                                                                                                  for isolated margin or not,                                                                                                                                                                                                                              "orders" : [
                                                                                                                                                                                                                                                                                                                 "TRUE", "FALSE"，default                                                                                                                                                                                                                                    {
                                                                                                                                                                                                                                                                                                                 "FALSE"                                                                                                                                                                                                                                                       "symbol" : "LTCBTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "orderId" : 4 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "clientOrderId" : "oD7aesZqjEGlZrbtRpy5zB"
                                symbol                                                                               STRING                                                                  NO                                                                                                                  mandatory for isolated margin,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            },
                                                                                                                                                                                                                                                                                                                 not supported for cross margin                                                                                                                                                                                                                             {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "symbol" : "LTCBTC" ,
                                fromId                                                                               LONG                                                                    NO                                                                                                                  Ifsupplied, neither startTime                                                                                                                                                                                                                                 "orderId" : 5 ,
                                                                                                                                                                                                                                                                                                                 or endTime can be provided                                                                                                                                                                                                                                    "clientOrderId" : "Jr1h6xirOxgeJOUuYQS7V3"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ]
                                startTime                                                                            LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                   },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  {
                                endTime                                                                              LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                           "orderListId" : 28 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "contingencyType" : "OCO" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "listStatusType" : "EXEC_STARTED" ,
                                limit                                                                                INT                                                                     NO                                                                                                                  Default Value: 500; Max Value:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "listOrderStatus" : "EXECUTING" ,
                                                                                                                                                                                                                                                                                                                 1000                                                                                                                                                                                                                                                     "listClientOrderId" : "hG7hFNxJV6cZy3Ze4AUT4d" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "transactionTime" : 1565245913407 ,
                                recvWindow                                                                           LONG                                                                    NO                                                                                                                  The value cannot be greater                                                                                                                                                                                                                              "symbol" : "LTCBTC" ,
                                                                                                                                                                                                                                                                                                                 than 60000                                                                                                                                                                                                                                               "orders" : [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "symbol" : "LTCBTC" ,
                                timestamp                                                                            LONG                                                                    YES                                                                                                                                                                                                                                                                                                                                                                               "orderId" : 2 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "clientOrderId" : "j6lFOfbmFMRjTYA7rRJ0LP"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "symbol" : "LTCBTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "orderId" : 3 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "clientOrderId" : "z0KCjOdditiLS5ekAFtK81"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ]




                           Query Margin Account's Open OCO (USER_DATA)
                               GET /sapi/v1/margin/openOrderList (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP) 10                                           :


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         [
                           Parameters                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "orderListId" : 31 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "contingencyType" : "OCO" ,
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                                                                                              "listStatusType" : "EXEC_STARTED" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "listOrderStatus" : "EXECUTING" ,
                                isIsolated                                                                           STRING                                                                  NO                                                                                                                  for isolated margin or not,                                                                                                                                                                                                                              "listClientOrderId" : "wuB13fmulKj3YjdqWEcsnp" ,
                                                                                                                                                                                                                                                                                                                 "TRUE", "FALSE"，default                                                                                                                                                                                                                                  "transactionTime" : 1565246080644 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "symbol" : "LTCBTC" ,
                                                                                                                                                                                                                                                                                                                 "FALSE"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "isIsolated" : false ,       // if isolated margin
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "orders" : [
                                symbol                                                                               STRING                                                                  NO                                                                                                                  mandatory for isolated margin,                                                                                                                                                                                                                             {
                                                                                                                                                                                                                                                                                                                 not supported for cross margin                                                                                                                                                                                                                                "symbol" : "LTCBTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "orderId" : 4 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "clientOrderId" : "r3EH2N76dHfLoSZWIUw1bT"
                                recvWindow                                                                           LONG                                                                    NO                                                                                                                  The value cannot be greater
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            },
                                                                                                                                                                                                                                                                                                                 than 60000                                                                                                                                                                                                                                                 {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "symbol" : "LTCBTC" ,
                                timestamp                                                                            LONG                                                                    YES                                                                                                                                                                                                                                                                                                                                                                               "orderId" : 5 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "clientOrderId" : "Cv1SnyPD3qhqpbjpYEHbd2"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ]




                           Query Margin Account's Trade                                                                                                                                                                                                                                                                   List                                     (USER_DATA)
                               GET /sapi/v1/margin/myTrades (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP): 10
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         [
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "commission" : "0.00006000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "commissionAsset" : "BTC" ,
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                                                                                                              "id" : 34 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "isBestMatch" : true ,
                                symbol                                                                               STRING                                                                  YES                                                                                                                                                                                                                                                                                                                                                                                          "isBuyer" : false ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "isMaker" : false ,
                                isIsolated                                                                           STRING                                                                  NO                                                                                                                  for isolated margin or not,                                                                                                                                                                                                                                              "orderId" : 39324 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "price" : "0.02000000" ,
                                                                                                                                                                                                                                                                                                                 "TRUE", "FALSE"，default                                                                                                                                                                                                                                                  "qty" : "3.00000000" ,
                                                                                                                                                                                                                                                                                                                 "FALSE"                                                                                                                                                                                                                                                                  "symbol" : "BNBBTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "isIsolated" : false ,
                                startTime                                                                            LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                                           "time" : 1561973357171
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ]
                                endTime                                                                              LONG                                                                    NO

                                fromId                                                                               LONG                                                                    NO                                                                                                                  TradeId to fetch from. Default
                                                                                                                                                                                                                                                                                                                 gets most recent trades.

                                limit                                                                                INT                                                                     NO                                                                                                                  Default 500; max 1000.

                                recvWindow                                                                           LONG                                                                    NO                                                                                                                  The value cannot be greater
                                                                                                                                                                                                                                                                                                                 than 60000

                                timestamp                                                                            LONG                                                                    YES

                                    IffromId is set, it will get trades >= that fromId. Otherwise most recent
                                    trades are returned.


                           Query Max Borrow (USER_DATA)
                               GET /sapi/v1/margin/maxBorrowable (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP): 50
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "amount" : "1.69248805" , // account's currently max borrowable amount with
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "borrowLimit" : "60" // max borrowable amount limited by the account level
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }
                                Name                                                                                               Type                                                                              Mandatory                                                                                                    Description
                                asset                                                                                              STRING                                                                            YES

                                isolatedSymbol                                                                                     STRING                                                                            NO                                                                                                           isolated symbol

                                recvWindow                                                                                         LONG                                                                              NO                                                                                                           The value cannot be greater
                                                                                                                                                                                                                                                                                                                                  than 60000

                                timestamp                                                                                          LONG                                                                              YES

                                    IfisolatedSymbol is not sent, crossed margin data will be sent.
                                     borrowLimit is also available from https://www.binance.com/en/margin-
                                    fee


                           Query Max Transfer-Out Amount (USER_DATA)
                               GET /sapi/v1/margin/maxTransferable (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP): 50
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              {
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "amount" : "3.59498107"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              }

                                Name                                                                                               Type                                                                              Mandatory                                                                                                    Description
                                asset                                                                                              STRING                                                                            YES

                                isolatedSymbol                                                                                     STRING                                                                            NO                                                                                                           isolated symbol

                                recvWindow                                                                                         LONG                                                                              NO                                                                                                           The value cannot be greater
                                                                                                                                                                                                                                                                                                                                  than 60000

                                timestamp                                                                                          LONG                                                                              YES

                                    If       isolatedSymbol                                                                        is           not sent, crossed margin data                                                                                                                                                                                               will                                 be sent.


                           Isolated Margin Account Transfer (MARGIN)
                               POST /sapi/v1/margin/isolated/transfer                                                                                                                                                                                                                                    (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(Uid): 600
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    //transaction id
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "tranId" : 100000001
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }
                                Name                                                                                 Type                                                                                Mandatory                                                                                                        Description
                                asset                                                                                STRING                                                                              YES                                                                                                              asset,such as BTC

                                symbol                                                                               STRING                                                                              YES

                                transFrom                                                                            STRING                                                                              YES                                                                                                              "SPOT", "ISOLATED_MARGIN"

                                transTo                                                                              STRING                                                                              YES                                                                                                              "SPOT", "ISOLATED_MARGIN"

                                amount                                                                               DECIMAL                                                                             YES

                                recvWindow                                                                           LONG                                                                                NO                                                                                                               No more than 60000

                                timestamp                                                                            LONG                                                                                YES


                           Get Isolated Margin Transfer History (USER_DATA)
                               GET /sapi/v1/margin/isolated/transfer (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "rows" : [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "amount" : "0.10000000" ,
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                                                                                            "asset" : "BNB" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "status" : "CONFIRMED" ,
                                asset                                                                                STRING                                                                  NO                                                                                                                                                                                                                                                                                                                                                                         "timestamp" : 1566898617000 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "txId" : 5240372201 ,
                                symbol                                                                               STRING                                                                  YES                                                                                                                                                                                                                                                                                                                                                                        "transFrom" : "SPOT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "transTo" : "ISOLATED_MARGIN"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     },
                                transFrom                                                                            STRING                                                                  NO                                                                                                                  "SPOT", "ISOLATED_MARGIN"                                                                                                                                                                                                                           {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "amount" : "5.00000000" ,
                                transTo                                                                              STRING                                                                  NO                                                                                                                  "SPOT", "ISOLATED_MARGIN"                                                                                                                                                                                                                              "asset" : "USDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "status" : "CONFIRMED" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "timestamp" : 1566888436123 ,
                                startTime                                                                            LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                         "txId" : 5239810406 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "transFrom" : "ISOLATED_MARGIN" ,
                                endTime                                                                              LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                         "transTo" : "SPOT"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     }
                                current                                                                              LONG                                                                    NO                                                                                                                  Current page, default                                                                                                                                                        1                                                                   ],
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "total" : 2
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }
                                size                                                                                 LONG                                                                    NO                                                                                                                  Default 10, max 100

                                recvWindow                                                                           LONG                                                                    NO                                                                                                                  No more than 60000

                                timestamp                                                                            LONG                                                                    YES


                           Query Isolated Margin Account Info (USER_DATA)
                               GET /sapi/v1/margin/isolated/account (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP): 10
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         If       "symbols"                        is    not sent
                           Parameters:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                                                                                          "assets" :[
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          {
                                symbols                                                                              STRING                                                                  NO                                                                                                                  Max 5 symbols can be sent;                                                                                                                                                                                                                                 "baseAsset" :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            {
                                                                                                                                                                                                                                                                                                                 separated by ",". e.g.                                                                                                                                                                                                                                        "asset" : "BTC" ,
                                                                                                                                                                                                                                                                                                                 "BTCUSDT,BNBUSDT,ADAUSDT"                                                                                                                                                                                                                                     "borrowEnabled" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "borrowed" : "0.00000000" ,
                                recvWindow                                                                           LONG                                                                    NO                                                                                                                  No more than 60000                                                                                                                                                                                                                                            "free" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "interest" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "locked" : "0.00000000" ,
                                timestamp                                                                            LONG                                                                    YES                                                                                                                                                                                                                                                                                                                                                                               "netAsset" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "netAssetOfBtc" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "repayEnabled" : true ,
                                    If "symbols"                                                    is               not sent, all isolated assets will be returned.                                                                                                                                                                                                                                                                                                                                                                                                           "totalAsset" : "0.00000000"
                                    If "symbols"                                                    is               sent, only the isolated assets of the sent symbols                                                                                                                                                                                                                                                                                                                                will                 be                                              },
                                    returned.                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "quoteAsset" :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "asset" : "USDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "borrowEnabled" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "borrowed" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "free" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "interest" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "locked" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "netAsset" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "netAssetOfBtc" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "repayEnabled" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "totalAsset" : "0.00000000"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "symbol" : "BTCUSDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "isolatedCreated" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "enabled" : true , // true-enabled, false-disabled
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "marginLevel" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "marginLevelStatus" : "EXCESSIVE" , // "EXCESSIVE", "NORMAL", "MARGIN_CALL",
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "marginRatio" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "indexPrice" : "10000.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "liquidatePrice" : "1000.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "liquidateRate" : "1.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "tradeEnabled" : true
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       ],
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "totalAssetOfBtc" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "totalLiabilityOfBtc" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "totalNetAssetOfBtc" : "0.00000000"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         If       "symbols"                        is    sent

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "assets" :[
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "baseAsset" :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "asset" : "BTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "borrowEnabled" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "borrowed" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "free" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "interest" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "locked" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "netAsset" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "netAssetOfBtc" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "repayEnabled" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "totalAsset" : "0.00000000"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "quoteAsset" :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "asset" : "USDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "borrowEnabled" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "borrowed" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "free" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "interest" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "locked" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "netAsset" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "netAssetOfBtc" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "repayEnabled" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "totalAsset" : "0.00000000"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "symbol" : "BTCUSDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "isolatedCreated" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "enabled" : true , // true-enabled, false-disabled
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "marginLevel" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "marginLevelStatus" : "EXCESSIVE" , // "EXCESSIVE", "NORMAL", "MARGIN_CALL",
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "marginRatio" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "indexPrice" : "10000.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "liquidatePrice" : "1000.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "liquidateRate" : "1.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "tradeEnabled" : true
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }




                           Disable Isolated Margin Account (TRADE)
                               DELETE /sapi/v1/margin/isolated/account (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Disable isolated margin account for a specific symbol. Each trading pair can
                           only be deactivated once every 24 hours.                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "success" : true ,
                           Weight(Uid): 300                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "symbol" : "BTCUSDT"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }

                           Parameters:

                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description
                                symbol                                                                               STRING                                                                  YES

                                recvWindow                                                                           LONG                                                                    NO                                                                                                                  No more than 60000

                                timestamp                                                                            LONG                                                                    YES


                           Enable Isolated Margin Account (TRADE)
                               POST /sapi/v1/margin/isolated/account (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Enable isolated margin account                                                                                                                                                                    for a                           specific symbol.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Weight(Uid): 300                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "success" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "symbol" : "BTCUSDT"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }
                           Parameters:

                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description
                                symbol                                                                               STRING                                                                  YES

                                recvWindow                                                                           LONG                                                                    NO                                                                                                                  No more than 60000

                                timestamp                                                                            LONG                                                                    YES


                           Query Enabled Isolated Margin Account Limit
                           (USER_DATA)
                               GET /sapi/v1/margin/isolated/accountLimit                                                                                                                                                                                                                                                      (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Query enabled isolated margin account                                                                                                                                                                                                                         limit.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Weight(IP):                                                     1                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "enabledAccount" : 5 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "maxAccount" : 20
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }
                           Parameters:

                                Name                                                                                 Type                                                        Mandatory                                                                                                           Description
                                recvWindow                                                                           LONG                                                        NO                                                                                                                  No more than 60000

                                timestamp                                                                            LONG                                                        YES


                           Query Isolated Margin Symbol (USER_DATA)
                               GET /sapi/v1/margin/isolated/pair (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP): 10
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "symbol" : "BTCUSDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "base" : "BTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "quote" : "USDT" ,
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                                                                                          "isMarginTrade" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "isBuyAllowed" : true ,
                                symbol                                                                               STRING                                                                  YES                                                                                                                                                                                                                                                                                                                                                                      "isSellAllowed" : true
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }
                                recvWindow                                                                           LONG                                                                    NO                                                                                                                  No more than 60000

                                timestamp                                                                            LONG                                                                    YES


                           Get All Isolated Margin Symbol(USER_DATA)
                               GET /sapi/v1/margin/isolated/allPairs (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP): 10
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         [
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "base" : "BNB" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "isBuyAllowed" : true ,
                                Name                                                                                 Type                                                        Mandatory                                                                                                           Description                                                                                                                                                                                                                                                                          "isMarginTrade" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "isSellAllowed" : true ,
                                recvWindow                                                                           LONG                                                        NO                                                                                                                  No more than 60000                                                                                                                                                                                                                                                                   "quote" : "BTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "symbol" : "BNBBTC"
                                timestamp                                                                            LONG                                                        YES                                                                                                                                                                                                                                                                                                                                                                                      },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "base" : "TRX" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "isBuyAllowed" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "isMarginTrade" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "isSellAllowed" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "quote" : "BTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "symbol" : "TRXBTC"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ]




                           Toggle BNB Burn On Spot Trade And Margin
                           Interest (USER_DATA)
                               POST /sapi/v1/bnbBurn                                                                                                        (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "spotBNBBurn" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "interestBNBBurn" : false
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }
                                Name                                                                                                    Type                                                                                 Mandatory                                                                                                        Description
                                spotBNBBurn                                                                                             STRING                                                                               NO                                                                                                               "true" or "false";
                                                                                                                                                                                                                                                                                                                                              Determines whether to use
                                                                                                                                                                                                                                                                                                                                              BNB to pay for trading
                                                                                                                                                                                                                                                                                                                                              fees on SPOT

                                interestBNBBurn                                                                                         STRING                                                                               NO                                                                                                               "true" or "false";
                                                                                                                                                                                                                                                                                                                                              Determines whether to use
                                                                                                                                                                                                                                                                                                                                              BNB to pay for margin
                                                                                                                                                                                                                                                                                                                                              loan's interest

                                recvWindow                                                                                              LONG                                                                                 NO                                                                                                               No more than 60000

                                timestamp                                                                                               LONG                                                                                 YES

                                    "spotBNBBurn" and "interestBNBBurn" should be sent                                                                                                                                                                                                                                                                                                                           at                          least one.


                           Get BNB Burn Status (USER_DATA)
                               GET /sapi/v1/bnbBurn (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "spotBNBBurn" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "interestBNBBurn" : false
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }
                                Name                                                                                 Type                                                        Mandatory                                                                                                           Description
                                recvWindow                                                                           LONG                                                        NO                                                                                                                  No more than 60000

                                timestamp                                                                            LONG                                                        YES


                           Query Margin Interest Rate History (USER_DATA)
                               GET /sapi/v1/margin/interestRateHistory (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         [
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "asset" : "BTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "dailyInterestRate" : "0.00025000" ,
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                                                                                                              "timestamp" : 1611544731000 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "vipLevel" : 1
                                asset                                                                                STRING                                                                  YES                                                                                                                                                                                                                                                                                                                                                                          },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          {
                                vipLevel                                                                             INT                                                                     NO                                                                                                                  Default: user's vip level                                                                                                                                                                                                                                                "asset" : "BTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "dailyInterestRate" : "0.00035000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "timestamp" : 1610248118000 ,
                                startTime                                                                            LONG                                                                    NO                                                                                                                  Default:                                               7               days ago                                                                                                                                                                                          "vipLevel" : 1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          }
                                endTime                                                                              LONG                                                                    NO                                                                                                                  Default: present. Maximum                                                                                                                                                                                                               ]
                                                                                                                                                                                                                                                                                                                 range: 3 months.

                                limit                                                                                INT                                                                     NO                                                                                                                  Default: 20. Maximum: 100

                                recvWindow                                                                           LONG                                                                    NO                                                                                                                  No more than 60000

                                timestamp                                                                            LONG                                                                    YES




                           User Data Streams
                                    The base API endpoint is: https://api.binance.com
                                    A User Data Stream listenKey is valid for 60 minutes after creation.
                                    Doing a PUT on a listenKey will extend its validity for 60 minutes.
                                    Doing a DELETE on a listenKey will close the stream and invalidate the
                                        listenKey                                          .


                                    Doing a POST on an account with an active listenKey will return the
                                    currently active listenKey and extend its validity for 60 minutes.
                                    The base websocket endpoint is: wss://stream.binance.com:9443
                                    User Data Streams are accessed at /ws/<listenKey> or /stream?
                                    streams=<listenKey>
                                    A single connection to stream.binance.com is only valid for 24 hours;
                                    expect to be disconnected at the 24 hour mark


                           LISTEN KEY (SPOT)
                           Create                          a           ListenKey (USER_STREAM)
                               POST /api/v3/userDataStream
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Start a new user data stream. The stream will close after 60 minutes unless                                                                                                                                                                                                                                                                                                                                                                                                                                               a
                           keepalive is sent. If the account has an active listenKey that listenKey                                                                                                                                                                                                                                                                                                      ,                                                                                                                                               {
                           will be returned and its validity will be extended for 60 minutes.                                                                                                                                                                                                                                                                                                                                                                                                                                                                     "listenKey" : "pqia91ma19a5s61cv6a81va65sdf19v8a65a1a5s61cv6a81va65sdf19v8a65a1"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }

                           Weight:                             1


                           Parameters:

                           NONE

                           Data Source: Memory

                           Ping/Keep-alive                                                                                a            ListenKey (USER_STREAM)
                               PUT /api/v3/userDataStream
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Keepalive a user data stream to prevent a time out. User data streams will
                           close after 60 minutes. It's recommended to send a ping about every 30                                                                                                                                                                                                                                                                                                                                                                                                                                                        {}
                           minutes.

                           Weight:                             1


                           Parameters:

                                Name                                                           Type                                                          Mandatory                                                                                                               Description
                                listenKey                                                      STRING                                                        YES

                           Data Source: Memory

                           Close                   a           ListenKey (USER_STREAM)
                               DELETE /api/v3/userDataStream
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Close out                                   a               user data stream.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {}
                           Weight:                             1


                           Parameters:

                                Name                                                           Type                                                          Mandatory                                                                                                               Description
                                listenKey                                                      STRING                                                        YES

                           Data Source: Memory


                           LISTEN KEY (MARGIN)
                           Create                          a           ListenKey (USER_STREAM)
                               POST /sapi/v1/userDataStream
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight:                             1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         { "listenKey" :                                  "T3ee22BIYuWqmvne0HNq2A2WsFlEtLhvWCtItw6ffhhdmjifQ2tRbuKkTHhr"
                           Parameters:

                           NONE

                           Ping/Keep-alive                                                                                a            ListenKey (USER_STREAM)
                               PUT /sapi/v1/userDataStream
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight:                             1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {}
                           Parameters:

                                Name                                                           Type                                                          Mandatory                                                                                                               Description
                                listenKey                                                      STRING                                                        YES


                           Close                   a           ListenKey (USER_STREAM)
                               DELETE /sapi/v1/userDataStream
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight:                             1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {}
                           Parameters:

                                Name                                                           Type                                                          Mandatory                                                                                                               Description
                                listenKey                                                      STRING                                                        YES


                           LISTEN KEY (ISOLATED MARGIN)
                           Generate                                            a           Listen Key (USER_STREAM)
                               POST /sapi/v1/userDataStream/isolated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight:                             1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "listenKey":                          "T3ee22BIYuWqmvne0HNq2A2WsFlEtLhvWCtItw6ffhhdmjifQ2tRbuKkTHhr"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }

                                Name                                                   Type                                                         Mandatory                                                                                                            Description
                                symbol                                                 STRING                                                       YES


                           Ping/Keep-alive                                                                                a            Listen Key (USER_STREAM)
                               PUT /sapi/v1/userDataStream/isolated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight:                             1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {}
                           Parameters:

                                Name                                                           Type                                                          Mandatory                                                                                                               Description
                                symbol                                                         STRING                                                        YES

                                listenKey                                                      STRING                                                        YES


                           Close                   a           ListenKey (USER_STREAM)
                               DELETE /sapi/v1/userDataStream/isolated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight:                             1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {}
                           Parameters:

                                Name                                                           Type                                                          Mandatory                                                                                                               Description
                                symbol                                                         STRING                                                        YES

                                listenKey                                                      STRING                                                        YES


                           Payload: Account Update
                                                        sent any time an account balance has changed
                               outboundAccountPosition is
                           and contains the assets that were possibly changed by the event that
                           generated the balance change.


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Payload:

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "e" :               "outboundAccountPosition" , //Event type
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "E" :               1564034571105 ,             //Event Time
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "u" :               1564034571073 ,             //Time of last account update
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "B" :               [                           //Balances Array
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "a" : "ETH" ,                                               //Asset
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "f" : "10000.000000" ,                                      //Free
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "l" : "0.000000"                                            //Locked
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }




                           Payload: Balance Update
                           Balance Update occurs during the following:

                                    Deposits or withdrawals from the account
                                    Transfer of funds between accounts (e.g. Spot                                                                                                                                                                                                                                                                     to            Margin)


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Payload

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "e"         :       "balanceUpdate" ,                                 //Event Type
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "E"         :       1573200697110 ,                                   //Event Time
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "a"         :       "BTC" ,                                           //Asset
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "d"         :       "100.00000000" ,                                  //Balance Delta
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "T"         :       1573200697068                                     //Clear Time
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }




                           Payload: Order Update
                           Orders are updated with the                                                                                                                                                   executionReport                                                                                                                  event.

                           Check the Public API Definitions and below                                                                                                                                                                                                                                            for                          relevant enum definitions.

                           Average price can be found by doing                                                                                                                                                                                                           Z                   divided by                                                                 z               .




                           Execution types:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Payload:
                                    NEW - The order has been accepted into the engine.
                                    CANCELED - The order has been canceled by the user.                                                                                                                                                                                                                                                                                                                                                                                                                                                                  {
                                    REPLACED (currently unused)                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "e"         :       "executionReport" ,        // Event type
                                    REJECTED - The order has been rejected and was not processed. (This is                                                                                                                                                                                                                                                                                                                                                                                                                                                        "E"         :       1499405658658 ,            // Event time
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "s"         :       "ETHBTC" ,                 // Symbol
                                    never pushed into the User Data Stream)                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "c"         :       "mUvoqJxFIILMdfAW5iGSOW" , // Client order ID
                                    TRADE - Part of the order or all of the order's quantity has filled.                                                                                                                                                                                                                                                                                                                                                                                                                                                          "S"         :       "BUY" ,                    // Side
                                    EXPIRED - The order was canceled according to the order type's rules                                                                                                                                                                                                                                                                                                                                                                                                                                                          "o"         :       "LIMIT" ,                  // Order type
                                    (e.g. LIMIT FOK orders with no fill, LIMIT IOC or MARKET orders that                                                                                                                                                                                                                                                                                                                                                                                                                                                          "f"         :       "GTC" ,                    // Time in force
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "q"         :       "1.00000000" ,             // Order quantity
                                    partially fill) or by the exchange, (e.g. orders canceled during liquidation,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "p"         :       "0.10264410" ,             // Order price
                                    orders canceled during maintenance)                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "P"         :       "0.00000000" ,             // Stop price
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "F"         :       "0.00000000" ,             // Iceberg quantity
                           Ifthe order is an OCO, an event will be displayed named                                                                                                                                                                                                                                                                                                                                       ListStatus in                                                                                                                            "g"         :       -1 ,                       // OrderListId
                           addition to the executionReport event.                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 "C"         :       "" ,                       // Original client order ID; This is the ID
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "x"         :       "NEW" ,                    // Current execution type
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "X"         :       "NEW" ,                    // Current order status
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "r"         :       "NONE" ,                   // Order reject reason; will be an error                                                code.


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "i"         :       4293153 ,                  // Order ID
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "l"         :       "0.00000000" ,             // Last executed quantity
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "z"         :       "0.00000000" ,             // Cumulative filled quantity
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "L"         :       "0.00000000" ,             // Last executed price
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "n"         :       "0" ,                      // Commission amount
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "N"         :       null ,                     // Commission asset
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "T"         :       1499405658657 ,            // Transaction time
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "t"         :       -1 ,                       // Trade ID
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "I"         :       8641984 ,                  // Ignore
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "w"         :       true ,                     // Is the order on the book?
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "m"         :       false ,                    // Is this trade the maker side?
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "M"         :       false ,                    // Ignore
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "O"         :       1499405658657 ,            // Order creation time
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "Z"         :       "0.00000000" ,             // Cumulative quote asset transacted quantity
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "Y"         :       "0.00000000" ,             // Last quote asset transacted quantity (i.e.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "Q"         :       "0.00000000"               // Quote Order Qty
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Payload

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "e" :               "listStatus" ,                                               //Event Type
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "E" :               1564035303637 ,                                              //Event Time
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "s" :               "ETHBTC" ,                                                   //Symbol
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "g" :               2,                                                           //OrderListId
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "c" :               "OCO" ,                                                      //Contingency Type
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "l" :               "EXEC_STARTED" ,                                             //List Status Type
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "L" :               "EXECUTING" ,                                                //List Order Status
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "r" :               "NONE" ,                                                     //List Reject Reason
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "C" :               "F4QN4G8DlFATFlIUQ0cjdD" ,                                   //List Client Order ID
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "T" :               1564035303625 ,                                              //Transaction Time
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "O" :               [                                                            //An array of objects
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "s" : "ETHBTC" ,               //Symbol
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "i" : 17 ,                     // orderId
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "c" : "AJYsMjErWJesZvqlJCTUgL" //ClientOrderId
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "s" : "ETHBTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "i" : 18 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "c" : "bfYPSQdLoqAJeNrOr9adzq"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }




                           Savings Endpoints
                                    The endpoints below allow you to interact with Binance Savings,
                                    previously known as Binance Lending.
                                    For more information on this, please refer to the Binance Savings page


                           Get Flexible Product                                                                                                                                                              List                                    (USER_DATA)
                               GET /sapi/v1/lending/daily/product/list (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         [
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "asset" : "BTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "avgAnnualInterestRate" : "0.00250025" ,
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                                                                                                              "canPurchase" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "canRedeem" : true ,
                                status                                                                               ENUM                                                                    NO                                                                                                                  "ALL", "SUBSCRIBABLE",                                                                                                                                                                                                                                                   "dailyInterestPerThousand" : "0.00685000" ,
                                                                                                                                                                                                                                                                                                                 "UNSUBSCRIBABLE"; Default:                                                                                                                                                                                                                                               "featured" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "minPurchaseAmount" : "0.01000000" ,
                                                                                                                                                                                                                                                                                                                 "ALL"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "productId" : "BTC001" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "purchasedAmount" : "16.32467016" ,
                                featured                                                                             STRING                                                                  NO                                                                                                                  "ALL", "TRUE"; Default: "ALL"                                                                                                                                                                                                                                            "status" : "PURCHASING" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "upLimit" : "200.00000000" ,
                                current                                                                              LONG                                                                    NO                                                                                                                  Current query page. Default:                                                                                                                                                                                       1,                                                    "upLimitPerUser" : "5.00000000"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          },
                                                                                                                                                                                                                                                                                                                 Min: 1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "asset" : "BUSD" ,
                                size                                                                                 LONG                                                                    NO                                                                                                                  Default: 50, Max: 100                                                                                                                                                                                                                                                    "avgAnnualInterestRate" : "0.01228590" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "canPurchase" : true ,
                                recvWindow                                                                           LONG                                                                    NO                                                                                                                  The value cannot be greater                                                                                                                                                                                                                                              "canRedeem" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "dailyInterestPerThousand" : "0.03836000" ,
                                                                                                                                                                                                                                                                                                                 than 60000
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "featured" : true ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "minPurchaseAmount" : "0.10000000" ,
                                timestamp                                                                            LONG                                                                    YES                                                                                                                                                                                                                                                                                                                                                                                          "productId" : "BUSD001" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "purchasedAmount" : "10.38932339" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "status" : "PURCHASING" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "upLimit" : "100000.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "upLimitPerUser" : "50000.00000000"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ]




                           Get Left Daily Purchase Quota of Flexible Product
                           (USER_DATA)
                               GET /sapi/v1/lending/daily/userLeftQuota                                                                                                                                                                                                                                               (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "asset" : "BUSD" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "leftQuota" : "50000.00000000"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description
                                productId                                                                            STRING                                                                  YES

                                recvWindow                                                                           LONG                                                                    NO                                                                                                                  The value cannot be greater
                                                                                                                                                                                                                                                                                                                 than 60000

                                timestamp                                                                            LONG                                                                    YES


                           Purchase Flexible Product (USER_DATA)
                               POST /sapi/v1/lending/daily/purchase                                                                                                                                                                                                                          (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "purchaseId" : 40607
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }

                                Name                                                                                 Type                                                                                Mandatory                                                                                                        Description
                                productId                                                                            STRING                                                                              YES

                                amount                                                                               DECIMAL                                                                             YES

                                recvWindow                                                                           LONG                                                                                NO                                                                                                               The value cannot be greater
                                                                                                                                                                                                                                                                                                                          than 60000

                                timestamp                                                                            LONG                                                                                YES


                           Get Left Daily Redemption Quota of Flexible
                           Product (USER_DATA)
                               GET /sapi/v1/lending/daily/userRedemptionQuota                                                                                                                                                                                                                                                                                      (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "asset" : "USDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "dailyQuota" : "10000000.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "leftQuota" : "0.00000000" ,
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                                                                                              "minRedemptionAmount" : "0.10000000"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }
                                productId                                                                            STRING                                                                  YES

                                type                                                                                 ENUM                                                                    YES                                                                                                                 "FAST", "NORMAL"

                                recvWindow                                                                           LONG                                                                    NO                                                                                                                  The value cannot be greater
                                                                                                                                                                                                                                                                                                                 than 60000

                                timestamp                                                                            LONG                                                                    YES


                           Redeem Flexible Product (USER_DATA)
                               POST /sapi/v1/lending/daily/redeem (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {}
                           Parameters:

                                Name                                                                                 Type                                                                                Mandatory                                                                                                        Description
                                productId                                                                            STRING                                                                              YES

                                amount                                                                               DECIMAL                                                                             YES

                                type                                                                                 ENUM                                                                                YES                                                                                                              "FAST", "NORMAL"

                                recvWindow                                                                           LONG                                                                                NO                                                                                                               The value cannot be greater
                                                                                                                                                                                                                                                                                                                          than 60000

                                timestamp                                                                            LONG                                                                                YES


                           Get Flexible Product Position (USER_DATA)
                               GET /sapi/v1/lending/daily/token/position                                                                                                                                                                                                                                                      (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         [
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "annualInterestRate" : "0.02600000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "asset" : "USDT" ,
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                                                                                                              "avgAnnualInterestRate" : "0.02599895" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "canRedeem" : true ,
                                asset                                                                                STRING                                                                  YES                                                                                                                                                                                                                                                                                                                                                                                          "dailyInterestRate" : "0.00007123" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "freeAmount" : "75.46000000" ,
                                recvWindow                                                                           LONG                                                                    NO                                                                                                                  The value cannot be greater                                                                                                                                                                                                                                              "freezeAmount" : "0.00000000" , // abandoned
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "lockedAmount" : "0.00000000" , // abandoned
                                                                                                                                                                                                                                                                                                                 than 60000                                                                                                                                                                                                                                                               "productId" : "USDT001" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "productName" : "USDT" ,
                                timestamp                                                                            LONG                                                                    YES                                                                                                                                                                                                                                                                                                                                                                                          "redeemingAmount" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "todayPurchasedAmount" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "totalAmount" : "75.46000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "totalInterest" : "0.22759183"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ]




                           Get Fixed and Activity Project List(USER_DATA)
                               GET /sapi/v1/lending/project/list (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         [
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "asset" : "USDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "displayPriority" : 1 ,
                                Name                                                                                 Type                                                                                    Mandatory                                                                                                        Description                                                                                                                                                                                                                                                 "duration" : 90 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "interestPerLot" : "1.35810000" ,
                                asset                                                                                STRING                                                                                  NO                                                                                                                                                                                                                                                                                                                                                                           "interestRate" : "0.05510000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "lotSize" : "100.00000000" ,
                                type                                                                                 ENUM                                                                                    YES                                                                                                              "ACTIVITY",                                                                                                                                                                                                                                                 "lotsLowLimit" : 1 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "lotsPurchased" : 74155 ,
                                                                                                                                                                                                                                                                                                                              "CUSTOMIZED_FIXED"                                                                                                                                                                                                                                          "lotsUpLimit" : 80000 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "maxLotsPerUser" : 2000 ,
                                status                                                                               ENUM                                                                                    NO                                                                                                               "ALL", "SUBSCRIBABLE",                                                                                                                                                                                                                                      "needKyc" : false ,
                                                                                                                                                                                                                                                                                                                              "UNSUBSCRIBABLE"; default                                                                                                                                                                                                                                   "projectId" : "CUSDT90DAYSS001" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "projectName" : "USDT" ,
                                                                                                                                                                                                                                                                                                                              "ALL"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "status" : "PURCHASING" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "type" : "CUSTOMIZED_FIXED" ,
                                isSortAsc                                                                            BOOLEAN                                                                                 NO                                                                                                               default "true"                                                                                                                                                                                                                                              "withAreaLimitation" : false
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          }
                                sortBy                                                                               ENUM                                                                                    NO                                                                                                               "START_TIME", "LOT_SIZE",                                                                                                                                                                                                  ]
                                                                                                                                                                                                                                                                                                                              "INTEREST_RATE",
                                                                                                                                                                                                                                                                                                                              "DURATION"; default
                                                                                                                                                                                                                                                                                                                              "START_TIME"

                                current                                                                              LONG                                                                                    NO                                                                                                               Currently querying page.
                                                                                                                                                                                                                                                                                                                              Start from 1. Default:1

                                size                                                                                 LONG                                                                                    NO                                                                                                               Default:10, Max:100

                                recvWindow                                                                           LONG                                                                                    NO                                                                                                               The value cannot be greater
                                                                                                                                                                                                                                                                                                                              than 60000

                                timestamp                                                                            LONG                                                                                    YES


                           Purchase Fixed/Activity Project (USER_DATA)
                               POST /sapi/v1/lending/customizedFixed/purchase                                                                                                                                                                                                                                                                                      (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "purchaseId" : "18356"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }

                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description
                                projectId                                                                            STRING                                                                  YES

                                lot                                                                                  LONG                                                                    YES

                                recvWindow                                                                           LONG                                                                    NO                                                                                                                  The value cannot be greater
                                                                                                                                                                                                                                                                                                                 than 60000

                                timestamp                                                                            LONG                                                                    YES


                           Get Fixed/Activity Project Position (USER_DATA)
                               GET /sapi/v1/lending/project/position/list                                                                                                                                                                                                                                                             (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         [
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "asset" : "USDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "canTransfer" : true ,
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                                                                                                              "createTimestamp" : 1587010770000 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "duration" : 14 ,
                                asset                                                                                STRING                                                                  YES                                                                                                                                                                                                                                                                                                                                                                                          "endTime" : 1588291200000 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "interest" : "0.19950000" ,
                                projectId                                                                            STRING                                                                  NO                                                                                                                                                                                                                                                                                                                                                                                           "interestRate" : "0.05201250" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "lot" : 1 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "positionId" : 51724 ,
                                status                                                                               ENUM                                                                    NO                                                                                                                  "HOLDING", "REDEEMED"                                                                                                                                                                                                                                                    "principal" : "100.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "projectId" : "CUSDT14DAYSS001" ,
                                recvWindow                                                                           LONG                                                                    NO                                                                                                                  The value cannot be greater                                                                                                                                                                                                                                              "projectName" : "USDT" ,
                                                                                                                                                                                                                                                                                                                 than 60000                                                                                                                                                                                                                                                               "purchaseTime" : 1587010771000 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "redeemDate" : "2020-05-01" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "startTime" : 1587081600000 ,
                                timestamp                                                                            LONG                                                                    YES                                                                                                                                                                                                                                                                                                                                                                                          "status" : "HOLDING" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "type" : "CUSTOMIZED_FIXED"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ]




                           Lending Account (USER_DATA)
                               GET /sapi/v1/lending/union/account                                                                                                                                                                                                    (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "positionAmountVos" : [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "amount" : "75.46000000" ,
                                Name                                                                                 Type                                                        Mandatory                                                                                                           Description                                                                                                                                                                                                                                                                   "amountInBTC" : "0.01044819" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "amountInUSDT" : "75.46000000" ,
                                recvWindow                                                                           LONG                                                        NO                                                                                                                  The value cannot be greater                                                                                                                                                                                                                                                   "asset" : "USDT"
                                                                                                                                                                                                                                                                                                     than 60000                                                                                                                                                                                                                                                               },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "amount" : "1.67072036" ,
                                timestamp                                                                            LONG                                                        YES                                                                                                                                                                                                                                                                                                                                                                                               "amountInBTC" : "0.00023163" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "amountInUSDT" : "1.67289230" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "asset" : "BUSD"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ],
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "totalAmountInBTC" : "0.01067982" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "totalAmountInUSDT" : "77.13289230" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "totalFixedAmountInBTC" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "totalFixedAmountInUSDT" : "0.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "totalFlexibleInBTC" : "0.01067982" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "totalFlexibleInUSDT" : "77.13289230"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              }




                           Get Purchase Record (USER_DATA)
                               GET /sapi/v1/lending/union/purchaseRecord                                                                                                                                                                                                                                                      (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Flexible Products
                           Parameters:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         [
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                                                                                              {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "amount" : "100.00000000" ,
                                lendingType                                                                          ENUM                                                                    YES                                                                                                                 "DAILY" for flexible, "ACTIVITY"                                                                                                                                                                                                                                         "asset" : "USDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "createTime" : 1575018510000 ,
                                                                                                                                                                                                                                                                                                                 for activity,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "lendingType" : "DAILY" ,
                                                                                                                                                                                                                                                                                                                 "CUSTOMIZED_FIXED" for fixed                                                                                                                                                                                                                                             "productName" : "USDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "purchaseId" : 26055 ,
                                asset                                                                                STRING                                                                  NO                                                                                                                                                                                                                                                                                                                                                                                           "status" : "SUCCESS"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ]
                                startTime                                                                            LONG                                                                    NO

                                endTime                                                                              LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                          Fixed/Activity Products
                                current                                                                              LONG                                                                    NO                                                                                                                  Currently querying page. Start
                                                                                                                                                                                                                                                                                                                 from 1. Default:1                                                                                                                                                                                                                       [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "amount" : "100.00000000" ,
                                size                                                                                 LONG                                                                    NO                                                                                                                  Default:10, Max:100                                                                                                                                                                                                                                                      "asset" : "USDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "createTime" : 1575018453000 ,
                                recvWindow                                                                           LONG                                                                    NO                                                                                                                  The value cannot be greater                                                                                                                                                                                                                                              "lendingType" : "ACTIVITY" ,
                                                                                                                                                                                                                                                                                                                 than 60000                                                                                                                                                                                                                                                               "lot" : 1 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "productName" : "【Special】USDT 7D (8%)" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "purchaseId" : 36857 ,
                                timestamp                                                                            LONG                                                                    YES                                                                                                                                                                                                                                                                                                                                                                                          "status" : "SUCCESS"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ]
                                    The time between                                                                                        startTime                                                                        and                             endTime                                                          cannot be longer than 30
                                    days.
                                    If startTime and                                                                                   endTime                                                       are both not sent, then the                                                                                                                                                                                 last                                30 days' data
                                    will be returned.



                           Get Redemption Record (USER_DATA)
                               GET /sapi/v1/lending/union/redemptionRecord                                                                                                                                                                                                                                                                        (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Flexible Products
                           Parameters:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         [
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                                                                                              {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "amount" : "10.54000000" ,
                                lendingType                                                                          ENUM                                                                    YES                                                                                                                 "DAILY" for flexible, "ACTIVITY"                                                                                                                                                                                                                                         "asset" : "USDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "createTime" : 1577257222000 ,
                                                                                                                                                                                                                                                                                                                 for activity,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "principal" : "10.54000000" ,
                                                                                                                                                                                                                                                                                                                 "CUSTOMIZED_FIXED" for fixed                                                                                                                                                                                                                                             "projectId" : "USDT001" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "projectName" : "USDT" ,
                                asset                                                                                STRING                                                                  NO                                                                                                                                                                                                                                                                                                                                                                                           "status" : "PAID" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "type" : "FAST"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              }
                                startTime                                                                            LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                          ]

                                endTime                                                                              LONG                                                                    NO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Fixed/Activity Products
                                current                                                                              LONG                                                                    NO                                                                                                                  Currently querying page. Start
                                                                                                                                                                                                                                                                                                                 from 1. Default:1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          {
                                size                                                                                 LONG                                                                    NO                                                                                                                  Default:10, Max:100                                                                                                                                                                                                                                                      "amount" : "0.07070000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "asset" : "USDT" ,
                                recvWindow                                                                           LONG                                                                    NO                                                                                                                  The value cannot be greater                                                                                                                                                                                                                                              "createTime" : 1566200161000 ,
                                                                                                                                                                                                                                                                                                                 than 60000                                                                                                                                                                                                                                                               "interest" : "0.00070000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "principal" : "0.07000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "projectId" : "test06" ,
                                timestamp                                                                            LONG                                                                    YES                                                                                                                                                                                                                                                                                                                                                                                          "projectName" : "USDT 1 day (10% anniualized)" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "startTime" : 1566198000000 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "status" : "PAID"
                                    The time between                                                                                        startTime                                                                        and                             endTime                                                          cannot be longer than 30                                                                                                                                                                                                                        }
                                    days.                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ]
                                    If startTime and                                                                                   endTime                                                       are both not sent, then the                                                                                                                                                                                 last                                30 days' data
                                    will be returned.




                           Get Interest History (USER_DATA)
                               GET /sapi/v1/lending/union/interestHistory                                                                                                                                                                                                                                                             (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         [
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "asset" : "BUSD" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "interest" : "0.00006408" ,
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                                                                                                              "lendingType" : "DAILY" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "productName" : "BUSD" ,
                                lendingType                                                                          ENUM                                                                    YES                                                                                                                 "DAILY" for flexible, "ACTIVITY"                                                                                                                                                                                                                                         "time" : 1577233578000
                                                                                                                                                                                                                                                                                                                 for activity,                                                                                                                                                                                                                                            },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          {
                                                                                                                                                                                                                                                                                                                 "CUSTOMIZED_FIXED" for fixed
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "asset" : "USDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "interest" : "0.00687654" ,
                                asset                                                                                STRING                                                                  NO                                                                                                                                                                                                                                                                                                                                                                                           "lendingType" : "DAILY" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "productName" : "USDT" ,
                                startTime                                                                            LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                                           "time" : 1577233562000
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ]
                                endTime                                                                              LONG                                                                    NO

                                current                                                                              LONG                                                                    NO                                                                                                                  Currently querying page. Start
                                                                                                                                                                                                                                                                                                                 from 1. Default:1

                                size                                                                                 LONG                                                                    NO                                                                                                                  Default:10, Max:100

                                recvWindow                                                                           LONG                                                                    NO                                                                                                                  The value cannot be greater
                                                                                                                                                                                                                                                                                                                 than 60000

                                timestamp                                                                            LONG                                                                    YES

                                    The time between                                                                                        startTime                                                                        and                             endTime                                                          cannot be longer than 30
                                    days.
                                    If startTime and                                                                                   endTime                                                       are both not sent, then the                                                                                                                                                                                 last                                30 days' data
                                    will be returned.



                           Change Fixed/Activity Position to Daily
                           Position(USER_DATA)
                               POST /sapi/v1/lending/positionChanged (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP):                                                     1


                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "dailyPurchaseId" : 862290 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "success" : true ,
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                                                                                      "time" : 1577233578000
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }
                                projectId                                                                            STRING                                                                  YES

                                lot                                                                                  LONG                                                                    YES

                                positionId                                                                           LONG                                                                    NO                                                                                                                  for                      fixed position

                                recvWindow                                                                           LONG                                                                    NO                                                                                                                  no more than                                                                                                    60000


                                timestamp                                                                            LONG                                                                    YES

                                    PositionId                                             is        mandatory parameter                                                                                                                                         for                             fixed position.



                           Mining Endpoints
                                    The endpoints below allow to interact with Binance Pool.
                                    For more information on this, please refer to the Binance Pool page


                           Acquiring Algorithm (USER_DATA)
                               GET /sapi/v1/mining/pub/algoList                                                                                                                                                                                      (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameter:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "code" : 0 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "msg" : "" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "data" : [
                                Name                                                                                 Type                                                        Mandatory                                                                                                           Description                                                                                                                                                                                                                                                    {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "algoName" : "sha256" ,                                                                        // Algorithm name
                                recvWindow                                                                           LONG                                                        NO                                                                                                                                                                                                                                                                                                                                                                                    "algoId" : 1 ,                                                                                 // Algorithm ID
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "poolIndex" : 0 ,                                                                                // Sequence
                                timestamp                                                                            LONG                                                        YES                                                                                                                                                                                                                                                                                                                                                                                   "unit" : "h/s"                                                                                 //    Unit
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }




                           Acquiring CoinName (USER_DATA)
                               GET /sapi/v1/mining/pub/coinList                                                                                                                                                                                      (HMAC SHA256)


                           Weight(IP):                                                     1


                           Parameter:

                                Name                                                                                 Type                                                        Mandatory                                                                                                           Description
                                recvWindow                                                                           LONG                                                        NO

                                timestamp                                                                            LONG                                                        YES


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "code" : 0 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "msg" : "" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "data" : [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "coinName" : "BTC" ,                                                                      // Currencyname
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "coinId" : 1 ,                                                                            // id
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "poolIndex" : 0 ,                                                                         // Sort
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "algoId" : 1 ,                                                                            // Algorithm
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "algoName" : "sha256"                                                                     //Name of algorithm
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }




                           Request for Detail Miner                                                                                                                                                                                                      List                                            (USER_DATA)
                               GET /sapi/v1/mining/worker/detail (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP):                                                     5
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameter:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "code" : 0 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "msg" : "" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "data" : [
                                Name                                                                                  Type                                                                       Mandatory                                                                                                        Description                                                                                                                                                                  For Example                                                          {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "workerName" : "bhdc1.16A10404B" ,                                                   //Mining Account name
                                algo                                                                                  STRING                                                                     YES                                                                                                              Algorithm(sha256)                                                                                                                                                            sha256                                                                  "type" : "H_hashrate" ,                                                             // Type of hourly hashrate
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "hashrateDatas" : [
                                userName                                                                              STRING                                                                     YES                                                                                                              Mining account                                                                                                                                                               test                                                                      {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "time" : 1587902400000 ,                                                     // Time
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "hashrate" : "0" ,                                                           // Hashrate
                                workerName                                                                            STRING                                                                     YES                                                                                                              Miner’s                                                                                                                                                                      bhdc1.16A10404B                                                              "reject" : 0                                                                 //Rejection Rate
                                                                                                                                                                                                                                                                                                                  name(required)                                                                                                                                                                                                                                         },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                                recvWindow                                                                            LONG                                                                       NO                                                                                                                                                                                                                                                                                                                                                                         "time" : 1587906000000 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "hashrate" : "0" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "reject" : 0
                                timestamp                                                                             LONG                                                                       YES                                                                                                                                                                                                                                                                                                                                                                     }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "workerName" : "bhdc1.16A10404B" ,                                                  //Mining Account name
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "type" : "D_hashrate" ,                                                              //Type of daily hashrate
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "hashrateDatas" : [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "time" : 1587902400000 ,                                                       // Time
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "hashrate" : "0" ,                                                             // Hashrate
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "reject" : 0                                                                   //Rejection Rate
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "time" : 1587906000000 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "hashrate" : "0" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "reject" : 0
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }




                           Request for Miner                                                                                                                                         List                                        (USER_DATA)
                               GET /sapi/v1/mining/worker/list                                                                                                                                                                               (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP):                                                     5
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameter:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "code" : 0 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "msg" : "" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "data" : {
                                Name                                                                                  Type                                                                               Mandatory                                                                                                        Description                                                                                                                                                                                       For Example                             "workerDatas" : [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       {
                                algo                                                                                  STRING                                                                             YES                                                                                                              Algorithm(sha256)                                                                                                                                                                                 sha256                                        "workerId" : "1420554439452400131" , //Miner ID
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "workerName" : "2X73" ,               //Miner's name
                                userName                                                                              STRING                                                                             YES                                                                                                              Mining account                                                                                                                                                                                    test                                          "status" : 3 ,                        // Status：1 valid, 2 invalid,                                                                           3

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "hashRate" : 0 ,                      // Real-time rate
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "dayHashRate" : 0 ,                   //24H Hashrate
                                pageIndex                                                                             INTEGER                                                                            NO                                                                                                               Page number，                                                                                                                                                                                                                                    "rejectRate" : 0 ,                    //Real-time Rejection Rate
                                                                                                                                                                                                                                                                                                                          default is first page，                                                                                                                                                                                                                          "lastShareTime" : 1587712919000       // Last submission time
                                                                                                                                                                                                                                                                                                                          start form 1                                                                                                                                                                                                                                 },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "workerId" : "7893926126382807951" ,
                                sort                                                                                  INTEGER                                                                            NO                                                                                                               sort                                                                                                                                                                                                                                            "workerName" : "AZDC1.1A10101" ,
                                                                                                                                                                                                                                                                                                                          sequence(default=0)0                                                                                                                                                                                                                            "status" : 2 ,
                                                                                                                                                                                                                                                                                                                          positive sequence，1                                                                                                                                                                                                                             "hashRate" : 29711247541680 ,
                                                                                                                                                                                                                                                                                                                          negative sequence                                                                                                                                                                                                                               "dayHashRate" : 12697781298013.66 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "rejectRate" : 0 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "lastShareTime" : 1587969727000
                                sortColumn                                                                            INTEGER                                                                            NO                                                                                                               Sort by( default 1):                                                                                                                                                                                                                         }
                                                                                                                                                                                                                                                                                                                          1: miner name,                                                                                                                                                                                                                            ],
                                                                                                                                                                                                                                                                                                                          2: real-time                                                                                                                                                                                                                              "totalNum" : 18530 ,             // Total amount
                                                                                                                                                                                                                                                                                                                          computing power,                                                                                                                                                                                                                          "pageSize" : 20                  // Rows per page
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  }
                                                                                                                                                                                                                                                                                                                          3: daily average
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }
                                                                                                                                                                                                                                                                                                                          computing power,
                                                                                                                                                                                                                                                                                                                          4: real-time rejection
                                                                                                                                                                                                                                                                                                                          rate,
                                                                                                                                                                                                                                                                                                                          5: last submission
                                                                                                                                                                                                                                                                                                                          time

                                workerStatus                                                                          INTEGER                                                                            NO                                                                                                               miners
                                                                                                                                                                                                                                                                                                                          status(default=0)0
                                                                                                                                                                                                                                                                                                                          all，1 valid，2
                                                                                                                                                                                                                                                                                                                          invalid，3failure

                                recvWindow                                                                            LONG                                                                               NO

                                timestamp                                                                             LONG                                                                               YES



                           Earnings List(USER_DATA)
                               GET /sapi/v1/mining/payment/list                                                                                                                                                                                      (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP):                                                     5
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameter:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "code" : 0 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "msg" : "" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "data" : {
                                Name                                                                                 Type                                                                            Mandatory                                                                                                        Description                                                                                                                                                                 Example                                                           "accountProfits" : [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       {
                                algo                                                                                 STRING                                                                          YES                                                                                                              Transfer                                                                                                                                                                    sha256                                                                  "time" : 1586188800000 ,               // Mining date
                                                                                                                                                                                                                                                                                                                      algorithm(sha256)                                                                                                                                                                                                                                   "type" : 31 , // 0:Mining Wallet,5:Mining Address,7:Pool Savings,8:Transferred,31:Income
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "hashTransfer" : null ,              // Transferred Hashrate
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "transferAmount" : null ,            // Transferred Income
                                userName                                                                             STRING                                                                          YES                                                                                                              Mining account                                                                                                                                                              test
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "dayHashRate" : 129129903378244 , // Daily Hashrate
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "profitAmount" : 8.6083060304 ,     //Earnings Amount
                                coin                                                                                 STRING                                                                          NO                                                                                                               Coin name                                                                                                                                                                                                                                           "coinName" : "BTC" ,              // Coin Type
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "status" : 2      //Status：0:Unpaid， 1:Paying 2：Paid
                                startDate                                                                            Long                                                                            NO                                                                                                               Search date,                                                                                                                                                                                                                                     },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       {
                                                                                                                                                                                                                                                                                                                      millisecond                                                                                                                                                                                                                                         "time" : 1607529600000 ,
                                                                                                                                                                                                                                                                                                                      timestamp, while                                                                                                                                                                                                                                    "coinName" : "BTC" ,
                                                                                                                                                                                                                                                                                                                      empty query all                                                                                                                                                                                                                                     "type" : 0 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "dayHashRate" : 9942053925926 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "profitAmount" : 0.85426469 ,
                                endDate                                                                              Long                                                                            NO                                                                                                               Search date,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "hashTransfer" : 200000000000 ,
                                                                                                                                                                                                                                                                                                                      millisecond                                                                                                                                                                                                                                         "transferAmount" : 0.02180958 ,
                                                                                                                                                                                                                                                                                                                      timestamp, while                                                                                                                                                                                                                                    "status" : 2
                                                                                                                                                                                                                                                                                                                      empty query all                                                                                                                                                                                                                                  },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "time" : 1607443200000 ,
                                pageIndex                                                                            INTEGER                                                                         NO                                                                                                               Page number,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "coinName" : "BTC" ,
                                                                                                                                                                                                                                                                                                                      empty default                                                                                                                                                                                                                                       "type" : 31 ,
                                                                                                                                                                                                                                                                                                                      first page, starting                                                                                                                                                                                                                                "dayHashRate" : 200000000000 ,
                                                                                                                                                                                                                                                                                                                      from 1                                                                                                                                                                                                                                              "profitAmount" : 0.02905916 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "hashTransfer" : null ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "transferAmount" : null ,
                                pageSize                                                                             INTEGER                                                                         NO                                                                                                               Number of pages,                                                                                                                                                                                                                                    "status" : 2
                                                                                                                                                                                                                                                                                                                      minimum 10,                                                                                                                                                                                                                                      }
                                                                                                                                                                                                                                                                                                                      maximum 200                                                                                                                                                                                                                                   ],
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "totalNum" : 3 ,             // Total Rows
                                recvWindow                                                                           LONG                                                                            NO                                                                                                                                                                                                                                                                                                                                                             "pageSize" : 20              // Rows per page
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }
                                timestamp                                                                            LONG                                                                            YES




                           Extra Bonus                                                                                   List                               (USER_DATA)
                               GET /sapi/v1/mining/payment/other (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP):                                                     5
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameter:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "code" : 0 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "msg" : "" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "data" : {
                                Name                                                                                 Type                                                                            Mandatory                                                                                                        Description                                                                                                                                                                 Example                                                           "otherProfits" : [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       {
                                algo                                                                                 STRING                                                                          YES                                                                                                              Transfer                                                                                                                                                                    sha256                                                                 "time" : 1607443200000 ,        // Mining date
                                                                                                                                                                                                                                                                                                                      algorithm(sha256)                                                                                                                                                                                                                                  "coinName" : "BTC" ,     // Coin Name
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         "type" : 4 ,             // 1: Merged Mining， 2: Activity Bonus, 3:Rebate
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         "profitAmount" : 0.0011859 , //Amount
                                userName                                                                             STRING                                                                          YES                                                                                                              Mining Account                                                                                                                                                              test
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         "status" : 2          //Status：0:Unpaid， 1:Paying 2：Paid
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       }
                                coin                                                                                 STRING                                                                          NO                                                                                                               Coin Name                                                                                                                                                                                                                                     ],
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "totalNum" : 3 ,           // Total Rows
                                startDate                                                                            Long                                                                            NO                                                                                                               Search date,                                                                                                                                                                                                                                  "pageSize" : 20            // Rows per page
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  }
                                                                                                                                                                                                                                                                                                                      millisecond                                                                                                                                                                                                                        }
                                                                                                                                                                                                                                                                                                                      timestamp, while
                                                                                                                                                                                                                                                                                                                      empty query all

                                endDate                                                                              Long                                                                            NO                                                                                                               Search date,
                                                                                                                                                                                                                                                                                                                      millisecond
                                                                                                                                                                                                                                                                                                                      timestamp, while
                                                                                                                                                                                                                                                                                                                      empty query all

                                pageIndex                                                                            INTEGER                                                                         NO                                                                                                               Page number,
                                                                                                                                                                                                                                                                                                                      empty default
                                                                                                                                                                                                                                                                                                                      first page, starting
                                                                                                                                                                                                                                                                                                                      from 1

                                pageSize                                                                             INTEGER                                                                         NO                                                                                                               Number of pages,
                                                                                                                                                                                                                                                                                                                      minimum 10,
                                                                                                                                                                                                                                                                                                                      maximum 200

                                recvWindow                                                                           LONG                                                                            NO

                                timestamp                                                                            LONG                                                                            YES


                           Hashrate Resale                                                                                                                  List                                         (USER_DATA)
                               GET /sapi/v1/mining/hash-transfer/config/details/list (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP):                                                     5
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameter:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "code" : 0 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "msg" : "" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "data" : {
                                Name                                                                                 Type                                                                            Mandatory                                                                                                        Description                                                                                                                                                              Example                                                              "configDetails" : [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       {
                                pageIndex                                                                            INTEGER                                                                         NO                                                                                                               Page number,                                                                                                                                                                                                                                        "configId" : 168 ,      // Mining ID
                                                                                                                                                                                                                                                                                                                      empty default                                                                                                                                                                                                                                       "poolUsername" : "123" , //Transfer out of subaccount
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "toPoolUsername" : "user1" , // Transfer into subaccount
                                                                                                                                                                                                                                                                                                                      first page,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "algoName" : "Ethash" ,        // Transfer algorithm
                                                                                                                                                                                                                                                                                                                      starting from 1                                                                                                                                                                                                                                     "hashRate" : 5000000 ,       // Transferred Hashrate quantity
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "startDay" : 20201210 ,     // Start date
                                pageSize                                                                             INTEGER                                                                         NO                                                                                                               Number of                                                                                                                                                                                                                                           "endDay" : 20210405 ,    //End date
                                                                                                                                                                                                                                                                                                                      pages, minimum                                                                                                                                                                                                                                      "status" : 1        //Status：0 Processing，1：Cancelled，2：Terminated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       },
                                                                                                                                                                                                                                                                                                                      10, maximum 200
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "configId" : 166 ,
                                recvWindow                                                                           LONG                                                                            NO                                                                                                                                                                                                                                                                                                                                                                   "poolUsername" : "pop" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "toPoolUsername" : "111111" ,
                                timestamp                                                                            LONG                                                                            YES                                                                                                                                                                                                                                                                                                                                                                  "algoName" : "Ethash" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "hashRate" : 3320000 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "startDay" : 20201226 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "endDay" : 20201227 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "status" : 0
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ],
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "totalNum" : 21 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "pageSize" : 200
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }




                           Hashrate Resale Detail (USER_DATA)
                               GET /sapi/v1/mining/hash-transfer/profit/details (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP):                                                     5
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameter:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     "code" : 0 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "msg" : "" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "data" : {
                                Name                                                                                 Type                                                                            Mandatory                                                                                                        Description                                                                                                                                                              Example                                                                         "profitTransferDetails" : [{
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "poolUsername" : "test4001" ,                                            // Transfer out of sub-account
                                configId                                                                             INTEGER                                                                         YES                                                                                                              Mining ID                                                                                                                                                                168
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "toPoolUsername" : "pop" ,      // Transfer into subaccount
                                userName                                                                             STRING                                                                          YES                                                                                                              Mining Account                                                                                                                                                           test                                                                                                        "algoName" : "sha256" ,       // Transfer algorithm
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "hashRate" : 200000000000 , // Transferred Hashrate quantity
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "day" : 20201213 ,           // Transfer date
                                pageIndex                                                                            INTEGER                                                                         NO                                                                                                               Page number,                                                                                                                                                                                                                                                                         "amount" : 0.2256872 ,     // Transferred income
                                                                                                                                                                                                                                                                                                                      empty default                                                                                                                                                                                                                                                                        "coinName" : "BTC"         // Coin Name
                                                                                                                                                                                                                                                                                                                      first page,                                                                                                                                                                                                                                                                   },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    {
                                                                                                                                                                                                                                                                                                                      starting from 1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "poolUsername" : "test4001" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "toPoolUsername" : "pop" ,
                                pageSize                                                                             INTEGER                                                                         NO                                                                                                               Number of                                                                                                                                                                                                                                                                            "algoName" : "sha256" ,
                                                                                                                                                                                                                                                                                                                      pages, minimum                                                                                                                                                                                                                                                                       "hashRate" : 200000000000 ,
                                                                                                                                                                                                                                                                                                                      10, maximum 200                                                                                                                                                                                                                                                                      "day" : 20201213 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "amount" : 0.2256872 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "coinName" : "BTC"
                                recvWindow                                                                           LONG                                                                            NO                                                                                                                                                                                                                                                                                                                                                                                             }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ],
                                timestamp                                                                            LONG                                                                            YES                                                                                                                                                                                                                                                                                                                                                                                  "totalNum" : 8 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "pageSize" : 200
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }




                           Hashrate Resale Request (USER_DATA)
                               POST /sapi/v1/mining/hash-transfer/config                                                                                                                                                                                                                                                      (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP):                                                     5
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameter:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "code" : 0 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "msg" : "" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "data" : 171                            // Mining Account
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                              Example                                                        }

                                userName                                                                             STRING                                                                  YES                                                                                                                 Mining Account                                                                                                                                                           test

                                algo                                                                                 STRING                                                                  YES                                                                                                                 Transfer                                                                                                                                                                 sha256
                                                                                                                                                                                                                                                                                                                 algorithm(sha256)

                                endDate                                                                              Long                                                                    YES                                                                                                                 Resale End Time                                                                                                                                                          1617659086000
                                                                                                                                                                                                                                                                                                                 (Millisecond
                                                                                                                                                                                                                                                                                                                 timestamp)

                                startDate                                                                            Long                                                                    YES                                                                                                                 Resale Start                                                                                                                                                             1607659086000
                                                                                                                                                                                                                                                                                                                 Time(Millisecond
                                                                                                                                                                                                                                                                                                                 timestamp)

                                toPoolUser                                                                           STRING                                                                  YES                                                                                                                 Mining Account                                                                                                                                                           S19pro

                                hashRate                                                                             Long                                                                    YES                                                                                                                 Resale hashrate                                                                                                                                                          100000000
                                                                                                                                                                                                                                                                                                                 h/s must be
                                                                                                                                                                                                                                                                                                                 transferred (BTC                                                                                                                is

                                                                                                                                                                                                                                                                                                                 greater than
                                                                                                                                                                                                                                                                                                                 500000000000
                                                                                                                                                                                                                                                                                                                 ETH is greater
                                                                                                                                                                                                                                                                                                                 than 500000)

                                recvWindow                                                                           LONG                                                                    NO

                                timestamp                                                                            LONG                                                                    YES



                           Cancel hashrate resale configuration(USER_DATA)
                               POST /sapi/v1/mining/hash-transfer/config/cancel                                                                                                                                                                                                                                                                                                 (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP):                                                     5
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameter:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "code" : 0 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "msg" : "" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "data" : true
                                Name                                                                                 Type                                                                            Mandatory                                                                                                        Description                                                                                                                                                 Example                                                                }

                                configId                                                                             INTEGER                                                                         YES                                                                                                              Mining ID                                                                                                                                                   168

                                userName                                                                             STRING                                                                          YES                                                                                                              Mining Account                                                                                                                                              test

                                recvWindow                                                                           LONG                                                                            NO

                                timestamp                                                                            LONG                                                                            YES


                           Statistic                                                       List                          (USER_DATA)
                               GET /sapi/v1/mining/statistics/user/status                                                                                                                                                                                                                                                             (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP):                                                     5
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameter:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "code" : 0 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "msg" : "" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "data" : {
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                  For Example                                                           "fifteenMinHashRate" : "457835490067496409.00000000" ,                                                               // 15 mins
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "dayHashRate" : "214289268068874127.65000000" ,                                                                      // 24H          Hashrate




                                algo                                                                                 STRING                                                                  YES                                                                                                                 Algorithm(sha256)                                                                                                                                                            sha256                                                                "validNum" : 0 ,                                                                                                     // Effective
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "invalidNum" : 17562 ,                                                                                               // Invalid
                                userName                                                                             STRING                                                                  YES                                                                                                                 Mining account                                                                                                                                                               test                                                                  "profitToday" :{                                                                                                   // Today's
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "BTC" : "0.00314332" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "BSV" : "56.17055953" ,
                                recvWindow                                                                           LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                        "BCH" : "106.61586001"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      },
                                timestamp                                                                            LONG                                                                    YES                                                                                                                                                                                                                                                                                                                                                                    "profitYesterday" :{                                                                                          //    Yesterday's
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "BTC" : "0.00314332" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         "BSV" : "56.17055953" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         "BCH" : "106.61586001"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      },

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "userName" : "test" ,                                                                                 // Mining account
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "unit" : "h/s" ,                                                                                    // Hashrate unit
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "algo" : "sha256"                                                                                   // Algorithm
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }




                           Account                                                         List                           (USER_DATA)
                               GET /sapi/v1/mining/statistics/user/list                                                                                                                                                                                                                                               (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP):                                                     5
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameter:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             "code" : 0 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "msg" : "" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "data" : [
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                  For Example                                                           {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "type" : "H_hashrate" ,                                                 //Type of hourly hashrate
                                algo                                                                                 STRING                                                                  YES                                                                                                                 Algorithm(sha256)                                                                                                                                                            sha256                                                                   "userName" : "test" ,                                                  // Mining account
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "list" : [
                                userName                                                                             STRING                                                                  YES                                                                                                                 Mining account                                                                                                                                                               test                                                                       {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "time" : 1585267200000 ,                                            // Time
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "hashrate" : "0.00000000"                                         , // Hashrate
                                recvWindow                                                                           LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                             "reject" : "0.00000000"                                             //Rejection Rate
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         },
                                timestamp                                                                            LONG                                                                    YES                                                                                                                                                                                                                                                                                                                                                                         {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "time" : 1585353600000 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "hashrate" : "0.00000000"                                         ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "reject" : "0.00000000"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "type" : "D_hashrate" ,                                                    //Type of daily hashrate
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "userName" : "test" ,                                                      // Mining account
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "list" : [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "time" : 1587906000000 ,                                              // Time
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "hashrate" : "0.00000000"                                         , // Hashrate
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "reject" : "0.00000000"                                             //Rejection Rate
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "time" : 1587909600000 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "hashrate" : "0.00000000"                                         ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "reject" : "0.00000000"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }




                           Futures

                           New Future Account Transfer (USER_DATA)
                               POST /sapi/v1/futures/transfer                                                                                                                                                                            (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Execute transfer between spot account and futures account.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Weight(IP):                                                     1                                                                                                                                                                                                                                                                                                                                                                                                                                                                              "tranId" : 100000001                                   //transaction id
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }

                           Parameters:

                                Name                                                                                 Type                                                                                Mandatory                                                                                                        Description
                                asset                                                                                STRING                                                                              YES                                                                                                              The asset being transferred,
                                                                                                                                                                                                                                                                                                                          e.g., USDT


                                amount                                                                               DECIMAL                                                                             YES                                                                                                              The amount                                                                                         to                      be
                                                                                                                                                                                                                                                                                                                          transferred

                                type                                                                                 INT                                                                                 YES                                                                                                              1: transfer from spot account
                                                                                                                                                                                                                                                                                                                          to USDT-Ⓜ futures account.
                                                                                                                                                                                                                                                                                                                          2: transfer from USDT-Ⓜ
                                                                                                                                                                                                                                                                                                                          futures account to spot
                                                                                                                                                                                                                                                                                                                          account.
                                                                                                                                                                                                                                                                                                                          3: transfer from spot account
                                                                                                                                                                                                                                                                                                                          to COIN-Ⓜ futures account.
                                                                                                                                                                                                                                                                                                                          4: transfer from COIN-Ⓜ
                                                                                                                                                                                                                                                                                                                          futures account to spot
                                                                                                                                                                                                                                                                                                                          account.

                                recvWindow                                                                           LONG                                                                                NO

                                timestamp                                                                            LONG                                                                                YES


                           Get Future Account Transaction History                                                                                                                                                                                                                                                                                                                                                                List
                           (USER_DATA)
                               GET /sapi/v1/futures/transfer (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP): 10
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "rows" : [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "asset" : "USDT" ,
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                                                                                           "tranId" : 100000001 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "amount" : "40.84624400" ,
                                asset                                                                                STRING                                                                  YES                                                                                                                                                                                                                                                                                                                                                                       "type" : "1" , // one of 1( from spot to USDT-Ⓜ), 2( from USDT-Ⓜ to                                                                           spot),




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "timestamp" : 1555056425000 ,
                                startTime                                                                            LONG                                                                    YES                                                                                                                                                                                                                                                                                                                                                                       "status" : "CONFIRMED" //one of PENDING (pending to execution), CONFIRMED
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ],
                                endTime                                                                              LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                   "total" : 1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }
                                current                                                                              LONG                                                                    NO                                                                                                                  Currently querying page. Start
                                                                                                                                                                                                                                                                                                                 from 1. Default:1

                                size                                                                                 LONG                                                                    NO                                                                                                                  Default:10 Max:100

                                recvWindow                                                                           LONG                                                                    NO

                                timestamp                                                                            LONG                                                                    YES


                           Borrow For Cross-Collateral (TRADE)
                               POST /sapi/v1/futures/loan/borrow                                                                                                                                                                                             (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Parameters:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "coin" : "USDT" ,
                                Name                                                                                                        Type                                                                                             Mandatory                                                                                                                                                                                                                Description
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "amount" : "4.50000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "collateralCoin" : "BUSD" ,
                                coin                                                                                                        STRING                                                                                           YES                                                                                                                                                                                                                                                                                                                          "collateralAmount" : "5.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "time" : 1582540328433 ,
                                amount                                                                                                      DECIMAL                                                                                          YES when                                                                                                                                                                                                                                                                                                                     "borrowId" : "438648398970089472"
                                                                                                                                                                                                                                             collateralAmount                                                                                                               is                                                                                                                                                                           }
                                                                                                                                                                                                                                             empty

                                collateralCoin                                                                                              STRING                                                                                           YES

                                collateralAmount                                                                                            DECIMAL                                                                                          YES when amount                                                                                                                        is

                                                                                                                                                                                                                                             empty

                                recvWindow                                                                                                  LONG                                                                                             NO

                                timestamp                                                                                                   LONG                                                                                             YES

                           Weight(Uid): 3000

                           Rate Limit:
                           1/1s per account


                           Cross-Collateral Borrow History (USER_DATA)
                               GET /sapi/v1/futures/loan/borrow/history                                                                                                                                                                                                                                               (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Parameters:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "rows" :[
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "confirmedTime" : 1582540328433 ,
                                coin                                                                                 STRING                                                                  NO                                                                                                                                                                                                                                                                                                                                                                                                     "coin" : "USDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "collateralRate" : "0.89991001" , // collateralLevel
                                startTime                                                                            LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                                                     "leftTotal" : "4.5" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "leftPrincipal" : "4.5" ,
                                endTime                                                                              LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                                                     "deadline" : 4736102399000 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "collateralCoin" : "BUSD" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "collateralAmount" : "5.0" ,
                                limit                                                                                LONG                                                                    NO                                                                                                                  default 500, max 1000                                                                                                                                                                                                                                                              "orderStatus" : "PENDING" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "borrowId" : "438648398970089472"
                                recvWindow                                                                           LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                               }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ],
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "total" : 1
                                timestamp                                                                            LONG                                                                    YES
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }


                           Weight(IP): 10



                           Repay For Cross-Collateral (TRADE)
                               POST /sapi/v1/futures/loan/repay                                                                                                                                                                                      (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Parameters:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "coin" : "USDT" ,
                                Name                                                                                      Type                                                                                       Mandatory                                                                                                    Description
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "amount" : "1.68" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "collateralCoin" : "BUSD" ,
                                coin                                                                                      STRING                                                                                     YES                                                                                                                                                                                                                                                                                                                                                  "repayId" : "439659223998894080"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }
                                collateralCoin                                                                            STRING                                                                                     YES

                                amount                                                                                    DECIMAL                                                                                    YES

                                recvWindow                                                                                LONG                                                                                       NO

                                timestamp                                                                                 LONG                                                                                       YES

                           Weight(Uid): 3000

                           Rate Limit:

                           1/1s per account


                           Cross-Collateral Repayment History (USER_DATA)
                               GET /sapi/v1/futures/loan/repay/history HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Parameters:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "rows" :[
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "coin" : "USDT" ,
                                coin                                                                                 STRING                                                                  NO                                                                                                                                                                                                                                                                                                                                                                                                     "amount" : "1.68" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "collateralCoin" : "BUSD" ,
                                startTime                                                                            LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                                                     "repayType" : "NORMAL" , // "COLLATERAL" for collateral repayment
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "releasedCollateral" : "1.80288889" ,
                                endTime                                                                              LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                                                     "price" : "1.001" , // Loan/collateral exchange rate
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "repayCollateral" : "10010" , // Only for collateral repayment
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "confirmedTime" : 1582781327575 ,
                                limit                                                                                LONG                                                                    NO                                                                                                                  default 500, max 1000                                                                                                                                                                                                                                                              "updateTime" : 1582794387516 , // time
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "status" : "PENDING" ,
                                recvWindow                                                                           LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                                                     "repayId" : "439659223998894080"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ],
                                timestamp                                                                            LONG                                                                    YES
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "total" : 1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }

                           Weight(IP): 10




                           Cross-Collateral Wallet (USER_DATA)
                               GET /sapi/v1/futures/loan/wallet                                                                                                                                                                                      (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Parameters:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "totalCrossCollateral" : "5.8238577133" ,
                                Name                                                                                 Type                                                        Mandatory                                                                                                           Description
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "totalBorrowed" : "5.07000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "totalInterest" : "0.0" , // New for interest collection
                                recvWindow                                                                           LONG                                                        NO                                                                                                                                                                                                                                                                                                                                                                                       "interestFreeLimit" : "100000" , // New for interest free limit
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "asset" : "USDT" ,
                                timestamp                                                                            LONG                                                        YES                                                                                                                                                                                                                                                                                                                                                                                      "crossCollaterals" :[
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "collateralCoin" : "BUSD" ,
                           Weight(IP): 10                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "locked" : "5.82211108" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "loanAmount" : "5.07" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "currentCollateralRate" : "0.87168984" ,    // collateralLevel
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "interestFreeLimitUsed" : "5.07" , // New for interest free limit
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "principalForInterest" : "0.0" , // New for interest collection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "interest" : "0.0" // New for interest collection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "collateralCoin" : "BTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "locked" : "0" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "loanAmount" : "0" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "currentCollateralRate" : "0" ,    // collateralLevel
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "interestFreeLimitUsed" : "0" , // New for interest free limit
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "principalForInterest" : "0.0" , // New for interest collection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "interest" : "0.0" // New for interest collection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }




                           Cross-Collateral Wallet V2 (USER_DATA)
                               GET /sapi/v2/futures/loan/wallet                                                                                                                                                                                      (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Parameters:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "totalCrossCollateral" : "5.8238577133" ,
                                Name                                                                                 Type                                                        Mandatory                                                                                                           Description
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "totalBorrowed" : "5.07000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "totalInterest" : "0.0" , // New for interest collection
                                recvWindow                                                                           LONG                                                        NO                                                                                                                                                                                                                                                                                                                                                                                       "interestFreeLimit" : "100000" , // New for interest free limit
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "asset" : "USD" , // New for USD value
                                timestamp                                                                            LONG                                                        YES                                                                                                                                                                                                                                                                                                                                                                                      "crossCollaterals" :[
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "loanCoin" : "USDT" ,
                           Weight(IP):                                                     1                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       "collateralCoin" : "BUSD" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "locked" : "5.82211108" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "loanAmount" : "5.07" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "currentCollateralRate" : "0.87168984" ,    // collateralLevel
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "interestFreeLimitUsed" : "5.07" , // New for interest free limit
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "principalForInterest" : "0.0" , // New for interest collection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "interest" : "0.0" // New for interest collection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "loanCoin" : "BUSD" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "collateralCoin" : "BTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "locked" : "0" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "loanAmount" : "0" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "currentCollateralRate" : "0" ,    // collateralLevel
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "interestFreeLimitUsed" : "0" , // New for interest free limit
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "principalForInterest" : "0.0" , // New for interest collection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   "interest" : "0.0" // New for interest collection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }




                           Cross-Collateral Information (USER_DATA)
                               GET /sapi/v1/futures/loan/configs (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Parameters:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          {
                                Name                                                                                      Type                                                                           Mandatory                                                                                                    Description
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "collateralCoin" : "BUSD" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "rate" : "0.9" ,
                                collateralCoin                                                                            STRING                                                                         NO                                                                                                                                                                                                                                                                                                                                                                               "marginCallCollateralRate" : "0.95" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "liquidationCollateralRate" : "0.98" ,
                                recvWindow                                                                                LONG                                                                           NO                                                                                                                                                                                                                                                                                                                                                                               "currentCollateralRate" : "0.87168984" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "interestRate" : "0.0" , // New for interest collection
                                timestamp                                                                                 LONG                                                                           YES                                                                                                                                                                                                                                                                                                                                                                              "interestGracePeriod" : "0" //Days, new for interest collection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ]
                                    all       collateral data                                                                      will                     be returned                                                                                  if              collateralCoin                                                                                     is                  not sent

                           Weight(IP): 10


                           Cross-Collateral Information V2 (USER_DATA)
                               GET /sapi/v2/futures/loan/configs (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Parameters:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          {
                                Name                                                                                      Type                                                                           Mandatory                                                                                                    Description
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "loanCoin" : "BUSD" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "collateralCoin" : "BTC" ,
                                loanCoin                                                                                  STRING                                                                         NO                                                                                                                                                                                                                                                                                                                                                                               "rate" : "0.9" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "marginCallCollateralRate" : "0.95" ,
                                collateralCoin                                                                            STRING                                                                         NO                                                                                                                                                                                                                                                                                                                                                                               "liquidationCollateralRate" : "0.98" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "currentCollateralRate" : "0.87168984" ,
                                recvWindow                                                                                LONG                                                                           NO                                                                                                                                                                                                                                                                                                                                                                               "interestRate" : "0.0" , // New for interest collection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "interestGracePeriod" : "0" //Days, new for interest collection
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          }
                                timestamp                                                                                 LONG                                                                           YES                                                                                                                                                                                                                                                                                                                                             ]


                                    allloan and collateral data                                                                                                                                          will                        be returned                                                                              if                  loanCoin or collateralCoin                                                                                                                                                                     is

                                    not sent

                           Weight(IP):                                                     1



                           Calculate Rate After Adjust Cross-Collateral LTV
                           (USER_DATA)
                               GET /sapi/v1/futures/loan/calcAdjustLevel                                                                                                                                                                                                                                                      (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Parameters:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "afterCollateralRate" : "0.89736451"
                                Name                                                                                      Type                                                                                       Mandatory                                                                                                    Description
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }

                                collateralCoin                                                                            STRING                                                                                     YES

                                amount                                                                                    DECIMAL                                                                                    YES

                                direction                                                                                 ENUM                                                                                       YES                                                                                                          "ADDITIONAL", "REDUCED"

                                recvWindow                                                                                LONG                                                                                       NO

                                timestamp                                                                                 LONG                                                                                       YES

                           Weight(IP): 50


                           Calculate Rate After Adjust Cross-Collateral LTV V2
                           (USER_DATA)
                               GET /sapi/v2/futures/loan/calcAdjustLevel                                                                                                                                                                                                                                                      (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Parameters:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "afterCollateralRate" : "0.89736451"
                                Name                                                                                      Type                                                                                       Mandatory                                                                                                    Description
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }

                                loanCoin                                                                                  STRING                                                                                     YES

                                collateralCoin                                                                            STRING                                                                                     YES

                                amount                                                                                    DECIMAL                                                                                    YES

                                direction                                                                                 ENUM                                                                                       YES                                                                                                          "ADDITIONAL", "REDUCED"

                                recvWindow                                                                                LONG                                                                                       NO

                                timestamp                                                                                 LONG                                                                                       YES

                           Weight(IP):                                                     1



                           Get Max Amount for Adjust Cross-Collateral LTV
                           (USER_DATA)
                               GET /sapi/v1/futures/loan/calcMaxAdjustAmount                                                                                                                                                                                                                                                                                   (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Parameters:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "maxInAmount" : "9.97109038" ,
                                Name                                                                                      Type                                                                           Mandatory                                                                                                    Description
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "maxOutAmount" : "0.50952693"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }
                                collateralCoin                                                                            STRING                                                                         YES

                                recvWindow                                                                                LONG                                                                           NO

                                timestamp                                                                                 LONG                                                                           YES

                           Weight(IP): 50


                           Get Max Amount for Adjust Cross-Collateral LTV V2
                           (USER_DATA)
                               GET /sapi/v2/futures/loan/calcMaxAdjustAmount                                                                                                                                                                                                                                                                                   (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Parameters:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "maxInAmount" : "9.97109038" ,
                                Name                                                                                      Type                                                                           Mandatory                                                                                                    Description
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "maxOutAmount" : "0.50952693"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }
                                loanCoin                                                                                  STRING                                                                         YES

                                collateralCoin                                                                            STRING                                                                         YES

                                recvWindow                                                                                LONG                                                                           NO

                                timestamp                                                                                 LONG                                                                           YES

                           Weight(IP):                                                     1



                           Adjust Cross-Collateral LTV (TRADE)
                               POST /sapi/v1/futures/loan/adjustCollateral                                                                                                                                                                                                                                                                        (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Parameters:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "collateralCoin" : "BUSD" ,
                                Name                                                                                      Type                                                                                       Mandatory                                                                                                    Description
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "direction" : "ADDITIONAL" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "amount" : "5.00000000" ,
                                collateralCoin                                                                            STRING                                                                                     YES                                                                                                                                                                                                                                                                                                                                                  "time" : 1583540328433
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }
                                amount                                                                                    DECIMAL                                                                                    YES

                                direction                                                                                 ENUM                                                                                       YES                                                                                                          "ADDITIONAL", "REDUCED"

                                recvWindow                                                                                LONG                                                                                       NO

                                timestamp                                                                                 LONG                                                                                       YES

                           Weight(Uid): 3000

                           RateLimit: 1/1s per account


                           Adjust Cross-Collateral LTV V2 (TRADE)
                               POST /sapi/v2/futures/loan/adjustCollateral                                                                                                                                                                                                                                                                        (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Parameters:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "loanCoin" : "BUSD" ,
                                Name                                                                                      Type                                                                                       Mandatory                                                                                                    Description
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "collateralCoin" : "BTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "direction" : "ADDITIONAL" ,
                                loanCoin                                                                                  STRING                                                                                     YES                                                                                                                                                                                                                                                                                                                                                  "amount" : "5.00000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "time" : 1583540328433
                                collateralCoin                                                                            STRING                                                                                     YES                                                                                                                                                                                                                                                                                                                                 }


                                amount                                                                                    DECIMAL                                                                                    YES

                                direction                                                                                 ENUM                                                                                       YES                                                                                                          "ADDITIONAL", "REDUCED"

                                recvWindow                                                                                LONG                                                                                       NO

                                timestamp                                                                                 LONG                                                                                       YES

                           RateLimit: 1/1s per account


                           Adjust Cross-Collateral LTV History (USER_DATA)
                               GET /sapi/v1/futures/loan/adjustCollateral/history (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Parameters:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "rows" :[
                                Name                                                                                      Type                                                                           Mandatory                                                                                                    Description
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "amount" : ".17398184" ,
                                loanCoin                                                                                  STRING                                                                         NO                                                                                                                                                                                                                                                                                                                                                                                         "collateralCoin" : "BUSD" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "coin" : "USDT" ,
                                collateralCoin                                                                            STRING                                                                         NO                                                                                                                                                                                                                                                                                                                                                                                         "preCollateralRate" : "0.87054861" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "afterCollateralRate" : "0.89736451" ,
                                startTime                                                                                 LONG                                                                           NO                                                                                                                                                                                                                                                                                                                                                                                         "direction" : "REDUCED" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "status" : "COMPLETED" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "adjustTime" : 1583978243588
                                endTime                                                                                   LONG                                                                           NO                                                                                                                                                                                                                                                                                                                                                                   }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ],
                                limit                                                                                     LONG                                                                           NO                                                                                                           default 500, max 1000                                                                                                                                                                                                                               "total" : 1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }
                                recvWindow                                                                                LONG                                                                           NO

                                timestamp                                                                                 LONG                                                                           YES

                                    All          data                      will                     be returned                                                                      if          loanCoin or collateralCoin                                                                                                                                                                          is                  not sent

                           Weight(IP): 10


                           Cross-Collateral Liquidation History (USER_DATA)
                               GET /sapi/v1/futures/loan/liquidationHistory                                                                                                                                                                                                                                                                           (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Parameters:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "rows" :[
                                Name                                                                                      Type                                                                           Mandatory                                                                                                    Description
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "collateralAmountForLiquidation" : "10.12345678" ,
                                loanCoin                                                                                  STRING                                                                         NO                                                                                                                                                                                                                                                                                                                                                                                         "collateralCoin" : "BUSD" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "forceLiquidationStartTime" : 1583978243588 ,
                                collateralCoin                                                                            STRING                                                                         NO                                                                                                                                                                                                                                                                                                                                                                                         "coin" : "USDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "restCollateralAmountAfterLiquidation" : "15.12345678" ,
                                startTime                                                                                 LONG                                                                           NO                                                                                                                                                                                                                                                                                                                                                                                         "restLoanAmount" : "11.12345678" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "status" : "PENDING"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          }
                                endTime                                                                                   LONG                                                                           NO                                                                                                                                                                                                                                                                                                                                                               ],
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "total" : 1
                                limit                                                                                     LONG                                                                           NO                                                                                                           default 500, max 1000                                                                                                                                                                                                              }


                                recvWindow                                                                                LONG                                                                           NO

                                timestamp                                                                                 LONG                                                                           YES

                                    All          data                      will                     be returned                                                                      if          loanCoin or collateralCoin                                                                                                                                                                          is                  not sent

                           Weight(IP): 10


                           Check Collateral Repay Limit (USER_DATA)
                           Check the maximum and minimum                                                                                                                                                                                             limit                                   when repay with collateral.

                               GET /sapi/v1/futures/loan/collateralRepayLimit                                                                                                                                                                                                                                                                                      (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Parameters:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "coin" : "USDT" ,
                                Name                                                                                      Type                                                                           Mandatory                                                                                                    Description
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "collateralCoin" : "BTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "max" : "15000" ,
                                coin                                                                                      STRING                                                                         YES                                                                                                                                                                                                                                                                                                                                                              "min" : "15"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }
                                collateralCoin                                                                            STRING                                                                         YES

                                recvWindow                                                                                LONG                                                                           NO

                                timestamp                                                                                 LONG                                                                           YES

                           Weight(IP):                                                     1



                           Get Collateral Repay Quote (USER_DATA)
                           Get quote before repay with collateral                                                                                                                                                                                                            is                  mandatory, the quote                                                                                                                                                         will                         be valid
                           within 25 seconds.

                               GET /sapi/v1/futures/loan/collateralRepay                                                                                                                                                                                                                                                      (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Parameters:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "coin" : "USDT" ,
                                Name                                                                                      Type                                                                                       Mandatory                                                                                                    Description
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "collateralCoin" : "BTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "amount" : "0.00222" ,
                                coin                                                                                      STRING                                                                                     YES                                                                                                                                                                                                                                                                                                                                                  "quoteId" : "8a03da95f0ad4fdc8067e3b6cde72423"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }
                                collateralCoin                                                                            STRING                                                                                     YES

                                amount                                                                                    DECIMAL                                                                                    YES                                                                                                          repay amount

                                recvWindow                                                                                LONG                                                                                       NO

                                timestamp                                                                                 LONG                                                                                       YES

                           Weight(IP):                                                     1



                           Repay with Collateral (USER_DATA)
                           Repay with collateral. Get quote before repay with collateral                                                                                                                                                                                                                                                                                                                                                             is               mandatory,
                           the quote will be valid within 25 seconds.

                               POST /sapi/v1/futures/loan/collateralRepay                                                                                                                                                                                                                                                             (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Parameters:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "coin" : "USDT" ,
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "collateralCoin" : "BTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "amount" : "30" ,
                                quoteId                                                                              STRING                                                                  YES                                                                                                                                                                                                                                                                                                                                                                          "quoteId" : "3eece81ca2734042b2f538ea0d9cbdd3"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }
                                recvWindow                                                                           LONG                                                                    NO

                                timestamp                                                                            LONG                                                                    YES

                           Weight(IP):                                                     1



                           Collateral Repayment Result (USER_DATA)
                           Check collateral repayment result.

                               GET /sapi/v1/futures/loan/collateralRepayResult                                                                                                                                                                                                                                                                                          (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Parameters:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "quoteId" : "3eece81ca2734042b2f538ea0d9cbdd3" ,
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "status" : "SUCCESS"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }
                                quoteId                                                                              STRING                                                                  YES

                                recvWindow                                                                           LONG                                                                    NO

                                timestamp                                                                            LONG                                                                    YES

                           Weight(IP):                                                     1



                           Cross-Collateral Interest History (USER_DATA)
                               GET /sapi/v1/futures/loan/interestHistory                                                                                                                                                                                                                                                      (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Parameters:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "rows" :[
                                Name                                                                                      Type                                                                           Mandatory                                                                                                    Description
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "collateralCoin" : "BUSD" ,
                                collateralCoin                                                                            STRING                                                                         NO                                                                                                                                                                                                                                                                                                                                                                                         "interestCoin" : "USDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "interest" : "2.354" ,
                                startTime                                                                                 LONG                                                                           NO                                                                                                                                                                                                                                                                                                                                                                                         "interestFreeLimitUsed" : "0" , // New for interest free limit
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "principalForInterest" : "10000" ,
                                endTime                                                                                   LONG                                                                           NO                                                                                                                                                                                                                                                                                                                                                                                         "interestRate" : "0.002" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "time" : 1582794387516
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              }
                                current                                                                                   LONG                                                                           NO                                                                                                           Currently querying page.                                                                                                                                                                                                                            ],
                                                                                                                                                                                                                                                                                                                      Start from 1. Default:1                                                                                                                                                                                                                             "total" : 1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }
                                limit                                                                                     LONG                                                                           NO                                                                                                           Default:500 Max:1000

                                recvWindow                                                                                LONG                                                                           NO

                                timestamp                                                                                 LONG                                                                           YES

                           Weight(IP):                                                     1




                           BLVT Endpoints

                           Get BLVT Info (MARKET_DATA)
                               GET /sapi/v1/blvt/tokenInfo
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         [
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "tokenName" : "BTCDOWN" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "description" : "3X Short Bitcoin Token" ,
                                Name                                                                             Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                                                                                                  "underlying" : "BTC" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "tokenIssued" : "717953.95" ,
                                tokenName                                                                        STRING                                                                  NO                                                                                                                  BTCDOWN, BTCUP                                                                                                                                                                                                                                               "basket" : "-821.474 BTCUSDT Futures" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "currentBaskets" :[
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "symbol" : "BTCUSDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "amount" : "-1183.984" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "notionalValue" : "-22871089.96704"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           ],
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "nav" : "4.79" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "realLeverage" : "-2.316" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "fundingRate" : "0.001020" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "dailyManagementFee" : "0.0001" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "purchaseFeePct" : "0.0010" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "dailyPurchaseLimit" : "100000.00" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "redeemFeePct" : "0.0010" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "dailyRedeemLimit" : "1000000.00" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "timstamp" : 1583127900000
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "tokenName" : "LINKUP" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "description" : "3X LONG ChainLink Token" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "underlying" : "LINK" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "tokenIssued" : "163846.99" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "basket" : "417288.870 LINKUSDT Futures" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "currentBaskets" :[
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "symbol" : "LINKUSDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "amount" : "1640883.83" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "notionalValue" : "22596611.22293"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           ],
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "nav" : "9.60" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "realLeverage" : "2.597" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "fundingRate" : "-0.000917" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "dailyManagementFee" : "0.0001" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "purchaseFeePct" : "0.0010" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "dailyPurchaseLimit" : "100000.00" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "redeemFeePct" : "0.0010" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "dailyRedeemLimit" : "1000000.00" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "timstamp" : 1583127900000
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              ]




                           Historical BLVT NAV Kline/Candlestick
                           The BLVT NAV system                                                                                                      is       based on Binance Futures, so the endpoint                                                                                                                                                                                                                                                                                                         is           based
                           on fapi

                           Please go to here to check the endpoint and operate                                                                                                                                                                                                                                                                                                          in               accordance with the
                           fapi usage specifications.


                           Subscribe BLVT (USER_DATA)
                               POST /sapi/v1/blvt/subscribe                                                                                                                                                              (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              {
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "id" : 123 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "status" : "S" , // S, P, and F for "success", "pending", and "failure"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "tokenName" : "LINKUP" ,
                                Name                                                                                 Type                                                                                Mandatory                                                                                                        Description                                                                                                                                                                                                                                     "amount" : "0.95590905" , // subscribed token amount
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "cost" : "9.99999995" , // subscription cost in usdt
                                tokenName                                                                            STRING                                                                              YES                                                                                                              BTCDOWN, BTCUP                                                                                                                                                                                                                                  "timstamp" : 1600249972899
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              }
                                cost                                                                                 DECIMAL                                                                             YES                                                                                                              spot balance

                                recvWindow                                                                           LONG                                                                                NO

                                timestamp                                                                            LONG                                                                                YES


                           Query Subscription Record (USER_DATA)
                               GET /sapi/v1/blvt/subscribe/record                                                                                                                                                                                                    (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         [
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "id" : 1 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "tokenName" : "LINKUP" ,
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                                                                                              "amount" : "0.54216292" , // Subscription amount
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "nav" : "18.42621386" , // NAV price of subscription
                                tokenName                                                                            STRING                                                                  NO                                                                                                                  BTCDOWN, BTCUP                                                                                                                                                                                                                                           "fee" : "0.00999000" , // Subscription fee in usdt
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "totalCharge" : "9.99999991" , // Subscription cost in usdt
                                id                                                                                   LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                           "timstamp" : 1599127217916
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ]
                                startTime                                                                            LONG                                                                    NO

                                endTime                                                                              LONG                                                                    NO

                                limit                                                                                INT                                                                     NO                                                                                                                  default 1000, max 1000

                                recvWindow                                                                           LONG                                                                    NO

                                timestamp                                                                            LONG                                                                    YES

                                    Only the data                                                                of        the latest 90 days                                                                                                                    is                  available


                           Redeem BLVT (USER_DATA)
                               POST /sapi/v1/blvt/redeem                                                                                                                                     (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              {
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "id" : 123 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "status" : "S" , // S, P, and F for "success", "pending", and "failure"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "tokenName" : "LINKUP" ,
                                Name                                                                                 Type                                                                                Mandatory                                                                                                        Description                                                                                                                                                                                                                                     "redeemAmount" : "0.95590905" ,        // Redemption token amount
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "amount" : "10.05022099" ,    // Redemption value in usdt
                                tokenName                                                                            STRING                                                                              YES                                                                                                              BTCDOWN, BTCUP                                                                                                                                                                                                                                  "timstamp" : 1600250279614
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              }
                                amount                                                                               DECIMAL                                                                             YES

                                recvWindow                                                                           LONG                                                                                NO

                                timestamp                                                                            LONG                                                                                YES


                           Query Redemption Record (USER_DATA)
                               GET /sapi/v1/blvt/redeem/record                                                                                                                                                                               (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         [
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "id" : 1 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "tokenName" : "LINKUP" ,
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                                                                                              "amount" : "0.54216292" , // Redemption amount
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "nav" : "18.36345064" , // NAV of redemption
                                tokenName                                                                            STRING                                                                  NO                                                                                                                  BTCDOWN, BTCUP                                                                                                                                                                                                                                           "fee" : "0.00995598" , // Reemption fee
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "netProceed" : "9.94602604" , // Net redemption value in usdt
                                id                                                                                   LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                           "timstamp" : 1599128003050
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ]
                                startTime                                                                            LONG                                                                    NO

                                endTime                                                                              LONG                                                                    NO

                                limit                                                                                INT                                                                     NO                                                                                                                  default 1000, max 1000

                                recvWindow                                                                           LONG                                                                    NO

                                timestamp                                                                            LONG                                                                    YES

                                    Only the data                                                                of        the latest 90 days                                                                                                                    is                  available


                           Get BLVT User Limit Info (USER_DATA)
                               GET /sapi/v1/blvt/userLimit (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         [
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "tokenName" : "LINKUP" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "userDailyTotalPurchaseLimit" : "1000" , // USDT
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                                                                                              "userDailyTotalRedeemLimit" : "1000"     // USDT
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  },
                                tokenName                                                                            STRING                                                                  NO                                                                                                                  BTCDOWN, BTCUP                                                                                                                                                                                                                                   {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "tokenName" : "LINKDOWN" ,
                                recvWindow                                                                           LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                           "userDailyTotalPurchaseLimit" : "1000" , // USDT
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "userDailyTotalRedeemLimit" : "50000"    // USDT
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  }
                                timestamp                                                                            LONG                                                                    YES                                                                                                                                                                                                                                                                                                                                                         ]




                           Websocket BLVT Info Streams
                           The BLVT NAV system is based on Binance Futures, so the endpoint                                                                                                                                                                                                                                                                                                                                                                                                                    is           based
                           on futures websocket service.

                           Please go to here to check the stream event and operate                                                                                                                                                                                                                                                                                                                                       in                      accordance with
                           the fstream or fstream3 usage specifications.


                           BLVT NAV Kline/Candlestick Streams
                           The BLVT NAV system is based on Binance Futures, so the endpoint                                                                                                                                                                                                                                                                                                                                                                                                                    is           based
                           on futures websocket service.

                           Please go to here to check the stream event and operate                                                                                                                                                                                                                                                                                                                                       in                      accordance with
                           the fstream or fstream3 usage specifications.



                           BSwap Endpoints
                                    The endpoints below allow you to interact with BSwap.
                                    For more information on this, please refer to the BSwap page


                           List All                                        Swap Pools (MARKET_DATA)
                               GET /sapi/v1/bswap/pools
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Get metadata about                                                                                          all                  swap pools.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         [
                           Weight(IP):                                                     1                                                                                                                                                                                                                                                                                                                                                                                                                                                                              {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "poolId" :            2,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "poolName"            : "BUSD/USDT" ,
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "assets" :            [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "BUSD"           ,
                           None                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "USDT"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "poolId" :            3,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "poolName"            : "BUSD/DAI" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "assets" :            [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "BUSD"           ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "DAI"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "poolId" :            4,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "poolName"            : "USDT/DAI" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "assets" :            [
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "USDT"           ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "DAI"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ]




                           Get liquidity information of                                                                                                                                                                                                                                          a               pool (USER_DATA)
                               GET /sapi/v1/bswap/liquidity (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Get liquidity information and user share                                                                                                                                                                                                                          of a                         pool.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         [
                           Weight(IP):                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "poolId" : 2 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "poolNmae" : "BUSD/USDT" ,
                           1 for                 one pool                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 "updateTime" : 1565769342148 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "liquidity" : {
                           10 when the poolId parameter                                                                                                                                                              is              omitted                                                                                                                                                                                                                                                                                                                                                   "BUSD" : 100000315.79 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "USDT" : 99999245.54
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          },
                           Parameter:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "share" : {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "shareAmount" : 12415 ,
                                Name                                                                                 Type                                                        Mandatory                                                                                                           Description                                                                                                                                                                                                                                                                               "sharePercentage" : 0.00006207 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "asset" : {
                                poolId                                                                               LONG                                                        NO                                                                                                                                                                                                                                                                                                                                                                                                                 "BUSD" : 6207.02 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "USDT" : 6206.95
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               }
                                recvWindow                                                                           LONG                                                        NO                                                                                                                                                                                                                                                                                                                                                                                                       }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          }
                                timestamp                                                                            LONG                                                        YES                                                                                                                                                                                                                                                                                                                                                                     ]




                           Add Liquidity (TRADE)
                               POST /sapi/v1/bswap/liquidityAdd                                                                                                                                                                                      (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Add liquidity                                                       to a                      pool.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Weight(Uid): 1000 (Additional:                                                                                                                                                                    3           times one second)                                                                                                                                                                                                                                                                                                                "operationId" : 12341
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }

                           Parameter:

                                Name                                                                                 Type                                                                                Mandatory                                                                                                        Description
                                poolId                                                                               LONG                                                                                YES

                                type                                                                                 STRING                                                                              NO                                                                                                               "Single" to add a single
                                                                                                                                                                                                                                                                                                                          token; "Combination" to add
                                                                                                                                                                                                                                                                                                                          dual tokens. Default "Single"

                                asset                                                                                STRING                                                                              YES

                                quantity                                                                             DECIMAL                                                                             YES

                                recvWindow                                                                           LONG                                                                                NO

                                timestamp                                                                            LONG                                                                                YES


                           Remove Liquidity (TRADE)
                               POST /sapi/v1/bswap/liquidityRemove                                                                                                                                                                                                               (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Remove liquidity from a pool, type include                                                                                                                                                                                                                                                 SINGLE                                            and                                      COMBINATION                                                                                           ,    asset
                           is mandatory for single asset removal                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "operationId" : 12341
                           Weight(Uid): 1000 (Additional:                                                                                                                                                                    3           times one second)                                                                                                                                                                                                                                                                                               }


                           Parameters:

                                Name                                                                                      Type                                                                                   Mandatory                                                                                                        Description
                                poolId                                                                                    LONG                                                                                   YES

                                type                                                                                      STRING                                                                                 YES                                                                                                                  SINGLE for                                                                         single asset
                                                                                                                                                                                                                                                                                                                                  removal, COMBINATION for
                                                                                                                                                                                                                                                                                                                                  combination of all coins
                                                                                                                                                                                                                                                                                                                                  removal

                                asset                                                                                     LIST                                                                                   NO                                                                                                               Mandatory                                                                                  for                          single asset
                                                                                                                                                                                                                                                                                                                                  removal

                                shareAmount                                                                               DECIMAL                                                                                YES

                                recvWindow                                                                                LONG                                                                                   NO

                                timestamp                                                                                 LONG                                                                                   YES


                           Get Liquidity Operation Record (USER_DATA)
                               GET /sapi/v1/bswap/liquidityOps                                                                                                                                                                               (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Get liquidity operation (add/remove) records.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         [
                           Weight(Uid): 3000                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "operationId" : 12341 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "poolId" : 2 ,
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "poolName" : "BUSD/USDT" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "operation" : "ADD" , // "ADD" or "REMOVE"
                                Name                                                                                 Type                                                            Mandatory                                                                                                        Description                                                                                                                                                                                                                                                                         "status" : 1 , // 0: pending, 1: success, 2: failed
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "updateTime" : 1565769342148 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "shareAmount" : "10.1"
                                operationId                                                                          LONG                                                            NO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ]
                                poolId                                                                               LONG                                                            NO

                                operation                                                                            ENUM                                                            NO                                                                                                                      ADD                          or                   REMOVE


                                startTime                                                                            LONG                                                            NO

                                endTime                                                                              LONG                                                            NO

                                limit                                                                                LONG                                                            NO                                                                                                               default                                                  3,       max 100

                                recvWindow                                                                           LONG                                                            NO

                                timestamp                                                                            LONG                                                            YES


                           Request Quote (USER_DATA)
                               GET /sapi/v1/bswap/quote (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Request a quote for swap quote asset (selling asset)                                                                                                                                                                                                                                                                                             for                          base asset (buying
                           asset), essentially price/exchange rates.                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "quoteAsset" : "USDT" ,
                               quoteQty is                                             quantity                                         of                  quote asset                                                                              (to sell).                                                                                                                                                                                                                                                                                                           "baseAsset" : "BUSD" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "quoteQty" : 300000 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "baseQty" : 299975 ,
                           Please be noted the quote is for reference only, the actual price will change                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "price" : 1.00008334 ,
                           as the liquidity changes, it's recommended to swap immediate after request                                                                                                                                                                                                                                                                                                                                                                                                                                                                     "slippage" : 0.00007245 ,
                           a quote for slippage prevention.                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "fee" : 120
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }

                           Weight(Uid): 150

                           Parameters:

                                Name                                                                                 Type                                                                                Mandatory                                                                                                        Description
                                quoteAsset                                                                           STRING                                                                              YES

                                baseAsset                                                                            STRING                                                                              YES

                                quoteQty                                                                             DECIMAL                                                                             YES

                                recvWindow                                                                           LONG                                                                                NO

                                timestamp                                                                            LONG                                                                                YES


                           Swap (TRADE)
                               POST /sapi/v1/bswap/swap (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Swap                   quoteAsset for baseAsset                                                                                                                                                   .


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Weight(Uid): 1000 (Additional:                                                                                                                                                                    3           times one second)                                                                                                                                                                                                                                                                                                                "swapId" : 2314
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }

                           Parameters:

                                Name                                                                                 Type                                                                                Mandatory                                                                                                        Description
                                quoteAsset                                                                           STRING                                                                              YES

                                baseAsset                                                                            STRING                                                                              YES

                                quoteQty                                                                             DECIMAL                                                                             YES

                                recvWindow                                                                           LONG                                                                                NO

                                timestamp                                                                            LONG                                                                                YES


                           Get Swap History (USER_DATA)
                               GET /sapi/v1/bswap/swap (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Get swap history.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         [
                           Weight(Uid): 3000                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "swapId" : 2314 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "swapTime" : 1565770342148 ,
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "status" : 0 , // 0: pending, 1: success, 2: failed
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "quoteAsset" : "USDT" ,
                                Name                                                                                 Type                                                                    Mandatory                                                                                                           Description                                                                                                                                                                                                                                                              "baseAsset" : "BUSD" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "quoteQty" : 300000 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "baseQty" : 299975 ,
                                swapId                                                                               LONG                                                                    NO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "price" : 1.00008334 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "fee" : 120
                                startTime                                                                            LONG                                                                    NO                                                                                                                                                                                                                                                                                                                                                                           }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ]
                                endTime                                                                              LONG                                                                    NO

                                status                                                                               INT                                                                     NO                                                                                                                  0: pending for swap,                                                                                                                                                     1:
                                                                                                                                                                                                                                                                                                                 success, 2: failed

                                quoteAsset                                                                           STRING                                                                  NO

                                baseAsset                                                                            STRING                                                                  NO

                                limit                                                                                LONG                                                                    NO                                                                                                                  default                                           3,               max 100

                                recvWindow                                                                           LONG                                                                    NO

                                timestamp                                                                            LONG                                                                    YES


                           Get Pool Configure (USER_DATA)
                               GET /sapi/v1/bswap/poolConfigure                                                                                                                                                                                      (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP): 150
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         [
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "poolId" : 2 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "poolNmae" : "BUSD/USDT" ,
                                Name                                                                                 Type                                                        Mandatory                                                                                                           Description                                                                                                                                                                                                                                                                          "updateTime" : 1565769342148 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "liquidity" : {
                                poolId                                                                               LONG                                                        NO                                                                                                                                                                                                                                                                                                                                                                                                            "constantA" : 2000 , //"NA" if pool is an innovation pool
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "minRedeemShare" : 0.1 ,
                                recvWindow                                                                           LONG                                                        NO                                                                                                                                                                                                                                                                                                                                                                                                            "slippageTolerance" : 0.2 //The swap proceeds only when the slippage
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          },
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "assetConfigure" :{
                                timestamp                                                                            LONG                                                        YES                                                                                                                                                                                                                                                                                                                                                                                                      "BUSD" : {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "minAdd" : 10 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "maxAdd" : 20 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "minSwap" : 10 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "maxSwap" : 30
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "USDT" : {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "minAdd" : 10 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "maxAdd" : 20 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "minSwap" : 10 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "maxSwap" : 30
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ]




                           Add Liquidity Preview (USER_DATA)
                               GET /sapi/v1/bswap/addLiquidityPreview                                                                                                                                                                                                                                    (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Calculate expected share amount                                                                                                                                                                               for                     adding liquidity                                                                                                       in                   single or dual
                           token.                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "quoteAsset" : "USDT" ,
                           Weight(IP): 150                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "baseAsset" : "BUSD" , //Display                           for type is "COMBINATION"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "quoteAmt" : 300000 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "baseAmt" : 299975 , // Display                           for type is "COMBINATION"
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "price" : 1.00008334 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "share" : 1.23 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "slippage" : 0.00007245 , //Not                           display if type is "COMBINATION"
                                Name                                                                                 Type                                                                                Mandatory                                                                                                        Description                                                                                                                                                                                                                                                     "fee" : 120 , // Not display if                           type is "COMBINATION"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }
                                poolId                                                                               LONG                                                                                YES

                                type                                                                                 STRING                                                                              YES                                                                                                              "SINGLE" for adding a single
                                                                                                                                                                                                                                                                                                                          token;"COMBINATION" for
                                                                                                                                                                                                                                                                                                                          adding dual tokens

                                quoteAsset                                                                           STRING                                                                              YES

                                quoteQty                                                                             DECIMAL                                                                             YES

                                recvWindow                                                                           LONG                                                                                NO

                                timestamp                                                                            LONG                                                                                YES


                           Remove Liquidity Preview (USER_DATA)
                               GET /sapi/v1/bswap/removeLiquidityPreview                                                                                                                                                                                                                                                      (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Calculate the expected asset amount                                                                                                                                                                                                   of                      single token redemption or dual
                           token redemption.                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "quoteAsset" : "USDT" ,
                           Weight(IP): 150                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "baseAsset" : "BUSD" , //Display for type is "COMBINATION"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "quoteAmt" : 300000 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "baseAmt" : 299975 , //Display for type is "COMBINATION"
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    "price" : 1.00008334 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "slippage" : 0.00007245 , //Display for type is "SINGLE"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "fee" : 120 //Display for type is "SINGLE"
                                Name                                                                                      Type                                                                                   Mandatory                                                                                                        Description                                                                                                                                                                                                            }

                                poolId                                                                                    LONG                                                                                   YES

                                type                                                                                      STRING                                                                                 YES                                                                                                              Type is "SINGLE", remove
                                                                                                                                                                                                                                                                                                                                  and obtain a single
                                                                                                                                                                                                                                                                                                                                  token;Type is
                                                                                                                                                                                                                                                                                                                                  "COMBINATION", remove
                                                                                                                                                                                                                                                                                                                                  and obtain dual token.

                                quoteAsset                                                                                STRING                                                                                 YES

                                shareAmount                                                                               DECIMAL                                                                                YES

                                recvWindow                                                                                LONG                                                                                   NO

                                timestamp                                                                                 LONG                                                                                   YES




                           Fiat Endpoints

                           Get Fiat Deposit/Withdraw History (USER_DATA)
                               GET /sapi/v1/fiat/orders (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "code" : "000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "message" : "success" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "data" : [
                                Name                                                                                                   Type                                                                              Mandatory                                                                                                        Description                                                                                                                                                                                                                 {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "orderNo" : "7d76d611-0568-4f43-afb6-24cac7767365" ,
                                transactionType                                                                                        STRING                                                                            YES                                                                                                              0-deposit,1-withdraw                                                                                                                                                                                                            "fiatCurrency" : "BRL" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "indicatedAmount" : "10.00" ,
                                beginTime                                                                                              LONG                                                                              NO                                                                                                                                                                                                                                                                                                                                               "amount" : "10.00" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "totalFee" : "0.00" ,    // Trade fee
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "method" : "BankAccount" , // Trade method
                                endTime                                                                                                LONG                                                                              NO                                                                                                                                                                                                                                                                                                                                               "status" : "Expired" , // Processing, Failed, Successful, Finished,                                                       Refunding,


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "createTime" : 1626144956000 ,
                                page                                                                                                   INT                                                                               NO                                                                                                               default                                           1                                                                                                                                                                             "updateTime" : 1626400907000
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      ],
                                rows                                                                                                   INT                                                                               NO                                                                                                               default 100, max 500                                                                                                                                                                                                        "total" : 1 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "success" : true
                                recvWindow                                                                                             LONG                                                                              NO                                                                                                                                                                                                                                                                                                                              }


                                timestamp                                                                                              LONG                                                                              YES

                                    IfbeginTime and endTime are not sent, the recent 30-day data                                                                                                                                                                                                                                                                                                                                                                                                  will                      be
                                    returned.


                           Get Fiat Payments History (USER_DATA)
                               GET /sapi/v1/fiat/payments (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "code" : "000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "message" : "success" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "data" : [
                                Name                                                                                                   Type                                                                              Mandatory                                                                                                        Description                                                                                                                                                                                                                 {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "orderNo" : "353fca443f06466db0c4dc89f94f027a" ,
                                transactionType                                                                                        STRING                                                                            YES                                                                                                              0-buy,1-sell                                                                                                                                                                                                                    "sourceAmount" : "20.0" , // Fiat trade amount
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "fiatCurrency" : "EUR" ,   // Fiat token
                                beginTime                                                                                              LONG                                                                              NO                                                                                                                                                                                                                                                                                                                                               "obtainAmount" : "4.462" , // Crypto trade amount
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "cryptoCurrency" : "LUNA" , // Crypto token
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "totalFee" : "0.2" ,     // Trade fee
                                endTime                                                                                                LONG                                                                              NO                                                                                                                                                                                                                                                                                                                                               "price" : "4.437472" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "status" : "Failed" , // Processing, Completed, Failed, Refunded
                                page                                                                                                   INT                                                                               NO                                                                                                               default                                           1                                                                                                                                                                             "createTime" : 1624529919000 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          "updateTime" : 1624529919000
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      }
                                rows                                                                                                   INT                                                                               NO                                                                                                               default 100, max 500                                                                                                                                                                                                        ],
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "total" : 1 ,
                                recvWindow                                                                                             LONG                                                                              NO                                                                                                                                                                                                                                                                                                                                           "success" : true
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }
                                timestamp                                                                                              LONG                                                                              YES

                                    IfbeginTime and endTime are not sent, the recent 30-day data                                                                                                                                                                                                                                                                                                                                                                                                  will                      be
                                    returned.



                           C2C Endpoints

                           Get C2C Trade History (USER_DATA)
                               GET /sapi/v1/c2c/orderMatch/listUserOrderHistory (HMAC SHA256)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Response:
                           Weight(IP):                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                           Parameters:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "code" : "000000" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "message" : "success" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "data" : [
                                Name                                                                                                   Type                                                                          Mandatory                                                                                                        Description                                                                                                                                                                                                                     {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "orderNumber" : "20219644646554779648" ,
                                tradeType                                                                                              STRING                                                                        YES                                                                                                              BUY, SELL                                                                                                                                                                                                                            "advNo" : "11218246497340923904" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "tradeType" : "SELL" ,
                                startTimestamp                                                                                         LONG                                                                          NO                                                                                                                                                                                                                                                                                                                                                    "asset" : "BUSD" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "fiat" : "CNY" ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "fiatSymbol" : "￥" ,
                                endTimestamp                                                                                           LONG                                                                          NO                                                                                                                                                                                                                                                                                                                                                    "amount" : "5000.00000000" , // Quantity (in Crypto)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "totalPrice" : "33400.00000000" ,
                                page                                                                                                   INT                                                                           NO                                                                                                               default                                               1                                                                                                                                                                              "unitPrice" : "6.68" , // Unit Price (in Fiat)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "orderStatus" : "COMPLETED" , // PENDING, TRADING, BUYER_PAYED,                                                  DISTRIBUTING,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "createTime" : 1619361369000 ,
                                rows                                                                                                   INT                                                                           NO                                                                                                               default 100, max 100                                                                                                                                                                                                                 "commission" : "0" ,   // Transaction Fee (in Crypto)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "counterPartNickName" : "ab***" ,
                                recvWindow                                                                                             LONG                                                                          NO                                                                                                                                                                                                                                                                                                                                                    "advertisementRole" : "TAKER"
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }
                                timestamp                                                                                              LONG                                                                          YES                                                                                                                                                                                                                                                                                                                                              ],
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "total" : 1 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      "success" : true
                                    IfstartTimestamp and endTimestamp are not sent, the recent 30-day                                                                                                                                                                                                                                                                                                                                                                                                                                                    }

                                    data will be returned.
                                    The max interval between startTimestamp and endTimestamp is 30 days.




                           Error Codes
                           Errors consist of two parts: an error code and                                                                                                                                                                                                                                                     a               message. Codes are
                           universal, but messages can vary.                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             The error JSON payload:

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "code" : - 1121 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  "msg" : "Invalid symbol."
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         }




                           10xx                         -              General Server or Network issues
                           -1000 UNKNOWN

                                    An unknown error occurred while processing the request.
                                    An unknown error occurred while processing the request.[%s]

                           -1001 DISCONNECTED

                                    Internal error; unable                                                                                                  to                       process your request. Please                                                                                                                                                                                        try                                 again.

                           -1002 UNAUTHORIZED

                                    You are not authorized                                                                                                               to                      execute this request.

                           -1003 TOO_MANY_REQUESTS

                                    Too many requests queued.
                                    Too much request weight used; please use the websocket for live updates
                                    to avoid polling the API.
                                    Too much request weight used; current limit is %s request weight per %s
                                    %s. Please use the websocket for live updates to avoid polling the API.
                                    Way too much request weight used; IP banned until %s. Please use the
                                    websocket for live updates to avoid bans.

                           -1004 SERVER_BUSY

                                    Server                         is              busy, please wait and                                                                                                                             try                 again

                           -1006 UNEXPECTED_RESP

                                    An unexpected response was received from the message bus. Execution
                                    status unknown.

                           -1007 TIMEOUT

                                    Timeout waiting for response from backend server. Send status unknown;
                                    execution status unknown.

                           -1014 UNKNOWN_ORDER_COMPOSITION

                                    Unsupported order combination.

                           -1015 TOO_MANY_ORDERS

                                    Too many new orders.
                                    Too many new orders; current                                                                                                                                                                 limit                               is                  %s orders per %s.

                           -1016 SERVICE_SHUTTING_DOWN

                                    This service                                                    is           no longer available.

                           -1020 UNSUPPORTED_OPERATION

                                    This operation                                                                   is        not supported.

                           -1021 INVALID_TIMESTAMP

                                    Timestamp                                                   for this                                    request is outside of the recvWindow.
                                    Timestamp                                                   for this                                    request was 1000ms ahead of the server's time.

                           -1022 INVALID_SIGNATURE

                                    Signature                                              for this                                request                                                       is          not                         valid.


                           -1099 Not found, authenticated, or authorized

                                    This replaces error code -1999


                           11xx                         -              2xxx Request issues
                           -1100 ILLEGAL_CHARS

                                    Illegal                    characters found                                                                                                  in a              parameter.
                                    Illegal                    characters found                                                                                                  in              a parameter. %s
                                    Illegal                    characters found                                                                                                  in              parameter %s legal range                                                                                    ;                                                                                           is                          %s                   .




                           -1101 TOO_MANY_PARAMETERS

                                    Too many parameters sent for this endpoint.
                                    Too many parameters; expected %s and received                                                                                                                                                                                                                                                                                           %s                      .


                                    Duplicate values for a parameter detected.

                           -1102 MANDATORY_PARAM_EMPTY_OR_MALFORMED

                                    A mandatory parameter was not sent, was empty/null, or malformed.
                                    Mandatory parameter %s was not sent, was empty/null, or malformed.
                                    Param %s or %s must be sent, but both were empty/null!

                           -1103 UNKNOWN_PARAM

                                    An unknown parameter was sent.

                           -1104 UNREAD_PARAMETERS

                                    Not            all                 sent parameters were read.
                                    Not            all                 sent parameters were read; read                                                                                                                                                                                                       %s                       parameter(s) but was sent                                                                                                                                                                              %
                                    s    .




                           -1105 PARAM_EMPTY

                                    A parameter was empty.
                                    Parameter %s was empty.

                           -1106 PARAM_NOT_REQUIRED

                                    A parameter was sent when not required.
                                    Parameter %s sent when not required.

                           -1111 BAD_PRECISION

                                    Precision                                          is       over the maximum defined                                                                                                                                                                             for this                                              asset.

                           -1112 NO_DEPTH

                                    No orders on book                                                                                           for                  symbol.

                           -1114 TIF_NOT_REQUIRED

                                    TimeInForce parameter sent when not required.

                           -1115 INVALID_TIF

                                    Invalid timeInForce.

                           -1116 INVALID_ORDER_TYPE

                                    Invalid orderType.

                           -1117 INVALID_SIDE

                                    Invalid side.

                           -1118 EMPTY_NEW_CL_ORD_ID

                                    New client order ID was empty.

                           -1119 EMPTY_ORG_CL_ORD_ID

                                    Original client order ID was empty.

                           -1120 BAD_INTERVAL

                                    Invalid interval.

                           -1121 BAD_SYMBOL

                                    Invalid symbol.

                           -1125 INVALID_LISTEN_KEY

                                    This listenKey does not                                                                                                                  exist.


                           -1127 MORE_THAN_XX_HOURS

                                    Lookup interval is too big.
                                    More than %s hours between startTime and endTime.

                           -1128 OPTIONAL_PARAMS_BAD_COMBO

                                    Combination                                                          of               optional parameters invalid.

                           -1130 INVALID_PARAMETER

                                    Invalid data sent for a parameter.
                                    Data sent for parameter %s is not                                                                                                                                                                                        valid.


                           -1131 BAD_RECV_WINDOW

                                    recvWindow must be less than 60000

                           -2010 NEW_ORDER_REJECTED

                                    NEW_ORDER_REJECTED

                           -2011 CANCEL_REJECTED

                                    CANCEL_REJECTED

                           -2013 NO_SUCH_ORDER

                                    Order does not                                                                       exist.


                           -2014 BAD_API_KEY_FMT

                                    API-key format invalid.

                           -2015 REJECTED_MBX_KEY

                                    Invalid API-key,                                                                      IP,           or permissions                                                                                                   for                                 action.

                           -2016 NO_TRADING_WINDOW

                                    No trading window could be found                                                                                                                                                                                                     for                         the symbol.                                                                            Try                          ticker/24hrs
                                    instead.


                           3xxx-5xxx SAPI-specific issues
                           -3000 INNER_FAILURE

                                    Internal server error.

                           -3001 NEED_ENABLE_2FA

                                    Please enable 2FA                                                                                   first.


                           -3002 ASSET_DEFICIENCY

                                    We don't have this asset.

                           -3003 NO_OPENED_MARGIN_ACCOUNT

                                    Margin account does not                                                                                                                                  exist.


                           -3004 TRADE_NOT_ALLOWED

                                    Trade not allowed.

                           -3005 TRANSFER_OUT_NOT_ALLOWED

                                    Transferring out not allowed.

                           -3006 EXCEED_MAX_BORROWABLE

                                    Your borrow amount has exceed maximum borrow amount.

                           -3007 HAS_PENDING_TRANSACTION

                                    You have pending transaction, please                                                                                                                                                                                                                     try                 again                                     later.


                           -3008 BORROW_NOT_ALLOWED

                                    Borrow not allowed.

                           -3009 ASSET_NOT_MORTGAGEABLE

                                    This asset are not allowed                                                                                                                                   to                      transfer into margin account currently.

                           -3010 REPAY_NOT_ALLOWED

                                    Repay not allowed.

                           -3011 BAD_DATE_RANGE

                                    Your input date                                                                       is           invalid.

                           -3012 ASSET_ADMIN_BAN_BORROW

                                    Borrow                                 is              banned                                      for this                                              asset.

                           -3013 LT_MIN_BORROWABLE

                                    Borrow amount less than minimum borrow amount.

                           -3014 ACCOUNT_BAN_BORROW

                                    Borrow                                 is              banned                                      for this                                              account.

                           -3015 REPAY_EXCEED_LIABILITY

                                    Repay amount exceeds borrow amount.

                           -3016 LT_MIN_REPAY

                                    Repay amount less than minimum repay amount.

                           -3017 ASSET_ADMIN_BAN_MORTGAGE

                                    This asset are not allowed                                                                                                                                   to                      transfer into margin account currently.

                           -3018 ACCOUNT_BAN_MORTGAGE

                                    Transferring                                                    in               has been banned                                                                                                             for this                                                    account.

                           -3019 ACCOUNT_BAN_ROLLOUT

                                    Transferring out has been banned                                                                                                                                                                                     for this                                                     account.

                           -3020 EXCEED_MAX_ROLLOUT

                                    Transfer out amount exceeds max amount.

                           -3021 PAIR_ADMIN_BAN_TRADE

                                    Margin account are not allowed                                                                                                                                                                               to              trade                                           this                             trading                                               pair.


                           -3022 ACCOUNT_BAN_TRADE

                                    You account's trading                                                                                                    is                  banned.

                           -3023 WARNING_MARGIN_LEVEL

                                    You can't transfer out/place order under current margin                                                                                                                                                                                                                                                                                                                                          level.


                           -3024 FEW_LIABILITY_LEFT

                                    The unpaid debt                                                                            is           too small after this repayment.

                           -3025 INVALID_EFFECTIVE_TIME

                                    Your input date                                                                       is           invalid.

                           -3026 VALIDATION_FAILED

                                    Your input param                                                                                   is           invalid.

                           -3027 NOT_VALID_MARGIN_ASSET

                                    Not            a           valid margin asset.

                           -3028 NOT_VALID_MARGIN_PAIR

                                    Not            a           valid margin                                                                 pair.


                           -3029 TRANSFER_FAILED

                                    Transfer failed.

                           -3036 ACCOUNT_BAN_REPAY

                                    This account                                                         is           not allowed                                                                            to                  repay.

                           -3037 PNL_CLEARING

                                    PNL            is              clearing. Wait                                                                       a        second.

                           -3038 LISTEN_KEY_NOT_FOUND

                                    Listen key not found.

                           -3041 BALANCE_NOT_CLEARED

                                    Balance                                    is          not enough

                           -3042 PRICE_INDEX_NOT_FOUND

                                    PriceIndex not available                                                                                                                     for this                                                margin                                                       pair.


                           -3043 TRANSFER_IN_NOT_ALLOWED

                                    Transferring                                                    in               not allowed.

                           -3044 SYSTEM_BUSY

                                    System busy.

                           -3999 NOT_WHITELIST_USER

                                    This function                                                        is              only available                                                                                      for                     invited users.

                           -4001 CAPITAL_INVALID

                                    Invalid operation.

                           -4002 CAPITAL_IG

                                    Invalid get.

                           -4003 CAPITAL_IEV

                                    Your input email                                                                          is            invalid.

                           -4004 CAPITAL_UA

                                    You don't login or auth.

                           -4005 CAPAITAL_TOO_MANY_REQUEST

                                    Too many new requests.

                           -4006 CAPITAL_ONLY_SUPPORT_PRIMARY_ACCOUNT

                                    Support main account only.

                           -4007 CAPITAL_ADDRESS_VERIFICATION_NOT_PASS

                                    Address validation                                                                                      is              not passed.

                           -4008 CAPITAL_ADDRESS_TAG_VERIFICATION_NOT_PASS

                                    Address tag validation                                                                                                           is                  not passed.

                           -4010 CAPITAL_WHITELIST_EMAIL_CONFIRM

                                    White                      list                        mail has been confirmed.

                           -4011 CAPITAL_WHITELIST_EMAIL_EXPIRED

                                    White                      list                        mail                      is       invalid.

                           -4012 CAPITAL_WHITELIST_CLOSE

                                    White                      list is                              not opened.

                           -4013 CAPITAL_WITHDRAW_2FA_VERIFY

                                    2FA            is          not opened.

                           -4014 CAPITAL_WITHDRAW_LOGIN_DELAY

                                    Withdraw                                               is       not allowed within                                                                                                                   2           min login.

                           -4015 CAPITAL_WITHDRAW_RESTRICTED_MINUTE

                                    Withdraw                                               is       limited.

                           -4016 CAPITAL_WITHDRAW_RESTRICTED_PASSWORD

                                    Within 24 hours after password modification, withdrawal                                                                                                                                                                                                                                                                                                                                                  is                   prohibited.

                           -4017 CAPITAL_WITHDRAW_RESTRICTED_UNBIND_2FA

                                    Within 24 hours after the release                                                                                                                                                                                of                  2FA, withdrawal                                                                                                        is               prohibited.

                           -4018 CAPITAL_WITHDRAW_ASSET_NOT_EXIST

                                    We don't have this asset.

                           -4019 CAPITAL_WITHDRAW_ASSET_PROHIBIT

                                    Current asset                                                            is           not open                                                           for                         withdrawal.

                           -4021 CAPITAL_WITHDRAW_AMOUNT_MULTIPLE

                                    Asset withdrawal must be an %s multiple                                                                                                                                                                                                                                       of                      %s.

                           -4022 CAPITAL_WITHDRAW_MIN_AMOUNT

                                    Not less than the minimum pick-up quantity %s.

                           -4023 CAPITAL_WITHDRAW_MAX_AMOUNT

                                    Within 24 hours, the withdrawal exceeds the maximum amount.

                           -4024 CAPITAL_WITHDRAW_USER_NO_ASSET

                                    You don't have this asset.

                           -4025 CAPITAL_WITHDRAW_USER_ASSET_LESS_THAN_ZERO

                                    The number                                                       of               hold asset                                                                 is              less                            than zero.

                           -4026 CAPITAL_WITHDRAW_USER_ASSET_NOT_ENOUGH

                                    You have insufficient balance.

                           -4027 CAPITAL_WITHDRAW_GET_TRAN_ID_FAILURE

                                    Failed                     to                  obtain tranId.

                           -4028 CAPITAL_WITHDRAW_MORE_THAN_FEE

                                    The amount                                                       of               withdrawal must be greater than the Commission.

                           -4029 CAPITAL_WITHDRAW_NOT_EXIST

                                    The withdrawal record does not                                                                                                                                                                           exist.


                           -4030 CAPITAL_WITHDRAW_CONFIRM_SUCCESS

                                    Confirmation                                                             of           successful asset withdrawal.

                           -4031 CAPITAL_WITHDRAW_CANCEL_FAILURE

                                    Cancellation failed.

                           -4032 CAPITAL_WITHDRAW_CHECKSUM_VERIFY_FAILURE

                                    Withdraw verification exception.

                           -4033 CAPITAL_WITHDRAW_ILLEGAL_ADDRESS

                                    Illegal                    address.

                           -4034 CAPITAL_WITHDRAW_ADDRESS_CHEAT

                                    The address                                                     is               suspected                                                               of              fake.

                           -4035 CAPITAL_WITHDRAW_NOT_WHITE_ADDRESS

                                    This address                                                     is              not on the whitelist. Please join and                                                                                                                                                                                                                                  try                      again.

                           -4036 CAPITAL_WITHDRAW_NEW_ADDRESS

                                    The new address needs                                                                                                                        to                  be withdrawn                                                                                                in {0}                                   hours.

                           -4037 CAPITAL_WITHDRAW_RESEND_EMAIL_FAIL

                                    Re-sending Mail failed.

                           -4038 CAPITAL_WITHDRAW_RESEND_EMAIL_TIME_OUT

                                    Please                         try                     again                          in 5                       minutes.

                           -4039 CAPITAL_USER_EMPTY

                                    The user does not                                                                                   exist.


                           -4040 CAPITAL_NO_CHARGE

                                    This address not charged.

                           -4041 CAPITAL_MINUTE_TOO_SMALL

                                    Please                         try                     again                          in            one minute.

                           -4042 CAPITAL_CHARGE_NOT_RESET

                                    This asset cannot get deposit address again.

                           -4043 CAPITAL_ADDRESS_TOO_MUCH

                                    More than 100 recharge addresses were used                                                                                                                                                                                                                                                                        in            24 hours.

                           -4044 CAPITAL_BLACKLIST_COUNTRY_GET_ADDRESS

                                    This           is a                        blacklist country.

                           -4045 CAPITAL_GET_ASSET_ERROR

                                    Failure                            to              acquire assets.

                           -4046 CAPITAL_AGREEMENT_NOT_CONFIRMED

                                    Agreement not confirmed.

                           -4047 CAPITAL_DATE_INTERVAL_LIMIT

                                    Time interval must be within 0-90 days

                           -5001 ASSET_DRIBBLET_CONVERT_SWITCH_OFF

                                    Don't allow transfer                                                                                            to               micro assets.

                           -5002 ASSET_ASSET_NOT_ENOUGH

                                    You have insufficient balance.

                           -5003 ASSET_USER_HAVE_NO_ASSET

                                    You don't have this asset.

                           -5004 USER_OUT_OF_TRANSFER_FLOAT

                                    The residual balances have exceeded 0.001BTC, Please re-choose.
                                    The residual balances of %s have exceeded 0.001BTC, Please re-choose.

                           -5005 USER_ASSET_AMOUNT_IS_TOO_LOW

                                    The residual balances                                                                                                   of                       the BTC is too low
                                    The residual balances                                                                                                   of                       %s is too low, Please re-choose.

                           -5006 USER_CAN_NOT_REQUEST_IN_24_HOURS

                                    Only transfer once                                                                                      in              24 hours.

                           -5007 AMOUNT_OVER_ZERO

                                    Quantity must be greater than zero.

                           -5008 ASSET_WITHDRAW_WITHDRAWING_NOT_ENOUGH

                                    Insufficient amount                                                                                             of           returnable assets.

                           -5009 PRODUCT_NOT_EXIST

                                    Product does not                                                                                   exist.


                           -5010 TRANSFER_FAIL

                                    Asset transfer                                                               fail.



                           -5011 FUTURE_ACCT_NOT_EXIST

                                    future account not exists.

                           -5012 TRANSFER_PENDING

                                    Asset transfer                                                               is in                  pending.

                           -5021 PARENT_SUB_HAVE_NO_RELATION

                                    This parent sub have no relation

                           -5012 FUTURE_ACCT_OR_SUBRELATION_NOT_EXIST

                                    future account or sub relation not exists.


                           6XXX                                -               Savings Issues
                           -6001 DAILY_PRODUCT_NOT_EXIST

                                    Daily product not exists.

                           -6003 DAILY_PRODUCT_NOT_ACCESSIBLE

                                    Product not exist or you don't have permission

                           -6004 DAILY_PRODUCT_NOT_PURCHASABLE

                                    Product not                                                     in               purchase status

                           -6005 DAILY_LOWER_THAN_MIN_PURCHASE_LIMIT

                                    Smaller than min purchase                                                                                                                                            limit


                           -6006 DAILY_REDEEM_AMOUNT_ERROR

                                    Redeem amount error

                           -6007 DAILY_REDEEM_TIME_ERROR

                                    Not            in              redeem time

                           -6008 DAILY_PRODUCT_NOT_REDEEMABLE

                                    Product not                                                     in               redeem status

                           -6009 REQUEST_FREQUENCY_TOO_HIGH

                                    Request frequency too high

                           -6011 EXCEEDED_USER_PURCHASE_LIMIT

                                    Exceeding the maximum num allowed                                                                                                                                                                                                                            to               purchase per user

                           -6012 BALANCE_NOT_ENOUGH

                                    Balance not enough

                           -6013 PURCHASING_FAILED

                                    Purchasing failed

                           -6014 UPDATE_FAILED

                                    Exceed up-limit allowed                                                                                                                          to                  purchased

                           -6015 EMPTY_REQUEST_BODY

                                    Empty request body

                           -6016 PARAMS_ERR

                                    Parameter                                                  err


                           -6017 NOT_IN_WHITELIST

                                    Not            in              whitelist

                           -6018 ASSET_NOT_ENOUGH

                                    Asset not enough

                           -6019 PENDING

                                    Need confirm

                           -6020 PROJECT_NOT_EXISTS

                                    Project not exists


                           70xx                         -              Futures
                           -7001 FUTURES_BAD_DATE_RANGE

                                    Date range                                                  is           not supported.

                           -7002 FUTURES_BAD_TYPE

                                    Data request type                                                                                  is           not supported.


                           -9xxx Filter failures
                                Error message                                                                                                                                                                                                                                                        Description
                                "Filter                    failure: PRICE_FILTER"                                                                                                                                                                                                                              too high, too low,
                                                                                                                                                                                                                                                                                                         price is
                                                                                                                                                                                                                                                                                                     and/or not following the tick
                                                                                                                                                                                                                                                                                                     size rule for the symbol.

                                "Filter                    failure: PERCENT_PRICE"                                                                                                                                                                                                                             X% too high or X% too
                                                                                                                                                                                                                                                                                                         price is
                                                                                                                                                                                                                                                                                                     low from the average weighted
                                                                                                                                                                                                                                                                                                     price over the last Y minutes.

                                "Filter                    failure: LOT_SIZE"                                                                                                                                                                                                                                      too high, too low,
                                                                                                                                                                                                                                                                                                         quantity is
                                                                                                                                                                                                                                                                                                     and/or not following the step
                                                                                                                                                                                                                                                                                                     size rule for the symbol.

                                "Filter                    failure: MIN_NOTIONAL"                                                                                                                                                                                                                        price                                        *            quantity is                                                                                 too low to
                                                                                                                                                                                                                                                                                                     be                   a               valid order                                                                            for                          the symbol.

                                "Filter                    failure: ICEBERG_PARTS"                                                                                                                                                                                                                       ICEBERGorder would break into
                                                                                                                                                                                                                                                                                                     too many parts; icebergQty is
                                                                                                                                                                                                                                                                                                     too small.

                                "Filter                    failure: MARKET_LOT_SIZE"                                                                                                                                                                                                                          order's quantity is too
                                                                                                                                                                                                                                                                                                         MARKET
                                                                                                                                                                                                                                                                                                     high, too low, and/or not
                                                                                                                                                                                                                                                                                                     following the step size rule for
                                                                                                                                                                                                                                                                                                     the symbol.

                                "Filter                    failure: MAX_POSITION"                                                                                                                                                                                                                    The account's position has
                                                                                                                                                                                                                                                                                                     reached the maximum defined
                                                                                                                                                                                                                                                                                                     limit.
                                                                                                                                                                                                                                                                                                     This is composed of the sum of
                                                                                                                                                                                                                                                                                                     the balance of the base asset,
                                                                                                                                                                                                                                                                                                     and the sum of the quantity of
                                                                                                                                                                                                                                                                                                     all open BUY orders.


                                "Filter                    failure: MAX_NUM_ORDERS"                                                                                                                                                                                                                  Account has too many open
                                                                                                                                                                                                                                                                                                     orders on the symbol.

                                "Filter                    failure: MAX_ALGO_ORDERS"                                                                                                                                                                                                                 Account has too many open
                                                                                                                                                                                                                                                                                                     stop loss and/or take profit
                                                                                                                                                                                                                                                                                                     orders on the symbol.

                                     failure:
                                "Filter                                                                                                                                                                                                                                                              Account has too many open
                                MAX_NUM_ICEBERG_ORDERS"                                                                                                                                                                                                                                              iceberg orders on the symbol.

                                     failure:
                                "Filter                                                                                                                                                                                                                                                              Account has too many open
                                EXCHANGE_MAX_NUM_ORDERS"                                                                                                                                                                                                                                             orders on the exchange.

                                     failure:
                                "Filter                                                                                                                                                                                                                                                              Account has too many open
                                EXCHANGE_MAX_ALGO_ORDERS"                                                                                                                                                                                                                                            stop loss and/or take profit
                                                                                                                                                                                                                                                                                                     orders on the exchange.


                           10xxx                                   -               Futures Cross Collateral
                           -10017 REPAY_CHECK_BEYOND_LIABILITY

                                    Repay amount should not be larger than                                                                                                                                                                                                                                       liability.



                           13xxx                                   -               BLVT
                           -13000 BLVT_FORBID_REDEEM

                                    Redeption                                                  of        the token                                                           is              forbiden now

                           -13001 BLVT_EXCEED_DAILY_LIMIT

                                    Exceeds individual 24h redemption                                                                                                                                                                                                    limit of                                             the token

                           -13002 BLVT_EXCEED_TOKEN_DAILY_LIMIT

                                    Exceeds total 24h redemption                                                                                                                                                                 limit of                                                    the token

                           -13003 BLVT_FORBID_PURCHASE

                                    Subscription                                                        of               the token                                                           is              forbiden now

                           -13004 BLVT_EXCEED_DAILY_PURCHASE_LIMIT

                                    Exceeds individual 24h subscription                                                                                                                                                                                                      limit of                                             the token

                           -13005 BLVT_EXCEED_TOKEN_DAILY_PURCHASE_LIMIT

                                    Exceeds total 24h subscription                                                                                                                                                                   limit of                                                    the token

                           -13006 BLVT_PURCHASE_LESS_MIN_AMOUNT

                                    Subscription amount                                                                                                     is               too small

                           -13007 BLVT_PURCHASE_AGREEMENT_NOT_SIGN

                                    The Agreement                                                                         is           not signed


                           Order Rejection Issues
                           Error messages like these are indicated when the error                                                                                                                                                                                                                                                                                                               is                   coming specifically
                           from the matching engine:

                                        -1010 ERROR_MSG_RECEIVED
                                        -2010 NEW_ORDER_REJECTED
                                        -2011 CANCEL_REJECTED


                           The following messages which                                                                                                                                                          will                        indicate the specific error:

                                Error message                                                                                                                                                                                                    Description
                                "Unknown order sent."                                                                                                                                                                                            The order (by either                                                                                                                                        orderId                                                                  ,


                                                                                                                                                                                                                                                     clientOrderId                                                                                             ,       origClientOrderId                                                                                                                                    )

                                                                                                                                                                                                                                                 could not be found.

                                "Duplicate order sent."                                                                                                                                                                                          The                                     clientOrderId is                                                                                                            already                                                                  in           use.

                                "Market                                is                  closed."                                                                                                                                              The symbol                                                                                   is           not trading.

                                "Account has insufficient                                                                                                                                                                                        Not enough funds                                                                                                                           to                   complete the
                                balance for requested action."                                                                                                                                                                                   action.

                                "Market orders are not                                                                                                                                                                                               MARKET is                                                                not enabled on the symbol.
                                supported for this symbol."

                                "Iceberg orders are not                                                                                                                                                                                              icebergQty is                                                                                         not enabled on the
                                supported for this symbol."                                                                                                                                                                                      symbol

                                "Stop loss orders are not                                                                                                                                                                                            STOP_LOSS is                                                                                     not enabled on the
                                supported for this symbol."                                                                                                                                                                                      symbol

                                "Stop loss                                             limit orders are not                                                                                                                                          STOP_LOSS_LIMIT                                                                                                        is                  not enabled on the
                                supported                                               for this symbol."                                                                                                                                        symbol

                                "Take profit orders are not                                                                                                                                                                                          TAKE_PROFIT is                                                                                                not enabled on the
                                supported for this symbol."                                                                                                                                                                                      symbol

                                "Take profit limit orders are                                                                                                                                                                                        TAKE_PROFIT_LIMIT is                                                                                                                                            not enabled on
                                not supported for this                                                                                                                                                                                           the symbol
                                symbol."

                                "Price * QTY                                                    is           zero or                                        less."                                                                                   price                                           *                quantity is                                                                        too low

                                "IcebergQty exceeds QTY."                                                                                                                                                                                                     must be less than the
                                                                                                                                                                                                                                                     icebergQty
                                                                                                                                                                                                                                                 order quantity

                                "This action disabled                                                                                               is           on                                                                              Contact customer support; some
                                this account."                                                                                                                                                                                                   actions have been disabled on the
                                                                                                                                                                                                                                                 account.

                                "Unsupported order                                                                                                                                                                                               The                                     orderType                                                             ,       timeInForce                                                                                                    ,


                                combination"                                                                                                                                                                                                         stopPrice                                                                ,           and/or                                                icebergQty
                                                                                                                                                                                                                                                 combination                                                                                          isn't                     allowed.

                                "Order would trigger                                                                                                                                                                                             The order's stop price is not valid when
                                immediately."                                                                                                                                                                                                    compared to the last traded price.

                                "Cancel order is invalid. Check                                                                                                                                                                                  No origClientOrderId or                                                                                                                                                                                          orderId                                                   was
                                origClientOrderId and                                                                                                                                                                                            sent in.
                                orderId."

                                "Order would immediately                                                                                                                                                                                                      order type would
                                                                                                                                                                                                                                                     LIMIT_MAKER
                                match and take."                                                                                                                                                                                                 immediately match and trade, and not
                                                                                                                                                                                                                                                 be a pure maker order.

                                "The relationship of the prices                                                                                                                                                                                  The prices set in the OCO is breaking
                                for the orders is not correct."                                                                                                                                                                                  the Price rules.
                                                                                                                                                                                                                                                 The rules are:
                                                                                                                                                                                                                                                  SELL Orders Limit Price > Last Price >                                                          :


                                                                                                                                                                                                                                                 Stop Price
                                                                                                                                                                                                                                                  BUY Orders Limit Price < Last Price <                                                   :


                                                                                                                                                                                                                                                 Stop Price

                                "OCO orders are not                                                                                                                                                                                                  OCO is                                          not enabled on the symbol.
                                supported for this symbol"

                                "Quote order qty market                                                                                                                                                                                                   orders using the parameter
                                                                                                                                                                                                                                                     MARKET
                                orders are not support for                                                                                                                                                                                        quoteOrderQty are not enabled on this
                                this symbol."                                                                                                                                                                                                    symbol.




                           Notes

                           Request Parameters
                           Email Address
                           Email address should be encoded.                                                                                                                                                                                  e.g. alice@test.com                                                                                                                                     should be encoded
                           into alice%40test.com x
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                                                                                        Verify
                                          Please make sure that you are visiting   https://www.binance.com




                       Please enter an email address, phone number, Telegram or WeChat ID to check   if   they are an official Binance
                                                        representative. Stay safe from scammers.




                                                              Security Guides

General Security Principles                                      Common Scams on Mobile Devices                                          What Is Phishing?
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                                        Request System
                                        For Government and Law Enforcement Agencies only:

                                        Welcome to the Binance Law Enforcement Request System (LERS). Government
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                                        requests. Binance will review each case and cooperate on a case-by-case basis to
                                        disclose information as legally required, in accordance with our Terms of Use and
                                        applicable laws.

                                        To access LERS, you must be a law enforcement agent or governmental official
                                        authorized to 1) gather evidence in connection with an investigation or 2) make                a
                                        formal law enforcement request.


                                             I hereby declare that I am a law enforcement agent or government official authorized
                                             to make law enforcement requests or enquiries to Binance and such access is
                                             requested in an official capacity. I understand that if I make an unauthorized request,
                                             I may be subject to prosecution. For further information, please see the Binance Law

                                             Enforcement Guidelines.




                                           Begin request




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Privacy               Research                      Affiliate                                                      Buy Bitcoin Cash
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News                  NFT                           OTC Trading                                                    Buy DeFi
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                      Binance Pay                   Trading Rules                                                  Buy Tradable Altcoins
                                                    P2P Merchant Application
                                                    Historical Market Data



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                                                                                                English




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Email




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     Binance Futures Will Launch USDT-Margined CELO & AR Perpetual
                                                           ( 09-24 ) Contracts
                                                                             Updates
                                                                               with Upto tothe25XTime
                                                                                                   Leverage
                                                                                                      Range of Data Retrieval via Binance Margin
                                                                                                                                            ( 09-24 SAPI
                                                                                                                                                     )                   Kava Ecosystem Trading Competition        -   $100,000 to Be Won!    (   09-24 )


BTC/USDT                    41,483.14
                            $41,483.14
                                                 24h Change
                                                 -2,076.44 -4.77%
                                                                          24h High
                                                                          45,200.00
                                                                                               24h Low
                                                                                               40,675.00
                                                                                                                24h Volume(BTC)
                                                                                                                78,199.75
                                                                                                                                           24h Volume(USDT)
                                                                                                                                           3,405,053,866.83
                                                                                                                                                                               Spot Tutorial
    Bitcoin
                                                                                                                                                                                                          BNB BTC ALTS           FIAT        Zones
                                                              Time       15m        1H    4H     1D      1W    1D                          Original     TradingView   Depth
                                          0.01
                                                          Welcome            to    Binance Spot                                                                                                    Pair                           Price              Change
Price(USDT)          Amount(BTC)                  Total                                                                                                                                               1INCH /BTC             0.00005951                     -0.33%
                                                               2021/09/23 O: 44865.26 H: 45200.00 L: 40675.00 C: 41601.77 CHANGE: -7.27% AMPLITUDE:
41628.28                   0.00089           37.04917                                                                                                                                                 AAVE /BTC                 0.006601                    -3.20%
                                                               10.09%
41627.03                   0.12046        5,014.39203              MA(7): 44185.02 MA(25): 46774.29 MA(99): 40897.68                                                                                  ACM /BTC                 0.0002229                    -2.11%
41626.41                   0.00172           71.59743                                                                                                                                                 ADA /BTC               0.00005326                     +5.93%
41626.38                   0.12014        5,000.99329                                                                                                                                                 ADX /BTC               0.00001028                     -5.08%
41625.24                   0.00185           77.00669
                                                                                                                                                                                                      AERGO /BTC             0.00000596                     -0.50%
41624.97                   0.00382          159.00739
41624.62                   0.00184           76.58930                                                                                                                                                 AGIX /BTC              0.00000811                     -2.64%
41623.51                   0.00312          129.86535                                                                                                                                                 AION /BTC              0.00000335                     -1.76%
41623.50                   0.00096           39.95856                                                                                                                                                 AKRO /BTC              0.00000055                     -6.78%
41623.19                   0.00428          178.14725                                                                                                                                                 ALGO /BTC              0.00004296                     +1.39%
41623.00                   0.00027           11.23821
                                                                                                                                                                                                      ALICE /BTC               0.0002382                    -3.72%
41622.99                   0.02148          894.06183                                                                                                                                                 ALPACA   /BTC          0.00002232                     -5.38%



41622.27                   0.00174           72.42275
41622.16                   0.00030           12.48665                                                                                                                                              Market Trades             My Trades
41621.57                   0.14407        5,996.41959                 Vol(BTC): 52.767K Vol(USDT) 2.277B
41621.56                   0.05821        2,422.79101                                                                                                                                              Price(USDT)             Amount(BTC)                      Time
41621.53                   0.02200          915.67366                                                                                                                                              41,589.68                    0.00783               08:28:55
                                                                                                                                                                                                   41,602.24                    0.00048               08:28:55
41,599.01          $ 41,599.01                    More                                                                                                                                             41,602.25                    0.00828               08:28:55
41621.52                   0.56459       23,499.09398                                                                                                                                              41,597.01                    0.00300               08:28:55
41620.18                   0.02343          975.16082                                                                                                                                              41,597.00                    0.00557               08:28:55
41619.59                   0.52525       21,860.68965                 Spot                                                                                               Margin 10x                41,597.00                    0.01340               08:28:55
41615.75                   0.12014        4,999.71620                                                                                                                                              41,592.60                    0.00180               08:28:55
41615.03                   0.06457        2,687.08249                                                                                                                                              41,594.66                    0.00072               08:28:55
41611.59                   0.00025           10.40290
                                                              Limit      Market          Stop-limit                                                                                                41,597.00                    0.00060               08:28:55
41609.00                   0.02000          832.18000         Avbl                                                  -   USDT        Avbl                                            -   BTC        41,602.73                    0.02079               08:28:55
41608.04                   0.09372        3,899.50551                                                                                                                                              41,597.44                    0.03097               08:28:56
41608.03                   0.05770        2,400.78333          Price                                                    USDT         Price                                          USDT           41,597.45                    0.00259               08:28:56
41607.74                   0.04178        1,738.37138                                                                                                                                              41,597.45                    0.05000               08:28:56
41606.72                   0.09372        3,899.38180                                                                                                                                              41,597.45                    0.02884               08:28:56
41606.71                   0.00062           25.79616          Amount                                                    BTC         Amount                                             BTC
41606.00                   0.02000          832.12000                                                                                                                                              Market Activities
41605.20                   0.00025           10.40130
41603.46                   0.08083        3,362.80767                                                                                                                                              AION / USDT                     -12.95%
                                                                                                                                                                                                   08:00:04                       Pullback
41603.45                   0.23070        9,597.91591
                                                                                  Log In or Register Now                                              Log In or Register Now                       ACM / BTC                       +6.43%
41602.00                   0.04000        1,664.08000
                                                                                                                                                                                                   08:00:04                          Rally

Open Orders (0)        Order History        Trade History            Funds




                                                                                                              Log In or Register Now to trade




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